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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


FUND LIQUIDATION HOLDINGS LLC as assignee and
successor-in-interest to Sonterra Capital Master Fund, Ltd.,
HAYMAN CAPITAL MASTER FUND, L.P., JAPAN MACRO
OPPORTUNITIES MASTER FUND, L.P., and CALIFORNIA                 Docket No. 15-cv-5844
STATE TEACHERS’ RETIREMENT SYSTEM, on behalf of
themselves and all others similarly situated,                   ECF Case

                            Plaintiffs,

                    - against -                                SECOND AMENDED
                                                               CLASS ACTION
UBS AG, UBS SECURITIES JAPAN CO. LTD., SOCIÉTÉ                 COMPLAINT
GÉNÉRALE S.A., THE ROYAL BANK OF SCOTLAND GROUP
PLC, NATWEST MARKETS PLC, NATWEST MARKETS
SECURITIES JAPAN LTD., NATWEST MARKETS
                                                   JURY TRIAL
SECURITIES, INC., BARCLAYS BANK PLC, BARCLAYS PLC,
                                                   DEMANDED
COÖPERATIEVE RABOBANK U.A., LLOYDS BANKING
GROUP PLC, LLOYDS BANK PLC, NEX INTERNATIONAL
LIMITED, ICAP EUROPE LIMITED, TP ICAP PLC, BANK OF
AMERICA CORPORATION, BANK OF AMERICA, N.A.,
MERRILL LYNCH INTERNATIONAL, AND JOHN DOE NOS.
1-50,

                            Defendants.
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                                   13-mag-2224 (S.D.N.Y. Sept. 13, 2013)
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                                    2014)
            Ex. D-6                 United States Department of Justice, Criminal
                                    Division, Fraud Section, and Antitrust
                                    Division Superseding Information against
                                    Takayuki Yagami, 14-cr-00272 (S.D.N.Y.
                                    June 10, 2014)
            Ex. D-7                 United States Department of Justice, Criminal
                                    Division, Fraud Section and Antitrust
                                    Division Criminal Indictment against Paul
                                    Robson, Paul Thompson, and Tetsuya
                                    Motomura, 14-cr-272 (S.D.N.Y. Apr. 28,
                                    2014)
            Ex. D-8                 United States Department of Justice, Criminal
                                    Division, Fraud Section and Antitrust
                                    Division Superseding Indictment against
                                    Anthony Allen, Paul Thompson, Tetsuya
                                    Motomura, and Anthony Conti, 14-cr-272
                                    (S.D.N.Y. Oct. 16, 2014)
            Ex. E-1                 Commodity Futures Trading Commission
                                    Order Instituting Proceedings Pursuant to
                                    Sections 6(c) and 6(d) of the Commodity
                                    Exchange Act, Making Findings and
                                    Imposing Remedial Sanctions against RP
                                    Martin Holdings Limited and Martin Brokers
                                    (UK) Ltd., CFTC Docket No. 14-16 (May 15,
                                    2014)
            Ex. E-2                 Financial Conduct Authority Final Notice
                                    against Martin Brokers (UK) Ltd., FCA Ref.
                                    No. 187916 (May 15, 2014)



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            Ex. F-1                The European Commission Press Release,
                                   “Antitrust: Commission fines banks € 1.71
                                   billion for participating in cartels in the
                                   interest rate derivatives industry,” IP/13/120
                                   & Memo/13/1090 (Dec. 4, 2013)
            Ex. G-1                United States Department of Justice, Criminal
                                   Division, Fraud Section, and Antitrust
                                   Division Non-Prosecution Agreement and
                                   Appendix A Statement of Facts with Barclays
                                   Bank PLC (June 26, 2012)
            Ex. G-2                Commodity Futures Trading Commission
                                   Order Instituting Proceedings Pursuant to
                                   Sections 6(c) and 6(d) of the Commodity
                                   Exchange Act, As Amended, Making
                                   Findings and Imposing Remedial Sanctions
                                   against Barclays PLC, Barclays Bank PLC
                                   and Barclays Capital, Inc. CFTC Docket No.
                                   12-25 (June 27, 2012)
            Ex. G-3                Financial Services Authority Final Notice
                                   against Barclays Bank PLC, FSA Ref. No.
                                   122702 (June 27, 2012)
            Ex. H-1                United States Department of Justice, Criminal
                                   Division, Fraud Section, and Antitrust
                                   Division Deferred Prosecution Agreement and
                                   Appendix A Statement of Facts with Lloyds
                                   Banking Group plc (July 28, 2014)
            Ex. H-2                Commodity Futures Trading Commission
                                   Order Instituting Proceedings Pursuant to
                                   Sections 6(c) and 6(d) of the Commodity
                                   Exchange Act, As Amended, Making
                                   Findings and Imposing Remedial Sanctions
                                   against Lloyds Banking Group plc and Lloyds
                                   Bank plc (July 28, 2014)
            Ex. H-3                Financial Conduct Authority Final Notice
                                   against Lloyds Bank plc and Bank of Scotland
                                   plc (July 28, 2014)
            Ex. H-4                United States Department of Justice, Criminal
                                   Division, Fraud Section, and Antitrust
                                   Division Criminal Information against Lloyds
                                   Banking Group PLC (Jul. 28, 2014)
             Ex. I-1               United States Department of Justice, Criminal
                                   Division, Fraud Section, and Antitrust
                                   Division Deferred Prosecution Agreement and
                                   Appendix A Statement of Facts with Deutsche
                                   Bank AG (Apr. 23, 2015)



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             Ex. I-2               Commodity Futures Trading Commission
                                   Order Instituting Proceedings Pursuant to
                                   Sections 6(c) and 6(d) of the Commodity
                                   Exchange Act, As Amended, Making
                                   Findings and Imposing Remedial Sanctions
                                   against Deutsche Bank AG (Apr. 23, 2015)
             Ex. I-3               Financial Conduct Authority Final Notice
                                   against Deutsche Bank AG (Apr. 23, 2015)
             Ex. I-5               New York State Department of Financial
                                   Services Consent Order Under New York
                                   Banking Law §§ 44 and 44-a against
                                   Deutsche Bank AG and Deutsche Bank AG,
                                   New York Branch (Apr. 23, 2015)
             Ex. I-6               The Federal Financial Supervisory Authority,
                                   BaFin, Audit report for the IBOR special
                                   audit by Ernst & Young against Deutsche
                                   Bank AG (May 11, 2015)
             Ex. I-7               United States Department of Justice, Criminal
                                   Division, Fraud Section, and Antitrust
                                   Division Criminal Information against
                                   Deutsche Bank A.G. (Apr. 23, 2015)
             Ex. J-1               Commodity Futures Trading Commission
                                   Order Instituting Proceedings Pursuant to
                                   Sections 6(c) and 6(d) of the Commodity
                                   Exchange Act, Making Findings, and
                                   Imposing Remedial Sanctions against Société
                                   Générale S.A. (June 4, 2018)
             Ex. J-2               United States Department of Justice, Criminal
                                   Division, Fraud Section, Deferred Prosecution
                                   Agreement and Appendix A Statement of
                                   Facts with Société Générale S.A. (June 5,
                                   2018)




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       Plaintiffs Fund Liquidation Holdings LLC (“FLH”) as assignee and successor-in-interest

to Sonterra Capital Master Fund, Ltd., Hayman Capital Master Fund, L.P. (“HCMF”), Japan

Macro Opportunities Master Fund, L.P. (“JMOF”) (collectively, “Hayman” or “the Hayman

Plaintiffs”), and the California State Teachers’ Retirement System (“CalSTRS”) (collectively,

“Plaintiffs”) complain, upon knowledge as to themselves and their own acts, and upon

information and belief as to all other matters, against Defendants (defined in Parties, below) as

follows:

                                       INTRODUCTION

       1.      This action arises from Defendants’ and their co-conspirators’ unlawful

combination, agreement, and conspiracy to fix prices and restrain trade in the domestic market

for Yen-LIBOR-based derivatives (defined in Part I.B, below). The Defendants and their co-

conspirators accomplished their unlawful goals by, among other things, rigging the process used

to set Yen-LIBOR (the London Interbank Offered Rate for the Japanese yen), which is a

component of price of Yen-LIBOR-based derivatives (see Part II, below) during the period of at

least January 1, 2006 through at least June 30, 2011 (the “Class Period”) in violation of the

Sherman Act, 15 U.S.C. § 1, et seq., the Racketeer Influenced and Corrupt Organizations Act, 18

U.S.C. §§ 1961-1968 (“RICO”), and common law.

       2.      Defendants’ and their co-conspirators’ rigging of Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives in the United States during the Class Period was intentional,

persistent, and knowingly unlawful. Defendants’ misconduct, and the far-reaching, harmful

impact on the Yen-LIBOR-based derivatives market in the United States is detailed in numerous

guilty pleas, government settlements, deferred prosecution agreements, criminal charges, and

findings of fact released in connection with investigations and regulatory actions by

governmental agencies in the U.S. and abroad.
                                                 1
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        3.       Each of these government findings demonstrate that the Defendants’ and their co-

conspirators’ goal was to earn illicit trading profits (or limit losses) on Yen-LIBOR-based

derivatives positions. Accordingly, the Defendants knowingly fixed the prices of Yen-LIBOR-

based-derivatives positions that each Defendant held with investors in the United States,

including Plaintiffs and other U.S.-based counterparties, using offices located in this District. See

Personal Jurisdiction, Part I, below. Plaintiffs and the Class were directly harmed when

Defendants and their co-conspirators intentionally caused them to pay more or receive less on

their Yen-LIBOR-based derivatives transactions in the United States.

        Guilty Pleas and Government Settlements Involving the Contributor Bank
        Defendants and Co-conspirators1

        4.       The breadth and impact of the wrongdoing alleged herein is staggering. As the

U.S. Department of Justice (“DOJ”) put it in connection with the guilty plea of Defendant

Coöperatieve Rabobank U.A.’s (f/k/a Coöperatieve Centrale Raiffeisen-Boerenleenbank B.A.)

(“Rabobank”) former Yen-LIBOR-based derivatives trader, Takayuki Yagami:

                 This conduct distorted transactions and financial products around
                 the world. Manipulating LIBOR effectively rigs the global
                 financial system, compromising the fairness of world markets.

                                                        * * *

                 This was the ultimate inside job. As alleged, traders illegally
                 influenced the very interest rate on which their trades were based,
                 using fraud to gain an unfair advantage. Takayuki Yagami is the
                 ninth person charged by the Justice Department in connection with
                 the industry-wide LIBOR investigation, and we are determined to
                 pursue other individuals and institutions who engaged in this
                 crime.




1
 Contributor Bank Defendants and Co-conspirators are identified in the Parties and Defendants’ Co-conspirators
section below.

                                                        2
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         5.       Defendant UBS AG (“UBS”) has already self-reported criminal cartel activity to

the DOJ pursuant to the Antitrust Criminal Penalty Enhancement and Reform Act (“ACPERA”)

for its admitted manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives

that UBS traded in the United States. UBS thereafter pled guilty to criminal wire fraud charges

for manipulating the prices of Yen-LIBOR-based derivatives that traded in United States

financial markets.2

         6.       Following UBS’ footsteps, Defendants UBS Securities Japan Co., Ltd. (“UBS

Japan”) and NatWest Markets Securities Japan Ltd. (f/k/a RBS Securities Japan Limited (“RBS

Japan”)) each agreed to waive indictment and plead guilty to a one-count criminal information

filed in the District of Connecticut by the Criminal Division, Fraud Section, and the Antitrust

Division of the DOJ charging each with wire fraud, in violation of 18 U.S.C. § 1343, in

connection with their manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives. As part of its Deferred Prosecution Agreement with the DOJ, RBS Japan’s

corporate parent NatWest Markets plc (f/k/a The Royal Bank of Scotland plc) (“RBS”) was also

charged with wire fraud and price-fixing in violation of Section 1 of the Sherman Act in

connection with its manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives

that these Defendants traded in the United States.

         7.       Defendant Rabobank global head of liquidity Anthony Allen and senior trader

Anthony Conti were each convicted of wire fraud as well as conspiracy to commit wire fraud and

bank fraud charges in this District, following a jury trial before Judge Rakoff (“Allen/Conti

Trial”), for their participation in the conspiracy to manipulate Yen-LIBOR and the prices of Yen-


2
  Ex. A-7 (In that plea, UBS admitted that “on or about June 29, 2009, in furtherance of a scheme to defraud
counterparties to interest rate derivatives transactions by secretly manipulating benchmark interest rates to which the
profitably of those transactions was tied, UBS transmitted or caused the transmission of electronic communications
in interstate and foreign commerce, in violation of Title 18, United States Code, Sections 1343 and 2.”).

                                                          3
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LIBOR-based derivatives.3 Other Rabobank traders, including Paul Robson4 and Takayuki

Yagami,5 have also pled guilty to conspiracy to commit wire fraud and bank fraud in this District

for manipulating Yen-LIBOR and the prices of Yen-LIBOR-based derivatives traded in the

United States.

           8.       Numerous cartel members, including RBS, Deutsche Bank AG (“Deutsche

Bank”), Rabobank, J.P. Morgan Chase & Co. (“JPMorgan”), Citigroup, Inc. (“Citigroup”),

Lloyds Bank plc (f/k/a Lloyds TSB Bank plc) (“Lloyds”) and its corporate parent Lloyds

Banking Group plc, Barclays Bank PLC, Barclays Capital Inc. (“Barclays”) and their corporate

parent Barclays PLC,6 R.P. Martin Holdings Limited (“R.P. Martin”), DB Group Services UK

Limited (“DB Group”), ICAP Europe Limited (“ICAP”), and Société Génerale S.A. (“Société

Génerale”) have agreed to historic settlements with regulators, collectively paying (with UBS)

over $7 billion in criminal fines and penalties. The settlements resolve DOJ, U.S. Commodity

Futures Trading Commission (“CFTC”), the U.K. Financial Services Authority (“FSA”),7 New

York State Department of Financial Services (“NYSDFS”), and European Commission (“EC”)

charges relating to restraints of trade and manipulation of Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives.



3
  Nate Raymond & Brendan Pierson, Former Rabobank Traders Convicted in U.S. Over LIBOR Rigging, REUTERS
(Nov. 5. 2015), http://www.reuters.com/article/2015/11/05/us-rabobank-libor-trial-idUSKCN0SU2HX20151105.
These convictions were later overturned based on evidence improperly admitted on Fifth Amendment grounds, but
the jury’s factual findings based on the evidence presented at trial were not disturbed.
4
 Former Rabobank LIBOR Submitter Pleads Guilty for Scheme to Manipulate Yen LIBOR, DEPARTMENT OF
JUSTICE (Aug. 18, 2014), http://www.justice.gov/opa/pr/former-rabobank-libor-submitter-pleads-guilty-scheme-
manipulate-yen-libor.
5
 Former Rabobank Trader Pleads Guilty for Scheme to Manipulate Yen LIBOR, DEPARTMENT OF JUSTICE (June 10,
2014), http://www.justice.gov/opa/pr/former-rabobank-trader-pleads-guilty-scheme-manipulate-yen-libor.
6
 Barclays PLC, the parent company of both Barclays Capital Inc. and Barclays Bank PLC, merged Barclays Capital
Inc. into Barclays Bank PLC after the end of the Class Period. Accordingly, both Barclays Capital Inc. and Barclays
Bank PLC are referred to as “Barclays.”
7
    On April 1, 2013, the Financial Services Authority changed its name to the Financial Conduct Authority (“FCA”).

                                                          4
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        9.       The factual findings that accompanied the UBS, RBS, Rabobank, Barclays,

Deutsche Bank, Lloyds, and Société Génerale settlements each included a “Statement of Facts”

(“SOF”) (which UBS, RBS, Rabobank, Barclays, Deutsche Bank, Lloyds, and Société Génerale

respectively, admitted as “true and accurate”) that are attached to, and incorporated by reference

in, various non-prosecution or deferred prosecution agreements entered with the DOJ’s Criminal

Division, Fraud Section. UBS’s, RBS’s, Rabobank’s, Barclays’s, Deutsche Bank’s, Lloyds’s,

and Société Génerale’s admissions include, inter alia:

        10.      UBS. During the period of at least January 2005 through at least June 2010, UBS

orchestrated a sustained, wide-ranging and systematic scheme to manipulate Yen-LIBOR and the

prices of Yen-LIBOR-based derivatives through: (i) intentional and deliberate false reporting of

UBS’ own Yen-LIBOR submissions; (ii) conspiring with and paying bribes to interdealer

brokers (employed by the Broker Defendants) to aid in the manipulation of Yen-LIBOR; and (iii)

colluding directly with other interest rate derivatives traders at other Contributor Bank

Defendants and Co-conspirators,8 to increase the likelihood of success in manipulating the prices

of Yen-LIBOR-based derivatives. UBS further admitted that it traded in Yen-LIBOR-based

derivatives in the United States while it was intentionally fixing the prices of these same

instruments.

        11.      RBS. As part of its Deferred Prosecution Agreement, RBS and RBS Japan

admitted that they manipulated Yen-LIBOR and the prices of Yen-LIBOR-based derivatives

from at least 2006 through 2010 through hundreds of instances in which RBS: (i) falsely reported

its own Yen-LIBOR submissions; and (ii) colluded directly with UBS and other co-conspirators


8
 The Defendants that served on BBA Yen-LIBOR panel during the Class Period are collectively referred to herein
as the “Contributor Bank Defendants.” The Contributor Bank Defendants and their co-conspirators that also served
on the BBA Yen-LIBOR panel are collectively referred to herein as the “Contributor Bank Defendants and Co-
conspirators.”

                                                        5
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through interdealer brokers. RBS and RBS Japan further admitted that they engaged in this

unlawful conduct in order to benefit their Yen-LIBOR-based derivatives positions, and also

established Yen-LIBOR-based derivatives positions that would benefit from planned

manipulation. RBS and RBS Japan traded Yen-LIBOR-based derivatives in the United States,

including in this District, while engaging in this intentional misconduct.

       12.     Rabobank. As part of its own Deferred Prosecution Agreement, Rabobank

admitted that it manipulated Yen-LIBOR and the prices of Yen-LIBOR-based derivatives from

May 2006 through November 2010 in order to illegitimately profit on its own Yen-LIBOR-based

derivatives positions. Rabobank also admitted that from as early as May 2006 and continuing at

least through October 2008, Rabobank colluded with a trader at another Contributor Bank

Defendant (Lloyds) and agreed that they would, upon request, manipulate their own Yen-LIBOR

submissions to benefit each other’s Yen-LIBOR-based derivatives positions or the trading

positions of other co-conspirators.

       13.     Barclays. Barclays admitted that its derivatives traders, from at least as early as

August 2006 through approximately June 2007, and also in June 2009, made at least 26 requests

to its rate submitters to manipulate Barclays’ Yen-LIBOR submissions in a direction that would

benefit Barclays’ Yen-LIBOR-based derivatives positions. Barclays further admitted that certain

of its swaps traders colluded with traders at other Contributor Bank Defendants and Co-

conspirators to make Yen-LIBOR false submissions, and on occasion accommodated requests

for false Yen-LIBOR submissions made by traders at other Contributor Bank Defendants and

Co-conspirators, so as to coordinate their manipulative and anticompetitive conduct. Barclays

further admitted that it established Yen-LIBOR-based derivatives positions in the United States

while it was intentionally fixing the prices of these instruments by manipulating Yen-LIBOR.



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         14.      Deutsche Bank. As part of its Deferred Prosecution Agreement with the DOJ,

co-conspirator Deutsche Bank9 admitted that it manipulated Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives from at least 2006 through 2010. Deutsche Bank also agreed to waive

indictment and plead guilty to manipulating Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives in violation of § 1 of the Sherman Act. Deutsche Bank admitted that its traders

regularly requested false Yen-LIBOR submissions to benefit their Yen-LIBOR-based derivatives

positions, including positions that these traders held in the United States, and that its Yen-LIBOR

submitters honored these requests. Deutsche Bank also admitted that from at least 2008, it

colluded with former UBS and Citibank Yen Trader, Tom Hayes, to manipulate Yen-LIBOR and

the prices of Yen-LIBOR-based derivatives. In addition, Deutsche Bank admitted that it failed to

cooperate with the DOJ’s investigation in several respects by slowly producing relevant

information, not providing evidence of its coordination with other banks, destroying documents,

audio, and data, and hiding the Federal Financial Supervisory Authority for Germany’s

(“BaFin”) LIBOR misconduct findings from the DOJ.

         15.      Lloyds. As part of its Deferred Prosecution Agreement, Lloyds admitted that

between at least as early as 2006 and at least as late as July 2009, it manipulated Yen-LIBOR to

illegitimately profit from its Yen-LIBOR-based derivatives positions, including positions that

Lloyds held in the United States. Lloyds also admitted that from as early as June 2006 through

at least October 2008, it colluded directly with Rabobank and Rabobank’s Yen-LIBOR submitter

Paul Robson to make Yen-LIBOR submissions that mutually benefitted their Yen-LIBOR-based

derivatives trading positions.




9
  The banks and brokers identified in the Parties section, Parts I-Q, are no longer Defendants in this action. They are
included here as co-conspirators rather than named as Defendants.

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       16.     Société Générale. As part of its Deferred Prosecution Agreement with the DOJ

and a separate settlement with the CFTC, Société Générale admitted that it manipulated Yen-

LIBOR in order to illegitimately profit from its own Yen-LIBOR-based derivatives positions

between at least 2006 and 2007. Société Générale also admitted that its misconduct caused

significant damage to the global financial markets, and further admitted that executives within

the company’s investment bank division were aware of or involved in the manipulation of Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives. Société Générale traded Yen-LIBOR-

based derivatives within the United States, including directly with Plaintiff CalSTRS, while

engaging in this admitted misconduct.

       17.     The UBS, RBS, Rabobank, Barclays, Société Générale, and Lloyds settlements

are also memorialized in “CFTC Orders” and “FSA Final Notices” which include additional

factual allegations consistent with the admissions contained in the DOJ statement of facts

regarding unlawful acts by Defendants UBS, RBS, Rabobank, Barclays, Société Générale and

Lloyds.

       18.     In December 2013, the EC collectively fined Defendants UBS and RBS, as well

as co-conspirators Deutsche Bank, JPMorgan, Citigroup, and R.P. Martin more than $870

million for participating in “Yen Interest Rate Derivatives cartels” between 2007 and 2010. The

EC uncovered seven distinct “infringements” lasting between 1 and 10 months and found that

these Defendants colluded to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives.

       19.     Government Settlements Involving the Broker Defendants. As detailed

herein, the Broker Defendants played a critical role in the successful manipulation of Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives. They acted as the proverbial hub in the



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conspiratorial wheel by coordinating and directing the submission of false reports and other

manipulative conduct between the Contributor Bank Defendants and Co-conspirators,

contributing to the restraint of trade in the Yen-LIBOR-based derivatives market.

       20.     To date, Broker Defendant ICAP Europe Limited (“ICAP”) and co-conspirator

R.P. Martin have reached settlements with the CFTC and FCA agreeing to pay $87 million

(ICAP) and $2.2 million (R.P. Martin), respectively.

       21.     ICAP. UBS, in particular former UBS Senior Yen Trader Tom Hayes (“Hayes”),

colluded with ICAP Yen brokers and requested their assistance more than 400 times in

manipulating Yen-LIBOR to benefit his Yen-LIBOR-based derivatives positions and those of his

co-conspirators during the Class Period. ICAP brokers readily agreed and accommodated those

and other manipulative requests by issuing, via a Yen cash broker, group emails to panel banks

and others containing “Suggested LIBORs” for Yen-LIBOR. The Suggested LIBORs reflected

artificial rates that would financially benefit UBS’ and Hayes’ Yen-LIBOR-based derivatives

positions.

       22.     This manipulative strategy was successful as almost all of the Yen-LIBOR

Contributor Banks received the Suggested LIBORs, and, in violation of British Bankers’

Association (“BBA”) rules, several improperly relied on them in making their Yen-LIBOR

submissions despite knowing that ICAP brokers depended upon repeat business from

Contributor Bank Defendants and Co-conspirators with a financial interest in the outcome of the

Yen-LIBOR fixings. This occurred despite express BBA guidelines that prohibited Contributor

Banks from relying on brokers’ “Suggested LIBORs” when making their Yen-LIBOR

submissions.




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        23.    ICAP Yen brokers were well compensated for colluding with UBS, receiving

hundreds of thousands of dollars in bribes and kickbacks for their “LIBOR services.”

        24.    R.P. Martin. Like ICAP brokers, R.P. Martin brokers on its Yen desks

knowingly disseminated false information concerning Yen borrowing rates to market participants

to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. R.P. Martin brokers

did so primarily to aid and abet former UBS Senior Yen Trader Hayes. The FCA determined

that, during the Class Period, UBS made at least 600 manipulative requests to R.P. Martin. R.P.

Martin contacted Contributor Bank Defendants’ and Co-conspirators’ Yen-LIBOR submitters

directly and asked them to move their submissions in an artificial direction that would benefit

UBS’ and Hayes’ Yen-LIBOR-based derivatives positions. In exchange for their unlawful

assistance, R.P. Martin brokers accepted bribes and other illicit compensation from UBS, other

Contributor Bank Defendants, and their co-conspirators totaling more than $400,000.

        25.    Direct Evidence of Manipulative and Anticompetitive Conduct. Although

only a small fraction of Defendants’ communications have thus far been made public in

connection with the UBS, RBS, Rabobank, ICAP, R.P. Martin, Barclays, Deutsche Bank, Lloyds

and Société Générale settlements, those communications already include what courts have

characterized as “rare,” “smoking gun,” and “direct” evidence of blatant market manipulation

and illicit conspiratorial conduct. Defendants’ own words are unencumbered by any concern of

market oversight, internal supervision, legal recourse, or the far reaching, negative, and material

impact of their misconduct on the prices of Yen-LIBOR-based derivatives traded in the United

States. Corruption of the Yen-LIBOR-based derivatives market became so widespread that in

the words of an RBS Senior Yen Trader, Jimmy Tan, the banks setting Yen-LIBOR had become

a “cartel.”



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           26.      For example, in one communication, Hayes and R.P. Martin broker Terry Farr

congratulated each other on the financial success of Defendants’ and their co-conspirators’

manipulative conduct: “mate yur getting bloody good at this libor game….think of me whn

yur on yur yacht in monaco wont you” (emphasis added). In another communication, Jimmy

Tan at RBS bragged: “its just amazing how libor fixing can make you that much money” and

that the manipulation was a “good way to boost share price” (emphasis added). Additionally,

traders routinely thanked rate submitters for carrying out their instructions to submit false Yen-

LIBOR rates that benefitted their Yen-LIBOR-based derivatives positions, remarking “cheers,”

“thanks mate,” and “thanks for that.”

           27.      When Rabobank’s Paul Robson pled guilty to conspiracy to commit bank

fraud and wire fraud in this District, he admitted he intended for Rabobank’s

counterparties to Yen-LIBOR-based derivatives positions located in the United States to

be negatively impacted by his Yen-LIBOR manipulation:

           I tailored the yen LIBOR submissions I made on behalf of Rabobank in
           order to profit the bank’s position . . . I understood the parties taking
           opposite trading positions could be negatively affected and I knew that some
           of these parties that could be affected were American financial
           institution…When I made these submissions designed to favor the bank’s
           trading positions, I knew that it was wrong to do so.10

           28.      Other Indicia of Unlawful Conduct: Knowledge of Unlawfulness and

Conduct to Escape Detection. Defendants and their co-conspirators continued their pervasive

manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives long after

authorities launched investigations into false reporting and manipulation of U.S. Dollar LIBOR.

For example, RBS traders and submitters acknowledged internally by at least September 2010



10
     United States v. Robson, No. 14-cr-272, ECF No. 21 at 12-13 (S.D.N.Y. Sep. 2, 2014).

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that regulators were investigating false reporting of U.S. Dollar LIBOR, but nonetheless agreed

to continue manipulating Yen-LIBOR and other interest rates. RBS traders and submitters,

however, recognized that they should be more careful to cover their tracks to avoid detection by

no longer discussing in writing their manipulation of Yen-LIBOR, at least while regulators

investigated U.S. Dollar LIBOR manipulation.

       29.     For example, in one exchange on November 22, 2010, RBS traders Jimmy Tan

and Neil Danziger acknowledged that “at the moment the FED are all over us about USD libors”

but because they did not “think anyone cares [about] JPY [Yen] libor” at least “not yet,” – they

had the green light to continue manipulating the prices of Yen-LIBOR-based derivatives.

       30.     Other instant messages and communications produced in connection with the

government settlements evidence that the knowing submission of false Yen-LIBOR rates to

financially benefit Yen-LIBOR-based derivatives positions was the norm, while submitting rates

reflective of prevailing (true) interbank borrowing costs in accordance with BBA rules was the

exception.

       31.     Other Indicia of Unlawful Conduct: The Role of Managers. Unlike prior

manipulation cases where a rogue trader singularly concocted and orchestrated a manipulation,

the manipulation here had the blessing—and in many instances was at the immediate direction—

of the Contributor Bank Defendants’, Broker Defendants’, and their co-conspirators’ senior

managers who were charged with supervising Yen-LIBOR-based derivatives trading at the firm.

For example, at Deutsche Bank, management created “Monday Risk Calls” to ensure that its

Yen-LIBOR traders and submitters were on the same page and would manipulate Yen-LIBOR in

the most beneficial direction for their Yen-LIBOR-based derivatives positions.




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        32.     In another example, on December 11, 2007, UBS Manager Mike Pieri emailed

another UBS Senior Manager to see “how much pressure” they could “exert” on UBS’s

upcoming Yen-LIBOR submissions because UBS had a potential exposure of “2[million/per

basis point]” on the approaching December International Monetary Market (“IMM”) date.11 To

justify the manipulation, Pieri stated that because “everyone will be trying to influence the

[upcoming Yen-LIBOR] fixing,” UBS could lose on its Yen-LIBOR-based derivatives positions

if UBS did not “do the same.” In response, UBS Senior Manager “D” promised he would handle

the situation and discuss it with another UBS senior manager. A distressed Pieri followed up

with Senior Manager “D” three days later, on December 14, 2007, to see if the manipulation had

been approved: “How was the discussion… I need some assurance they will put their rate up

please… our rate input can make a significant difference.”

        33.     Direct Evidence of Anticompetitive Conduct. The communications made

public so far show rampant collusion and an agreement to restrain trade in the Yen-LIBOR-based

derivatives market. The Contributor Bank Defendants and Co-conspirators agreed to “back

scratching” arrangements, whereby co-conspirators explicitly agreed to submit artificial Yen-

LIBOR rates to financially benefit their co-conspirators’ Yen-LIBOR-based derivatives positions

in return for reciprocity sometime in the future.

        34.     The Contributor Bank Defendants and Co-conspirators, aided and abetted by the

Broker Defendants, agreed to stagger false reporting of Yen-LIBOR rates over successive

trading days (e.g., agreeing that an artificially low rate would be submitted by manipulator A

today, by manipulator B tomorrow and manipulator C the next day, etc.) in order to exert greater




11
  IMM dates occur on the third Wednesday of March, June, September, and December. Many Yen-LIBOR-based
derivatives are priced, benchmarked, and/or settled on IMM dates.

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and longer-lasting manipulative pressure on Yen-LIBOR-based derivatives prices and to mask

their false reporting. In one such example, ICAP Broker Darrell Read developed a strategy in

July 2009 with former UBS Senior Yen Trader Hayes to artificially lower the six-month Yen-

LIBOR. The ICAP Broker cautioned Hayes that, “if you drop your 6m dramatically on the 11th

[of August] mate, it will look v[ery] fishy, especially if [HSBC] and [Deutsche Bank] go with

you[,] I’d be v[ery] careful how you play it… might get people questioning you.” UBS Senior

Yen Trader Hayes, seasoned in this practice, said, “don’t worry will stagger the drops ie 5bp then

5bp…us then [Deutsche Bank] then [HSBC] then us then [Deutsche Bank] then [HSBC].” The

ICAP Broker confirmed their agreement to collusively manipulate six-month Yen-LIBOR

artificially lower and said, “great the plan is hatched and sounds sensible.”

        35.    There are hundreds of publicly available instant messages showing collusion

between UBS, RBS, Rabobank, ICAP, R.P. Martin, Société Générale, and Lloyds and other

Contributor Bank Defendants and Co-conspirators. In one message alone, former UBS Senior

Yen Trader Hayes enlisted Broker Defendant TP ICAP plc (f/k/a Tullett Prebon plc) (“Tullett

Prebon”) to solicit 9 of the 16 Contributor Panel banks to join the conspiracy to manipulate Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives. Other messages show that one

additional bank (the 10th) agreed with UBS to artificially increase Yen-LIBOR on March 31,

2009.

        36.    Defendants’ Former Traders and Rate-Submitters Have Been Criminally

Charged in this District and Abroad. Former UBS and Citibank Yen Trader Hayes, along

with another UBS Yen Trader, Roger Darin, were charged with conspiracy to commit wire fraud

in a criminal complaint unsealed in Manhattan federal court in December 2012. Hayes also faces




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wire fraud and Sherman Act charges from alleged anticompetitive conduct in relation to Yen-

LIBOR from at least September 2006 through September 2009. See Ex. A-6.

       37.     The DOJ also charged three former ICAP brokers, Darrell Read, Daniel

Wilkinson and Colin Goodman, with conspiracy to commit wire fraud and wire fraud in

connection with the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives from at least July 2006 through September 2010. See Ex. C-3.

       38.     The DOJ also charged three former Rabobank traders, Paul Robson, Paul

Thompson and Tetsuya Motomura with conspiracy to commit wire fraud, conspiracy to commit

bank fraud, and wire fraud in connection with the manipulation of Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives from May 2006 through early 2011. See Ex. D-5. Former

Rabobank trader Takayuki Yagami and former Rabobank Yen-LIBOR submitter Paul Robson

each pleaded guilty to conspiracy to commit wire fraud and bank fraud in this District before

Judge Rakoff for their role in the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-

based derivatives. See Ex. D-6. Both Yagami and Robson are cooperating with the DOJ in its

ongoing investigation of the criminal conduct alleged herein.

       39.     In June 2013, the U.K. Serious Fraud Office (“SFO”) charged former UBS and

Citibank Senior Yen Trader Hayes with eight counts of conspiracy to defraud and directly

implicated Defendants and their co-conspirators, including (i) UBS AG; (ii) Citigroup Global

Markets Japan Limited, (iii) Deutsche Bank AG, (iv) UBS Japan, (v) JP Morgan Chase & Co.,

(vi) RBS, (vii) HSBC, and (viii) Rabobank, as well as Broker Defendants (i) ICAP and (ii)

Tullett Prebon in the manipulation of Yen-LIBOR and “other interbank offered rates” from

August 2006 through December 2010. Hayes was convicted of all eight counts of conspiracy to

defraud in August 2015. Initially, Hayes was sentenced to fourteen years (later reduced to 11



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years) in prison for charges that included manipulating Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives.

       40.     In July 2013, the SFO also charged former R.P. Martin brokers Terry Farr and

James Gilmour with conspiracy to defraud from August 2006 through September 2010 in

connection with the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives.

       41.     In addition, in March 2014, the SFO charged former ICAP brokers Danny

Wilkinson, Darrell Read, and Colin Goodman with conspiracy to defraud from August 2006

through September 2010 in connection with the manipulation of Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives.

       42.     Disciplinary Proceedings, Terminations, Resignations and Withdrawals from

Rate-Setting Panels. More than 25 people resigned from UBS following an internal review of

the bank’s involvement in the alleged manipulation of Yen-LIBOR rates and the prices of Yen-

LIBOR-based derivatives. RBS has also terminated four employees, and is reportedly weighing

further disciplinary proceedings against additional employees. Barclays Chairman Marcus

Agius, and its Chief Executive Officer, Robert E. Diamond, Jr., resigned within days of the

announcement of the Barclays Settlement. In connection with his resignation, Mr. Diamond

revealed that at least 14 traders at Barclays were involved in rate-setting wrongdoing at the bank.

The Chief Executive of Defendant RBS Japan resigned in the wake of the Japanese Financial

Services Agency’s (“JFSA”) administrative sanctions against Defendant RBS Japan.

       43.     Public Officials and Other Market Participants Acknowledge the Existence

of Wide-Spread Collusion in the Yen-LIBOR-based Derivatives Market. The EC fined

Defendants UBS and RBS, and their co-conspirators Deutsche Bank, JP Morgan, Citigroup and



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R.P. Martin, a total of $870 million for their participation in “Yen Interest Rate Derivatives

Cartels.” Joaquin Alminia, Vice-President of the EC, commented “What is shocking about the

LIBOR…scandal[] is not only the manipulation of benchmarks, which is being tackled by

financial regulators worldwide, but also the collusion between banks who are supposed to be

competing with each other. Today’s decision sends a clear message that the Commission is

determined to fight and sanction these cartels in the financial sector. Healthy competition and

transparency are crucial for financial markets to work properly, at the service of the real

economy rather than the interests of a few.” (Emphasis added).

       44.     CFTC Chairman Gary Gensler expressed a similar sentiment, stating that:

“Barclays, UBS and RBS were fined $2.5 billion for manipulative conduct by the CFTC, the UK

Financial Services Authority (FSA) and the DOJ. At each bank, the misconduct spanned many

years, took place in offices in several cities around the globe, included numerous people –

sometimes dozens, even included senior management, and involved multiple benchmark rates

and currencies. In each case, there was evidence of collusion.”

       45.     Evidence Revealed at Hayes’ Criminal Trial Confirms Plaintiffs’ Allegations.

Former UBS Senior Yen Trader Hayes, who at times accounted for roughly 40% of the over-the-

counter Yen-LIBOR-based derivatives market and has been described as the “ringmaster” of

Defendants’ scheme, was arrested in the U.K. on December 11, 2012, and charged with eight

counts of conspiracy to defraud for his involvement in rigging Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives.

       46.     Hayes’ criminal trial, R. v. Hayes, T No. T20137308 (“Hayes Trial”) began in the

Southwark Crown Court on May 26, 2015. The trial provided additional insight into how

Defendants manipulated Yen-LIBOR to fix the prices of Yen-LIBOR-based derivatives at



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artificial levels for their benefit, including, inter alia, highlights from more than 80 hours of

recorded testimony Hayes gave to the SFO, live witnesses from Hayes’ former employer

Citibank, and hundreds of new communications beyond those released in Defendants’ and their

co-conspirators’ government settlements.

       47.     Hayes’ trial testimony further demonstrates that Defendants and their co-

conspirators rigged Yen-LIBOR on a daily basis, coordinating their false Yen-LIBOR

submissions with dozens of traders, submitters, and inter-dealer brokers. By working together,

Defendants and their co-conspirators rigged the market for Yen-LIBOR-based derivatives for

long periods of time, including during at least seven long-term “campaigns,” demonstrating that

prices were artificial throughout the Class Period. The pervasive and persistent nature of

Defendants’ and their co-conspirators’ Yen-LIBOR manipulation extended beyond their trading

desks to company management, who not only knew that the prices of Yen-LIBOR-based

derivatives—including Yen-LIBOR-based derivatives positions that Defendants and their co-

conspirators established in the United States—were being manipulated for their benefit, but

encouraged that practice.

                                 JURISDICTION AND VENUE

       48.     This Court has jurisdiction over this action pursuant to Section 1 of the Sherman

Antitrust Act, 15 U.S.C. § 1, Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26(a),

Section 1964 of RICO, 18 U.S.C. § 1964, and 28 U.S.C. §§ 1331 and 1337, respectively. This

Court also has jurisdiction over the state law claims under 28 U.S.C. § 1367 because those

claims are so related to the federal claim that they form part of the same case or controversy, and

under 28 U.S.C. § 1332 because the amount in controversy for the Class exceeds $5,000,000 and

there are members of the Class who are citizens of a different state than Defendants.



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       49.     Venue is proper in the Southern District of New York, pursuant to, among other

statutes, Sections 4, 12 and 16 of the Clayton Act, 15 U.S.C. §§ 15, 22 and 26, Section 1965 of

RICO, 18 U.S.C. § 1965, and 28 U.S.C. §1391(b), (c) and (d). Each Defendant resided,

transacted business, was found, or had agents in the District, and a part of the events or

omissions giving rise to the claims occurred in the Southern District of New York.

       50.     Defendants and their co-conspirators, directly and indirectly, singly and in

concert, made use of the means and instrumentalities of transportation or communication in, or

the instrumentalities of, interstate and/or international commerce, or of the mails in connection

with the unlawful acts and practices and courses of business alleged in this Complaint.

       51.     Defendants’ restraint of trade and manipulation of Yen-LIBOR, and the prices of

Yen-LIBOR-based derivatives had direct, substantial, and reasonably foreseeable effects in the

U.S., and on Plaintiffs and members of the Class. Yen-LIBOR-based derivatives are actively

traded in the United States and by U.S.-based counterparties. Defendants, as sophisticated

market participants and active participants in the United States Yen-LIBOR-based derivatives

market (see Personal Jurisdiction, Part I, below), knew that Yen-LIBOR rates published and

compiled by and on behalf of the BBA are disseminated in the U.S. through electronic means,

and are used to price, settle, and benchmark Yen-LIBOR-based derivatives traded in the U.S. and

by U.S. investors. Indeed, the Defendants and their co-conspirators intended for their

manipulative conduct to directly impact their own Yen-LIBOR-based derivatives positions that

each of them established in this District and throughout the United States. See Personal

Jurisdiction, Part I, below. For these reasons, Defendants and their co-conspirators knew that

their intentional misreporting of Yen-LIBOR rates to the BBA, as well as Defendants’ and their

co-conspirators’ other manipulative and collusive conduct would, and did, have direct,



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substantial and reasonably foreseeable effects in the United States, including on the prices of

Yen-LIBOR-based derivatives transacted domestically.

                   PARTIES AND DEFENDANTS’ CO-CONSPIRATORS

       A. Plaintiffs

       52.     Hayman Capital Management L.P. (formerly Hayman Advisors, L.P.), an

investment advisor incorporated in Delaware with its principal place of business in Dallas,

Texas, brings claims on behalf of the investment funds it operates, including Plaintiffs HCMF

and JMOF (collectively “Hayman” or “the Hayman Plaintiffs”). Hayman Capital Management

L.P. was authorized to enter into binding contracts on behalf of HCMF and JMOF throughout the

Class Period. All of Hayman’s Yen-LIBOR-based derivatives traders are located in Dallas,

Texas, and entered into Yen-LIBOR-based derivatives trades from Dallas, Texas on behalf of the

Hayman Plaintiffs. HCMF and JMOF engaged in U.S.-based transactions for Yen-LIBOR-based

derivatives, including Yen-LIBOR-based interest rate swaps and Yen-LIBOR-based

“swaptions,” i.e., options on Yen-LIBOR-based interest rate swaps, directly with Defendants

Barclays Bank PLC and Merrill Lynch International, and co-conspirators JPMorgan and

Deutsche Bank, during the Class Period. Because these Yen-LIBOR-based derivatives are

priced, benchmarked, and settled based on Yen-LIBOR (see Part IV, below), the Hayman

Plaintiffs transacted at artificial prices that were directly and proximately caused by Defendants’

rigging of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives in Defendants’ favor and

to the detriment of their counterparties and other U.S. investors. As a result of Defendants’

manipulative conduct, the Hayman Plaintiffs were damaged and suffered legal injury. See Parts

VII.B and IX.D, infra.

       53.     Plaintiff California State Teachers’ Retirement System (“CalSTRS”) is the largest

U.S. teachers’ retirement fund, with approximately $246 billion in assets and close to one million

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members. CalSTRS engaged in U.S.-based transactions for Yen-LIBOR-based derivatives,

including Yen foreign exchange forwards that were priced based on Yen-LIBOR (see Part

VII.C., below), with Defendants UBS, RBS, Bank of America, Barclays and Société Générale, as

well as co-conspirators Citibank, Deutsche Bank, HSBC, and JPMorgan during the Class Period

at artificial prices proximately caused by Defendants’ unlawful manipulation and restraint of

trade as alleged herein. As a result of Defendants’ manipulative conduct, CalSTRS was

damaged and suffered injury. See Parts VII.C and VII.D, infra.

       54.      Plaintiff Fund Liquidation Holdings LLC (“FLH”) is a Delaware limited liability

company with its principal place of business in Massachusetts.

       55.      Sonterra Capital Master Fund, Ltd. (“Sonterra”) was an investment fund

incorporated under Cayman law with its principal place of business in New York.

       56.      Between 2009 and 2011, Sonterra engaged in over 200 U.S.-based transactions

for Yen-LIBOR-based derivatives at artificial prices proximately caused by Defendants’

unlawful manipulation and restraint of trade as alleged herein. As a result of Defendants’

manipulative conduct, Sonterra was damaged and suffered legal injury. See Parts VII.A and

VII.D, infra.

       57.      Sonterra voluntarily wound up its operations and dissolved on December 28,

2012. Prior to (and in preparation for) its dissolution, on August 3, 2012, Sonterra entered into a

valid Asset Purchase Agreement (“APA”) with Plaintiff FLH. The APA conveyed to FLH “all

monetary, legal, and other rights” in all of Sonterra’s existing and future claims related to its

ownership of or transactions in the “Traded Securities” listed in its “Trade Data.” The “Trade

Data,” provided to FLH pursuant to the APA, lists thousands of transactions in various financial




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products, primarily FX forwards. Sonterra’s Yen-LIBOR-based derivative transactions between

2009 and 2011 are included in the Trade Data.

       58.     The APA placed no limits on the types of claims that FLH, as Sonterra’s assignee,

could bring pertaining to the Traded Securities listed in the Trade Data. Instead, it defined

“Future Claims” to encompass “any and all claims,” “including, without limitation…any future

class action lawsuit…or other lawsuits.” FLH and Sonterra did not exclude or intend to exclude

antitrust claims or Commodity Exchange Act claims from the APA.

       59.     In addition to transferring all “right, title and interest” in its claims to FLH,

Sonterra also granted FLH an irrevocable power of attorney coupled with an interest, giving FLH

the right to take any steps it deemed reasonable and necessary to maximize the value of the

assets FLH acquired from Sonterra pursuant to the APA. These rights include, without limitation,

the power to participate in and initiate lawsuits in Sonterra’s “name, place, and stead.” The APA

further provides that FLH’s power to act pursuant to the APA may not be terminated or revoked

at any time by Sonterra and survives Sonterra’s dissolution.

       60.     FLH, therefore, commenced this action in 2015 in the name of Sonterra, believing

that to be the proper course of action under the power of attorney’s express language as well as

Cayman law. FLH has since determined that because it is the real party in interest (and at all

relevant times hereto was)—the assignee of Sonterra’s claims—it can and should instead bring

this action in its own name for the harm Sonterra suffered when it transacted in Yen-LIBOR-

based derivatives at artificial prices as a result of Defendants’ unlawful conduct.

       B. The Bank of America Defendants

       61.     Defendant Bank of America Corporation is incorporated in Delaware and

headquartered at 100 North Tryon Street, Charlotte, North Carolina 28255. Bank of America

Corporation operates an investment banking division located in this District at the Bank of
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America Tower, One Bryant Park, 1111 Avenue of the Americas, New York, New York 10036.

Merrill Lynch & Co., Inc. and the entire Merrill Lynch family are subsidiaries of Bank of

America Corporation. Bank of America Corporation receives and recognizes the revenues from

all of its wholly-owned subsidiaries, including Defendants Bank of American N.A. and Merrill

Lynch International. In 2013, Merrill Lynch & Co., Inc. merged into Bank of America

Corporation.12 Bank of America assumed all of Merrill Lynch & Co. Inc.’s liabilities following

the merger.13

           62.    Defendant Bank of America, N.A. (“Bank of America”) is a federally-chartered

national banking association headquartered at 101 South Tyron Street, Charlotte, North Carolina

28255. Bank of America is a wholly-owned subsidiary of Bank of America Corporation. Bank

of America operates an office in this District at the Bank of America Tower, One Bryant Park,

1111 Avenue of the Americas, New York, New York 10036. Bank of America is a provisionally

registered swap dealer with the CFTC. 14 During the Class Period, Bank of America was a

member of the BBA Yen-LIBOR panel.

           63.    Defendant Merrill Lynch International (“Merrill Lynch”) is an investment advisor

headquartered in London. Merrill Lynch is a provisionally registered swap dealer with the

CFTC. Both Merrill Lynch and Bank of America are wholly-owned subsidiaries of Bank of

America Corporation. Plaintiff HCMF traded Yen-LIBOR-based derivatives from within the



12
  Dakin Campbell, Bank of America Finishes Merger of Merrill Lynch Into Parent, BLOOMBERG BUSINESS (Oct. 1,
2013), available at http://www.bloomberg.com/news/articles/2013-10-01/bank-of-america-finishes-merger-of-
merrill-lynch-into-parent-1-.
13
     Id.
14
   The CFTC delegates swap dealer registration to the National Futures Association (the “NFA”). The NFA defines
a swap dealer as “an entity that holds itself out as a dealer in swaps; makes a market in swaps; regularly enters into
swaps with counterparties as an ordinary course of business for its own account; or engages in any activity causing
the entity to be commonly known in the trade as a dealer or market maker in swaps.” Firms that conduct at least $8
billion in swap transactions in the United States annually are required to register as a swap dealer.

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United States directly with Merrill Lynch, and paid too much and received too little on these

transactions as a result of Defendants’ conspiracy. See Part VII, below.

           C. The Barclays Defendants

           64.      Defendant Barclays PLC is a global financial services provider headquartered and

incorporated in England. Barclays PLC’s “material entities” within the United States are

Barclays Bank PLC New York Branch and, during the Class Period, Barclays Capital, Inc.15

Barclays PLC owns all of the issued ordinary share capital of Defendant Barclays Bank PLC.16

           65.      Defendant Barclays Bank PLC (“Barclays”), a wholly-owned subsidiary of

Defendant Barclays PLC, maintains an office in this District at 745 Seventh Avenue New York,

New York 10019 (“Barclays Bank PLC, New York Branch”). During the Class Period, Barclays

was a member of the BBA Yen-LIBOR panel.

           66.      Barclays Bank PLC, New York Branch has been licensed, supervised, and

regulated by the NYSDFS to do business in this state since 1963. Barclays Bank PLC, New

York Branch has over 500 employees and more than $36 billion in total assets. Barclays is also

regulated by the Board of Governors of the Federal Reserve System and the Florida Office of

Financial Regulation. Barclays is a provisionally registered swap dealer with the CFTC.

Barclays’ shares are listed on the New York Stock Exchange (“NYSE”). Barclays traded Yen-

LIBOR-based derivatives in the United States directly with Plaintiffs JMOF, HCMF, and

CalSTRS.




15
     Resolution Plan, Section 1: US Public Section, BARCLAYS, at 2 (July 2012).
16
     Barclays PLC, Financial Review (Form 20-F) (May 6, 2005).

                                                          24
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           67.         Barclays admitted as true in its DOJ settlement that “Barclays employs

derivatives traders in New York, New York and in London, England who trade financial

instruments tied to [Yen-]LIBOR [], including interest rate swaps[.]”17

           68.         Barclays Capital Inc. (“BCI”) was a wholly-owned subsidiary of Barclays PLC,

that was a financial services firm incorporated in Connecticut that offered advisory, brokerage,

and banking services on behalf of Barclays. BCI operated as part of Barclays’ Investment Bank

Division. BCI maintained its headquarters in this District at 745 Seventh Avenue New York,

New York 10019 – the same address as Barclays Bank PLC New York Branch. BCI was a

clearing firm on the Chicago Mercantile Exchange (“CME”), the Chicago Board of Trade

(“CBOT”), the New York Mercantile Exchange (“NYMEX”), and the Commodity Exchange,

Inc. (“COMEX”). BCI was registered with the CFTC as a Futures Commission Merchant, an

Exempt Foreign Agent, and a Commodity Pool Operator and Commodity Trading Advisor.

Plaintiff CalSTRS traded Yen-LIBOR-based derivatives from within the United States directly

with BCI. BCI has since merged into Barclays, which has continued operating BCI’s Yen-

LIBOR-based derivatives activities within the United States.

           D. The Lloyds Defendants

           69.         Defendant Lloyds Banking Group plc is a U.K.-based financial services group

that provides a wide range of retail and commercial banking services through operating entities

that carry out its banking activities. Lloyds Banking Group plc was formed on January 19, 2009

when Lloyds TSB Group plc (the parent company of Lloyds TSB Bank plc) acquired HBOS plc.

After this acquisition, Lloyds TSB Group plc changed its name to Lloyds Banking Group plc, the

ultimate parent of Lloyds TSB Bank plc and HBOS. On September 23, 2013, Lloyds TSB Bank


17
     Ex. G-1 at 4-5.

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plc changed its name to Lloyds Bank plc. Lloyds Banking Group plc’s U.S. activities “are

primarily undertaken” by the New York branch of Defendant Lloyds Bank plc.18 Lloyds

Banking Group plc designates the Lloyds Bank plc New York branch as its “material entity” in

the United States.19 Lloyds Banking Group plc’s ADRs are listed on the NYSE.

            70.     Defendant Lloyds Bank plc (f/k/a Lloyds TSB Bank plc) (“Lloyds”) maintains an

office in this District at 1095 Avenue of the Americas, New York, New York 10036. Lloyds is

licensed, supervised, and regulated by the NYSDFS to do business in this state. Lloyds is also

registered with the Federal Reserve Bank of New York. Lloyds is a provisionally registered

swap dealer with the CFTC. As of 2013, Lloyds became the parent company of HBOS, its

principal subsidiary. During the Class Period, Lloyds was a member of the BBA Yen-LIBOR

panel.

            71.     In its DOJ settlement, Lloyds admitted that “[s]ome of [its] counterparties to

[Yen-LIBOR-based derivatives transactions] were located in the United States. Those United

States counterparties included, among others, asset management corporations, mortgage and loan

corporations, and insurance companies.”20

            E. The Rabobank Defendant

            72.     Defendant Rabobank is a financial services corporation that maintains a United

States Headquarted in this District at 245 Park Avenue, 37th Floor, New York, New York 10167,

and several other representative offices throughout the United States. During the Class Period,




18
  Resolution Plain 1. Public Section, LLOYDS BANKING GROUP, at 2 (Dec. 31, 2013), available at
http://www.federalreserve.gov/bankinforeg/resolution-plans/lloyds-bk-3g-20131231.pdf.
19
     Id. at 4.
20
     Ex. H-1 at A-18.

                                                      26
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Rabobank was a member of the BBA Yen-LIBOR panel. Rabobank withdrew from the BBA

Yen-LIBOR panel in mid-2012.

        73.      Rabobank has banking divisions and branches around the world, including in the

United States, with its United States headquarters in New York. Rabobank employs derivatives

traders in New York who trade Yen-LIBOR-based derivatives, including interest rate swaps. In

its 2014 U.S. Resolution Plan, Rabobank declared its New York Branch as its only “material

entity” within the United States. Rabobank is licensed, supervised, and regulated by the

NYSDFS to do business in this state. Rabobank is also registered with the Federal Reserve Bank

of New York, the SEC, the Office of the Comptroller of the Currency, the CFTC, and the

Consumer Financial Protection Bureau.

        74.      Rabobank admitted as true in its settlement with the DOJ that “Rabobank employs

derivatives traders throughout the world – including in New York . . . who trade financial

instruments tied to [Yen] LIBOR . . . including interest rate swaps[.]”

        F. The Royal Bank of Scotland Defendants

        75.      Defendant The Royal Bank of Scotland Group plc is a registered bank holding

company. According to The Royal Bank of Scotland Group plc’s 2013 U.S. Resolution Plan, the

Group made 20% of its income for the 2012 year in the United States.21

        76.      Defendant RBS, a direct, wholly-owned subsidiary of The Royal Bank of

Scotland Group plc, is a banking and financial services company that maintains an office in this

District at 340 Madison Avenue, New York, New York 10173. RBS’s U.S. Headquarters are




21
   RBS Group plc Resolution Plan Pursuant to 12 C.F.R. Parts 217 & 381 and RBS Citizens, N.A. Resolution Plan
Pursuant to 12 C.F.R. 360, at i-2 (Jul. 1, 2013).

                                                      27
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located at 600 Washington Boulevard, Stamford, CT 06901. During the Class Period, RBS was

a member of the BBA Yen-LIBOR panel.

           77.      RBS is licensed, supervised, and regulated by the NYSDFS to do business in this

state. RBS’s Stamford Branch is licensed by the Connecticut Department of Banking (“DOB”).

RBS is a Clearing Firm on several of the CME Group’s U.S-based Exchanges, including the

CME, NYMEX, CBOT, and COMEX, and is a registered swap dealer with the CFTC. RBS is

also regulated by the Board of Governors of the Federal Reserve System.

           78.      RBS transacted in Yen-LIBOR-based derivatives from Stamford, Connecticut

with U.S.-based counterparties during the Class Period, including with counterparties located in

this District. As part of its Deferred Prosecution Agreement with the DOJ, RBS admitted that

“RBS entered into interest rate derivatives transaction tied to Yen . . . with various

counterparties, some of which were located in the United States. U.S. counterparties included

banks and other financial institutions in the United States or located abroad with branches in the

United States. Those counterparties also included, among others, asset management

corporations, business corporations, insurance companies, universities, and non-profit

organizations.”22 RBS traded Yen-LIBOR-based derivatives in the United States during the

Class Period directly with Plaintiff CalSTRS.

           79.      Defendant RBS Japan is a wholly-owned subsidiary of RBS that functions as a

broker-dealer in addition to having market operations. As part of its Plea Agreement with the

Fraud Section of the Criminal Division and Antitrust Division of the DOJ, Defendant RBS Japan

admitted as true and accurate that “the market for derivatives and other financial products linked

to Yen LIBOR is global and is one of the largest and most active markets for such products in


22
     Ex. B-1 at 38 ¶ 79.

                                                   28
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the world. A number of these products are traded in the United States – such as Yen-based

swaps contracts traded over the counter – in transactions involving U.S.-based counterparties.”

       80.     Defendant NatWest Markets Securities Inc. (“RBS Securities”), formerly known

as Greenwich Capital Markets and RBS Securities Inc., is a Delaware company with its

headquarters located at 600 Washington Boulevard, Stamford, CT 06901. RBS Securities is an

SEC registered broker-dealer, a designated Futures Commission Merchant, and a clearing

member on the CME, CBOT, NYMEX, and COMEX.

       G. The Société Générale Defendant

       81.     Société Générale is a financial services company that maintains offices in this

District, including at 1221 Avenue of the Americas, New York, New York 10020 and 245 Park

Avenue, New York, New York 10167. During the Class Period, Société Générale was a member

of the BBA Yen-LIBOR panel.

       82.     Société Générale is licensed, supervised, and regulated by the NYSDFS to do

business in this state. Société Générale is also regulated by the Board of Governors of the

Federal Reserve System. Société Générale is also a registered swap dealer with the CFTC, a

swap firm and guaranteed introducing broker with the NFA, and an OTC clearing firm with the

CME Group. Plaintiff CalSTRS traded Yen-LIBOR-based derivatives from within the United

States directly with Société Générale.

       83.     In Société Générale’s 2014 U.S. Resolution Plan, it stated that its core business

line within the United States is Global Banking and Investor Solutions, as well as declaring its

New York Branch as a “material entity.” Société Générale engages in “significant U.S.

activities” in several core business areas—including corporate and investment banking, which

includes financial and commodities futures brokerage services. In 1938, Société Générale

opened its first U.S. offices and now employs 1,800 corporate professionals in seven U.S. cities.
                                                29
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           H. The UBS Defendants

           84.       Defendant UBS AG (“UBS”) is a banking and financial services company that

maintains an office in this District at 1285 Avenue of the Americas, New York, New York

10019. During the Class Period, UBS was a member of the BBA Yen-LIBOR panel.

           85.       In addition to its New York Branch, UBS also maintains branches in Stamford,

Connecticut and Miami, Florida. UBS’ New York Branch is licensed, supervised, and regulated

by the Office of the Comptroller of the Currency (“OCC”) and UBS’ Stamford Branch is

licensed, supervised, and regulated by the DOB. UBS is a provisionally registered swap dealer

with the CFTC. UBS is also regulated by the Board of Governors of the Federal Reserve

System.

           86.       In UBS’ 2014 Resolution Plan, it designated UBS AG New York Branch and

UBS AG Stamford Branch as “material entities.”23 The Stamford Branch is the center of

operations for UBS’ Treasury function and payment operations in the United States and the

primary booking center for the UBS Investment Bank’s Yen-LIBOR-based derivatives

transactions with U.S. clients and U.S. corporate lending businesses. UBS’ New York Branch

houses its U.S. retail activities of its Wealth Management Americas (“WMA”) division and

provides investment management and custody service to WMA clients. UBS’ shares are

registered as Global Registered Shares on the NYSE.

           87.       UBS employs derivatives traders in its Stamford Branch who trade Yen-LIBOR-

based derivatives, including interest rate swaps.24 Plaintiff CalSTRS traded Yen-LIBOR-based

derivatives from within the United States directly with UBS.


23
  2014 UBS US Resolution Plan Public Section, at 5 (July 2014), available at
http://www.federalreserve.gov/bankinforeg/resolution-plans/ubs-1g-20140701.pdf.
24
     Ex. A-1 at 6.

                                                      30
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           88.   UBS self-reported its criminal cartel activity to the DOJ pursuant to ACPERA for

its admitted manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives within

the United States. In its settlement with the DOJ, UBS admitted that it “employs derivatives

traders throughout the world – including in Stamford, Connecticut . . . who trade financial

instruments tied to [Yen] LIBOR . . ., including interest rate swaps…”25

           89.   Defendant UBS Securities Japan Co. Ltd., the successor company to UBS

Securities Japan, Ltd. (collectively, “UBS Japan”), is one of UBS’ wholly-owned subsidiaries

that engages in investment banking and broker-dealer operations as part of UBS’ Investment

Bank division. UBS Japan pled guilty to wire fraud, in violation of 18 U.S.C. §§ 1343 and 1342,

in the District of Connecticut for its manipulation of Yen-LIBOR on February 25, 2009.26 UBS

Securities Japan Co. Ltd. admitted and acknowledged that it is responsible for the acts of its

predecessor company’s officers and employees. UBS Japan further admitted that “a meaningful

portion of the total value of the transactions entered into by [its] most successful Yen derivatives

trader from 2007 through 2009 involved U.S.-based counterparties.” UBS Japan also admitted

that it “entered into interest rate derivatives transactions tied to LIBOR…– such as derivatives,

forward rate agreements, and futures – with counterparties to those transactions. Many of those

counterparties were located in the United States. Those United States counterparties included,

among others, asset management corporations, mortgage and loan corporations, and insurance

companies. Those counterparties also included banks and other financial institutions in the

United States or located abroad with branches in the United States.” UBS Japan also admitted

that on February 25, 2009, one of its derivatives traders asked an inter-dealer broker via



25
     Id.
26
     Ex. A-5.

                                                 31
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electronic chat to influence the Yen-LIBOR submitters at other panel banks. UBS transmitted

this electronic chat through a UBS server in Stamford, Connecticut, using U.S. wires.27

            I. The Bank of Tokyo-Mitsubishi Co-Conspirators

            90.      Co-conspirator The Bank of Tokyo-Mitsubishi UFJ, Ltd. (“Bank of Tokyo-

Mitsubishi”) is a Japanese commercial bank that provides deposits, loans, insurance agency, and

securities investment trusts for individuals and businesses. During the Class Period, the Bank of

Tokyo-Mitsubishi was a member of the BBA Yen-LIBOR panel.

            91.      Bank of Tokyo-Mitsubishi maintains a branch in this District at 1251 Avenue of

the Americas, New York, New York 10020-1104, as well as Chicago and Los Angeles

branches.28 Bank of Tokyo-Mitsubishi has maintained “a presence in New York since 1880”29

and is a provisionally registered swap dealer with the CFTC.

            92.      The Bank of Tokyo-Mitsubishi New York Branch is licensed, supervised, and

regulated by the NYSDFS to do business in this state. Bank of Tokyo-Mitsubishi is also

regulated by the Board of Governors of the Federal Reserve System and the NFA. As of March

31, 2014, Bank of Tokyo-Mitsubishi had $134 billion in total assets and 2,135 full-time

employees at its New York Branch.30 One of the New York Branch’s “core business lines” is its

Global Markets Division for the Americas-Portfolio Management Group, which transacts in

financial market products and is responsible for market risk control management, hedge income



27
     Id., Ex. 3 Factual Basis for Plea at 4.
28
  The Americas, THE BANK OF TOKYO-MITSUBISHI UFJ, LTD. (last accessed on Nov. 6, 2015), available at
http://www.bk.mufg.jp/global/globalnetwork/americas/.
29
  New York, THE BANK OF TOKYO-MITSUBISHI UFJ, LTD. (last accessed on Nov. 6, 2015), available at
http://www.bk.mufg.jp/global/.
30
  Public: Mitsubishi UFJ Financial Group, Inc. Resolution Plan, MITSUBISHI UFJ FINANCIAL GROUP INC., at 5, 6
(July 1, 2014), available at http://www.federalreserve.gov/bankinforeg/resolution-plans/mitsubishi-fin-3g-
20141231.pdf.

                                                     32
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management, and liquidity risk control.31 Bank of Tokyo-Mitsubishi New York Branch’s other

core business line is the U.S. Corporate Banking Division, which transacts in foreign exchange

and derivatives products.32 Bank of Tokyo-Mitsubishi New York Branch is an Automated

Clearing House, i.e., it provides an electronic network for U.S. financial transactions.33

            93.   Bank of Tokyo-Mitsubishi served as a TFX trading and clearing member during

the Class Period.

            J. The Citibank Co-conspirators

            94.   Co-conspirator Citigroup, Inc. (“Citigroup”) is a Delaware corporation with its

headquarters in this District at 399 Park Avenue, New York, New York 10043. Co-conspirator

Citibank, N.A. is a federally-chartered national banking association incorporated in South

Dakota and a wholly-owned subsidiary of co-conspirator Citigroup Inc. Citibank, N.A.

maintains an office in this District at 399 Park Avenue, New York, New York 10043. Citibank,

N.A. was a member of the BBA Yen-LIBOR panel during the Class Period.

            95.   Co-conspirator Citibank, Japan Ltd. (“Citibank Japan”) is a Japanese commercial

bank headquartered in Tokyo and a wholly-owned subsidiary of co-conspirator Citigroup Inc.

            96.   Co-conspirator Citigroup Global Markets Japan Inc. (“Citigroup Global

Markets”) is a Japanese wholesale investment bank headquartered in Tokyo. Citigroup Global

Markets is a wholly-owned subsidiary of co-conspirator Citigroup, Inc. and an affiliate of

Citibank Japan.




31
     Id. at 10.
32
     Id.
33
     Id. at 22.

                                                  33
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       97.     Collectively, Citigroup, Citibank N.A., Citibank Japan, and Citigroup Global

Markets are referred to as “Citibank.” Plaintiff CalSTRS traded Yen-LIBOR-based derivatives

from within the United States directly with Citibank.

       K. The Deutsche Bank Co-conspirators

       98.     Co-conspirator Deutsche Bank AG (“Deutsche Bank”) is a German financial

services company headquartered in Frankfurt, Germany. During the Class Period, Deutsche

Bank was a member of the BBA Yen- LIBOR panel.

       99.     Deutsche Bank’s U.S. headquarters are in New York. Its New York Branch

(“Deutsche Bank AG, New York Branch”) is located in this District at 60 Wall Street, New

York, New York 10005. Deutsche Bank considers Deutsche Bank AG, New York Branch to be

a “material entity” within the United States. Deutsche Bank AG, New York Branch is licensed,

supervised, and regulated by the NYSDFS to do business in this state. Deutsche Bank is also

registered with the Board of Governors of the Federal Reserve System. Deutsche Bank AG,

New York Branch has more than 1,700 employees and total assets exceeding $152 billion.

Deutsche Bank is a registered swap dealer with the CFTC. Deutsche Bank engages in Yen-

LIBOR-based derivatives trading activities from its New York Branch, including interest rate

derivatives priced based on Yen-LIBOR. The Hayman Plaintiffs and Plaintiff CalSTRS traded

Yen-LIBOR-based derivatives from within the United States directly with Deutsche Bank.

       100.    From 2006 through 2011, Deutsche Bank operated its Global Finance and Foreign

Exchange (“GFFX”) desk—which includes its Global Finance FX Forwards (“GFF”) and

foreign exchange (“FX”) units—from several offices around the world, including in New York.

The GFF unit engaged in pool trading and money market derivatives (“MMD”) throughout the

Class Period from its offices located in this District, including trading of Yen LIBOR-Based

Derivatives from within this District. Deutsche Bank admitted in its NYSDFS Consent Order
                                               34
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that “Deutsche Bank AG and the New York Branch manipulated or attempted to manipulate

submissions for the London Interbank Offered Rate (“LIBOR”), . . . which [is a] benchmark

interest rates used in financial markets around the world, by, at times, submitting rates that would

benefit Deutsche Bank’s trading positions, rather than rates that complied with the definitions of

the rates[.]”34

            101.     Co-conspirator DB Group Services (UK) Limited (“DB Group Services”) is a

wholly-owned subsidiary of co-conspirator Deutsche Bank. DB Group Services is incorporated

and operates its principal place of business in the United Kingdom. DB Group Services settled

with the DOJ, admitting that it employed all of Deutsche Bank’s London-based pool and MMD

traders that were responsible for manipulating Yen-LIBOR. DB Group Services also pled guilty

to felony wire fraud in the District of Connecticut for its involvement in Defendants’ and their

co-conspirators’ LIBOR manipulation scheme.

            L. The HSBC Co-conspirators

            102.     HSBC Holdings plc is a United Kingdom public limited company headquartered

in London. HSBC Holdings plc is the ultimate parent company of one of the world’s largest

banking and financial services groups. HSBC Holdings plc and its subsidiaries provide services

in 75 countries and territories, with approximately 16,000 employees in the United States.

HSBC Holdings plc “is the primary source of equity capital for its subsidiaries and provides non-

equity capital to them when necessary.” HSBC Holdings plc disclosed approximately $22.6

billion in profit before tax for the year ended December 31, 2013, with $8.8 billion in revenue

and $1.221 billion in profit before tax in North America. HSBC Holdings plc and its

subsidiaries’ “core business lines” within the United States include its Global Markets–Rates


34
     Ex. I-5 at 1.

                                                   35
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Division, which transacts in interest rate swaps and other derivatives. HSBC Holdings plc’s

American Depository Receipts (“ADRs”) are listed on the NYSE.

         103.     Co-conspirator HSBC Bank plc is a wholly-owned subsidiary of HSBC Holdings

plc that is headquartered and incorporated in England. HSBC Bank plc is a provisionally

registered swap dealer with the CFTC. During the Class Period, HSBC Bank plc was a member

of the BBA Yen-LIBOR panel. Plaintiff CalSTRS traded Yen-LIBOR-based derivatives from

within the United States directly with HSBC Bank plc.

         104.     Collectively, HSBC Holdings plc and HSBC Bank plc are referred to as “HSBC.”

         M. The JPMorgan Co-conspirators

         105.     Co-conspirator JPMorgan Chase & Co. is a Delaware corporation with its

headquarters in this District at 270 Park Avenue, New York, New York. JPMorgan Chase & Co.

provides businesses, institutions, and individuals with investment banking, treasury and

securities, asset management, private banking, and commercial banking services. Its U.S.-based

dealers trade in the over-the-counter foreign exchange and derivatives markets, which includes

interest rate swaps, forward rate agreements, foreign exchange swaps, and currency swaps.35

JPMorgan Chase & Co. is registered with the Board of Governors of the Federal Reserve

System. During the Class Period, JPMorgan Chase & Co. was a member of the BBA Yen-

LIBOR panel.

         106.     Co-conspirator JPMorgan Chase Bank, N.A. is a federally-chartered national

banking association headquartered in this District at 270 Park Avenue, New York, New York

10017. JPMorgan Chase Bank, N.A. is a wholly owned subsidiary of co-conspirator J.P. Morgan



35
  See Federal Reserve Bank of New York 2007 Survey, at 12, 16-17 (JPMorgan participated in the survey as both a
foreign exchange dealer and an interest rate derivatives dealer, requiring transactions to be reported “on the basis of
the location of the dealer agreeing to conduct the transaction.”).

                                                          36
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Chase & Co. JPMorgan Chase Bank, N.A. is a provisionally registered swap dealer with the

CFTC. Plaintiff HCMF and Plaintiff CalSTRS traded Yen-LIBOR-based derivatives from

within the United States directly with JPMorgan Chase Bank, N.A.

        107.    Co-conspirator J.P. Morgan Securities plc (formerly J.P. Morgan Securities Ltd.)

is a subsidiary of co-conspirator JPMorgan Chase & Co. J.P. Morgan Securities plc provides

brokerage and clearing services for exchange-traded futures and options contracts. J.P. Morgan

Securities plc is a provisionally registered swap dealer with the CFTC.

        108.    Collectively, J.P. Morgan Chase & Co., JPMorgan Chase Bank, N.A., and JP

Morgan Securities PLC are referred to as “JPMorgan”.

        N. The Mizuho Co-conspirator

        109.    In 2000, three of Japan’s largest banks, the Dai-Ichi Kangyou Bank, Limited, The

Fuji Bank, Limited, and The Industrial Bank of Japan, Limited consolidated into a bank holding

company, Mizuho Holdings, Inc. and formed a new financial services group, the Mizuho

Financial Group.36 In 2002, as part of Phase 2 of the consolidation, the Mizuho Financial Group

reorganized Dai-Ichi Kangyou’s, Fuji Bank’s, and The Industrial Bank of Japan’s operations into

Mizuho Bank, Ltd. and co-conspirator Mizuho Corporate Bank, Ltd.37 During the Class Period,

Mizuho Corporate Bank, Ltd. was a member of the BBA Yen-LIBOR panel.

        110.    On December 18, 2006, Mizuho Corporate Bank, Ltd. became a Financial

Holding Company in the United States, supervised and licensed by the Board of Governors of

the Federal Reserve System. This license permitted Mizuho Corporate Bank, Ltd. to engage in


36
  Foundation of the Mizuho Financial Group (“MHFG”) Through the Consolidation of DKB, Fuji Bank, and IBJ,
PRESS RELEASE (Dec. 22, 1999), available at http://www.mizuho-
fg.co.jp/english/company/info/pdf/19991222release_eng.pdf.
37
  Reorganization of the Mizuho Financial Group (“MHFC”) --- Announcement of Execution of the Corporate Split
Agreement, Mizuho Holdings, Inc. (Jan. 17, 2002), available at http://www.mizuho-
fg.co.jp/english/company/info/pdf/20020117release_eng.pdf.

                                                     37
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comprehensive investment banking businesses, such as underwriting and dealing of corporate

bonds, equities, and other types of securities.38 Up and until June 28, 2013, Mizuho Corporate

Bank, Ltd. was licensed, supervised, and regulated by the NYSDFS to do business in this state.

           111.   On July 1, 2013, the Mizuho Financial Group merged its corporate bank (Mizuho

Corporate Bank, Ltd.) and retail bank (Mizuho Bank, Ltd.) into one streamlined bank, co-

conspirator Mizuho Bank, Ltd. (hereinafter “Mizuho Bank”).39 The merger was an “absorption-

type merger,” whereby Mizuho Corporate Bank, Ltd. was the surviving company and Mizuho

Bank, Ltd. dissolved.40 The surviving company’s name was changed to Mizuho Bank, Ltd. upon

execution of the agreement.41

           112.   Mizuho Bank has an office in this District at 1251 Avenue of the Americas, New

York, New York 10020. Mizuho Bank’s New York Branch is licensed, supervised, and

regulated by the NYSDFS to do business in this state. Mizuho Bank also operates a Los Angeles

branch and a San Francisco Representative Office, which are supervised by the Federal Reserve

Bank of San Francisco and the California Department of Business Oversight, a Chicago Branch

supervised by the Illinois Department of Financial and Professional Regulation, and Atlanta and

Houston Representative Offices. Mizuho Bank is Mizuho Financial Group, Inc.’s “material

entity” within the United States.42 Mizuho Bank’s New York Branch primarily engages in



38
   Financial Holding Company status obtained in the U.S., MIZUHO (Dec. 19, 2006), available at
http://www.mizuhobank.com/company/release/cb/pdf/news_20061219.pdf.
39
  Start of the New Mizuho Bank, Mizuho (July 1, 2013), available at http://www.mizuho-
fg.co.jp/english/release/20130701release_eng.html.
40
  Memorandum of Understanding on Merger between Mizuho Bank, Ltd. and Mizuho Corporate Bank, Ltd.,
Mizuho Financial Group, Inc. (Nov. 14, 2011), available at http://www.mizuho-
fg.co.jp/english/company/info/pdf/20111114_2release_eng.pdf.
41
     Id.
42
  Mizuho Financial Group, Inc. U.S. Resolution Plan 2013 Section 1: Public Section, Mizuho Financial Group Inc.
(2013), available at http://www.federalreserve.gov/bankinforeg/resolution-plans/mizuho-fin-3g-20131231.pdf.

                                                       38
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wholesale commercial banking services, as well as treasury operations, offering foreign

exchange, money market instruments, and securities lending.43

            113.   Co-conspirator Mizuho Trust and Banking Co. Ltd. is a corporate subsidiary of

the Mizuho Financial Group. Mizuho Trust and Banking Co. Ltd. was created when the trust

and banking subsidiaries of the three banks, Dai-Ichi Kangyo Fuji Trust & Banking Co., Ltd. and

the IBJ Trust & Banking Co., Ltd., merged into one entity.44

            O. The Norinchukin Co-conspirator

            114.   Co-conspirator The Norinchukin Bank (“Norinchukin”) is a banking and financial

services company that maintains an office in this District at 245 Park Avenue, New York, New

York 10167-0104. During the Class Period, Norinchukin was a member of the BBA Yen-

LIBOR panel.

            115.   Norinchukin’s New York Branch is licensed, supervised, and regulated by the

NYSDFS to do business in this state. Norinchukin considers its New York branch a “material

entity” within the United States.45 As of March 31, 2013, Norinchukin’s New York branch had

total assets of $81.1 billion.46 Norinchukin’s New York ranch transacts in Yen-LIBOR-based

derivatives, such as currency swaps and foreign exchange forwards.47




43
     Id. at 2.
44
  Foundation of the Mizuho Financial Group (“MHFG”) Through the Consolidation of DKB, Fuji Bank, and IBJ,
PRESS RELEASE (Dec. 22, 1999), available at http://www.mizuho-
fg.co.jp/english/company/info/pdf/19991222release_eng.pdf.
45
  U.S. Resolution Plain Section 1: Public Section, THE NORINCHUKIN BANK (Dec. 24, 2013), available at
http://www.federalreserve.gov/bankinforeg/resolution-plans/norinchukin-bk-3g-20131231.pdf.
46
     Id. at 7.
47
     Id.

                                                      39
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            P. The R.P. Martin Co-conspirators

            116.    Co-conspirator R.P. Martin Holdings Limited was a U.K.-based wholesale

brokerage firm. Co-conspirator Martin Brokers (UK) Ltd. was a wholly owned subsidiary of

Martin Brokers Group Ltd. that brokers cash deposits and derivatives based on Yen-LIBOR

between banks. R.P. Martin Holdings Limited and Martin Brokers (UK) Ltd. are collectively

referred to herein as “R.P. Martin.”

            Q. The Sumitomo Mitsui Co-conspirator

            117.    Co-conspirator Sumitomo Mitsui Banking Corporation (“Sumitomo Mitsui”) is a

Japanese commercial banking company that maintains an office in this District at 277 Park

Avenue, New York, New York 10172 (“Sumitomo Mitsui New York Branch”). During the

Class Period, Sumitomo Mitsui was a member of the BBA Yen-LIBOR panel.

            118.    The Sumitomo Mitsui New York Branch is licensed, supervised, and regulated by

the NYSDFS to do business in this state. Sumitomo is also regulated by the Federal Reserve

Bank of New York and the Board of Governors of the Federal Reserve System. Sumitomo

Mitsui also operates branches in Los Angeles and San Francisco that are supervised by the

California Department of Business Oversight and the Federal Reserve Bank of San Francisco, as

well as a representative office in Houston supervised by the Texas Department of Financial

Institutions and the Federal Reserve Bank of Dallas. Sumitomo Mitsui considers its New York

Branch a “material entity” for conducting business within the United States.48 One of the

Sumitomo Mitsui New York Branch’s “core business lines” is its Trading Department, which

primarily focuses on sales and trading of foreign exchange products.49



48
     Sumitomo Mitsui Financial Group U.S. Resolution Plan Public Section, at 4 (2013).
49
     Id. at 6.

                                                         40
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           R. The TP ICAP PLC Defendants

           119.   TP ICAP plc (f/k/a Tullett Prebon plc) (“Tullett Prebon”) was an inter-dealer

broker headquartered in London during the Class Period. In 2015, Tullett Prebon purchased co-

conspirator ICAP plc, including ICAP plc’s wholly-owned subsidiary, Defendant ICAP Europe

Limited (“ICAP”). Tullett Prebon facilitates the trading activities of its clients, in particular

commercial and investment banks.

           120.   Tullett Prebon had at least two wholly-owned U.S. subsidiaries, Tullett Prebon

Americas Corp. (“Tullett Americas”) and Tullett Prebon Financial Services LLC (“Tullett

Financial”). Tullett Americas is incorporated in Delaware and operates its main office at 101

Hudson Street, Jersey City, New Jersey 07302-3908. Tullett Financial is incorporated in

Delaware and operates its main office at One Seaport Plaza, New York, New York 10038.

           121.   Tullett Americas and Tullett Financial comprise the U.S. arm and alter ego of

their corporate parent, Tullett Prebon. In an action filed in the District of New Jersey alleging

damages derived from harm to Tullett Prebon’s U.S. subsidiaries, Tullett Prebon admitted that

“[a]lthough Tullett Prebon is a United Kingdom public company headquartered in London, all of

its North American operations are headquartered and based in New Jersey.”50 In its opposition

to the defendants’ motion to dismiss, Tullett Prebon argued that it was “the real party in interest”

when the defendant, BGC Partners, Inc., lured seventy-seven brokers employed by Tullett

Prebon’s subsidiaries’ to join BGC.51 Even though BGC’s actions were taken against Tullett

America and Tullett Financial, Tullett Prebon argued that the raids “caused a direct and distinct




50
  Tullett Prebon plc v. BGC Partners, Inc., No. 09-cv-05365, ECF No. 39, Memorandum of Law of Plaintiff Tullett
Prebon plc In Opposition to Defendant BGC Partners, Inc.’s Motion to Dismiss and Motion to Stay at 10 (Mar. 10,
2010).
51
     Id.

                                                      41
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injury” to Tullett Prebon and it was “the only party that has standing to recover for certain of the

injuries it sustained[.]”52 Tullett Prebon stated that the raid caused a decline in its market

capitalization and “continues to threaten Tullett Prebon with enormous economic and

reputational harm.”53

            122.   Defendant NEX International Limited (f/k/a ICAP plc) (“ICAP plc”) was the

world’s largest voice and electronic inter-dealer broker during the Class Period. ICAP plc is a

wholly-owned subsidiary of NEX Group plc, which is a wholly-owned subsidiary of CME

Group Inc. Defendant ICAP Europe Limited was a wholly-owned subsidiary of ICAP plc during

the Class Period, but is now a wholly-owned subsidiary of Defendant TP ICAP plc.

            123.   ICAP plc provides independent brokerage services to commercial banks,

investment banks, and other liquidity providers and is active in the wholesale markets for OTC

derivatives, fixed income securities, money market products, foreign exchange, and equity

derivatives. ICAP plc maintains dedicated derivatives teams within the United States, in New

York and Chicago. ICAP plc’s voice brokerage business, now part of Defendant TP ICAP plc,

which handles interest rate derivatives and foreign exchange, generated $792 million in revenue

from the Americas during the 2012 fiscal year.

            124.   In a criminal complaint filed in this District against former ICAP brokers Darrell

Read, Danny Wilkinson, and Colin Goodman, the DOJ alleges that Read and Wilkinson

conspired with former UBS trader, Tom Hayes, through, among other means, electronic chats

routed through servers located in New York and that Goodman distributed false run-thrus, or

“suggested LIBORs” (see IV.C.1.a., infra), through U.S. wires to email recipients in New York



52
     Id. at 3.
53
     Id. at 8.

                                                   42
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and to an ICAP colleague located in the United States.54 In addition, the DOJ alleges Read

brokered trades between Hayes and U.S. counterparties located in New York on at least October

24, 2006, November 9, 2006, July 4, 2008, and July 8, 2008.55

           125.      The Defendants that served on the BBA Yen-LIBOR panel during the Class

Period are collectively referred to herein as the “Contributor Bank Defendants.” The Contributor

Bank Defendants and their co-conspirators that also served on the BBA Yen-LIBOR panel are

collectively referred to herein as the “Contributor Bank Defendants and Co-conspirators.”

           126.      Yen-LIBOR Panel. The following Contributor Bank Defendants and Co-

conspirators served on the BBA Yen-LIBOR panel during the Class Period: (i) The Bank of

Tokyo-Mitsubishi UFJ, Ltd.; (ii) The Norinchukin Bank; (iii) Sumitomo Mitsui Banking

Corporation; (iv) J.P. Morgan Chase & Co.; (v) Mizuho Corporate Bank, Ltd.; (vi) Deutsche

Bank AG; (vii) UBS AG; (viii) Société Générale S.A.; (ix) RBS; (x) Barclays Bank PLC; (xi)

Citibank, N.A.; (xii) Rabobank; (xiii) HSBC; (xiv) Lloyds; and (xv) Bank of America.

           127.      Defendants ICAP and Tullett Prebon, along with additional yet-to-be identified

derivative and cash broker defendants, are collectively referred to herein as the “Broker

Defendants.”

           128.      John Doe Defendants Nos. 1-50 are other entities or persons, including banks,

inter-dealer brokers, cash brokers and other co-conspirators whose identities are currently

unknown to Plaintiffs. The John Doe Defendants participated in, furthered, and/or combined,

conspired, or agreed with others to perform the unlawful acts alleged herein, including the




54
     Ex. C-3 at 2.
55
     Id.

                                                     43
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     restraint of trade, fixing, and manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based

     derivatives.

                                      PERSONAL JURISDICTION

I.      Each Defendant Formed Purposeful, Suit-Related Contacts with the Forum

            129.    Defendants engaged in numerous volitional acts within the United States,

     invoking the benefits and protections of the laws of New York and the United States. By these

     acts, Defendants availed themselves of the privilege of conducting activities within this District

     and the United States, including in furtherance of Defendants’ conspiracy to manipulate Yen-

     LIBOR and the prices of Yen-LIBOR-based derivatives, and are subject to jurisdiction here.

            A. Rabobank

            130.    During the Class Period, Defendant Rabobank, acting through its New York

     branch and other United States branches, enacted, effectuated, and consummated the alleged

     conspiracy and manipulation by conduct in the United States, including by trading Yen-LIBOR-

     based derivatives in the United States with U.S. counterparties while conspiring to fix the prices

     of these instruments. Rabobank also engaged in purposeful marketing to attract U.S. investors as

     counterparties to Rabobank in Yen-LIBOR-based derivatives that Rabobank intentionally

     manipulated through its participation in the conspiracy described in this Complaint.

            131.    During the Class Period, Defendant Rabobank acted through bank branches in the

     United States, including its New York branch located in this District. In its 2012 Resolution Plan

     submitted to the Federal Reserve, Rabobank disclosed that its New York branch “operates in the

     United States as a legal extension of Rabobank Nederland. It is licensed by the New York State

     Department of Financial Services (“NYDFS”) and regulated by the Federal Reserve Bank of

     New York (“FRBNY”).” Rabobank established the New York branch in 1970.



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       132.    Rabobank reports revenues and organizes itself on a divisional basis. One of these

internal divisions is called the “Wholesale” division. The Wholesale division is the operational

division at Rabobank that trades derivatives, which includes Yen-LIBOR-based derivatives. In

its 2012 U.S. Resolution Plan, Rabobank wrote that it “conducts wholesale activities through

[the] New York branch.” Rabobank describes its New York branch as a “material entity,” which

means that it is an “office of [Rabobank] that is significant to the activities of a critical operation

or core business line.” David Basset leads Rabobank’s Wholesale division for the “Americas”

region, which includes North and South America, from Rabobank’s New York branch.

       133.    Although the Americas region for Rabobank’s Wholesale division is

headquartered in its New York branch, it also maintains representative offices throughout the

United States, including in Atlanta, Chicago, Dallas, St. Louis, and San Francisco.

       134.    During the Class Period, Defendant Rabobank operated a Financial Markets

group headquartered in New York City, that was specifically dedicated to carrying out

Rabobank’s Wholesale division’s derivatives trading operations in the United States, including

the trading and sale of Yen-LIBOR-based derivatives. The Financial Markets group is led by

Nader Pasdar, who previously led the Wholesale division’s Derivatives sales teams for the West

Coast of the United States from Rabobank’s San Francisco office. Pasdar’s sales team marketed

and arranged derivatives transactions, including Yen-LIBOR-based derivatives transactions, with

customers in the United States on behalf of Rabobank.




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        135.    During the Class Period, Defendant Rabobank, through the New York Branch,

operated an Interest Rate Derivatives Trading Desk, as a subset of its Global Financial Markets

Group.56

        136.    Defendant Rabobank’s Interest Rate Derivatives Trading Desk provided

Defendant Rabobank’s United States-based customers with “interest rate swaps and options,

cross currency swaps and options, and individually-tailored derivatives designed to hedge

commodity or credit risk.” The products that Rabobank traded in the United States included

Yen-LIBOR derivatives, including Yen-LIBOR based interest rate swaps.

        137.    Defendant Rabobank used the sales arms of its United States offices to solicit

United States investors to use its Yen-LIBOR-based derivatives services, including for trading

foreign exchange contracts, currency and interest rate futures, forward rate agreements, currency

and interest rate swaps, and currency and interest rate options.

        138.    During the Class Period Rabobank instructed and required its United States

customers to contact their New York derivatives desk to purchase “interest rate swaps and

options, cross currency swaps and options, and individually tailored derivatives designed to

hedge commodity or credit risk” including Yen-LIBOR-based instruments.57

        139.    Furthermore, Rabobank admitted as true in its settlement with the DOJ that

“Rabobank employs derivatives traders throughout the world – including in New York . . . who

trade financial instruments tied to LIBOR . . . including interest rate swaps[.]”




56
  See Global Financial Markets, RABOBANK INTERNATIONAL,
https://web.archive.org/web/20060509020401/http://www.rabobankamerica.com/raboIntl_locations.aspx (last
viewed March 15, 2017; snap shot of May 9, 2006).
57
  Global Financial Markets, RABOBANK INTERNATIONAL,
https://web.archive.org/web/20060517195051/http://www.rabobankamerica.com/raboIntl_global_markets.aspx (last
viewed March 15, 2017; archive from May 17, 2006 website).

                                                     46
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           140.     This admission was corroborated when Rabobank’s Paul Robson and Takayuki

Yagami pled guilty in this District for conspiring to commit wire fraud and bank fraud by rigging

the Yen-LIBOR-based derivatives market.58 Robson and Yagami admitted that they understood

that American financial institutions would be negatively impacted by their Yen-LIBOR

manipulation.59 For example, during his plea allocution, Robson explained:

           I tailored the yen LIBOR submissions I made on behalf of Rabobank in order to
           profit the bank’s position . . . I understood the parties taking opposing trading
           positions could be negatively affected, and I knew that some of these parties that
           could be affected were American financial institutions…When I made these
           submissions designed to favor the bank’s trading positions, I knew that it was
           wrong to do so.60

           141.     Anthony Allen was Rabobank’s Global Head of Cash, including Yen, and

Anthony Conti was Rabobank’s Senior Trader and backup Yen-LIBOR submitter. Testimony

from their trial shows that they frequently colluded with New York-based Rabobank employees,

including Christian Schluep. Christian Schluep was a Rabobank Yen derivatives trader.61

Allen’s trial testimony demonstrates that he and others at Rabobank knew and intended that the

effects of their manipulative conduct were expressly aimed at the United States and U.S. market

participants:

           Q.       And you understood that the interest rate swaps involved yen LIBOR, US
                    dollar LIBOR?
           A.       Amongst other currencies, yes.
           Q.       And there are counterparties on the other side of these Rabobank interest
                    rate swaps?


58
     Ex. D-7.
59
 United States v. Robson, No. 14-cr-272, ECF No. 21 (Sept. 2, 2014); United States v. Yagami, No. 14-cr-272, ECF
No. 16 (Jul. 1, 2014).
60
     United States v. Robson, No. 14-cr-272, ECF No. 21 at 12-13 (Sept. 2, 2014).
61
  See Caroline Binham, Daniel Shafer, and Philip Stafford, Rabobank to settle over Libor, FINANCIAL TIMES (Sept.
26, 2013), available at http://www.ft.com/intl/cms/s/60c7e6f4-26d2-11e3-bbeb-
00144feab7de.html#axzz3qdSZhNad

                                                          47
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           A.        Yes.
           Q.        Located all over the world?
           A.        Yes.
           Q.        Located here in the US?
           A.        Yes.
           Q.        Located here in New York?
           A.        Yes.
           ***
      Q.     And you understood that if the individual on one side of an interest rate
swap was manipulating LIBOR, the other side would lose money?
           A.        Yes.62

           142. The criminal complaint alleged that Rabobank traded in derivative products tied to

Yen LIBOR with counterparties based in New York, New York,63 describing one such instance

from March 19, 2008. Rabobank Yen trader Motomura asked Trader-R to make the rate as high

as possible. Trader-R then emailed Robson:


                     Trader-R: "We have loads of 6mth fixings today. If
                     possible, could you set 6m libor to 1.10% please? We don't
                     have particular interest in other libors."

                     Robson:"sry just to confirm 6m you want at 1.10??? Ok will
                     do that but I will prob get a phone call at I set 02 yesterday
                     and brokers reckon everything a little lower today ...
                     indications are ... 1m 85 2m 91 3m 975 6m 1.03."

                     Trader-R: "actually,,, moto man [Motomura] would like 6m
                     to be higher today ..... If it is not appropriate, it is fine mate,
                     I will explain the situation to him."




62
     United States v. Allen, No. 14-cf-272, Transcript of Trial at 1265-1266 ().
63
     USA v. Robson et al, 1:14-cr-272-JSR (ECF No. 1, at 17)

                                                            48
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                     Robson: "Well its no prob mate - I can set it that high .... It
                     will be quite funny to see the reaction!"64

           143.      That day, Robson caused Rabobank to submit a 6-month Yen LIBOR of 1.10

percent, eight basis points higher than Rabobank's submission the day before, moving its

submission from the middle of the panel to the panel's second highest.65

           144.      Rabobank had previously entered into a swap contract with a financial institution

which was a federally chartered financial institution within the definition of 18 U.S.C. § 20. The

profitability of that transaction was directly affected by the Yen LIBOR rate on March 19, 2008.

On March 20, 2008, as a result of the March 19, 2008 conversation described above, Robson,

Motomura, and Trader-R caused one such payment to be transmitted via wire transfer from

Rabobank’s offices in Utrecht, Netherlands to a counterparty in New York, New York.66

           145.      Takayuki Yagami (a Rabobank Yen trader) also testified at the Allen/Conti Trial

that he knew manipulating Yen-LIBOR created an “unfair advantage” over his counterparties,

including those located in the United States, but he continued to manipulate Yen-LIBOR because

it increased his bonus which was based on the performance of his trading books.67

           146.      All of Rabobank’s wholesale banking activities in the United States, including

transactions in Yen-LIBOR-based derivatives and financial instruments, are conducted through

its New York branch, a material entity according to their U.S. Resolution Plan, which is not a




64
     USA v. Robson et al, 1:14-cr-272-JSR (ECF No. 1, at 18).
65
     Id.
66
     Id.
67
     United States v. Allen, No. 14-cf-272, Transcript of Trial at 697 (Oct. 19, 2015).

                                                             49
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separate legal entity from Rabobank but a direct extension into the U.S. market.68 Rabobank’s

New York branch is regulated by the FRB, NYSDFS, SEC, OCC, FDIC, CFTC, and CFPB.69

           147.    Rabobank states that its “entities have strong interrelationships due to Rabobank’s

cooperative structure” including its entities located in the United States.

           148.    Rabobank Group, the name that Rabobank uses to describe itself and all of its

subsidiaries, centrally manages risk at various levels across the organization through a Managing

Board and Supervisory Board. The Managing Board determines the risk strategy that Rabobank

and its subsidiaries will pursue, the risk appetite, and the policy framework, as well as the limits.

The Supervisory Board assesses the risks attached to the activities and portfolio of Rabobank.

This strategy is then implemented at the Group level, including throughout its U.S. operations.

           149.    Accordingly, even Rabobank’s foreign Yen-LIBOR-based risk management was

affected by its U.S. Yen-LIBOR-based derivatives trading.

           150.    During the Class Period, Rabobank manipulated Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives traded in the U.S. and with U.S. counterparties to benefit their

Yen-LIBOR derivatives positions.

           B. UBS AG and UBS Securities Japan

           151.    UBS AG organizes its activities and those of its subsidiaries into different

divisions based on function. UBS AG maintains an investment banking division known as “UBS

Investment Bank.” UBS Investment Bank is a global division that is not formally headquartered

in any one location, but instead operates through affiliated, commonly-owned and managed




68
  Coöperatieve Rabobank, United States, https://www.rabobank.com/en/locate-us/americas/usa.html; Coöperatieve
Rabobank, United States – Contact, https://www.rabobank.com/en/locate-us/americas/usa/contact.htm; Rabobank,
2018 U.S. Resolution at 2.
69
     Rabobank, 2018 U.S. Resolution at 14.

                                                     50
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entities and/or offices in locations that UBS AG considers particularly important to its UBS

Investment Bank division. UBS AG describes these offices as “headquarters.” UBS Investment

Bank is also the division of UBS AG that engages in Yen-LIBOR-based-derivatives sales and

trading.

           152.    UBS AG reports the results and recognizes revenues from its UBS Investment

Bank on a consolidated basis. Accordingly, the derivatives trading profits generated by UBS AG

and UBS Japan are all reported within the “UBS Investment Bank” business in UBS AG’s

annual reports.70 UBS AG is also responsible for determining the operating budget, risk limits,

and compliance and oversight functions governing UBS Investment Bank (which includes the

Yen-LIBOR-based-derivatives trading activities of UBS Japan).

           153.    UBS AG has two offices that are very significant to UBS Investment Bank’s

global operations located in the United States, which UBS AG describes as its U.S.

“headquarters.” One of UBS AG’s U.S. headquarters is located in Stamford, CT, and the other is

located in this District.

           154.    UBS AG maintains a bank account in this District through its New York

headquarters to receive and process payments due under Yen-LIBOR-based-derivatives trades

with counterparties located in this District and throughout the United States.71 UBS AG books

Yen-LIBOR-based-derivatives transactions, including the transactions UBS AG entered into

with Plaintiff CalSTRS, to its Stamford headquarters.72 Accordingly, UBS AG transacted Yen-



70
     UBS AG, 2012 Annual Report, p. 106.
71
  https://www.federalreserve.gov/bankinforeg/resolution-plans/ubs-1g-
20150701.pdf#:~:text=The%20UBS%20US%20Resolution%20Plan%20addresses%20the%20resolution,in%20the
%20UBS%20US%20Resolution%20Plan%20relates%20to; https://listofbanksin.com/List-of-correspondentbanks-
SWIFT-Codes.htm.
72
  https://www.federalreserve.gov/bankinforeg/resolution-plans/ubs-1g-
20150701.pdf#:~:text=The%20UBS%20US%20Resolution%20Plan%20addresses%20the%20resolution,in%20the

                                                 51
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LIBOR-based-derivatives in the United States with Plaintiff CalSTRS and members of the Class

using a bank account located in this District and booked through its Stamford Branch.

       155.    UBS AG reported that its Investment Bank division used a “global coverage”

model to provide derivatives sales and trading to institutional investors in major financial

markets. It further reported that it maintained “Financial Hubs” in financial markets that are

particularly important to its business. One of these “Financial Hubs” is located in Chicago,

Illinois. Another “Financial Hub” is located in New York, NY, at UBS AG’s New York branch.

       156.    One of the entities that UBS AG uses to operate the UBS Investment Bank

division is UBS Japan. UBS Japan employed a trader described by the DOJ as “UBS’s most

successful Yen derivatives trader,” Tom Hayes. Hayes’s affiliation with UBS Investment Bank,

and his access to the United States Yen-LIBOR-based-derivatives market through UBS

Investment Bank’s two “U.S. headquarters,” allowed Hayes to establish substantial Yen-LIBOR-

based-derivatives positions in the United States. For example, the DOJ found (and UBS

admitted) in the Statement of Facts attached to UBS AG’s plea agreement that “a meaningful

portion of the total value of transactions entered into” by Hayes “involved counterparties located

in the United States.” Other traders on UBS AG’s Yen desk, which included traders employed by

UBS Japan operating as part of UBS AG’s Investment Bank division, also established Yen-

LIBOR-based derivatives positions in the United States during the Class Period.

       157.    In guilty pleas, UBS AG and UBS Japan admitted that profiting from these

trading positions was the motivation behind their manipulation of Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives.




%20UBS%20US%20Resolution%20Plan%20relates%20to

                                                52
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           158.      These trading positions included Yen-LIBOR-based derivatives trades that UBS

AG executed with CalSTRS in the United States. For example, UBS AG entered into dozens of

yen foreign exchange forwards (a type of Yen-LIBOR-based derivative, see Part I.B, below),

directly with CalSTRS in the United States throughout the Class Period.

           159.      Accordingly, UBS AG and UBS Japan operating as part of UBS AG’s UBS

Investment Bank, intentionally manipulated the prices of Yen-LIBOR-based-derivatives that

these Defendants established in this District and in the United States, including Yen-LIBOR-

based derivatives trades that UBS AG booked with CalSTRS in the United States using UBS

AG’s New York office, and collected the illicit proceeds arising from these transactions in this

District at UBS AG’s New York headquarters.

           160.      UBS AG admitted that it “employs derivatives traders throughout the world –

including in Stamford, Connecticut . . . who trade financial instruments tied to LIBOR . . .,

including interest rate swaps . . .”73 The Short Term Interest Rate (“STIR”) traders at UBS AG,

operating as part of its Investment Bank division, established Yen-LIBOR-based derivatives

positions in the United States with counterparties located in the United States. Many of those

counterparties included investors located in this District.

           161.




73
     Ex. A-1 at 6.
74

75



                                                    53
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        162.    UBS Japan committed significant resources to growing its U.S. client base, even

dispatching Japan-based employees on New York marketing trips during the Class Period.

        163.    UBS Japan’s senior economist Takuji Aida, who had served in a similar role for

Defendant Barclays Bank earlier in the Class Period, contributed an op-ed to the Wall Street

Journal on March 9, 2011 reassuring the Journal’s readers in the U.S. financial sector that

Japan’s economy “has plenty of life left in it.”77 Aida also regularly offered comment to

coverage of the Japanese economy in other U.S. newspapers, including The New York Times and

the New York Post.

        C. Barclays PLC and Barclays Bank PLC.

        164.    Defendant Barclays PLC is a multinational financial services provider

headquartered and incorporated in England. Barclays PLC organizes its activities and those of its

subsidiaries into different divisions based on function. Its derivatives trading activity, including

its Yen-LIBOR-based derivatives trading, is carried out by Defendant Barclays under the trade

name Barclays Investment Bank. As the derivatives trading arm of the Barclays group, Barclays

is a “ring-fenced” entity, meaning that it is separate from Barclays PLC’s consumer and small

business banking activities.




76

77Takuji Aida, “Making Sense of Japanese Cycles,” WALL ST. J., Mar. 9, 2011, available at
https://www.wsj.com/articles/SB10001424052748704623404576187431146921362.

                                                     54
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           165.     According to a recent Resolution Plan filed in 2018, Barclays’s wholesale bank

services78 are anchored in its “two home markets of the UK and US with global reach.” As

reported, the United States is Barclays’ “second home market and is fundamental to Barclays’

transatlantic strategy. The U.S. accounts for a significant portion of Barclays PLC’s employees,

revenue and profit”.79 Barclays PLC’s U.S. operations are carried out by Defendant Barclays.

           166.     Barclays PLC enters into derivative contracts, including Yen-LIBOR-based

derivatives contracts, for proprietary trading purposes and to manage Barclays’ exposure to

market, interest rate and credit risks resulting from its trading, market making and other business

activities. It engages in these activities in the United States from its offices located in this

District.

           167.     Barclays is a clearing member of derivative clearing organizations, clearing

eligible OTC derivatives products in the United States, including Yen-LIBOR-based derivatives.

           168.     Barclays is a clearing firm on the CME, the CBOT, NYMEX, and COMEX.

Barclays is registered with the CFTC as a Futures Commission Merchant, an Exempt Foreign

Agent, and a Commodity Pool Operator and Commodity Trading Advisor.

           169.     Barclays traded substantial volumes of Yen-LIBOR-based derivatives in the

United States during the Class Period, including directly with the Hayman Plaintiffs, see Part

II.A., below, through its branch office located in this District at 745 Seventh Avenue, New York,

New York 10019. For example, Barclays reported that its New York branch held a total notional

outstanding amount of $538 billion in derivative contracts, including Yen-LIBOR-Based




78
     Wholesale bank services includes Yen-LIBOR-based derivatives sales and trading.
79
     2018 US Resolution Plan, Barclays PLC, at 9.

                                                         55
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derivatives as of 2011.80 Barclays further reported that it “offer[ed] a full product set in USD, all

major European currencies, and Yen.”81

           170.     Barclays maintained a practice through which it booked all of its swap

transactions, including Yen-LIBOR-Based swaps, to the New York branch of its only U.S.-

registered swap dealer with the CFTC and SEC, Barclays Bank PLC. Barclays designates its

New York office as the location for payment and trade settlement for Yen-LIBOR-based

derivatives contracts that it trades in the United States.82

           171.     Barclays Bank PLC, New York Branch has been licensed, supervised, and

regulated by the NYSDFS to do business in this state since 1963. Barclays Bank PLC, New

York Branch has over 500 employees and more than $36 billion in total assets. Barclays is also

regulated by the Board of Governors of the Federal Reserve System and the Florida Office of

Financial Regulation and its shares are listed on the NYSE.

           172.     Barclays maintains a website in the United States where it advertises that “We

serve our institutional investor clients by helping them to understand developments in global

markets and offering execution and risk management tools across each major asset class.”

           173.     One of the ways in which Barclays serves its institutional investor clients is by

transacting in Yen-LIBOR-based derivatives with investors like the Hayman Plaintiffs (see Part

II.A., below) and CalSTRS.




80
  Barclays Capital Inc., Statement of Financial Condition, 2011, at 16. Barclays conducted Yen-LIBOR-based
derivatives trading in the United States both on its own and through Barclays Capital Inc., a New York-based
subsidiary, during the Class Period. Barclays has since absorbed Barclays Capital Inc. as part of an internal
reorganization, and now continues to trade Yen-LIBOR-based derivatives in the United States through Barclays
Bank PLC’s New York offices.
81
     https://www.federalreserve.gov/bankinforeg/resolution-plans/barclays-plc-1g-20120702.pdf, at 4.
82
     2018 US Resolution Plan, Barclays PLC, at 22.

                                                          56
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           174.        Barclays admitted as true in its DOJ settlement that “Barclays employs

derivatives traders in New York, New York and in London, England who trade financial

instruments tied to [Yen-] LIBOR and EURIBOR, including interest rate swaps[.]”83 This

includes derivatives traders who traded Yen-LIBOR-based interest rate swaps from its New York

branch as well as Barclays traders who engaged in Yen-LIBOR based interest rate swaps with

U.S. counterparties from offices overseas.

           175.        Multiple government regulators, including the DOJ and the FSA, have determined

that Barclays manipulated Yen-LIBOR in order to unlawfully benefit its Yen-LIBOR-based

derivatives positions. Because Barclays purposefully marketed, executed, and collected supra-

competitive payments due under Yen-LIBOR-based derivatives within the United States

(including directly with Plaintiffs HCMF and JMOF, see Personal Jurisdiction, Part II.A., below,

and directly with Plaintiff CalSTRS), at the same time as it was manipulating Yen-LIBOR to

benefit these derivatives positions, Barclays is subject to personal jurisdiction here.

           176.        Barclays often selected New York law to govern these Yen-LIBOR-Based

derivatives transactions in the trade documentation governing these trades, including trades with

the Hayman Plaintiffs. See Personal Jurisdiction, Part II.A., below.

           177.        Barclays’s Director of Compliance was based in its New York office during the

Class Period, a fact that Barclays regularly noted on trade documentation governing its Yen-

LIBOR-based derivatives trades with counterparties in the United States.

           178.        Barclays admitted as true in its DOJ settlement that it “employs derivatives

traders in New York, New York and in London, England who trade financial instruments tied to




83
     Ex. G-1 at 5-6.

                                                       57
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[Yen-LIBOR], including interest rate swaps[.]”84 The interest rate swaps that Barclays transacted

in the United States included swaps tied to Yen-LIBOR. See Part I.B., below. Barclays further

admitted in its settlement with the DOJ that, during the Class Period, “Barclays Yen swaps

traders made requests for favorable Yen LIBOR settings to the Barclays Yen LIBOR

submitters.” Barclays’ admission that Yen swaps traders engaged in Yen-LIBOR manipulation,

at least some of whom were located in Barclays Bank PLC’s New York office during the Class

Period, further supports the exercise of personal jurisdiction.

           179.        Barclays actively marketed and promoted Yen-LIBOR-based derivatives to

investors in the United States market during the Class Period. For instance, from at least March

to December 2007, Barclays regularly published and widely disseminated a newsletter called

Zen on Yen: Japan Strategy and Economics Weekly. Each issue of this newsletter provided

several pages of English-language analyses and projections related to Yen-denominated interest

rates and Yen-LIBOR-based derivatives. Each issue also concluded with a solicitation to “any

U.S. person wishing to effect a transaction in any security discussed herein” to contact a

representative of Defendant Barclays [Bank PLC ].”

           D. The Royal Bank of Scotland Group plc, RBS, and RBS Japan

           180.        Defendant The Royal Bank of Scotland Group plc (“RBS Group”) organizes its

activities and those of its subsidiaries “on a divisional basis” according to function. During the

Class Period, it conducted fixed income sales and trading, including Yen-LIBOR-based

derivatives sales and trading, through its “Markets” division. RBS Group explains that these

subsidiaries that undertake activities within the Markets division do so as part of a “unified




84
     Ex. G-1 at 5-6.

                                                     58
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service” for RBS Group’s corporate and institutional clients, which include pension funds and

other institutional investors.

           181.    RBS Group reported the results and recognized revenues from its Markets

division on a consolidated basis. Accordingly, the derivatives trading profits generated by any

RBS Group subsidiaries were reported within the Markets division in RBS Group’s annual

reports.85 RBS Group was also responsible for determining the operating budget, risk limits, and

compliance and oversight functions governing Markets (which includes the Yen-LIBOR-based-

derivatives trading activities of Defendants NatWest Markets Securities Japan Limited (f/k/a

RBS Securities Japan Limited) (“NatWest Securities Japan”) and RBS Bank.

           182.    Defendant NatWest Markets plc (f/k/a The Royal Bank of Scotland plc) (“RBS”)

operates three U.S. branches in San Francisco, California, San Jose, California, and Stamford,

Connecticut.

           183.    RBS reports that it operates three global derivative trading “hubs,” one of which

is located in Stamford, Connecticut. RBS uses these derivatives trading hubs to execute and

collect payments due under derivatives transactions, including Yen-LIBOR-based derivatives

transactions, with investors in the geographic market in which the trading hub is located. RBS

also reports that it operates “sales offices across key locations in the UK, EU, US and Asia.”

During the Class Period, RBS, through its trading hub in Stamford and its sales offices in the

United States, marketed, priced, and executed Yen-LIBOR-based-derivatives transactions with

investors located in the United States.

           184.    Traders at RBS, also operating within the Global Banking & Markets division,

transacted Yen-LIBOR-based-derivatives with United States counterparties. Traders operating as


85
     The Royal Bank of Scotland Group plc, 2012 Annual Report, 84-86.

                                                        59
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part of RBS’s STM Desk (see Part IV.A.1.ii), also established Yen-LIBOR-based derivatives in

the United States and with counterparties located in this District throughout the Class Period.

       185.    The DOJ found (and RBS Japan admitted) in the Statement of Facts attached to

RBS Japan’s plea agreement that “more than 15% of the total notional value of the transactions

entered into by RBS’s Yen derivatives traders from 2006 through 2010 involved U.S.-based

counterparties.”

       186.    In guilty pleas, RBS and RBS Japan also admitted that profiting from these

trading positions was the motivation for their manipulation of Yen-LIBOR.

       187.    These trading positions included Yen-LIBOR-based derivatives trades that RBS

executed with CalSTRS in the United States. For example, on November 13, 2006, RBS entered

into a yen foreign exchange forward (a type of Yen-LIBOR-based derivative, see Part I.B,

below), in which CalSTRS contracted to receive $21.559 million from RBS and deliver JPY

2.546 billion to RBS in the United States.

       188.    Accordingly, RBS and RBS Japan, operating as part of RBS Group’s Markets

business, intentionally manipulated the prices of Yen-LIBOR-based-derivatives that these

Defendants established in this District and in the United States, including Yen-LIBOR-based

derivatives trades that RBS booked with CalSTRS in the United States, and collected the illicit

proceeds arising from these transactions in the United States.

       189.    RBS’s success in exploiting the United States market for Yen-LIBOR-based-

derivatives is the result of sustained marketing and promotional efforts throughout the Class

Period. For instance, RBS regularly published and widely disseminated a weekly newsletter

called Japan Strategy and Economics Weekly. Each issue of this newsletter provided several

pages of English-language analyses and projections related to Yen-denominated interest rates



                                                60
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and Yen-LIBOR-based financial instruments. Each issue also concluded with an invitation to

“major U.S. institutional investors…[that] wish to effect a transaction in any Securities

mentioned herein” to contact representatives of Defendant RBS Securities f/k/a Greenwich

Capital Markets, Inc. in Greenwich, Connecticut. RBS distributed this publication, along with

other marketing materials, to its substantial Yen-LIBOR-based derivatives customer base in the

United States and in this District.

           190.      RBS and RBS Securities conduct business in this District, including by executing

Yen-LIBOR-based derivative transactions directly with investors located in this District.

           191.      RBS gave its Tokyo-based Markets Yen trader, Jimmy Tan, significant discretion

to take risks with his trading book.86 While it was nighttime in Tokyo, Tan, formally employed

by RBS Japan, passed his Yen-LIBOR-based derivatives book to RBS’s Neil Danziger in

London to continue trading.87 When the trading day ended in London, Danziger then passed

Tan’s Yen-LIBOR-based derivatives trading book to Defendant RBS Securities’ Yen-LIBOR-

based derivatives trader, David Pieri, based in Stamford, Connecticut.88 Pieri continued trading

Jimmy Tan’s positions from within the United States. Once business closed in Stamford and the

trading day resumed in Asia, Pieri sent the trading book back to Jimmy Tan.89 This strategy

substantially paid off, Jimmy Tan’s Yen book generated $200 million for RBS from 2006

through 2010, based in part on Pieri’s trades executed from within the United States.90




86
     Ex. B-3 at 7.
87
     Id.
88
  Andrea Tan, Gavin Finch and Liam Vaughan, RBS Instant Messages Show Libor Rates Skewed for Traders,
BLOOMBERG BUSINESS (Sept. 25, 2012), available at http://www.bloomberg.com/news/articles/2012-09-25/rbs-
instant-messages-show-libor-rates-skewed-for-traders.
89
     Ex. B-3 at 8.
90
     Id.

                                                     61
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        192.     Pieri was involved in RBS’s manipulation of Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives within the United States. For example, on April 2, 2008, Tan

messaged Neil Danziger and David Pieri, stating “Nice Libor,” and “Our six-month fixing

moved the entire fi[x]ing, hahahah.”91

        193.     Because RBS Group’s Stamford-based trader, David Pieri, manipulated Yen-

LIBOR and traded Yen-LIBOR-based derivatives that financially benefitted from RBS’s

manipulative conduct from within the United States, RBS Group, NatWest, and NatWest

Securities Japan are subject to jurisdiction in this Court.

        E. Société Générale

        194.     Société Générale organizes the operations of itself and its subsidiaries into

divisions that it describes as “business lines.” Société Générale organizes business lines

according to function, and the division that engages in Yen-LIBOR-based derivatives trading is

called the Corporate and Investment Banking Division (“SGCIB”).

        195.     Société Générale reports that its operations in the United States are “conducted

largely within the SGCIB [] business line[] through the following legal entities: SG’s New York

Branch (SGNY);92 SG’s U.S. broker-dealer subsidiary, SG Americas Securities, LLC (SGAS);

and Newedge USA, LLC (NUSA), a registered broker dealer, swap dealer and futures

commission merchant in which SG holds a 50% ownership interest.”

        196.     Société Générale, through its New York branch, and SGAS, are both registered

swap firms and introducing brokers with the United States National Futures Association.



91
   Andrea Tan, Gavin Finch and Liam Vaughan, RBS Instant Messages Show Libor Rates Skewed for Traders,
BLOOMBERG BUSINESS (Sept. 25, 2012), available at http://www.bloomberg.com/news/articles/2012-09-25/rbs-
instant-messages-show-libor-rates-skewed-for-traders
92
   Société Générale’s New York Branch is a Société Générale office that is registered with the New York
Department of Financial Services—it is not a separate legal entity.

                                                       62
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       197.       Société Générale’s New York Branch and SGAS are headquartered at the same

location in this District, 245 Park Avenue, New York, NY. In the “North America” section of

Société Générale’s website, it describes this office as the “New York Head Office” for both

Société Générale and SGAS.

       198.       Société Générale uses its registration as a swaps dealer, its control over SGAS (a

wholly-owned subsidiary operating as part of SGCIB), and its New York office to arrange,

execute, and collect payments due under Yen-LIBOR-based derivatives transactions with U.S.

counterparties.




       199.       Société Générale pled guilty in New York for manipulating Yen-LIBOR and the

prices of Yen-LIBOR-based derivatives. Société Générale’s plea agreement shows that its Yen-

LIBOR manipulation was led by a senior trader on Société Générale’s Yen trading desk

employed as part of SGCIB, who often manipulated Yen-LIBOR to benefit his own trading

positions, those of his SGCIB colleagues, and other co-conspirators. Société Générale, through

its SGCIB division, transacted in Yen-LIBOR-based derivatives in the United States through its

New York office, including Yen foreign exchange forwards directly with Plaintiff CalSTRS,

while it was engaged in a conspiracy to manipulate the prices of these products.

       200.       In the Statement of Facts attached to its Deferred Prosecution Agreement with the

DOJ, Société Générale’s admissions included: (1) that the bank’s “LIBOR misconduct” had a

“broad impact” and “caused significant damage to the global financial markets”; (2) that “even

small movements in Yen LIBOR had a substantial impact on the profitability of trading



                                                  63
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positions”; and (3) that Société Générale’s false Yen LIBOR submissions “benefited [Société

Générale’s Yen traders’] trading positions and the positions of other traders . . . to the detriment

of counterparties.”93 The counterparties injured as a result of this admitted misconduct include

investors in the U.S. Yen-LIBOR-based derivatives market, including CalSTRS and members of

the Class.

           F. Lloyds

           201.     During the Class Period, Lloyds Banking Group plc, which has full ownership

over Lloyds, reported that its U.S.-based activities were “primarily undertaken by the New York

branch of [Lloyds] and Bank of Scotland plc.” Lloyds listed its New York branch as a “material

entity” in its U.S. resolution plans filed with the Federal Reserve. A “material entity” is “an

entity that is significant to the activities of a core business line or critical operation.” Lloyds

Banking Group plc further wrote that Lloyds’ New York branch is “the primary operating entity

for [Lloyds Banking Group PLC’s] U.S. operations.”94 This New York Branch is licensed and

regulated by the NYDFS to do business in New York.

           202.     Lloyds Banking Group plc further reported that Lloyds’ New York Branch’s U.S.

activities are “concentrated in Commercial Banking.” According to shareholder annual reports,

the Commercial Banking division of Lloyds executes derivatives transactions with clients. These

derivatives transactions include Yen-LIBOR-based derivatives transactions.

           203.     One of the activities that Lloyds conducts through its New York branch is

arranging and executing derivatives transactions—including Yen-LIBOR-based derivatives

transactions. For example, Lloyds recruited and employed “relationship managers” (the term that


93
     Deferred Prosecution Agreement, at 8, A-55.
94
   Lloyds’s New York Branch operations were transferred to a new entity, Lloyds Bank Corporate Markets plc, in
late 2018.

                                                       64
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Lloyds uses for sales personnel) based in its New York Branch. These employees engage in

marketing and sales of products for Lloyds’ Commercial Banking operations, including the

marketing and sale of Yen-LIBOR-based derivatives to customers located in this District and in

the United States.

       204.    In its settlement with the CFTC for manipulating Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives, the CFTC found that “[Lloyds] colluded with Rabobank to make

false reports, to attempt to manipulate and to manipulate Yen-LIBOR for the benefit of

[Lloyds’s] and Rabobank’s trading positions.” By intentionally manipulating Yen-LIBOR to

benefit its Yen-LIBOR-based derivatives positions while trading these products in the United

States through its New York office, Lloyds purposefully availed itself of the forum.

       205.    Lloyds also operates a broker-dealer subsidiary headquartered in New York,

called Lloyds Securities Inc. Lloyds Securities Inc. does not itself hold derivatives positions, but

engages in derivatives trading on behalf of Lloyds as part of Lloyds’ Commercial Banking

division. Lloyds Securities Inc. shares employees with Lloyds’s New York Branch, including

sales personnel and compliance personnel. Lloyds Securities Inc. is headquartered in New York

at 1095 Avenue of the Americas—the same office as Lloyds’ New York Branch, and uses the

same telephone number. Lloyds Securities Inc. and Lloyds’ New York Branch have the same

Chief Executive Officer, the same Chief Risk Officer, and the same Chief Legal Officer.

       206.    Lloyds’ New York Branch also housed senior executives responsible for

Governance and Compliance, including a Vice President of Governance and Compliance,

throughout the entire Class Period. In its settlement with the CFTC for manipulating Yen-LIBOR

and the prices of Yen-LIBOR-based derivatives, Lloyds admitted that it “failed to adequately

supervise [its] [Yen-]LIBOR submitters and the [Yen-]LIBOR submission process and did not



                                                 65
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have any specific policies, internal controls or procedures for determining or monitoring [its]

[Yen-]LIBOR submissions to ensure that [its] submissions reflected an honest assessment of the

costs of borrowing unsecured funds in the London interbank market.” Accordingly, Lloyds’

compliance failures that enabled its participation in the conspiracy to remain undetected occurred

in substantial part in this District.

           G. The Broker Defendants.

           207.   The Broker Defendants are subject to personal jurisdiction because they furthered

Defendants’ manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives from

within the United States.




                                           95
                                                Tullett Prebon’s brokers, including Mark Jones, also

conspired with Danziger in Las Vegas, spending long weekends there and planning their

manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives.96 Danziger

entered a separate series of wash trades with Hayes to generate commissions to compensate the

Tullett Prebon brokers for their assistance in manipulating Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives, including by distributing false suggested LIBOR submissions to other

banks that served on the BBA Yen-LIBOR Panel.97


95

96
  David Enrich and Jean Eaglesham, Clubby London Trading Scene Fostered Libor Rate-Fixing Scandal, THE
WALL STREET JOURNAL (May 2, 2013), available at
http://www.wsj.com/articles/SB10001424127887323296504578396670651342096?alg=y.
97
     Id.

                                                     66
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        208.    Additionally, Defendants and their co-conspirators, including Bank of America,

Bank of Tokyo-Mitsubishi, Barclays, Citigroup, Deutsche Bank AG, HSBC Bank, Merrill

Lynch, RBS, Société Générale, Sumitomo Mitsui, and UBS purposefully availed themselves of

the privilege and benefit of trading Yen-LIBOR-based derivatives in the United States

throughout the Class Period.98 Every three years, the Federal Reserve Bank of New York

conducts a survey of the over-the-counter interest rate derivatives and foreign exchange market.

This survey measures the “turnover,” or volume of transactions, in foreign exchange and interest

rate derivatives within the United States. The Federal Reserve Bank of New York survey only

includes data from dealers located within the United States and transactions that are located

within the United States. Dealers located outside of the United States report their figures to the

central bank where they are located.

        209.    Defendants and their co-conspirators, including Bank of America, Bank of

Tokyo-Mitsubishi, Barclays Capital, Citigroup, Deutsche Bank AG, HSBC Bank, Merrill Lynch,

RBS, Société Générale, Sumitomo Mitsui, and UBS each participated in the Federal Reserve

Bank of New York’s survey of foreign exchange and interest rate derivatives dealers throughout

the Class Period, indicating that they entered into foreign exchange and interest rate derivatives

transactions, including transactions priced, benchmarked, and/or settled to Yen-LIBOR, from

within the United States. At least some of these derivatives transactions were cleared in the

United States and sold to U.S. counterparties at artificial prices that were caused by Defendants’

and their co-conspirators’ misconduct. Defendants and their co-conspirators intended that those




98
  See The Foreign Exchange and Interest Rate Derivatives Markets: Turnover in the United States, THE FEDERAL
RESERVE BANK OF NEW YORK (Apr. 2013); The Foreign Exchange and Interest Rate Derivatives Markets: Turnover
in the United States, THE FEDERAL RESERVE BANK OF NEW YORK (Apr. 2007).

                                                    67
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      prices would manifest in the U.S. market and in U.S. transactions, harming Plaintiffs and the

      Class.

II.      Barclays Bank PLC and Merrill Lynch International Consented to Personal
         Jurisdiction and Venue in this District Through Contracts with the Hayman Plaintiffs.

               210.   ISDA Master Agreements. The International Swaps and Derivatives Association

      (“ISDA”) is a trade association formed by dealer banks, including each of the Defendants. ISDA

      determines and promulgates industry-standard form contracts that facilitate trading between

      derivatives market participants. One such contract is an ISDA Master Agreement. An ISDA

      Master Agreement is a standard form agreement with 14 sections, designed so that parties who

      intend to enter into a series of over-the-counter derivative transactions (e.g., Yen-LIBOR-based

      derivatives) can improve efficiency by agreeing in advance on certain terms that will apply in

      every trade. These forms are periodically updated by ISDA and identified by the year of the

      update. Commonly used examples include the “1992 form.”

               211.   The parties to each ISDA Master Agreement are required to make certain

      elections when completing the standard form, such as which law will govern their agreement,

      where collateral for transactions should be wired, and who should be notified of any default

      event. These choices are typically reflected in the Schedule and Credit Support Annex, which are

      executed with the ISDA Master Agreement.

               212.   The terms specified in the ISDA Master Agreement, Schedule, and Credit Support

      Annex are incorporated into and apply to each subsequent transaction entered by the parties. This

      is codified by Section 1 of the 1992 ISDA Master Agreement, which provides that “[a]ll

      Transactions are entered into in reliance on the fact that this Master Agreement and all

      Confirmations form a single agreement between the parties (collectively referred to as this

      ‘Agreement’), and the parties would not otherwise enter into any Transactions.”


                                                      68
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       213.    Section 4 of the 1992 ISDA Master Agreement requires each party to “comply in

all material respects with all applicable laws and orders to which it may be subject if failure so to

comply would materially impair its ability to perform its obligations under this Agreement or any

Credit Support Document to which it is a party.”

       214.    The parties to an ISDA Master Agreement may also designate themselves as a

“Multibranch Party” under Section 10 of the 1992 form. Multibranch Parties act as a single entity

for the purposes of a derivatives transactions and “may make and receive payments or deliveries

under any Transaction through any Office listed in the Schedule.” Consistent with this single

entity concept, Section 10(a) of the 1992 ISDA Master Agreement further provides that:

               each party that enters into a Transaction through an Office other than
               its head or home office represents to the other party that,
               notwithstanding the place of booking office or jurisdiction of
               incorporation or oganisation of such party, the obligations of such
               party are the same as if it had entered into the Transaction through
               its head or home office.

       215.    Section 13 of the 1992 ISDA Master Agreement requires parties to agree in

advance on the substantive law that will govern their agreement and to designate a forum that

will have jurisdiction to hear any disputes. There are two standard options for choice of law: the

laws of the State of New York or English law. The parties typically indicate their selection in

Part 4 of the Schedule attached to their ISDA Master Agreement. If New York law is selected,

then under Section 13(b) of the 1992 ISDA Master Agreement, the parties irrevocably submit to

the “non-exclusive jurisdiction of the courts of the State of New York and the United States

District Court located in the Borough of Manhattan in New York City.”

       216.    Section 13 of the 1992 ISDA Master Agreement states in relevant part:

               13. Governing Law and
               Jurisdiction
               (a) Governing Law. This Agreement will be governed by and construed in
               accordance with the law specified in the Schedule.
                                                 69
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               (b) Jurisdiction. With respect to any suit, action or proceedings relating to
               this Agreement (“Proceedings”), each party irrevocably:

                     (i) submits to the jurisdiction of the English Courts, if this
                     Agreement is expressed to be governed by English law, or to the
                     non-exclusive jurisdiction of the courts of the State of New York
                     and the United States District Court located in the Borough of
                     Manhattan in New York City, if this Agreement is expressed to be
                     governed by the laws of the State of New York; and

                     (ii) waives any objection which it may have at any time to the laying
                     of venue of any Proceedings brought in any such court, waives any
                     claim that such Proceedings have been brought in an inconvenient
                     forum and further waives the right to object, with respect to such
                     Proceedings, that such court does not have any jurisdiction over
                     such party.

       217.    A dealer and customer will often execute dozens or hundreds of trades, if not

more, pursuant to a single ISDA Master Agreement, which can stay in effect for years and cover

a variety of OTC derivatives products and all subsequent transactions between the parties to the

ISDA Master Agreement are incorporated into and subject to the terms of the ISDA Master

Agreement.

       218.    During the Class Period, HCMF and JMOF entered into dozens of Yen LIBOR-

Based Derivatives transactions with Defendants Barclays Bank PLC and Merrill Lynch

International (among others) pursuant to the terms of their respective ISDA Master Agreements.

       219.    Each of Plaintiffs’ ISDA Master Agreements with Defendants Barclays Bank

PLC, Merrill Lynch Capital Services, Inc, and Merrill Lynch International used the 1992 form.

These agreements were each negotiated and executed from within the United States. The specific

terms of certain example Yen-LIBOR-based derivatives transactions that Plaintiffs entered with

Defendants, along with the relevant ISDA Master agreements governing those trades are

included below.




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       A. Barclays Bank PLC

       220.    On March 31, 2008, HCMF entered into an ISDA Master Agreement with

Barclays Bank PLC (the “HCMF-Barclays ISDA Master Agreement”). The HCMF-Barclays

ISDA Master Agreement used the 1992 form ISDA Master Agreement.

       221.    The HCMF-Barclays ISDA Master Agreement contained the standard 1992 form

provision on “Governing Law and Jurisdiction” described above. This provision states that each

party irrevocably:

               (i) submits to the jurisdiction of the English courts, if this Agreement
               is expressed to be governed by English law, or to the non-exclusive
               jurisdiction of the courts of the State of New York and the United
               States District Court located in the Borough of Manhattan in New
               York City, if this Agreement is expressed to be governed by the laws
               of the State of New York; and

               (ii) waives any objection which it may have at any time to the laying
               of venue of any Proceedings brought in any such court, waives any
               claim that such Proceedings have been brought in an inconvenient
               forum and further waives the right to object, with respect to such
               Proceedings, that such court does not have any jurisdiction over
               such party.

       222.    The HCMF-Barclays ISDA Master Agreement further provided that it govern any

existing or subsequent transactions between Barclays and HCMF.

       223.    In the Schedule to the HCMF-Barclays ISDA Master Agreement Barclays

designated itself as a “Multibranch Party” stating that it may act through its offices in New York,

among others, as well as any other office specified in a confirmation. In the HCMF-Barclays

ISDA Master Agreement, Barclays also designated its New York branch at 200 Park Avenue,

New York, New York 10166, as its address for all notices or communications arising under the

agreement.

       224.    In the Schedule to the HCMF-Barclays ISDA Master Agreement, Barclays

represented that “With respect to payments made to Party A which are effectively connected to
                                                 71
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the United States: Each payment received or to be received by it in connection with this

Agreement will be effectively connected with its conduct of a trade or business in the United

States.”

       225.     The Credit Support Annex to the HCMF-Barclays ISDA Master Agreement

required HCMF make all transfer cash collateral for their transactions to Barclays Bank PLC,

NY.

       226.     The parties to the HCMF-Barclays ISDA Master Agreement selected New York

law as the governing law for their agreement. Provision (h) of Part 4 of the Schedule to the

HCMF-Barclays ISDA Master Agreement read as follows:

                Governing Law. This Agreement will be governed by and
                construed in accordance with the laws of the State of New York
                (without reference to choice of law doctrine).

       227.     Pursuant to Section 13 of the 1992 ISDA Master Agreement, by selecting New

York Law in Part 4 of the Schedule to the HCMF-Barclays ISDA Master Agreement Defendant

Barclays Bank PLC concerned to personal jurisdiction in this District for “any suit, action or

proceedings relating to this Agreement.” See above.

       228.     Barclays Bank PLC entered into at least 5 Yen LIBOR-based derivatives

transactions with HCMF pursuant to their ISDA Master Agreement, during the Class Period,

including:

             a. On April 6, 2010, HCMF purchased a Yen-LIBOR-based receiver swaption from
                Barclays Bank PLC. This swaption gave HCMF the right, but not the obligation,
                to enter into an interest rate swap with Barclays Bank PLC on April 8, 2013 in
                which HCMF would pay a fixed interest rate of 3.5% per year on ¥9,500,000,000
                in exchange for receiving floating rate payments tied to Yen-LIBOR. HCMF paid
                an artificially inflated premium of $1,038,086.14 for this swaption as a result of
                Defendants’ conspiracy.

             b. On April 23, 2010, HCMF purchased a Yen-LIBOR-based receiver swaption
                from Barclays Bank PLC. This swaption gave HCMF the right, but not the
                obligation, to enter into an interest rate swap with Barclays Bank PLC on April
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               23, 2013 in which HCMF would pay a fixed rate of 3.00% per year on
               ¥3,600,000,000 in exchange for receiving floating rate payments tied to Yen-
               LIBOR. HCMF paid an artificially inflated premium of $493,361.88 for this
               swaption as a result of Defendants’ conspiracy.

       229.    Under Section 1 of the HCMF-Barclays ISDA Master Agreement, each of these

Yen LIBOR-Based Derivatives transactions was incorporated into and formed a single

agreement with the HCMF-Barclays ISDA Master Agreement. See above.

       230.    As described above, HCMF alleges that it was overcharged on these specific

transactions as a result of the conspiracy alleged in this Complaint. Therefore, Barclays Bank

PLC consented to personal jurisdiction and waived any objection to venue for HCMF’s claims in

the Southern District of New York, which “arise out of” or are otherwise made “in connection

with” Yen-LIBOR-based derivatives transactions that are covered by the HCMF-Barclays ISDA

Master Agreement,.

       B. Merrill Lynch International

       231.    On September 29, 2006, HCMF entered into an ISDA Master Agreement with

Defendant Merrill Lynch International. (the “HCMF-Merrill Lynch ISDA Master Agreement”).

The agreement used the 1992 form ISDA Master Agreement.

       232.    The HCMF-Merrill Lynch ISDA Master Agreement contained the standard 1992

form provision on “Governing Law and Jurisdiction” described above. See above. This provision

states that each party irrevocably:

               (i) submits to the jurisdiction of the English courts, if this Agreement
               is expressed to be governed by English law, or to the non-exclusive
               jurisdiction of the courts of the State of New York and the United
               States District Court located in the Borough of Manhattan in New
               York City, if this Agreement is expressed to be governed by the laws
               of the State of New York; and

               (ii) waives any objection which it may have at any time to the laying
               of venue of any Proceedings brought in any such court, waives any
               claim that such Proceedings have been brought in an inconvenient

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                forum and further waives the right to object, with respect to such
                Proceedings, that such court does not have any jurisdiction over
                such party.


         233.   The HCMF-Merrill Lynch ISDA Master Agreement further provided that it

govern any existing or subsequent transactions between Merrill Lynch International and HCMF.

         234.   In an exhibit to the HCMF-Merrill Lynch ISDA Master Agreement, Merrill

Lynch International’s parent company, Merrill Lynch & Co., Inc., a Delaware based company,

guaranteed to HCMF “the due and punctual payment of any and all amounts payable by Merrill

Lynch International…under the terms of the Master Agreement.” The guarantee also provided

that it “shall be governed by, and construed in accordance with, the laws of the State of New

York.”

         235.   In the Schedule to the HCMF-Merrill Lynch ISDA Master Agreement, Merrill

Lynch International designated its “World Headquarters” at 4 World Financial Center, New

York, New York 10080 as its address for all notices and communications arising under the

agreement. Merrill Lynch also designated its New York branch at 222 Broadway, 16th Floor,

New York, New York 10038 as its agent for service of process.

         236.   The parties to the HCMF-Merrill Lynch ISDA Master Agreement selected New

York law as the governing law for their agreement. Provision (h) of Part 4 of the Schedule to the

HCMF-Merrill Lynch ISDA Master Agreement read as follows:

                Governing Law. This Agreement will be governed by and
                construed in accordance with the laws of the State of New York
                without reference to choice of law doctrine.




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       237.   Merrill Lynch International entered into at last 15 Yen-LIBOR-based derivatives

transactions with HCMF pursuant to their ISDA Master Agreement, during the Class Period,

including:

         a. On July 15, 2009, HCMF entered into an interest rate swap with Merrill Lynch
            International agreeing to pay a fixed rate of 1.515% per year on ¥2,500,000,000
            every 6 months for 10 years starting on January 17, 2011 in exchange for receiving
            floating rate payments ties to Yen-LIBOR. HCMF paid Merrill Lynch International
            an artificially inflated $1,129,143.65 to terminate this swap on July 20, 2010 as a
            direct result of Defendants’ conspiracy.

         b. On January 8, 2010, HCMF purchased a Yen-LIBOR-based receiver swaption
            option from Merrill Lynch. This swaption gave HCMF the right, but not the
            obligation, to enter into an interest rate swap with Merrill Lynch International on
            January 12, 2012 in which HCMF would pay a fixed rate of 3.00% per year on
            ¥16,170,000,000 in exchange for receiving floating rate payments tied to Yen-
            LIBOR. HCMF paid Merrill Lynch International an artificially inflated premium of
            $2,000,037.48 for this swaption as a direct result of Defendants’ conspiracy.

         c. On April 23, 2010, HCMF purchased a Yen-LIBOR-based payer swaption from
            Merrill Lynch International. This swaption gave HCMF the right, but not the
            obligation, to enter into an interest rate swap with Merrill Lynch International on
            April 23, 2012 in which HCMF would receive a fixed rate of 3.00% per year on
            ¥17,300,000,000 in exchange for making floating rate payments tied to Yen-
            LIBOR. HCMF paid Merrill Lynch International an artificially inflated premium of
            $1,000,214.00 for this swaption as a direct result of Defendants’ conspiracy.

         d. On April 23, 2010, HCMF purchased a Yen-LIBOR-based receiver swaption from
            Merrill Lynch International. This swaption gave HCMF the right, but not the
            obligation, to enter into an interest rate swap with Merrill Lynch International on
            April 23, 2013 in which HCMF would pay a fixed rate of 3.00% per year on
            ¥3,650,000,000 in exchange for receiving floating rate payments tied to Yen-
            LIBOR. HCMF paid Merrill Lynch International an artificially inflated premium of
            ¥500,214 for this swaption as a direct result of Defendants’ conspiracy.

         e. On June 17, 2010, HCMF purchased a Yen-LIBOR-based receiver swaption from
            Merrill Lynch International. This swaption gave HCMF the right, but not the
            obligation, to enter into an interest rate swap with Merrill Lynch International on
            June 21, 2011 in which HCMF would pay a fixed rate of 2.50% per year on
            ¥152,000,000,000 in exchange for receiving floating rate payments tied to Yen-
            LIBOR. HCMF paid Merrill Lynch International an artificially inflated premium of
            $199,934.00 for this swaption as a direct result of Defendants’ conspiracy.

         f. On August 20, 2010, HCMF purchased a Yen-LIBOR-based receiver swaption
            from Merrill Lynch International. This swaption gave HCMF the right, but not the

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              obligation, to enter into an interest rate swap with Merrill Lynch International on
              August 22, 2012 in which HCMF would pay a fixed rate of 2.50% per year on
              ¥115,000,000,000 in exchange for receiving floating rate payments tied to Yen-
              LIBOR. HCMF paid Merrill Lynch International an artificially inflated premium of
              $1,199,883.00 for this swaption as a direct result of Defendants’ conspiracy.

         g. On August 20, 2010, HCMF purchased a Yen-LIBOR-based receiver swaption
            from Merrill Lynch International. This swaption gave HCMF the right, but not the
            obligation, to enter into an interest rate swap with Merrill Lynch International on
            August 24, 2011 in which HCMF would pay a fixed rate of 2.50% per year on
            ¥511,800,000,000 in exchange for receiving floating rate payments tied to Yen-
            LIBOR. HCMF paid an artificially inflated premium of $600,000.00 for this
            swaption as a direct result of Defendants’ conspiracy.

       238.    Under Section 1 of the HCMF-Merrill Lynch ISDA Master Agreement, each of

these Yen LIBOR-Based Derivatives transactions was incorporated into and formed a single

agreement with the HCMF-Merrill Lynch ISDA Master Agreement. See ¶ 212, supra.

       239.    As described above, HCMF alleges that it was overcharged on these specific

transactions as a result of the conspiracy alleged in this Complaint. Therefore Merrill Lynch

International consented to personal jurisdiction and waived any objection to venue for HCMF’s

claims in the Southern District of New York, which “arise out of” or are otherwise made “in

connection with” Yen-LIBOR-based derivatives transactions that are covered by the HCMF-

Merrill Lynch ISDA Master Agreement. As a general practice, Defendants and their co-

conspirators chose New York law when negotiating and signing ISDA Master Agreements with

U.S. counterparties. Under the terms of these ISDA Master Agreements, Defendants transacted

in Yen-LIBOR-based interest rate swaps and forward rate agreements with U.S. counterparties,

subjecting Defendants to jurisdiction and venue in New York for disputes arising under these

contracts.

       240.    Defendants and their co-conspirators, including Deutsche Bank, Société Générale,

Barclays Bank, Rabobank, RBS, Bank of Tokyo-Mitsubishi, Mizuho Bank, Norinchukin,

Mitsubishi UFJ, Sumitomo Mitsui, and Lloyds Bank also registered their New York branch or

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representative offices with the NYSDFS under New York Banking Law §§ 200 and 200-b.

Defendants RBS and UBS registered with the DOB under Section 36a-428g of the Connecticut

General Statutes. In order to benefit from the advantages of transacting business in this forum,

these Defendants registered as foreign branches with the NYSDFS and DOB, which confers

privileges and benefits and binds these entities to the same judicial constraints as domestic

corporations.99 Deutsche Bank, Société Générale, Barclays, Rabobank, RBS, Bank of Tokyo-

Mitsubishi, Mizuho Bank, Norinchukin, Sumitomo Mitsui, Lloyds Bank, and UBS used these

registrations in New York and Connecticut to execute Yen-LIBOR-based derivatives in those

states while engaging in the conspiracy alleged in this Complaint.

            241.      Defendants additionally purposefully directed their activity at the United States,

taking intentional and tortious actions expressly aimed at the forum, transacting business

throughout the United States and this District, trading Yen-LIBOR-based derivatives, priced,

benchmarked and/or settled based on Yen-LIBOR with U.S. counterparties. Defendants and co-

conspirators Barclays, Rabobank, Deutsche Bank, UBS, and RBS admitted the following as “true

and accurate” in their Statement of Facts incorporated into their various agreements with the

DOJ:

            Barclays [Rabobank, Deutsche, and UBS] entered into interest rate derivatives
            transactions tied to LIBOR and EURIBOR – such as swaps, forward rate
            agreements, and futures – with counterparties to those transactions. Many of those
            counterparties were located in the United States.            Those United States
            counterparties included, among others, asset management corporations, retirement
            funds, mortgage and loan corporations, and insurance companies. Those
            counterparties also included banks and other financial institutions in the United
            States or located abroad with branches in the United States.100




99
     Id. at *24-25.
100
      Ex. E-1 at 13-14; Ex. C-1 at 40; Ex. F-1 at 70; Ex. A-1 at 36; Ex B-1 at 38.

                                                            77
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        242.   Defendants knowingly and purposefully directed their price fixing and other

manipulative acts to cause an effect in the United States and harm U.S. counterparties to generate

illicit profits. Defendants and their co-conspirators Barclays, Deutsche Bank, JPMorgan, and

Merrill Lynch traded Yen-LIBOR-based derivatives products with U.S. counterparties, including

Plaintiff HCMF. Defendants Bank of America, UBS, RBS, Société Générale, and Barclays

transacted in Yen-LIBOR-based derivatives products with U.S. counterparties, including

Plaintiff CalSTRS. Defendants expressly aimed their unlawful price-fixing and manipulation at

increasing the value of their Yen-LIBOR-based derivatives transactions in order to gain an

anticompetitive financial advantage over U.S. counterparties, including Plaintiffs and the Class,

thereby causing them to suffer antitrust injuries. Accordingly, these Defendants subjected

themselves to jurisdiction in this District with respect to the claims asserted in this Complaint.

        243.   Defendants and co-conspirators transacted in Yen-LIBOR-based derivatives with

other U.S. counterparties and reaped illicit profits from within the United States as a result of

their manipulative conduct.

        244.




                          101



        245.   Defendants are further subject to the jurisdiction of this Court because they used

U.S. domestic and interstate wires to accomplish their fixing and manipulation of Yen-LIBOR


101



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and the prices of Yen-LIBOR-based derivatives. Defendants admitted that “[o]n a daily basis,

[Defendants], through the transmission of an electronic spreadsheet to Thomson Reuters,

knowingly delivered or caused to be delivered its . . . Yen . . . LIBOR . . . submissions through

the mails or interstate commerce. [Defendants’] submissions were also caused to be delivered

through the mails or interstate commerce through the daily dissemination and publication

globally.”102 Defendants knowingly aimed their Yen-LIBOR submissions to the United States

when they made their submissions to Thomson Reuters and caused Thomson Reuters to publish

a false and artificial rate to investors in the United States, using U.S. wires, through Bloomberg

and other financial services platforms, intending that these false rates would be used to price

trades that these Defendants executed in the United States.

            246.     Defendants sent electronic chats across U.S. domestic and interstate wires in

furtherance of their conspiracy to manipulate Yen-LIBOR and fix the prices of Yen-LIBOR-

based derivatives. For example, Defendant UBS Japan pled guilty to one count of wire fraud in

the District of Connecticut, admitting that its employee’s February 25, 2009 electronic chat “was

transmitted through, among other locations and facilities, a UBS server located in Stamford,

Connecticut.”103

            247.     Given the structure of Bloomberg’s network, these electronic communications are

located within the United States and were transmitted into the United States, crossing U.S. wires,

through servers located in the United States. Bloomberg transport specifications require that all

users connect to internet protocol (“IP”) addresses located within the United States in order to

access Bloomberg’s U.S.-based servers, which are used to send messages in addition to



102
      Ex. G-2 at 26; Ex. D-2 at 45; A-2 at 52-53; Ex. I-2 at 36; Ex. B-4 at 33.
103
      A-5 at 4.

                                                             79
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     accessing financial information. These servers also host the Instant Bloomberg chat rooms that

     Defendants’ utilized in their scheme.104

                             AGENTS AND UNNAMED CO-CONSPIRATORS

             248.     Various other entities and individuals, including, but not limited to, dealer

     subsidiaries and/or affiliates of the Contributor Bank Defendants and Co-conspirators and the

     Broker Defendants participated as co-conspirators and manipulators in the acts complained of

     and performed acts and made statements that aided and abetted and furthered the unlawful

     conduct as alleged herein. The unnamed co-conspirators, along with the above-named

     Defendants, performed, participated in, furthered, and/or combined, conspired, or agreed with

     others to perform the unlawful acts alleged herein, including the restraint of trade, fixing, and

     manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives traded in the

     United States Yen-LIBOR-based derivatives market.

                                        SUBSTANTIVE ALLEGATIONS

I.         Background

             A. Yen-LIBOR

             249.     Yen-LIBOR is a daily reference rate intended to reflect the interest rates at which

     banks offer to lend unsecured funds denominated in Japanese Yen to other banks in the London

     wholesale money market (or interbank market). The higher the credit risk for a bank (or credit

     risk environment), the higher the rate that bank would (and should) have to pay for borrowing

     unsecured funds denominated in Japanese Yen.

             250.     In addition to its use as a benchmark in pricing loans, Yen-LIBOR is used as the

     basis for settlement of interest rate derivatives contracts traded in over-the-counter markets.


     104
        See Transport and Security Specifications, BLOOMBERG L.P. (Nov. 13, 2014) at 7, 12 (listing Bloomberg IP
     addresses and diagraming network structure with endpoints in New York and New Jersey).

                                                            80
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       251.    Yen-LIBOR is set through the BBA by its member banks. According to the BBA,

each contributor bank is selected to “reflect[] the balance of the market.” Each contributor bank

is selected based upon the following criteria “the scale of market activity, reputation and

perceived expertise in the currency concerned.”

       252.    Yen-LIBOR is calculated each business day as of 11:00 a.m. London time. Each

Yen-LIBOR contributor bank quotes Yen-LIBOR for fifteen (15) maturities, ranging from

overnight to twelve months, including three months.

       253.    In calculating Yen-LIBOR, contributed rates are ranked in descending order and

the arithmetic mean of only the middle two quartiles is used to formulate the resulting BBA Yen-

LIBOR calculation. The contributor banks respond to the BBA’s question: “At what rate could

you borrow funds, were you to do so by asking for and then accepting inter-bank offers in a

reasonable market size just prior to 11 am?”

       254.    Thomson Reuters serves as the BBA’s agent for the collection, calculation,

publication, and dissemination of the daily Yen-LIBOR.

       255.    The BBA prohibited banks from reporting rates that reflected factors unrelated to

prevailing costs of borrowing unsecured funds in the interbank market, i.e., submissions that are

based on the banks’ Yen-LIBOR-based derivatives positions. Notwithstanding this blanket

prohibition, the Contributor Bank Defendants and Co-conspirators, aided and abetted by the

Broker Defendants, systematically reported false Yen-LIBOR rates to the BBA in order to

manipulate those rates to artificial levels that financially benefitted their Yen-LIBOR-based

derivatives positions.

       B. Yen-LIBOR-based Derivatives

       256.    “Yen-LIBOR-based derivatives” are financial instruments priced, benchmarked,

and/or settled based on Yen-LIBOR. These include, inter alia: (i) Yen-LIBOR interest rate
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swaps and options on interest rate swaps; (ii) Yen-LIBOR forward rate agreements; and (iii) Yen

foreign exchange forwards.

                         1. Interest Rate Swaps and Options on Interest Rate Swaps


       257.    Interest rate swaps are the most common type of interest rate derivatives. They

are traded over-the-counter, i.e., outside of a public exchange, and allow two counterparties to

exchange interest rate payment obligations on an agreed upon “notional” or principal amount.

There are several types of interest rate swaps. The simplest interest rate swap is a “plain vanilla”

interest rate swap, which involves the exchange of a fixed stream of interest rate payments, e.g.

2% per year, for one based on a “floating” reference rate, e.g., Yen-LIBOR, which may change

every day.

       258.    The parties to a plain vanilla interest rate swap are typically referred to by their

relationship to the stream of fixed interest rate payments. The party exchanging its floating rate

obligation for a stream of fixed interest rate payments is known as the “receiver,” while the party

making fixed interest rate payments in exchange for a stream of payments tied to a floating

reference rate is known as the “payer.”

       259.    Payment under an interest rate swap is due at regular intervals, e.g., every six

months, for the life of the agreement. Each time a payment is due, the amounts owed by the

payer and receiver are netted against each other. Only the party with the larger obligation, fixed

or floating, makes a payment reflecting the difference between the two interest rates as applied to

the agreed upon notional amount. For example, assume Party A enters into an interest rate swap

with Party B and agrees to make a fixed rate payments of 0.5% on ¥10,000,000 to Party B in

exchange for receiving floating rate payments based on six-month Yen-LIBOR on the same

underlying amount. On each “fixing” or “reset” date, if six-month Yen-LIBOR is lower than the

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fixed rate, e.g., 0.4%, Party A has the larger obligation and will make a payment to Party B equal

to the difference between the fixed and floating rates, in this case 0.1%. However, if six-month

Yen-LIBOR is higher than the fixed rate, e.g., 0.6%, Party B has the larger obligation and will

make a payment to Party A equal to the difference between the fixed and floating rates.

       260.    The value of an interest rate swap is represented by the difference between the

total interest to be paid and received under the swap agreement. For example, if the total present

value of interest owed to a party is greater than the total present value of the interest that the

party must pay out over the life of the interest rate swap, then the swap has a positive value. As

a result, Yen-LIBOR affects the value of Yen-LIBOR-based interest rate swaps by determining

the value of the floating rate payments due under that swap contract.

       261.    Interest rate swaps may be terminated or closed prior to maturity. At termination,

the parties exchange payments reflecting the current value of the interest rate swap. For a Yen-

LIBOR-based interest rate swap, this payment is determined by Yen-LIBOR.

       262.    A “swaption” is an option on an interest rate swap and gives the buyer the right,

but not the obligation, to enter into a certain interest rate swap with the swaption issuer on a

specified future date, known as the “exercise date.” The cost to purchase a swaption is referred to

as the “premium.” An investor that purchases a swaption pays the premium to the seller at the

time of the transaction.

       263.    The value of a swaption, and thus the amount of premium paid by the buyer and

received by the seller, is determined by the value of the underlying interest rate swap. As a

result, the value (and premium paid or received at the time of purchase) of a swaption that gives

the buyer the right to enter into a Yen-LIBOR-based interest rate swap will be affected by a

change in Yen-LIBOR because Yen-LIBOR determines the value of the interest rate swap



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underlying that swaption. If the buyer purchases the right to receive payments based on Yen-

LIBOR in the underlying swap, then the purchase price (and value) increases as Yen-LIBOR

increases, and vice-versa. If the buyer purchases the right to make payments based on Yen-

LIBOR in the underlying swap, then the purchase price (and value) decreases as Yen-LIBOR

increases, and vice-versa.

       264.     A swaption may also be terminated or closed after it is initially purchased. At

termination, the parties exchange payments reflecting the current value of the swaption. For

swaptions that provide the option to enter a Yen-LIBOR-based interest rate swap, this amount is

determined by Yen-LIBOR.

              2. Forward Rate Agreement.


       265.     A forward rate agreement (“FRA”) is an interest rate forward contract. The

contract sets a rate of interest to be paid or received on an obligation beginning at a future start

date. The contract will determine the interest rate to be used along with the termination date and

notional value. Similar to an interest rate swap, on the settlement date, the party with the larger

obligation makes an interest rate payment equal to the difference between the fixed and floating

rate. For example, assume Party A enters into a FRA with Party B in which Party A will receive

0.5% interest on ¥10,000,000. In return, Party B will receive six-month Yen-LIBOR,

determined on year in the future, on the same underlying amount. If, after one year, six-month

Yen-LIBOR is higher than 0.5%, e.g., 0.6%, Party A must pay Party B the difference in interest,

i.e., 0.1%, on the underlying ¥10,000,000. However, if six-month Yen-LIBOR is lower than

0.5%, Party B must pay Party A the difference in interest.

              3. Foreign Exchange Forwards




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           266.    A foreign exchange forward is a derivative in which one party agrees to buy or

sell a certain amount of a specified currency, e.g., Yen, from another party on some future date,

at a price agreed upon today. The price of a Yen foreign exchange forward is based on Yen-

LIBOR, which is used to take the “spot price,” i.e., the cost of Yen for immediate delivery, and

adjust it to account for the “cost of carry,” i.e., the amount of interest paid or received on Yen

deposits, over the duration of the agreement. This calculation and thus the value of a Yen

foreign exchange forward is determined by the pricing formula below,105 which incorporates

Yen-LIBOR as either “Rterm” or “Rbase.”106




           267.    It is well established that derivatives traders use Yen-LIBOR to price Yen foreign

exchange forwards because they can borrow short-term funds at the LIBOR quotes of other

financial institutions.107 This is confirmed by the CFTC, which has found in its settlements with

Defendants RBS and Rabobank, that Yen foreign exchange forwards are derivatives that are

“priced based on” and “priced off of” Yen-LIBOR:




105
   See e.g., John W. Labuszewski, Sandra Ro & David Gibbs, Understanding FX Futures, CME Group, at 3, 8,
http://www.cmegroup.com/education/files/understanding-fx-futures.pdf (hereinafter “Understanding FX Futures”)
(applying pricing formula to both currency futures contracts and forwards).
106
   Foreign exchange forwards and currency futures transactions involve a currency pair, e.g., JPY/USD. In each
pair, the first currency listed is referred to as the “Base Currency,” while the other is referred to as the “Term
Currency.” As prices are typically quoted “in terms of” units of the Term Currency, e.g., for JPY/USD the number
of dollars per one Yen, the currency listed first will depend on which currency is being purchased/sold by the
buyer/seller. The variables Rterm and Rbase in ¶ 199 refer to the rate of interest paid on deposits of the Term
Currency and Base Currency, respectively, and will change depending on the order of the currency pair. See id. at 3.
107
      See e.g., John C. Hull, OPTIONS, FUTURES, AND OTHER DERIVATIVES (7th Ed., 2009) 74, 112-115.

                                                        85
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                            RBS Yen and Swiss Franc derivatives traders traded various derivatives
                            that were priced based on Yen or Swiss Franc LIBOR. These products
                            included interest rate swaps, Forward Rate Agreements, foreign exchange
                            (“FX”) forwards, cross-currency swaps, overnight index swaps, and tenor
                            basis swaps.108

                            Rabobank…traders regularly transacted in…derivatives products,
                            including interest rate swaps, forward rate agreements, foreign exchange
                            forwards, cross-currency swaps, overnight index swaps, and tenor basis
                            swaps…The position held by the traders were often priced off of LIBOR,
                            particularly, U.S. Dollar, Yen, and Sterling LIBOR…109

                  268.




                                                           110



                  269.      The Yen foreign exchange forwards that Plaintiffs entered into, including those

      entered into by Plaintiff CalSTRs, were priced based on Yen-LIBOR.

II.          Defendants and their Co-conspirators Restrained Trade and Intentionally Manipulated
             Yen-LIBOR-based Derivatives Prices By Falsely Reporting Yen-LIBOR Rates to the
             BBA

                  270.      Defendants methodically and purposefully manipulated the prices of Yen-LIBOR-

      based derivatives through their deliberate and systematic submission of false Yen-LIBOR rates

      to the BBA throughout the Class Period. Defendants did so in order to unlawfully profit

      financially from trading Yen-LIBOR-based derivatives held by them or their co-conspirators.

                  271.      Each Contributor Bank Defendant and Co-conspirator’s Yen-LIBOR submitters

      regularly and improperly conspired with and agreed to change their bank’s Yen-LIBOR

      submissions at the request of Yen-LIBOR-based derivatives traders employed by their bank


      108
            Ex. B-4 at 6.
      109
            Ex. D-2 at 6.
      110



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and/or other Contributor Bank Defendants. As revealed by the Defendants’ government

settlements, criminal trial of UBS trader Tom Hayes, criminal trial of Rabobank traders Anthony

Allen and Anthony Conti, and criminal trial of multiple inter-dealer brokers employed by the

Broker Defendants, this was an open, common and pervasive practice on each Contributor Bank

Defendant or Co-conspirator’s trading desk. Traders frequently discussed their requests for false

submissions and other manipulative conduct before sending them to their Yen-LIBOR

submitters. For example, Rabobank traders had a standing meeting each morning known as

“LIBOR Time” where they openly planned to make false Yen-LIBOR submissions. As a direct,

intended and proximate consequence of the Contributor Bank Defendants’ and Co-conspirator’s

unlawful conduct, the Contributor Bank Defendants and Co-conspirators manipulated the prices

of Yen-LIBOR-based derivatives to artificial levels throughout the Class Period.

       272.    Each Contributor Bank Defendant’s and Co-conspirator’s interest rate derivatives

traders also regularly and improperly conspired with each other, with traders at other Contributor

Bank Defendants and Co-conspirators, and with brokers employed by the Broker Defendants to

coordinate their false Yen-LIBOR submissions. By coordinating their Yen-LIBOR submissions,

Defendants maximized the manipulative and anticompetitive impact of their submissions on

Yen-LIBOR. This coordination financially benefited Contributor Bank Defendants and Co-

conspirators by increasing the value of their Yen-LIBOR-based derivatives positions.

       273.    Defendants and their co-conspirators knew that the BBA used the false rates

Defendants and their co-conspirators submitted to calculate and publish Yen-LIBOR.

Defendants also knew that their false Yen-LIBOR submissions, in addition to the false resulting

Yen-LIBOR fix, were published and distributed electronically within the United States using

U.S. wires. Defendants also knew, as sophisticated market participants who themselves



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   regularly transacted Yen-LIBOR-based derivatives within the United States, that their false Yen-

   LIBOR submissions impacted the prices of Yen-LIBOR-based derivatives traded by U.S.

   investors, who used the daily Yen-LIBOR fix to price, benchmark and/or settle their Yen-

   LIBOR-based derivatives transactions.

III.   Defendants and their Co-conspirators Restrained Trade and Manipulated the Prices of
       Yen-LIBOR-based Derivatives By Their Illegitimate, Non-Bona Fide Trading of Yen-
       LIBOR-based Derivatives

          274.    As alleged herein, Defendants traded Yen-LIBOR-based derivatives at times they

   knew the prices of such financial instruments were being distorted by Defendants’ systematic

   false reporting of Yen-LIBOR (among other unlawful collusive and manipulative conduct). This

   destroyed the legitimate price discovery function of Yen-LIBOR-based derivatives, created or

   contributed to prices which were not reflective of legitimate forces of supply and demand, and

   furthered Defendants’ conspiracy to manipulate and unlawfully restrain trade in and fix the

   prices of Yen-LIBOR-based derivatives to artificial levels during the Class Period to the

   detriment of Plaintiffs and the Class. Because Defendants’ positions were illegitimate and

   manipulative parts of the supply-demand equation for Yen-LIBOR-based derivatives,

   Defendants’ impact on Yen-LIBOR-based derivatives was an artificial one that restrained trade

   and caused artificial prices.

          275.    Defendants’ derivatives traders, by knowing their Yen-LIBOR-based derivatives

   positions, knew the amount of their exposure to movements in Yen-LIBOR. For example, on

   any given day, the derivatives traders may have had exposure to Yen-LIBOR in particular

   maturities if payments were owed to or by them on interest rate swaps or FRA settling on that

   day. The amount owed to or by the traders was affected by movements in Yen-LIBOR. A

   beneficial movement could have made the derivatives traders a profit or reduced a loss. In the

   foregoing context, each Defendant’s derivatives traders repeatedly communicated with the Yen-
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  LIBOR submitters at that Defendant and others in order to cause their firm to make false Yen-

  LIBOR submissions that favored the traders’ Yen-LIBOR-based derivatives positions.

IV.   Defendants’ Unlawful Conduct Has Led to Deferred Criminal Prosecution Agreements,
      Criminal Charges, Guilty Pleas and Settlements Resulting in the Payment of Fines and
      Penalties in Excess of $7 Billion to Governmental Authorities in the U.S. and Abroad

         276.    Defendants’ and their co-conspirators’ unlawful conduct has resulted in

  agreements with government regulators and the collective payment of over $7 billion in fines

  and penalties to date (among other relief) by Defendants UBS ($1.5 billion), RBS ($964 million),

  Société Générale ($750 million), ICAP Europe Limited ($104.8 million), Rabobank ($1 billion),

  R.P. Martin ($2.5 million), Deutsche Bank ($2.5 billion), Lloyds ($269 million), JPMorgan

  ($108 million), Citigroup ($94 million) and Barclays ($450 million) for their manipulation of

  Yen-LIBOR (among other rates) and the prices of Yen-LIBOR-based derivatives.

         277.    The settlements resolve DOJ, CFTC, FSA, NYSDFS and EC criminal and/or civil

  charges relating to restraints of trade and manipulation of Yen-LIBOR, and the prices of Yen-

  LIBOR-based derivatives. The factual findings that accompanied the UBS, RBS, Rabobank,

  Barclays, Lloyds, Deutsche Bank, and Société Générale settlements each included a “Statement

  of Facts” (“SOF”) attached to, and incorporated by reference in, various non-prosecution or

  deferred prosecution agreements entered with the DOJ’s Criminal Division, Fraud Section.

  UBS, RBS, Rabobank, Barclays, Lloyds, Deutsche Bank, and Société Générale, respectively,

  admitted that the contents of the SOF included with their settlement was “true and accurate.”

         278.    Defendants created an environment that promoted, indeed encouraged and

  rewarded, pervasive manipulative and collusive misconduct. Throughout the Class Period, the

  Contributor Bank Defendants and Co-Conspirators and Broker Defendants used several principal

  and interrelated methods to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based

  derivatives including: (i) falsifying their own Yen-LIBOR submissions; (ii) colluding with cash
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brokers, including the Broker Defendants, to manipulate Yen-LIBOR; and (iii) colluding directly

with Yen-LIBOR-based derivatives traders and submitters (among others) at other Yen-LIBOR

Contributor Banks, either directly or through the Broker Defendants, in order to manipulate Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives.

       A. Defendants Created an Environment Ripe For the Pervasive and Persistent
          Manipulation of Yen-LIBOR and the Prices of Yen-LIBOR-based derivatives

              1. The Contributor Bank Defendants Created Inherent Conflicts of Interest that
                 Corrupted their Yen-LIBOR Submission Process and Facilitated Their Unlawful
                 Manipulation and Collusion



       279.     The driving force behind Defendants’ manipulation of Yen-LIBOR and the prices

of Yen-LIBOR-based derivatives was simple: greed. Because of the high notional value of Yen-

LIBOR-based derivatives, even very small movements in Yen-LIBOR would and did have a

significant positive impact on the profitability of the Contributor Bank Defendants’ and Co-

conspirators’ Yen-LIBOR-based derivatives positions, and a correspondingly negative impact on

their U.S. counterparties’ trading positions. Thus, because traders’ compensation was based in

part on the profit and loss calculation of the Contributor Bank Defendants’ and Co-conspirators’

trading books, the manipulation of prices of Yen-LIBOR-based derivatives provided a

substantial financial benefit to their traders’ compensation.

                      a. Defendants Permitted Traders – Whose Compensation Was
                         Directly Linked to Their Success in Trading Yen-LIBOR-based
                         Derivatives – To Improperly Influence Their Yen-LIBOR
                         Submissions.

                                         i.   UBS.

       280.     Until August 2008, UBS had no specific internal controls or procedures governing

its Yen-LIBOR submissions to manage conflicts of interest or ensure that its submissions did not

take into account impermissible factors, such as UBS’ Yen-LIBOR-based derivatives positions.

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UBS provided no training concerning the benchmark interest rate submission process or how to

manage the inherent conflict between making such submissions, and the fact that the trader-

submitters were supposed to make money for UBS.

       281.    UBS made trader-submitters who worked in UBS’ Investment Banking Division

responsible for making all benchmark interest rate submissions. From at least January 2005

through September 2009, derivatives traders, who sat on Short Term Interest Rate (“STIR”)

trading desks in Zurich and traded short-term derivatives products, made submissions for Yen-

LIBOR. UBS’ derivatives traders traded many Yen-LIBOR-based derivatives, including Yen-

LIBOR-based interest rate swaps and FRAs, among others. Many of their derivatives contracts

settled or reset on IMM dates, which made the Yen-LIBOR rates on these particular dates

especially important.

       282.    The STIR desk generated significant income for UBS by trading derivatives

products, whose value depended on Yen-LIBOR. STIR also managed UBS’ short-term cash

position and engaged in cash trading in the money markets for each currency, including Yen,

primarily through traders located in Connecticut, Zurich and Singapore. STIR was also

responsible for managing UBS’ interest rate risk.

       283.    Even after conducting a limited review and developing some procedures for its

U.S. Dollar LIBOR submission process in mid-to-late 2008, UBS did not remove the inherent

conflicts of interest as alleged herein or provide any training to its trader-submitters. Rather than

strengthening internal controls and removing the inherent conflicts of interest, UBS delegated

oversight responsibility for Yen-LIBOR submissions to managers who not only knew that

derivatives traders and trader-submitters were engaged in efforts to manipulate Yen-LIBOR and

the prices of Yen-LIBOR-based derivatives, but who also made requests for submissions to



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benefit their own individual Yen-LIBOR-based derivatives trading positions. Certain derivatives

traders, trader-submitters and managers completely disregarded the few procedures UBS

eventually implemented.

       284.    In September 2009, UBS transferred responsibility for determining Yen-LIBOR

submissions to Asset and Liability Management (“ALM”) located in Zurich.

       285.    Prior to September 2009, ALM pushed the trader-submitters to consider

directions that the Yen-LIBOR rates should move and eventually provided the trader-submitters

with the exact rate ALM wanted them to submit. After ALM assumed such responsibility, other

UBS derivatives traders continued to demand false Yen-LIBOR submissions. The ALM

submitters improperly considered input from UBS traders along with the previous day’s

submissions in determining their daily rate submissions.

       286.    By allowing interest rate derivatives traders to act as both trader and rate

submitter, UBS created an inherent conflict of interest that compromised the integrity of UBS’

rate submission process, and established an environment ripe for derivatives traders and trader-

submitters to abuse. UBS’ trader-submitters had significant financial interests to make Yen-

LIBOR submissions that benefited their Yen-LIBOR-based derivatives trading positions. UBS’

trader-submitters’ financial interests were in direct conflict with UBS’ duty to make honest and

reliable assessments of Yen-LIBOR rates, and ensure its submissions were made in accordance

with BBA criteria.

       287.    This environment enabled certain derivatives traders to engage in widespread,

long-term systematic misconduct to manipulate Yen-LIBOR and the prices of Yen-LIBOR-

based derivatives within UBS, and in concert with other Contributor Banks and inter-dealer

brokers.



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                                        ii.   RBS.

       288.    Until March 2012, certain London-based money market traders were responsible

for making RBS’ Yen-LIBOR submissions. RBS money market traders were also responsible

for ensuring that the bank met its funding needs each day in all currencies, including Yen. To do

so, RBS money market traders engaged in both intra-bank and inter-bank borrowing and lending

transactions. RBS money market traders also traded derivatives products that were indexed to,

and therefore priced based on, Yen-LIBOR. One money market trader, Paul White, was

primarily responsible for making RBS’ Yen-LIBOR submissions (“Primary Submitter”), though

other traders also made RBS’ Yen-LIBOR submissions.

       289.    RBS Yen-LIBOR submitters improperly considered the value of their own Yen-

LIBOR-based derivatives positions, and those of other RBS traders and co-conspirators, in

making false Yen-LIBOR submissions to financially benefit those positions.

       290.    RBS Yen-LIBOR-based derivatives traders traded various Yen-LIBOR-based

derivatives that were priced, benchmarked, and/or settled based on Yen-LIBOR, including

interest rate swaps and foreign exchange forwards, which were used to manage the desk’s

interest rate risk and also to generate a profit for the desk. Indeed, the statement of RBS Senior

Yen Trader, Jimmy Tan (“Tan”), makes this motivation clear: “[I]ts [sic] just amazing how libor

fixing can make you that much money.” Many of RBS’ Yen-LIBOR-based derivatives trades

settled or reset on IMM dates. RBS’ derivatives trading books were traded 24 hours a day, from

RBS trading desks in the United States, U.K., and Asia under the direction of the RBS Yen

Manager and the RBS Senior Yen Trader. Tan was assisted by a Yen derivatives trader in

Connecticut, David Pieri, and Yen Trader 1, Neil Danziger (“Danziger”). Danziger also was the

backup Yen-LIBOR submitter.



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       291.    In October 2006, RBS senior management decided to facilitate manipulative

communications between derivatives traders and money market traders, some of whom were also

Yen-LIBOR submitters, by locating them on the same RBS currency trading desks. This co-

location plan was known as the Short-Term Markets Desk (“STM”). The express purpose of

STM was to encourage derivatives and money market traders to communicate about the relevant

market conditions that could impact trading and funding decisions. The seating arrangement,

however, exacerbated the preexisting conflict of interest between the profit motive of traders and

the responsibility of submitters to make accurate Yen-LIBOR submissions that reflected RBS’

cost of borrowing Yen in the inter-bank market. RBS did not provide any guidance or controls

over what constituted appropriate communications between the derivatives traders and money

market traders in charge of Yen-LIBOR submissions. The result was an environment where the

RBS Yen traders were able to seize opportunities to manipulate Yen-LIBOR for RBS’ and their

individual financial benefit.

       292.    RBS’ Yen-LIBOR-based derivatives traders quickly took advantage of this new

arrangement. RBS’ Yen-LIBOR-based derivatives traders routinely told the Primary Submitter

their trading positions and pushed him to make artificial Yen-LIBOR submissions that would

make their Yen-LIBOR-based derivatives positions more profitable. If the Primary Submitter

was not at the desk, the traders made written demands to submit artificial Yen-LIBOR via

Bloomberg chats or instant messages.

       293.    Substitute submitters also ensured that the Yen-LIBOR submissions were

beneficial either to the Yen-LIBOR-based derivatives positions held by other RBS traders, or

Yen-LIBOR-based derivatives positions held in RBS’ Yen money market trading book.




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       294.    STM was in place formally until mid-2008 and continued informally for Yen

traders into 2009. In the spring of 2009, the trading floor was reorganized, and the derivatives

traders and submitters were separated onto different desks. The seating change did not reduce

the amount of manipulative conduct at RBS. When they were no longer in close proximity to

RBS’ Yen-LIBOR submitters, RBS’ Yen-LIBOR-based derivatives traders increased their use of

Bloomberg chats and instant messages to continue demanding artificial Yen-LIBOR submissions

that benefitted their Yen-LIBOR-based derivatives positions, which were frequently

accommodated.

                                        iii.   Rabobank.

       295.    From mid-2005 through early 2011, Rabobank failed to recognize and address

conflicts of interest, and failed to adequately supervise its derivatives traders and submitters.

Further, Rabobank did not have any policies, internal controls or procedures for determining,

monitoring or supervising its Yen-LIBOR submissions to ensure that Rabobank’s submissions

reflected an honest assessment of the costs of borrowing unsecured funds in the interbank

market.

       296.    Rabobank assigned responsibility for making its LIBOR submissions to

individuals who traded both cash and derivatives products. In 2004, Rabobank combined its

money market desks (which were responsible for cash trading) with its short-term derivatives

trading desk. These traders regularly transacted in interbank cash deposits and loans to meet the

bank’s daily funding needs in all currencies, including Yen, and in Yen-LIBOR-based

derivatives products, including interest rate swaps, forward rate agreements, foreign exchange

forwards, cross-currency swaps, overnight index swaps, and tenor basis swaps. The traders

engaged in derivatives transactions not only to hedge risk, but also to generate profits for

Rabobank and themselves. Yen-LIBOR submissions, by definition, should reflect only the costs
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of borrowing in the relevant markets, and not derivatives trading positions. By assigning the

Yen-LIBOR submissions to derivative traders whose profits depended upon the fixings of Yen-

LIBOR, Rabobank created an inherent conflict of interest.

       297.    This conflict of interest was heightened by the fact that Rabobank had its LIBOR

submitters sitting next to and working with the other derivatives traders on trading desks. One

dominant derivatives trader simply shouted his requests across the desk to the submitters.

       298.    Even Rabobank managers and at least one senior manager expected the traders

and submitters to communicate their individual trading positions. A senior manager in London

(“Senior Manager 1”), who was Rabobank’s representative to the BBA, oversaw cash and

derivatives traders, including the traders responsible for Rabobank’s Yen-LIBOR submissions.

A former LIBOR submitter himself, Senior Manager 1 encouraged communication among the

traders and submitters, and even instructed one Yen-LIBOR submitter to contact derivatives

traders in another office to obtain the rates to submit each day. Traders, submitters and

Rabobank Senior Manager 1 openly discussed individual trading positions across the trading

desks, and also utilized Bloomberg chat and email to provide each other with instant and

continuous written communication about such positions. This free flow of information and the

encouragement of managers ensured that submitters would improperly make Yen-LIBOR

submissions beneficial to Rabobank traders’ derivatives trading positions.

       299.    Because of the submitters’ dual role as submitters and traders, and the open

communication policy promoted by senior managers, which encouraged the sharing of

information about trading positions, several submitters routinely used their own and other

traders’ Yen-LIBOR-based derivatives trading positions when determining their Yen-LIBOR

submissions and thereby skewed their Yen-LIBOR submissions to manipulate Yen-LIBOR. In



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addition, certain submitters and traders coordinated, at times, with inter-dealer brokers employed

by the Broker Defendants and traders from at least two other Contributor Bank Defendants or

Co-conspirators to manipulate Yen-LIBOR.

       300.    By failing to separate responsibilities for Yen-LIBOR submissions from its

trading functions, Rabobank created an inherent conflict of interest that incentivized submitters

to prioritize profit over their responsibility to make accurate Yen-LIBOR submissions that

reflected Rabobank’s cost of borrowing Yen in the inter-bank market. Rabobank created, and its

Yen-LIBOR-based derivatives traders took full advantage of, an environment that yielded

unfettered opportunities to manipulate Yen-LIBOR submissions to financially benefit their Yen-

LIBOR-based derivatives positions. This is exemplified by the widespread nature of Rabobank’s

manipulative conduct, which involved over two dozen traders, including desk managers, and the

knowing involvement of at least one senior manager.

       301.    In April 2010, Rabobank received the CFTC’s request to conduct an internal

investigation of its U.S. Dollar LIBOR practices. During this investigation, a Rabobank senior

manager informed submitters that it was inappropriate for derivatives traders to provide the rates

to submit for Yen-LIBOR. Despite an admonishment resulting from the internal investigation,

Rabobank failed to improve its internal controls or monitor its traders. Rabobank traders

continued their manipulation of Yen-LIBOR through the use of brokers into early 2011.

       302.    Rabobank’s failure to provide internal controls to address benchmark interest rate

submissions, allowance of inappropriate communications between traders and Rabobank’s

submitters, and financial incentives to manipulate the rates amplified the pattern of misconduct,

which continued for a number of years.




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            303.     At the Allen/Conti criminal trial, Rabobank’s traders and submitters testified that

this seating structure permitted them to make undocumented requests for false Yen-LIBOR

submissions. Lee Bruce Stewart, a former Rabobank trader who pled guilty to conspiracy to

commit wire fraud and bank fraud in this District, testified that “the vast majority” of requests

for false submissions were made in person or verbally, not in writing:

                     Government [Young]: Can you tell us of the times that you made LIBOR
                     requests, what portion of your requests were in writing and what portion of your
                     requests were in in person or verbally?

                     Rabobank [Stewart]: The majority would be done in just over the desk, so not in
                     writing.

                     Government [Young]: Could you tell us how big of a majority, a percentage
                     maybe or a portion?

                     Rabobank [Stewart]: The vast majority111

            304.     Takayuki Yagami was a Yen derivatives trader at Rabobank. During the

Allen/Conti Trial, Yagami testified that as time went on, he started to actively conceal his

requests for false Yen-LIBOR submissions by using the telephone to avoid making requests in

writing:

            Rabobank [Yagami]: The telephone call, we are talking about – the main reason I
            wanted to find out who was responsible for setting LIBORs was I wanted to know
            whether I can still request the yen LIBORs based on my positions. But I knew by then
            that I cannot ask or cannot write an email – I knew by then that I was – I should be more
            careful about being subtle, so I did not write e-mail to ask Mr. Tony Conti whether I can
            still keep requesting LIBORs based on our positions.

            ***

            Government [Slipperly]: When Mr. Conti says, so if it suits you for us to go a bit higher
            or a bit lower, I am sure that is not a problem at all. What did you understand him to be
            telling you?



111
      United States v. Allen, 14-cr-272, Transcript of Trial at 246-47 (Oct 19, 2015).

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            Rabobank [Yagami]: I understood that if I have preferences beyond LIBOR submissions,
            higher or lower, I can still request the setter to do so. And it is not a problem, not a
            problem.112

                                                  iv.     Lloyds

            305.     Lloyds assigned its money market traders to submit the bank’s LIBOR

submissions. These traders were charged with raising wholesale funds for Lloyds in various

currencies. These traders also traded LIBOR-based derivatives, including Yen-LIBOR-based

derivatives that were priced, benchmarked and/or settled based on Yen-LIBOR.

            306.     Throughout the Class Period, and up until March 2011, Lloyds did not have any

internal controls governing procedures for making Yen-LIBOR submissions. Lloyds did not (1)

undertake any efforts to review the integrity of its Yen-LIBOR submission process; (2) put in

place any systems or policies detailing the proper process for submitting Yen-LIBOR

submissions; (3) provide any training to its submitters on appropriate and inappropriate

information to consider when making LIBOR submissions; and (4) monitor its own submissions.

            307.     Lloyds linked its trader-submitter bonuses in part to the profit and loss of its

Money Markets Desk. The profits and losses of the Money Market Desk were impacted by

LIBOR, including Yen-LIBOR, as LIBOR was used for reference rates in large new cash

transactions, and where LIBOR was fixed determined the profitability of the cash transactions.

Further, LIBOR also affected the traders’ management of existing borrowing and lending

facilities. In sum, traders could greatly improve the desk’s profitability (and thus improve their

bonuses) by manipulating LIBOR, including Yen-LIBOR, to financially benefit these

transactions. Lloyds failed to develop procedures that would prevent its trader-submitters from




112
      United States v. Allen, 14-cr-272, Transcript of Trial at 694-95 (Oct. 22, 2015).

                                                             99
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taking into account their money market trading positions in setting Lloyds’ Yen-LIBOR

submissions.

            308.       Lloyds’ failure to implement controls and account for the risks involved with its

traders setting Yen-LIBOR led to pervasive manipulation of Yen-LIBOR by Lloyds, including

collusion with Rabobank to set Yen-LIBOR to benefit the banks’ trading positions at the expense

of Plaintiffs and the Class.

                                               v.    Deutsche Bank

            309.       Deutsche Bank did not have any LIBOR-specific systems and controls in place

governing its LIBOR submissions throughout the Class Period. It did not keep records of which

employees made its Yen-LIBOR submissions, or of the rationale behind those submissions, nor

did it train its employees regarding how to make submissions.113 Instead, Deutsche Bank

promoted a company culture of increasing profits without concern for the overall integrity of the

market, including awarding bonuses and promoting employees based on the profits and losses of

their trading books.114 For example, two LIBOR traders, Christian Bittar and Carl Maine,

generated extraordinary profits for Deutsche Bank. Senior management, including Anshu Jain,

the future co-CEO of Deutsche Bank, regarded them as “the best people on the street” and “the

best guys [Deutsche Bank’s] got.” As a result, Bittar, the “guaranteed money maker,” and Maine

were generously compensated, receiving a combined €130 million bonus based on their 2008

performances alone.

            310.       Starting in 2006, to increase Deutsche Bank’s profits, Anshu Jain (then, the

Global Head of Global Markets) and Alan Cloete (the Global Head of Global Financial and



113
      Ex. I-5 at 14.
114
      Id.

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Foreign Exchange Forwards) merged the bank’s pool trading and money market derivatives

(“MMD”) desks, creating the Global Financial and Foreign Exchange Forwards (“GFFX”) desk.

Deutsche Bank’s GFFX desks operated in various offices around the world, including within the

United States from Deutsche Bank New York Branch.115 The sole purpose of creating this

seating structure was to make it easier for Deutsche Bank’s traders and submitters to

communicate regularly so that its LIBOR submitters, including Yen-LIBOR, would be aware of

the false rates they needed to submit to financially benefit each of the bank’s trading positions.116

This seating strategy, while inherently creating a conflict of interest, proved incredibly profitable

for Deutsche Bank, with its MMD desk alone generating €1.9 billion in 2008 and €2.9 billion in

2009.117

            311.      Upon creating the GFFX desk, Deutsche Bank also implemented a new trading

strategy, focused on the “spread” or difference between certain LIBOR tenors, including Yen-

LIBOR. Deutsche Bank’s traders capitalized on the relationship between tenors by entering into

“massive derivatives basis trading positions” which increased in value as they manipulated the

spread between tenors wider.

            312.      Deutsche Bank educated its traders and submitters to ensure that this plan was

well known and utilized across currency desks, including those that traded Yen-LIBOR-based

derivatives. David Nicholls, the Head of Global Finance Europe and other senior traders from

Deutsche Bank’s London, New York, Tokyo, and Frankfurt GFFX desks held weekly meetings,

termed “Monday Risk Calls,” where they openly discussed the use of this trading strategy so that

everyone involved understood the plan. As a result, the CFTC found that Deutsche Bank’s


115
      Ex. I-1 at 8; Ex. I-6 at 13, 17, 22.
116
      Ex. I-6 at 5.
117
      Id. at 6.

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LIBOR submitters, including those who made Deutsche Bank’s Yen-LIBOR submissions,

routinely built this spread “bias” into Deutsche Bank’s LIBOR submissions, manipulating the

spread between different tenors of LIBOR wider, even in the absence of written communications

from traders requesting a specific false rate.

            313.       Deutsche Bank admitted in its NYSDFS Consent Order that “Deutsche Bank AG

and the New York Branch manipulated or attempted to manipulate submissions for the London

Interbank Offered Rate (“LIBOR”), . . . which [is a] benchmark interest rate[] used in financial

markets around the world, by, at times, submitting rates that would benefit Deutsche Bank’s

trading positions, rather than rates that complied with the definitions of the rates[.]”118 Deutsche

Bank employed trader Tim Prentice at its New York branch. Prentice conspired with R.P.

Martin’s Lee Aaron to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives

that Prentice traded in the United States.

            314.       Deutsche Bank AG’s manager, David Nicolls, held telephone calls each week,

where Deutsche Bank’s traders, including those located on its New York-based derivatives

trading desk, discussed their trading strategy and trading positions, including their Yen-LIBOR

submissions and Yen-LIBOR-based derivatives positions.119 DB Group Services employed all

of Deutsche Bank’s London-based pool and MMD traders, who also participated on the phone

calls and conspired with Deutsche Bank’s New York Branch.120 These Monday Risk Calls

continued throughout the Class Period and were one of multiple means by which Deutsche Bank

and DB Group Services fixed and manipulated Yen-LIBOR.




118
      Ex. I-5 at 1.
119
      Ex. F-6 at 9.
120
      Ex. I-1 at 27.

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            315.       Deutsche Bank further facilitated its employees’ LIBOR manipulation by

assigning a single employee with the responsibilities of making Deutsche Bank’s Yen-LIBOR

submissions and trading Yen-LIBOR-based derivatives, which created an inherent conflict of

interest.121 From 2008 through 2009, a senior Yen trader, Guillaume Adolph, referred to as

“Trader-11” in Deutsche Bank’s and DB Group Services’ DOJ settlements and “Senior Yen

Trader-Submitter” in Deutsche Bank’s CFTC settlement, made Deutsche Bank’s Yen-LIBOR

submissions and traded Yen-LIBOR-based derivative products.122 Prior to Adolph, two DB

Group Services employees, Submitter-2 and Submitter-3, were responsible for making Deutsche

Bank’s Yen-LIBOR submissions and trading Yen-LIBOR-based derivative products from 2006

through 2007.123

            316.       This and other conflicts of interest went unnoticed as Deutsche Bank did not have

a formal policy about conflicts of interest among traders and submitters relating to its benchmark

submissions until February 2013, almost three years after government regulators began their

probe into Deutsche Bank’s LIBOR-related misconduct.124 By merging the responsibility of

trading Yen-LIBOR-based derivatives and making Yen-LIBOR submissions into the same desk

(and sometimes even the same person), Deutsche Bank intentionally created an environment that

provided significant opportunities and incentives to manipulate Yen-LIBOR.

                                               vi.    Société Générale

            317.       Throughout the Class Period, Société Générale did not have policies, internal

controls, or procedures for determining or monitoring its Yen-LIBOR submissions to ensure that



121
      Ex. I-3 at 11.
122
      Ex. I-1 at 47.
123
      See Ex. I-4 at 27 (DB Group Services employed all of Deutsche Bank’s London-based traders).
124
      Ex. I-2 at 4.

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submissions were made based on an assessment of its costs of borrowing unsecured funds in the

interbank market.

       318.    Société Générale failed to: (1) provide internal training or establish standards for

its Yen-LIBOR submissions; (2) prohibit inappropriate communications between its traders and

submitters; and (3) recognize and monitor conflicts of interest. These shortcomings created a

culture of misconduct at Société Générale and allowed such misconduct to continue for years.

       319.    Société Générale’s Treasury Desk located in London (“London Treasury Desk”)

made its Yen-LIBOR submissions. The London Treasury Desk included money market traders

who dealt in borrowing and lending transactions, and also engaged in trading of Yen-LIBOR-

based derivatives. Certain members of the London Treasury Desk were responsible for making

Société Générale’s Yen-LIBOR submissions. Utilizing the same individuals who had Yen-

LIBOR-based derivatives positions that were tied to Yen-LIBOR to also calculate the bank’s

Yen-LIBOR submissions created an inherent conflict of interest. This conflict of interest led the

London Treasury Desk employees to prioritize financially benefiting their trading book from

Société Générale’s Yen-LIBOR submissions rather than submitting proper Yen-LIBOR

submissions on behalf of the bank. These employees established Yen-LIBOR-based derivatives

positions in the United States.

       320.    Société Générale’s submitters and substitute submitters also accounted for other

derivatives traders’ Yen-LIBOR-based derivatives positions when making Yen-LIBOR

submissions. This directive came from the top, as evidenced by an August 31, 2006

communication between Société Générale’s Senior Yen Derivatives Trader and its Head of

Treasury for Europe and Asia:

          Senior Yen Derivatives Trader: say, who is replacing [Yen-LIBOR Submitter]?? Can
          you tell him to put the 3m JPY LIBOR as high as possible, and the 6m as low as

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               possible and to really go to battle, there is 400b on the two fixings…they’re already
               going to cost us a lot.

               Head of Treasury for Europe and Asia: [Back-up Yen-LIBOR Submitter], he knows
               what is going on.125


            321.       Société Générale’s failure to implement controls to account for the risks of Yen-

LIBOR submissions made by the London Treasury Desk led to pervasive manipulation of Yen-

LIBOR by Société Générale, including collusion with UBS to benefit the banks’ trading

positions at the expense of the Class.

                   2. Defendants Lacked Internal Controls to Oversee Their Involvement in the Yen-
                      LIBOR Submission Process and To Monitor Their Communications With Other
                      Banks and Brokers.


                             a. ICAP.

            322.       During the Class Period, ICAP failed to implement adequate internal controls and

procedures to govern its Yen brokers’ communications and interactions with clients and

prospective clients. Nor did it adequately supervise and oversee its Yen brokers and the Yen and

Cash Desks.

            323.       ICAP used a regional-based system of policies, procedures, and controls that

applied to all ICAP plc subsidiaries during the Class Period. Further, ICAP did not have its own

chief compliance officer. A single person served as the dedicated chief compliance officer for all

ICAP plc subsidiaries, including ICAP. This system of compliance failed to detect and deter the

wrongful conduct of the ICAP brokers.

            324.       ICAP’s regional compliance system lacked internal controls, policies and

procedures to guide and monitor Yen brokers in their communications with clients, or the


125
      Ex. J-1 at 46.

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provision of market information to clients and other Contributor Panel banks. Furthermore,

ICAP did not have procedures for approving the dissemination of market information, or for

verifying the basis for the market information being disseminated by ICAP brokers.

       325.    ICAP’s Yen and Cash Desks were inadequately supervised. The Yen brokers,

including the “ICAP Yen Desk Head,” Danny Wilkinson, worked with little to no supervision

from senior ICAP management. Goodman, the only Yen cash broker at ICAP, operated

independently with little to no supervision from the head of the Cash Desk. Likewise, ICAP left

compliance oversight to the Yen and Cash Desk Heads who were expected to report any

suspicious conduct to ICAP’s compliance officer. This system of compliance and supervision

was of course all but useless as the Yen Desk Head Wilkinson was an active participant in the

misconduct taking place on the Yen Desk.

       326.    These compliance flaws were exacerbated by the fact that the Yen Desk was not

perceived as a potential compliance risk, and was not subjected to any compliance reviews or

audits during the Class Period. Because there were no audits of the Yen Desk for more than four

years, ICAP did not discover that: (1) former UBS and Citibank Senior Yen Trader Hayes was

“Derivatives Broker 1,” Darrell Read’s, exclusive client and a significant source of revenue for

the ICAP Yen Desk; (2) the ICAP Yen brokers regularly engaged in the manipulation of Yen-

LIBOR on behalf of former UBS and Citibank Senior Yen Trader Hayes; and (3) ICAP

successfully negotiated a special bonus from UBS to pay Goodman for “LIBOR services” which

were in fact services to disseminate false market information intended to benefit the Yen-

LIBOR-based derivatives positions of UBS Senior Yen Trader Hayes.

       327.    ICAP’s failure to provide specific internal controls and procedures to determine

permissible market information to be provided by its Yen brokers to clients and others, and the



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overall lack of supervision of the Yen and Cash Desks, allowed the misconduct to continue

unabated throughout the Class Period.

                      b. R.P. Martin.

       328.    R.P. Martin failed to establish an adequate compliance function, failed to

adequately supervise and oversee its Yen brokers and the Yen Desk, and failed to implement

adequate internal controls and procedures to govern its Yen brokers’ communications and

interactions with clients and prospective clients.

       329.    Prior to February 2010, R.P. Martin did not have a compliance office or

compliance department. Instead, R.P. Martin assigned employees from other departments to

handle compliance issues on a part-time basis. For example, R.P. Martin’s head of compliance

consisted of an inexperienced officer who had other responsibilities that were in conflict with his

compliance duties.

       330.    R.P. Martin also failed to ensure that staff were adequately trained and

supervised. Staff received little to no compliance training. Further, Desk Heads were given little

instruction regarding their roles and responsibilities in supervising the brokers on their desks.

Instead, brokers routinely raised concerns and issues directly with senior management, who had

earned the reputation of prioritizing the happiness of profitable brokers over ensuring a

compliant environment. Senior Management dealt with broker complaints as they arose, rather

than ensuring proactive supervision of brokers and desk heads. R.P. Martin’s currency desks,

including the Yen Desk, were inadequately supervised. The Yen brokers, including the Yen

Desk Head Terry Farr, worked with minimal supervision from senior management.

       331.    As part of this insufficient system of compliance, R.P. Martin did not have

adequate internal controls, policies, and procedures to guide and monitor Yen brokers in their


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communications with clients, or the provision of market information or market color, or for

verification of the basis for the market information being disseminated by R.P. Martin brokers.

Accordingly, although the improper communications between former UBS and Citibank Senior

Yen Trader Hayes, and R.P. Martin Yen brokers were well-known by most, if not all, of the

brokers on the Yen Desk, no one informed compliance or senior management that such improper

conversations were taking place.

       332.    R.P. Martin’s lackadaisical attitude toward compliance was evident when the

company became aware of UBS’ improper broker compensation activity. The R.P. Martin

manager who monitored back-office brokerage activity on a daily basis immediately noticed an

unusually large amount of commissions generated from “wash trades,” in which the same

financial instrument was purchased and sold, occurring between UBS and RBS. However, when

he questioned the Yen Desk about these trades, at least one Yen broker said to him, “You really

don’t want to know.” The R.P. Martin manager discussed the wash trades with at least one

member of R.P. Martin senior management but the discussion did not generate any action, and

no one at R.P. Martin further investigated why RBS and UBS had agreed to generate unusually

large wash trade commissions for the R.P. Martin Yen Desk.

       333.    R.P. Martin’s lack of specific internal controls and procedures related to external

communications, such as what market information Yen brokers can appropriately send to their

clients as well as its overall failure to supervise the Yen Desk, allowed the misconduct to

continue unabated.

                      c. Deutsche Bank

       334.    Starting in August of 2007, Deutsche Bank’s MMD desk’s profits skyrocketed.

MMD revenue alone more than quadrupled, increasing from €399 million in 2007 to over €1.9


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billion, or roughly 14% of the bank’s total revenue, in 2008.126 Despite this giant red flag,

Deutsche Bank’s management did not order an internal investigation for well over a year. When

Deutsche Bank’s Global Head of Global Markets, Anshu Jain, finally launched an investigation

in January of 2009, he requested that William Broeksmit, the Head of Capital and Risk-

Optimization, look at whether the MMD desk’s profits were real or caused by false valuations or

internal transactions (the “Broeksmit Investigation”). The Broeksmit Investigation was not

intended to uncover the source of these abnormally large profits, i.e., Deutsche Bank’s pervasive

LIBOR manipulation, but rather only inquired into whether the money represented by these

profits actually existed. Because of the limited nature of the Broeksmit Investigation, Deutsche

Bank continued to profit from its LIBOR manipulation.

            335.       In another 2009 investigation, Deutsche Bank’s Co-Chief Operating Officer in

Global Markets, Henry Ritchottes, requested that the Business Integrity Review Group (“BIRG”)

conduct a review into whether Deutsche Bank’s profits were a fraud (the “BIRG Review”).

Deutsche Bank assigned only one person, Mr. Mulcany, with the task of reviewing a tremendous

amount of documents (over 800,000). Many of these documents were written in French, a

language that Mr. Mulcany did not speak.127 The BIRG Review further failed because it used an

incomplete list of search terms, failed to detect many of the important later-discovered

communications, and lacked any independence as Mr. Cloete, the head of the very division that

was being investigated, was allowed to make changes to the report before it was passed off.128

On November 30, 2009, Mr. Cloete further compromised the BIRG Report, making “the

situation appear better” by removing all compliance-related topics before it was presented to the


126
      Id. at 9 n.16.
127
      Ex. I-6 at 21
128
      Id. at 10.

                                                     109
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Management Board, ensuring that Deutsche Bank would not implement any measures to restrict

the GFFX desk’s profits.129

            336.       Both of these investigations were inadequate responses to the major red flags that

Deutsche Bank’s LIBOR-submission process raised. As a result, Deutsche Bank’s traders and

submitters continued to manipulate Yen-LIBOR without any consequences.

                             d. UBS

            337.       UBS also did not have any systems or controls in place to monitor its LIBOR

submission process, which permitted its traders and submitters to manipulate LIBOR.130 When

UBS’ Compliance department launched an internal review of its LIBOR submission processes

and procedures (the “2008 Review”),131 it chose to limit its 2008 Review solely to U.S. Dollar

LIBOR, ignoring the likely possibility that its traders and submitters, whom management placed

next to each other on the STIR desk, were involved in manipulating LIBOR for multiple

currencies, a reality confirmed by UBS’ guilty plea to wire fraud in connection with its LIBOR-

related misconduct.132

            338.       To ensure the 2008 Review did not uncover LIBOR-related misconduct, UBS’

Compliance department placed one of its own LIBOR submitters in charge. This created a direct

conflict of interest, giving the submitter an opportunity to conceal any misconduct that might get

him or his co-workers in trouble. For example, the LIBOR submitter selected to lead the 2008

Review had himself received at least one request for a false LIBOR submission during the




129
      Id. at 21, 24.
130
      Ex. A-1 at 34.
131
      Id. at 27.
132
      United States v. UBS AG, Plea Agreement, No. 15-cv-76, ECF No. 6, at 1.

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relevant period.133 Proof that the 2008 Review was a sham, the LIBOR submitter found nothing

wrong with UBS’ USD LIBOR submission process even though he had direct knowledge that

UBS’ traders were manipulating LIBOR.134 UBS’ Compliance department naïvely terminated its

limited inquiry into the LIBOR submitting process at the bank, permitting UBS’ LIBOR

manipulation to continue without consequence.

            339.       To give the appearance that UBS was making a serious effort to end LIBOR-

related misconduct, Compliance decided in August 2008 that it was finally time to draft formal

procedures and guidelines (the “2008 Guidelines”) for UBS’ LIBOR submission process. The

2008 guidelines, like the 2008 Review, were also a sham and never actually circulated to UBS’

employees. UBS’ Compliance department only drafted them as a protective measure, in the

event they were ever questioned about what procedures they had in place.135 The 2008

Guidelines were illusory, and neglected to address key failures within the bank’s LIBOR

submission process: the inherent conflicts of interest (e.g., assigning trading and submitting

responsibilities to the same individual at the STIR desk) and lack of training for LIBOR

submitters on how to properly calculate UBS’ daily LIBOR submission.

            340.       The 2008 Guidelines also created an “exception reporting regime” intended to

give the appearance that UBS actively monitored its LIBOR submissions for false reporting.

Under this new system, compliance was to make weekly comparisons of UBS’ LIBOR

submissions to UBS’ actual cost of borrowing and/or the published LIBOR for the day. Large

differences would be considered “exceptions” and flagged for further review. While this

sounded reasonable, compliance configured the exception reporting regime to only be triggered


133
      Ex. A-3 at 28.
134
      See, e.g., id.
135
      Id. at 29-30.

                                                     111
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by extremely large differences between UBS’ LIBOR submission and actual cost of borrowing,

effectively neutering the system. As a result, despite UBS’ admitted false reporting in multiple

LIBOR currencies throughout the Class Period, the exception reporting regime did not detect a

single false LIBOR submission while it was in place.136

                               e. Société Générale

            341.        During the Class Period, Société Générale failed to implement internal controls

and procedures to govern its London Treasury Desk’s communications and interactions

regarding Yen-LIBOR submissions, which allowed its traders and submitters to manipulate Yen-

LIBOR. For example, in a July 18, 2006 email, Trader-1, a Tokyo-based derivates trader for

Société Générale, emailed Submitter-5, an employee on Société Générale’s London Treasury

Desk, and requested that Société Générale’s one-month Yen-LIBOR submission be manipulated

artificially lower to benefit Trader-1’s Yen-LIBOR-based derivatives position. On July 19, 2006,

Submitter-5 made a one-month Yen-LIBOR submission that was five basis points lower than

Société Générale’s submission on July 18, 2006.137

            342.        Société Générale did not have any concern with its lack of controls until the BBA

asked it to provide an attestation as to the adequacy of the systems and controls overseeing their

LIBOR submission process. This attestation required Société Générale to provide assurances

from management about the integrity and accuracy of its LIBOR submissions.

                   Head of London Treasury: [ . . . ] an ongoing issue is that letter from the [market
                   regulator . . . ]they actually talk about [ . . . ] Libor submissions [ . . . ] in terms of the
                   definitions [ . . . ] tread very carefully because the [market regulator] can come in and
                   look at our books. [ . . . ] they’re just asking that the senior management are
                   comfortable with the processes and the systems and controls [ . . . and that] our Libor
                   basic submission[s . . . ] are [ . . . ] reflective of our funding conditions[ . . . ].


136
      Id. at 29.
137
      Ex. J-2, at A-56-57.

                                                           112
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                Head of Treasury for Europe and Asia: [ . . . ] The point is we do not contribute our
                real funding. So, what do you want? [ . . . ] The issue now is that there is more scrutiny
                from the [market regulator . . .] And we [will] put that to [the Head of SCIB, the Head
                of U.K. Group Compliance, and the Group Head for the U.K. ]138

            343.         Despite his concerns, Société Générale’s Head of London Treasury was pressured

by management in Société Générale’s London office into signing the BBA’s attestation which

guaranteed the integrity of Société Générale’s LIBOR submissions and its LIBOR submission

process.139

            344.         After it received requests for information from the CFTC in 2011, early in 2012,

Société Générale conducted an internal audit of its LIBOR submission process in London for

2011. Despite conducting the internal audit, Société Générale failed to identify both glaring

improprieties with its LIBOR submission process and inconsistencies with its LIBOR

submissions and its costs of funding. The March 2012 internal audit report offered the

perfunctory conclusion that Société Générale’s LIBOR submissions were consistent with the

BBA guidelines. Société Générale conducted the internal audit to create the appearance that it

performed a fulsome review of its LIBOR submissions and related procedures.140 This is a

typical example of Société Générale’s facilitation of LIBOR manipulation and its failure to

maintain integrity in its LIBOR submission process, prior to its cooperation with the CFTC in its

investigation.




138
      Ex. J-1 at 27.
139
      Id. at 27 n. 17.
140
      Ex. J-1 at 47.

                                                        113
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              3. The Contributor Banks and Co-conspirators and Broker Defendants’ Yen Desk
                 Managers Were Active Participants in the Pervasive and Persistent Manipulation
                 of Yen-LIBOR and Yen-LIBOR-based derivatives Prices by Their Traders,
                 Submitters and Brokers


                       a. UBS.

       345.     UBS managers and senior managers were aware of the manipulation of Yen-

LIBOR and Yen-LIBOR-based derivatives prices by their derivatives traders. For example,

former Senior Yen Trader Hayes’ manager knew, at least as early as 2007, that internal pressure

was placed on UBS’ Yen-LIBOR submitters, to contribute submissions to financially benefit the

Yen trading book. Further, certain Zurich-based managers and more senior managers heading

the derivatives desks in all currencies were informed of the pressure the Yen trading desk placed

on the Yen-LIBOR submitters to contribute submissions that would benefit UBS and their

traders’ Yen-LIBOR-based derivatives positions.

       346.     For example, the FCA determined (a) at least four UBS Managers were directly

involved in making requests for false submissions to UBS’ Yen-LIBOR submitters; (b) at least

three other Managers and least four Senior Managers were aware that requests for false Yen-

LIBOR submissions UBS traders were making; (d) at least one Manager was directly involved in

making requests for manipulative conduct to Broker Defendants; (e) at least one other Manager

was aware that UBS was making requests for manipulative conduct to Broker Defendants; (f) at

least three Managers were aware that requests for false Yen-LIBOR submissions were made to

other Contributor Bank Defendants; and (g) at least one Senior Manager was aware that requests

for false Yen-LIBOR misconduct with other Contributor Bank Defendants and Co-conspirators.

In total, requests to manipulate Yen-LIBOR directly involved approximately 40 individuals at

UBS, 11 of whom were managers. Furthermore, the practice of submitting false Yen-LIBOR


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submissions to benefit Yen-LIBOR-based trading positions was often openly discussed between

certain individuals in open chat forums and in group emails, which included at least 70

individuals at UBS.

       347.    UBS managers were also on notice of UBS Senior Yen Trader Hayes’

communications with his counterpart traders and Yen-LIBOR submitters at other Contributor

Panel Banks about obtaining favorable and artificial Yen-LIBOR submissions to benefit his Yen-

LIBOR-based derivatives positions. In a July 3, 2009 email, a UBS manager, in an attempt to

keep Hayes from leaving for another bank, lobbied other UBS managers to award a sizable

bonus to Hayes. In the email, Hayes’ manager listed some of his attributes, such as “strong

connections with Libor setters in London. This information is invaluable for the derivatives

books.” This email was sent to a senior manager of the Investment Bank in Zurich, who

forwarded it to derivatives desk managers, asking for their input. One manager replied:

               [Hayes] does also know some of the traders at other banks (from his
               London days) but personally I find it embarrassing when he calls up
               his mates to ask for favours on high/low fixings . . . it makes UBS
               appear to manipulate others to suit our position; what’s the legal
               risk of UBS asking others to move their fixing?

       348.    Despite these communications to UBS managers and senior managers, no one at

UBS disciplined or even reprimanded Hayes, and no one referred the matter to compliance.

Hayes continued working as a derivatives trader at UBS until he left following a compensation

dispute in September 2009 to work for co-conspirator Citibank Japan.

       349.    The majority of UBS Yen-LIBOR submitters, Yen derivatives traders, and their

supervisors, as well as the more senior managers at UBS who were aware of this conduct, knew

that making false Yen-LIBOR submissions was inappropriate, yet continued to encourage, allow,

and participate in this conduct. For example, Hayes’ manager, a senior manager in the



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Investment Bank, the primary Yen-LIBOR submitters, and other derivatives traders knew it was

contrary to the definition of Yen-LIBOR to consider derivative trading positions in making their

Yen-LIBOR submissions. On October 9, 2008, “Submitter-1” Roger Darin complained to

several other managers that: “one of the things we signed up for when UBS agreed to join the

fixing panel was the condition that fixing contributions shall be made regardless of trading

positions.”

       350.    As an active participant in the manipulation of Yen-LIBOR, a UBS derivatives

desk manager sought to obstruct the investigation of the LIBOR manipulation. For example, in

December 2010, Submitter-4, the UBS derivatives desk manager who supervised Rolf Keiser

(“Submitter-2”) in 2009, instructed Keiser to lie to UBS attorneys during the investigation.

Among other things, the UBS manager instructed Keiser to (a) falsely claim that the UBS Yen

trading desks did not have any derivative positions with exposure to Yen-LIBOR; (b) avoid

mentioning Hayes; (c) falsely indicate that the Yen-LIBOR submission process did not take into

account trading positions; (d) falsely claim that they never moved the Yen-LIBOR submissions

to benefit the Yen trading desks; (e) falsely claim that when contributing Yen-LIBOR

submissions, UBS tried to be “as close to the market as possible.”

                      b. RBS.

       351.    At least two RBS managers were aware of significant conflicts of interest with

derivatives traders acting as backup Yen-LIBOR submitters. Moreover, one of these managers

was aware of, and at times participated in, the manipulation of the RBS Yen-LIBOR submissions

by derivatives traders.

       352.    For example, on August 22, 2007, Manager-l (employed by Defendant RBS Japan

at this time) Jezri Mohideen became aware that “Trader-2,” Neil Danziger, who acted as a


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backup Yen-LIBOR submitter that day, made RBS’ submission for his own benefit. Mohideen

asked, “Hi Mate, where are u calling the 6m and 3s Libor today?” Danziger responded, “i put in

1.05 and 1.15.” Mohideen said “ok cool. . . is that close to consensus?” to which Danziger

responded, “i think my 3s are too high . . . 6s will prob be 1.13 too . . . but i wanted high fixes

today.” Later, Danziger asked, “well let me know if you have any preferencves . . . each day.”

Jezri Mohideen responded, “thx will do.”

        353.    In an electronic chat on December 3, 2007, Jezri Mohideen communicated his

own requests for the direction of Yen-LIBOR to “Trader-3,” Will Hall, with whom he shared a

Yen trading book. Mohideen said to Hall, “for choice we want lower libors... let the MM

[money market] guys know pls.” Hall responded that he was serving as the submitter that day

“as [Trader-2] and cash guy off.” Mohideen then said “great. . . set it nice and low.” Hall

suggested 1.02 “or lower” for the six-month Yen-LIBOR submission, to which Mohideen

responded, “yeh lower.” Hall indicated that he could go down one more basis point to 1.01,

which he did - making RBS the lowest of all Contributor Panel Banks whose Yen-LIBOR

submissions were counted in that day’s fixing.

                       c. Rabobank.

        354.    Rabobank “Submitter-3” as identified in the Rabobank DOJ SOF, was

Rabobank’s Global Head of Liquidity and Finance, Anthony Allen. Anthony Allen was the head

of Rabobank’s money market desk in London, directly supervising other Rabobank Yen-LIBOR

Submitters. Anthony Allen knew that requests were made to Rabobank’s Yen-LIBOR

submitters to contribute false submissions to benefit swaps traders’ trading books, and he not

only tolerated such activity, but directly participated in it.




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       355.    Rabobank “Trader-9” later replaced Anthony Allen as the Global Head of

Liquidity and Finance, previously having served as the Head of Liquidity and Finance for

Europe. Trader-9 was the head of Rabobank’s money market desk in Utrecht, directly

supervising other Rabobank LIBOR Submitters. Trader-9 was informed that Rabobank “Trader-

5,” Takayuki Yagami, would forward requests to the submitters under Trader-9’s supervision,

but Trader-9 did not act to stop such conduct. Further, many of the submitters under Trader-9’s

supervision were not trained to calculate LIBOR submissions, which increased the ability for

traders to exert substantial influence on the submitters and for Yagami to take over the Yen-

LIBOR setting process.

       356.    In addition, Rabobank’s “Trader-6,” Tetsuya Motomura, was the head of Global

Financial Markets Trading for Tokyo and, starting in October 2008, the head of Global Financial

Markets for Tokyo. Tetsuya Motomura directly supervised numerous Rabobank traders who

made numerous requests to Rabobank’s Yen-LIBOR submitters to financially benefit their

trading books. Tetsuya Motomura also made numerous requests to Rabobank’s Yen-LIBOR

submitters to benefit his own trading book, was aware of the fact that Takayuki Yagami made

similar requests, and directed Takayuki Yagami to make requests on Tetsuya Motomura’s behalf.

       357.    Further, Rabobank’s “Trader-4,” Paul Thompson, was the Head of Money

Markets and Derivatives Trading for Northeast Asia and the Head of Local Currency Trading for

Asia Pacific, eventually being promoted to Head of Liquidity and Finance for Asia Pacific in

November 2010. Paul Thompson not only was aware of the fact that Takayuki Yagami made

requests to Rabobank’s Yen-LIBOR submitters to benefit his Yen-LIBOR-based derivatives

trading book, but Paul Thompson previously made numerous such requests on his own behalf.




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                             d. Lloyds.

            358.       At least four managers at Lloyds were aware of Yen-LIBOR manipulation by its

submitters, how the scheme functioned, and the profits the scheme would generate for the bank.

In one example, on July 19, 2007, a Lloyds trader-submitter and a manager discussed a request

from a Lloyds trader for a low Yen-LIBOR submission. In relaying the request, the trader-

submitter remarked that “every little helps . . . It’s like Tescos,” an ironic play on the slogan of

the British multinational grocery and merchandise retailer known for providing a good value and

taking care of its customers. Quite the opposite occurred here; Lloyds’ profit-making scheme

took advantage of the Yen-LIBOR manipulation to provide value to Lloyds at the expense of its

customers and the public. The Lloyds manager agreed with the trader-submitter’s sentiments,

replying “Absolutely every little helps.”

                             e. Deutsche Bank

            359.       Deutsche Bank’s management went so far as to facilitate requests for false

submissions by soliciting requests from its traders, passing them along to the submitters, and

following-up to ensure that the favorable submissions were made.141 For example, in the

following communication, the Tokyo Regional Manager reached out to a Deutsche Bank Yen-

LIBOR submitter to inquire to whom he should direct his requests for false submissions, the

right person was the Senior Yen LIBOR Submitter. Another manager, Yen Desk Manager, had

to pass along the request for high one-month and six-month Yen-LIBOR submissions because

the Senior Yen LIBOR Submitter did not answer the Tokyo Regional Manager’s phone call.

                       December 21, 2006:

                       Tokyo Regional Manager: are you doing libors today, esp JPY or is [Senior Yen
                       LIBOR Submitter]?

141
      Ex. I-2 at 23.

                                                      119
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                     Junior Yen LIBOR Submitter: shld be [Yen Desk Manager] setting, let him know
                     yr axes . . . i’ll be inputting next week if need anything then mate

                     Tokyo Regional Manager: [Senior Yen Trader-Tokyo] will BBG you next week if
                     he needs anything .. cheers mate

            Follow-up instant message to Yen Desk Manager the same day:

                     Tokyo Regional Manager: is [Senior Yen LIBOR Submitter] in or are you doing
                     JPY libors today?

                     Yen Desk Manager: [Senior Yen LIBOR Submitter] is doing it

                     Tokyo Regional Manager: he is not picking [Senior Yen Trader-Tokyo] up...
                     could you ask him to go high in 1m and 6m?142

            B. Defendants and their Co-conspirators Successfully Manipulated Yen-LIBOR and the
               Prices of Yen-LIBOR-based Derivatives.

                   1. Through Their False Reporting of Yen-LIBOR, Among Other Unlawful
                      Conduct, the Contributor Bank and Broker Defendants Successfully Manipulated
                      Yen-LIBOR and the Prices of Yen-LIBOR-based derivatives.

                            a. UBS.143

            360.     Over a period of approximately six years, from at least January 2005 through at

least June 2010, UBS Derivatives Traders and Trader-Submitters engaged in sustained, wide-

ranging, and systematic efforts to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives to benefit UBS’ trading positions. This conduct encompassed, among other things,

hundreds of instances in which UBS employees sought to influence benchmark rates. During

some periods, UBS employees engaged in this activity on nearly a daily basis.

            361.     For example, the CFTC determined that UBS Derivatives Traders made

approximately 2,000 written requests of UBS’ trader-submitters, traders at other panel banks and




142
      Id. at 24.
143
      See also Ex. A-2 at 11-17.

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inter-dealer brokers to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives.

The written requests of the UBS Derivatives Traders occurred on approximately 570

trading/reporting days, mostly between late 2006 and late 2009, which is approximately 75% of

the days UBS participated in the submissions.

       362.    Former UBS Senior Yen Trader Hayes made at least 800 requests in writing, on

UBS’ email and chat systems, to the UBS trader-submitters for adjustments to UBS’ Yen-

LIBOR submissions. Sometimes, Hayes made requests to benefit the trading positions of other

UBS Yen Derivatives Traders on the desk, if it happened that Yen-LIBOR fixings would not

impact his own positions.

       363.    UBS’ submission of false Yen-LIBOR to benefit UBS derivatives traders’

positions began to occur far more frequently after July 2006, when UBS hired Hayes. Beginning

in September 2006, and continuing until soon before he left UBS in September 2009, Hayes, and

occasionally other UBS Yen derivatives traders, regularly requested that UBS Yen-LIBOR

submitters contribute Yen-LIBOR submissions to benefit their trading books. Hayes and his

colleagues engaged in this conduct on the majority of total trading days during this more-than-

three-year period.

       364.    UBS’ Yen derivatives traders’ requests typically were for the one-month, three-

month, and six-month tenors for Yen-LIBOR. The trader-submitters on many occasions

acquiesced to those requests and made Yen-LIBOR submissions with the purpose of benefiting

UBS’ derivative trading positions. The requests were made over UBS’ email or chat networks

and additional requests were made orally by traders who sat near to or spoke by telephone with

trader-submitters, with traders at other banks or with brokers. In addition, certain trader-




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submitters based submissions at times on his or her own or the desk’s trading positions, without

consulting with anyone else.

            365.   Multiple UBS traders and submitters, including Hayes’ supervisor, were aware of

Hayes’ efforts to manipulate Yen-LIBOR through his internal requests to the submitters. UBS

managers in Tokyo and Zurich also were aware of Hayes’ requests. The UBS managers

encouraged and allowed Hayes to engage in his conduct, which ended only when he decided to

leave UBS following a pay dispute. No one involved in or aware of the misconduct reported it

as wrongful to more senior management, or to UBS’ compliance or legal departments. On the

contrary, some of these individuals, including Hayes’ Yen Desk Manager in Tokyo, Mike Pieri,

engaged in the same misconduct by making their own requests to UBS’ Trader-Submitters for

the manipulation of Yen-LIBOR or facilitating Hayes’ requests.

            366.   During his criminal trial, Hayes confirmed that his managers were fully aware of

his manipulation, stating: “I acted with complete transparency to my employers. My managers

knew, my manager’s manager knew. In some cases the CEO [chief executive] was aware of

it[.]”144

            367.   In making requests, Hayes at times identified the tenor and/or direction for which

he sought assistance, using terms such as “low 1m” (indicating that he wanted a low submission

for the Yen-LIBOR one-month tenor submission), “high 3m” (for the three-month Yen-LIBOR

submission) or “unchanged.” The requests were so common that Hayes sometimes merely asked

for the “usual axe on libors,” meaning his typical requests. Certain trader-submitters also

understood that Hayes had a “standing order,” meaning Hayes had a preference for a higher or




144
    Mark Broad, Libor trader: Who is Tom Hayes? BBC NEWS (Aug. 3, 2015), available at
http://www.bbc.com/news/business-33635340.

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lower submission and that this preference remained in operation for a period of several days, if

not longer. Moreover, UBS trader-submitters sometimes initiated contact with Hayes to see if he

needed any adjustments made to the Yen-LIBOR submissions.

       368.    Hayes also sometimes emphasized to UBS’ trader-submitters when one of his

requests was particularly important, such as by saying he had a “big fix” or even a “massive fix.”

At times, Hayes was more specific, quantifying the potential benefit to UBS’ derivatives

position: “have 385b 6m fix today so really need it low ... half a point is 10mjpy!” As Hayes

once exclaimed to the UBS Senior Yen Trader-Submitter, Roger Darin: “I live and die by these

libors, even dream about them.” (Emphasis added).

       369.    UBS trader-submitters regularly accommodated Hayes’ requests. In fact, one

UBS Yen trader-submitter indicated that he would at times adjust his submissions by up to

several basis points to accommodate Hayes’ requests. The requests and accommodations

occurred on a regular basis even after UBS had received the CFTC Division of Enforcement’s

demand in October 2008 for information and documents relating to UBS’ U.S. Dollar LIBOR

submissions.

       370.    For example, on Monday, November 20, 2006, Hayes reached out to the UBS

Yen-LIBOR “Submitter-3,” Joachim Ruh, who was substituting for the regular “Submitter-1,”

Roger Darin, that day: “hi . . . [Roger] and I generally coordinate ie sometimes trade if ity [sic]

suits, otherwise skew the libors a bit.” Hayes went on to request, “really need high 6m [6-

month] fixes till Thursday.” Ruh responded, “yep we on the case there . . . will def[initely] be on

the high side.” The day before this request, UBS’ six-month Yen-LIBOR submission had been

tied with the lowest submissions included in the calculation of the LIBOR fix. Immediately after

this request for high submissions, however, UBS’ six-month Yen-LIBOR submissions rose to the



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highest submission of any bank in the Contributor Panel and remained tied for the highest until

Thursday as Hayes had requested.

       371.    In early 2007, Roger Darin, who was also a UBS manager and Yen derivatives

trader, trained a new UBS Yen-LIBOR “Submitter-2,” Rolf Keiser. During that training, Keiser

was instructed that the primary factor in determining UBS’ Yen-LIBOR submissions each day

was the UBS Yen derivatives traders’ requests, which were to be accommodated. Keiser

followed that directive, and accommodated Hayes and other UBS Yen derivatives traders’

requests for LIBOR submissions through July 2009, when his responsibilities at UBS changed.

       372.    From at least August 2007 and at various times through at least September 2009,

the manager of one of the Yen derivatives trading desks in Tokyo exerted pressure on Yen-

LIBOR submitters to take derivatives traders’ positions into account when setting Yen-LIBOR.

Yen derivatives traders routinely requested that the submitters contribute Yen-LIBOR

submissions to benefit their trading books, and the submitters, in accordance with the

instructions from their superiors at UBS, accommodated derivatives traders’ requests.

       373.    An example of such an accommodation occurred on March 29, 2007, when Hayes

asked UBS submitter Roger Darin, “can we go low 3[month] and 6[month] pls? . . . 3[month]

esp.” Darin responded “ok”, and then the two had the following exchange by electronic chat:

               March 29, 2007:

               UBS [Hayes]: what are we going to set?

               UBS [Darin]: too early to say yet . . . prob[ably] .69 would be our
               unbiased contribution

               UBS [Hayes]: ok wd really help if we cld keep 3m low pls

               UBS [Darin]: as i said before - i [don’t] mind helping on your fixings, but i’m
               not setting libor 7bp away from the truth. . . i’ll get ubs banned if i
               do that, no interest in that.

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              UBS [Hayes]: ok obviousl;y [sic] no int[erest] in that happening either . . . not
              asking for it to be 7bp from reality anyway any help appreciated[.]

       374.   Hayes received the help he requested. Although UBS’ “unbiased contribution”

for three-month Yen-LIBOR would have been .69 that day, Darin lowered his submission to .67.

       375.   As another example, a series of electronic chats between March 12 and 17, 2008,

demonstrate that Hayes caused UBS’ Yen-LIBOR submission to move three basis points over a

five-day period. On Wednesday, March 12, 2008, Hayes asked “Submitter-2,” Rolf Keiser, to

raise the three-month Yen-LIBOR submission from the previous day’s .99 contribution, because

“we have [$2 million] usd fix in 3[month Yen-LIBOR] on Monday [March 17] per bp.” Keiser

responded: “with yesterdays 99 i was already on the very high side. i need to go down a touch

lower on the back to what happened yesterday. . . thought about .97.” Hayes responded: “cool

no chance of .98? anyway the actual fix is Monady [sic] [March 17] so that’s the key day.”

Although Keiser had intended to drop his Yen-LIBOR contribution down to .97 on March 12, he

instead raised UBS’ Yen-LIBOR submissions to .98. The following day, Keiser raised it again

to .99, and on Monday, March 17, 2008 the following exchange occurred:

              March 17, 2008:

              UBS [Hayes]: been chatting with [your supervisor, Roger Darin] . . . can we go . .
              . high 3[month Yen-LIBOR] . . . obviously with the size of the fix today and
              confusion over levels if we could push it a bit more than usual it would be great

              ***

              UBS [Keiser]: Friday fixed 3mt at 0.99

              UBS [Hayes]: thx [Keiser]

              UBS [Keiser]: shall I go fro 1%?

              UBS [Hayes]: pls

              UBS [Keiser]: ok will do
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       376.    As promised, Keiser made UBS contribute a Yen-LIBOR submission of 1% that

day, three basis points higher than where he had intended to submit a few days earlier.

       377.    In a March 28, 2008, electronic chat between Hayes and Keiser, Hayes was again

successful in manipulating UBS’ Yen-LIBOR submission to benefit his trading positions:

               March 28, 2008:

               UBS [Hayes]: just for my guide [Keiser] roughly wher are we going to set 3m
               and 6m?

               UBS [Keiser]: 3m0.92 6m 0.96

               UBS [Hayes]: can we go lower?

               UBS [Keiser]: sure . . . dont think it will be that low though . . . but can do 090

               ***

               UBS [Hayes]: so can we set 6m at .94 too? . . . 6m is much more urgent . . . most
               urgent of the lot

               ***

               UBS [Keiser]: i just put in 0.95 for 6mt

               UBS [Hayes]: ok . . . Thx

       378.    On March 28, 2008, Keiser lowered UBS’ three-month Yen-LIBOR submission

from .92 to .90, and lowered UBS’ six-month submission from .96 to .95, as discussed above.

       379.    On some occasions, UBS Yen-LIBOR submitters would also amend, if possible,

previously submitted Yen-LIBOR contributions to accommodate UBS’ trading positions. For

example, in an April 4, 2008 electronic chat between Hayes and Keiser, the following exchange

occurred:

               April 4, 2008:

               UBS [Hayes]: have you put the [Yen] libors in?


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               UBS [Keiser]: y[es] . . . any changes?

               UBS [Hayes]: oh was going to ask high 6m if not too late

               UBS [Keiser]: i input 95 . . . which is on the lower side

               UBS [Hayes]: ok is it too late to change? . . . if not no drama

               UBS [Keiser]: i try to change it now but cannot gaurantee if it gets accepted

               ***

               UBS [Keiser]: just cahnged [sic] it to 0.98

       380.    UBS’ six-month Yen-LIBOR submission that day was indeed .98, three basis

points higher than Keiser’s originally intended submission.

       381.    As another example, on June 29, 2009, Hayes contacted Keiser by electronic chat,

explaining that he had huge positions that day and asking, “can we [submit] 6 mlibor high pls.”

Keiser stated “…we dont have any fix at mom.” Hayes responded by asking, “can we go 74 or

75 [meaning .74 or .75] . . . we have [$2 million per basis point exposure] for the next week.”

Keiser agreed to accommodate this request, responding, “yes sure will. I go with .75 for you[.]”

Thus, Keiser agreed to move UBS’ six-month Yen-LIBOR submission by 3.5 basis points that

day to benefit Hayes’ position.

       382.    Traders on the UBS Yen desk continued to manipulate Yen-LIBOR and the prices

of Yen-LIBOR-based derivatives to benefit UBS’ derivatives trading positions after Hayes left

UBS in September 2009. These traders utilized some of the same methods, internal requests, use

of inter-dealer brokers, and coordination with other banks. The UBS Yen-LIBOR-based

derivatives traders, on their own and at their manager Mike Pieri’s direction, also continued to

manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives through UBS’




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submissions in order to manage Hayes’ positions or to benefit UBS’ other Yen-LIBOR-based

derivatives trading positions.

         383.   At least one broker reached out shortly after Hayes’ departure to assure one of

UBS’ Yen-LIBOR-based derivatives traders that he would continue to help UBS influence the

rates submitted by other banks. For example, on September 10, 2009, “UBS Yen Trader 2,”

Mirhat Alykulov, reminded Darrell Read at Broker Defendant ICAP that “Monday is the d-day”

due to big fixes on swap transactions tied to three and six month Yen-LIBOR, both of which he

needed low. Read assured Mirhat Alykulov he would help him to influence the three-month fix:

                 ... you realise that you have the ability to influence the 3m fix, you
                are currently sitting at the upper end of the range. The 6m will have
                to come down to others as you are already v low .. .ill remind you to
                chase your cash boys as well:-)

         384.




                                        :




                                                                                           145




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                            b. RBS.146

           385.     From mid-2006 through late 2010, multiple RBS Yen traders and at least one

manager manipulated Yen-LIBOR by making hundreds of manipulative requests of RBS’

Primary Submitter, Paul White, and London-based traders, including RBS Yen Traders 1 and 2,

Neil Danziger and Will Hall. RBS’ Senior Yen Trader, Jimmy Tan, made most of the requests,

but RBS’ Yen Manager, Jezri Mohideen, and other RBS Yen traders also made such requests.

London-based Yen-LIBOR-based derivatives traders also made their own requests of RBS’

Primary Submitter, Paul White, both in person as they sat together, and through Bloomberg chats

and other means. RBS’ derivatives traders’ requests for artificial Yen-LIBOR submissions were

common and made openly on the trading floors in Asia and London. At times, at least one RBS

manager was present when requests were made.

           386.     The requests were often accommodated by RBS’ Primary Submitter, Paul White,

and by RBS’ backup submitters, including most often RBS Yen Trader 1, Neil Danziger. Yen-

LIBOR-based derivatives traders’ requests for beneficial submissions were usually for the most

frequently traded tenors: one-month, three-month, and six-month. At times, the requests covered

other tenors as well. Always seeking to maximize profit, the traders either asked for specific

rates to be submitted or asked for a directional move, either higher or lower, in RBS’

submissions. The requests were either for a particular day or for several days, and on some

occasions, even weeks of submissions.

           387.     Starting as early as August 2006, a Yen-LIBOR-based derivatives trader

employed by RBS Japan sent requests for favorable Yen-LIBOR submissions to a Yen




146
      See also Ex. B-4 at 8-18.

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derivatives trader in London, who in turn sometimes indicated he would seek accommodations

from Paul White.

           388.    Starting in early 2007, RBS Yen-LIBOR-based derivatives traders made more

frequent requests for specific Yen-LIBOR submission in order to benefit their trading positions.

This increase in 2007 began shortly after Jimmy Tan in Tokyo (who was employed by RBS

Japan until December 2009) began working with Neil Danziger in London on the Yen

derivatives book, and Will Hall joined the Yen derivatives swaps desk in London.

           389.    Tan and Danziger often discussed their need for Yen-LIBOR in a specific tenor to

move in a particular direction on a specific day or over a period of days to benefit a Yen

derivatives trading position, and Danziger generally passed on the request to Paul White.

           390.    Tan sometimes passed his requests through other money market traders. For

example, in an electronic chat on May 3, 2007, Tan asked a junior derivatives trader who acted

as a backup Yen-LIBOR submitter, “can you do me a favour? ..can you drop a note to [Paul

White] (JPY money mkt dealer) to set low lm and low 3m Yen-LIBOR today please? Thanks.”

The junior backup submitter responded, “just gave him a shout, said already on it...”

           391.    Danziger also served as a backup Yen-LIBOR submitter during times when White

was away from the desk and made Yen-LIBOR submissions to benefit derivatives trading books.

For example, on August 20, 2007, Tan noted in an electronic chat that “[Danziger] is the one

setting jpy [Yen] libor in london now ..for this week and next.” The reason was that “[White] is

on leave.” That same day day, another Tokyo-based derivatives trader, Trader-4,147 asked

“where’s young [Danziger] thinking of setting it?” Tan responded, “where would you like it[,]

libor that is[,] same as yesterday is call.” Trader-4 said, “haha, glad you clarified! mixed feeling


147
      Trader-4 was employed by RBS Japan.

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but mostly I’d like it all lower so the world starts to make a little more sense.” Tan then weighed

in, observing that “the whole HF world will be kissing you instead of calling me if libor move

lower.” Danziger responded, “ok, i will move the curve down …1 bp…maybe more…if i can.”

Tan suggested that the time to move was not now: “maybe after tomorrow fixing hehehe.”

Danziger responded, “fine…will go with same as yesterday then.”

       392.    At times, derivatives traders who had different trading books and conflicting

interests in the direction of Yen-LIBOR competed for submissions. On March 27, 2008, for

example, Tan and Danziger expressed frustration that Will Hall, another Yen derivatives trader

based in London, attempted to influence RBS’ LIBOR submission. Tan asked Danziger, “we

change the libor lower?,” to which Danziger responded, “i was in a novation meeting and [Hall]

asked [a junior Yen derivatives trader serving as a backup Yen-LIBOR submitter] to put it low.”

Tan opined that “[Hall] shud have just [squared] it with us if he need it lower...cos i dont think

they have as big position as us next few weeks...i dont think [Hall] or the long end guys shud

ever touch the libor...they shd check with us.” Danziger responded, “i know,” and Tan

complained that “thats probably gonna cost us 200k gbp.”

       393.    Later in the same March 27, 2008 electronic chat, Tan and Danziger discussed

their need to increase Yen-LIBOR the next day to benefit their trading position:

               March 27, 2008:

               RBS [Tan]: tomorrow we need to bump it [six-month LIBOR] way up
               high…highest among all if possible

               ***
               RBS [Tan]: we need to bump up all the way in the 3mth libor tomorrow
               as well

               RBS [Danziger]: we will put it in tonmorrow morning and no one will touch
               it i promise you.



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         394.    The next day, RBS increased its three-month Yen-LIBOR submission by three

basis points, making it the second-highest submission, and increased its six-month submission by

five basis points, making it the third-highest submission.

         395.    On at least one occasion, an RBS Yen derivatives trader recognized that it might

be necessary to have an excuse for manipulating RBS’ Yen-LIBOR contributions that day. On

August 28, 2008, Danziger asked Tan, “where shall we put libors.” Tan responded, “high 3m ...

low 6m.” They then discussed the one-month LIBOR submission. Danziger said, “1s?”, to

which Tan responded: “low . . . so we dont need to change 1 today . . . pretend we forgot . . .we

can change it tomorrow . . . assuming no one else in bank has any position in 1s.” RBS kept its

one-month Yen-LIBOR submission unchanged that day, tying it for the third lowest of all

Contributor Panel Banks. Consistent with Tan’s request, RBS’ three-month Yen-LIBOR

submission increased by two basis points and its six-month Yen-LIBOR submission declined by

one basis point.

         396.    Tan and Danziger on occasion passed their requests to Paul White for Yen-

LIBOR submissions through a junior derivatives trader, Trader-5, who worked on the Yen desk

in London under Danziger. For example, on April 24, 2009, Trader-5 asked White, “Can we go

with high 3s and high 6s plz today.” White responded, “they are lookingh bit softer, but will try

and keep ours unch.”148 Trader-5 responded, “thnx.” RBS’ three-month and six-month Yen-

LIBOR submissions on that day were unchanged from the day before, and both were above the

actual Yen-LIBOR fix.




148
   In the context of the RBS chats, “unch” appears to mean that the LIBOR would be unchanged from the previous
day.

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       397.     On another occasion, in an electronic chat on September 23, 2009, Tan said to

Trader-5, “hey... can you ask [Paul White] if he can lower his 3mth Libor by 1 bp today? and

everything else unchange.” Trader-5 responded, “yes,” then “asking,” and finally, “agreed.” On

that day, RBS lowered its three-month Yen-LIBOR submission one basis point compared to the

previous day.

       398.     On another occasion, on April 22, 2009, Danziger asked White in an electronic

chat, “can we push up 6m again pls?” White responded, “ok will try.” Danziger then asked,

“what do you think we can go for?,” to which White responded, “77.” That day, RBS’ six-

month Yen-LIBOR submission increased by one basis point to 0.77, making RBS the highest

submitter among the eight banks included in that day’s Yen-LIBOR fixing. RBS also had

increased this submission one basis point on the previous day.

       399.     Requests for favorable Yen-LIBOR submissions were often treated in a routine,

even casual, manner. One example is a May 20, 2009 exchange in an electronic chat involving

Danziger and White, among others:

                May 20, 2009:

                RBS [Danziger]: high 3s and low 6s pls [Paul White]

                RBS [White]: no problems

                RBS [Danziger]: grazias amigo . . . where will you lower 6s to?

                RBS [White]: 70

       400.     RBS’ six-month Yen-LIBOR submission on May 20th dropped two basis points

from 0.72 (where it had been the preceding two days) to 0.70, and on the following two days it

reverted to 0.72.




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       401.    A second example is an electronic chat dated September 15, 2009, in which

Danziger asked, “can we lower our fixings today please [White].” White responded, “make your

mind up,” then “haha, yes no probs.” Danziger stated, “im like a whores drawers.” RBS

lowered its three-month and six-month Yen-LIBOR submissions on that day, and kept its one-

month submission the same.

       402.    Jimmy Tan’s and Danziger’s requests for false Yen-LIBOR submissions

continued throughout 2010. For example, on July 20, 2010, Tan, in an electronic chat with

Danziger, asked, “can you ask [Paul White] to set 6m JPY higher today? 45 would be good...”

Danziger responded, “yes i did” and “he will bump it up a point.” On that day, RBS’ six-month

Yen-LIBOR submission increased from 0.44 to 0.45.

       403.    By at least September 2010, certain RBS Yen derivatives traders became aware of

a prohibition on communicating about requests for LIBOR submissions. On September 24,

2010, in an electronic chat involving Tan, Danziger, and Trader-5, among others, Tan initiated a

request by stating, “hey [Danziger], can you ask [White] to push 6m Yen-LIBOR up 2 bps to

44.” Danziger responded, “ha . . . i will mention it ... no emails anymore . . . after tom,” referring

to former UBS trader Tom Hayes. Tan replied, “haha...i heard he called up BBA to ask them to

change the way they fix the libor.”

       404.    A month later, on October 28, 2010, Tan, in an electronic chat with Danziger,

indicated that he would make his request orally rather than in an electronic communication “after

the tomhayes thing”:

               October 28, 2010:

               RBS [Tan]: it would help if [Paul White] hike up 1 bp today

               RBS [Danziger]: i try, after the tomhayes thing its more difficult . . . i feel the
               more i ask the more he wont . . . out of principal

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              RBS [Tan]: true

              RBS [Danziger]: cos i cant type it on chat anymore . . . i have to walk over

       405.   In a November 22, 2010, electronic chat, Tan and Danziger discussed their view

that they should take over submitting Yen-LIBOR on RBS’ behalf:

              November 22, 2010:

              RBS [Tan]: actually we shd just take over the libor setting

              RBS [Danziger]: hahaha

              RBS [Tan]: doesnt make sense for him [Paul White] cuz he doesnt have any risk

              RBS [Danziger]: i agree

              RBS [Tan]: [A manager in Singapore] question today why [Paul White] sets it
              when he doesnt even have any risk

              RBS [Danziger]: but libor i guess technically isnt meant to be set by risk takers

              RBS [Tan]: yes but why give it away the advantage?

       406.   Earlier in that same electronic chat, Tan and Danziger indicated they were aware

that LIBOR was coming under scrutiny, yet they continued to discuss how to manipulate Yen-

LIBOR for their benefit:

              November 22, 2010:

              RBS [Tan]: hey ... you think we be able to convince [Paul White] to change the
              libor today?

              RBS [Danziger]: i can try

              RBS [Tan]: need to drop 3mth Libor and hike 6m Libor

              RBS [Tan]: he dropped 6m by 2 bps last friday

              RBS [Danziger]: at the moment the FED are all over us about libors

              RBS [Tan]: thats for the USD?

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                    RBS [Danziger]: yers

                    RBS [Tan]: dun think anyone cares the Yen-LIBOR

                    RBS [Danziger]: not yet

           407.     In 2010, after RBS began an investigation into U.S. Dollar LIBOR reporting

practices in response to inquiries from governmental authorities, the head of money market

trading in London instructed other money market traders that they were not to accept requests for

LIBOR submissions from derivatives traders. Nonetheless, on November 24, 2010, after Tan

sent an electronic message to Paul White asking to increase RBS’ six-month Yen-LIBOR

submission to suit a trading position, White called Tan and stated that “we are not allowed to

have those conversations on Mindalign [RBS’ Internal Electronic Chat System].” Tan

referenced “the BBA thing,” after which White stated, “leave it with me and, uh, it won’t be a

problem. . .” Tan responded, “ok, great.”

                            c. Rabobank.149

           408.     For nearly six years, from at least mid-2005 through at least early 2011,

Rabobank, through its Yen-LIBOR-based derivatives traders and Yen-LIBOR submitters,

frequently attempted to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives

and consistently made false Yen-LIBOR submissions in furtherance of those attempts. At times,

Rabobank successfully manipulated Yen-LIBOR. Several Rabobank traders transmitted

hundreds of requests to its Yen-LIBOR submitters for false LIBOR submissions to benefit the

traders’ (and Rabobank’s) LIBOR-based trading positions. The submitters accommodated those




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      See also Ex. D-2 at 12-20, 24-33.

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requests on a regular basis and certain submitters also took into account their own trading

positions when making LIBOR submissions.

       409.    For example, on October 11, 2006, a Yen-LIBOR-based derivatives trader, Paul

Thompson, emailed Rabobank’s Yen-LIBOR submitter, Paul Robson, with the subject line:

“3mths.” In the email, Paul Thompson wrote: “If in 2 minds on 3mth yen libor today, prefer u to

go higher rather than lower mate if you’ve got ntg in it.” Paul Robson replied: “no prob

mate...what u want me to set mate 43?....44?” Thompson wrote back: “0.44 if you can keep a

straight face..” Robson responded: “no prob mate 44 it is!” That day, as requested, Rabobank’s

three-month Yen-LIBOR submission was 0.44, an increase of one basis point. Rabobank’s

submission went from being tied as the fifth-highest submission on the Contributor Panel on the

previous day to being tied as the second-highest submission on the Contributor Panel.

       410.    Two weeks later, on Wednesday, October 25, 2006, Paul Thompson emailed the

backup Yen-LIBOR submitter “Submitter-5,” Paul Butler, with the subject line: “libors.” In the

email, Paul Thompson wrote: “I have a few chunky rolls in the 3 mth yen libors in the next few

days. I don’t want to compromise your integrity.. but if you’ve got ntg in it maybe a smidge

lower today (actually shud be anyway as futures are a abt 1 higher anyway) and then high for

Thurs and Fri would be great then I will be back in my box for another 2 weeks.” Paul Butler

responded: “sure no problem mate if you have a sec can i have the lvls plse.” That day,

Rabobank’s three-month Yen-LIBOR submission was consistent with Thompson’s request,

decreasing one basis point from 0.45 to 0.44. Rabobank’s submission went from being tied as

the fourth-highest submission on the Contributor Panel on the previous day to being tied as the

twelfth-highest submission on the Contributor Panel. On the next day, Thursday, October 26,

2006, Rabobank’s contribution was again consistent with Paul Thompson’s request, increasing



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one basis point, from 0.44 to 0.45, whereas the rest of the Contributor Panel either remained

unchanged or decreased their submissions. Rabobank’s submission went from being tied as the

twelfth highest submission on the Contributor Panel to being tied as the second highest

submission on the Contributor Panel. The next day, Friday, October 27, 2006, Rabobank’s

contribution was again consistent with Thompson’s request, remaining at 0.45, whereas the rest

of the Contributor Panel decreased its submissions by an average of approximately half a basis

point. Rabobank’s submission remained tied as the second highest submission on the

Contributor Panel.

         411.   Two weeks later, on November 8, 2006, Paul Thompson wrote to Rabobank Yen-

LIBOR submitter Paul Robson: “Got a few big 3mth fixings in next 2 days, any chance you cud

bump it up a couple? What do u actually think 3mth today 45.25-45.5 ish?” Paul Robson wrote

back: “will set them high and dry skip!” The next day, Paul Thompson wrote back: “Thx skip, 1

more today - only has to be 3 mths, others do as you pls, then im relatively square for a while..”

Paul Robson replied: “no prob mate will set it high again...is 46 lvl ok or higher?” On both days,

Rabobank’s three-month Yen-LIBOR submissions were consistent with Paul Thompson’s

request. On November 8, 2006, Rabobank’s submission was 0.46, an increase of three basis

points from the previous day’s submission, whereas the rest of the Contributor Panel stayed

approximately the same on average. Rabobank’s submission went from being tied as the second-

lowest submission on the Contributor Panel on the previous day to being tied as the third highest

submission on the Contributor Panel. On November 9, 2006, Rabobank’s submission was again

0.46, keeping Rabobank’s submission tied as the third-highest submission on the Contributor

Panel.




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       412.    Multiple Yen-LIBOR submitters on the desk regularly accommodated requests,

and when one submitter on the desk was out, swaps traders knew to make their requests to

substitute submitters to ensure that their requests would be accommodated. For example, on

February 9, 2007, Paul Thompson emailed Paul Robson with the subject line: “3 mth libors.” In

the message, Paul Thompson wrote: “Mate, be great if you could keep your 3 mth libor

unchanged today if you can get away with it and its ok with your posy.” Paul Robson replied:

“you need a high one? no prob skip.” Paul Thompson wrote back: “Yes pls mate, my only major

fixing for a while, cheers.” Robson replied: “off next week mate so if u need any libor requests

next week -give [Paul Butler] a shout.” That day, as requested, Rabobank’s three-month Yen-

LIBOR submission was 0.55, the same as the previous day, tied as the highest submission on the

Contributor Panel. The next week, on February 14, 2007, Paul Thompson wrote to Paul Butler

with the subject line “6m yen libor,” and asked: “Can you keep your 6m yen libor at 0.62 today

if poss as have a large fixing today?” Paul Butler wrote back: “sure will do mate.” That day, as

requested, Rabobank’s six-month Yen-LIBOR submission remained at 0.62. Rabobank’s

submission went from being tied as the third-highest submission on the Contributor Panel on the

previous day to being the highest submission on the Contributor Panel.

       413.    In addition to accommodating swaps traders’ requests, Rabobank Yen-LIBOR

submitters also took their own Yen-LIBOR-based derivatives trading positions into account.

When multiple Rabobank swaps traders had trading positions that conflicted with each other,

submitters had to balance competing requests. For example, on Monday, March 26, 2007, Paul

Thompson emailed Paul Robson: “On libors, this week have a fair bit of 6mths rolling off, I am

short so if you can discreetly drop your 6m by 1-2 bp without any trouble would be great - if not

no probs mate” and “Im happy for you to keep your 1 mth high as both [another Yen swaps



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trader (“Trader-5,” Takayuki Yagami)] and I are long a fair bit of those till Wed.” Paul Robson

wrote back: “sure no prob - all my stuff is mainly 1 mth so will keep that high and drop 6’s

cheers.” On Tuesday, March 27, 2007, as requested, Rabobank’s six-month Yen-LIBOR

submission decreased two basis points, from 0.74 to 0.72. Rabobank’s submission went from

being tied as the second-highest submission on the Contributor Panel on the previous day to

being tied as the eighth-highest submission on the Contributor Panel. Likewise, Rabobank’s

one-month Yen-LIBOR submission decreased three basis points, whereas the other panel banks’

submissions decreased by approximately four and three-quarters basis points on average. As a

result, Rabobank’s submission went from being tied as the second-highest submission on the

Contributor Panel on the previous day to being tied as the highest submission on the Contributor

Panel.

         414.   Rabobank’s Yen-LIBOR submitters accommodated swaps traders’ requests to the

point of allowing the swaps traders to significantly influence the setting process, particularly

Takayuki Yagami, who made regular requests to Rabobank’s London-based Yen setters. For

example, on August 21, 2007, Takayuki Yagami emailed Paul Butler with the subject line

“LIBORS” and asked: “If you can make 1 month LIBOR higher today, that would be a help

mate.” Paul Butler replied: “Ok what level you looking at?” Takayuki Yagami wrote back: “If

possible, woud prefer it to be 0.82%.” Paul Butler wrote back: “Ok mate will do.” Takayuki

Yagami then wrote: “Thank you for help mate. What do you guess tdy’s 3m ad 6m yen libors?

Higher or lower?” Paul Butler responded: “Hahah you tell me I m not really watching the yen

libors all my stuff going a bit mad at mom.” Yagami later asked: “Where are you setting 3mth

and 6mth libor today?” Butler repeated: “You tell me what you want mate he has no fixing at

mom.” Yagami responded: “1m 0.82 . . . 3m 1.00 6m 1.06 If you can put those rates…would be



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nice mate.” Butler then offered: “Great will do if you want to give me them each day ill input

whatever you want mate ok cheers.” That day, as requested, Rabobank’s one-month Yen-

LIBOR submission was 0.82, an increase of four basis points. Rabobank’s submission went

from being tied as the eleventh-highest submission on the Contributor Panel on the previous day

to being tied as the second-highest submission on the Contributor Panel. Likewise, as requested,

Rabobank’s three-month Yen-LIBOR submission was 1.00, and its six-month Yen-LIBOR

submission was 1.06.

       415.    As another example, on August 24, 2007, Takayuki Yagami emailed Paul Butler

with the subject line “libors” and stated: “I would like today’s 6m libor lower today mate,” to

which Paul Butler replied: “Ok mate what level do you want mate.” Later that day, Takayuki

Yagami emailed Paul Butler again and asked: “What rate did you input for libors?” Paul Butler

responded: “Himmate I have not done them what do u want.” Takayuki Yagami wrote back:

“1m 0.78,” “3m 0.99,” “6m 1.00.” Later that day, after the Yen-LIBOR submissions and fixing

had been published, Takayuki Yagami replied again: “Ops... Sorry that I meant 6m is 1.10.... Not

1.00%. Just bit surprised when I saw our 6m libor price.” That day, as requested, Rabobank’s

one-month Yen-LIBOR submission was 0.78, and its three-month Yen-LIBOR submission was

0.99. Rabobank’s six-month Yen-LIBOR submission was 1.00, consistent with Takayuki

Yagami’s mistaken request, a fifteen basis point decrease from the previous day’s submission,

whereas the other panel banks’ submissions decreased by approximately half a basis point on

average.

       416.    Rabobank’s Yen-LIBOR submitters knew their Yen-LIBOR submissions were

false. For example, on September 21, 2007, Takayuki Yagami emailed Paul Robson with the

subject line “libors,” writing: “Wehre do you think today’s libors are? If you can, I would like



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lmth libors higher today.” Paul Robson replied: “Bookies reckon lm sets at .85.” Takayuki

Yagami wrote back: “I have some fixings in 1 mth so would appreciate if you can put it higher

mate.” Paul Robson replied: “No prob mate let me know your level.” Takayuki Yagami

responded: “Wud be nice if you could put 0.90% for lmth cheers.” Paul Robson wrote back:

“Sure no prob. I’ll probably get a few phone calls but no worries mate!” Takayuki Yagami

replied: “If you may get a few phone calls then put 0.88% then.” Paul Robson responded:

“Don’t worry mate – there’s bigger crooks in the market than us guys!” That day, as requested,

Rabobank’s one-month Yen-LIBOR submission was 0.90, an increase of seven basis points from

its previous submission. Rabobank’s submission went from being tied as the tenth-highest

submission on the Contributor Panel on the previous day to being the highest submission on the

Contributor Panel.

       417.    Similarly, on October 17, 2008, Takayuki Yagami emailed Paul Robson, and

asked: “If possible, could you keep setting 6m libor at 0.80% for a while please?” Paul Robson

wrote back: “Hi mate - oh yes - we are now setting all libors significantly under the market

levels.”

       418.    On March 19, 2008, Takayuki Yagami emailed Paul Robson with the subject line

“LIBORs,” and wrote: “We have loads of 6mth fixings today. If possible, could you set 6m libor

to 1.10% please? We don’t have particular interest in other libors.” Paul Robson wrote back:

“Sry just to confirm 6m you want at 1.10??? Ok will do that but I will prob get a phone call at I

set 02 yesterday and brokers reckon everything a little lower today,” continuing: “But will set

your level cheers.” Takayuki Yagami wrote back: “Actually…[another Yen Trader and Takayuki

Yagami’s supervisor (“Trader-6,” Tetsuya Motomura)] would like 6m to be higher today.... If it

is not appropriate, it is fine mate, I will explain the situation to him. He will understand the



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situation. He is on holiday today. He just called me up in this morning to ask you to put libors

higher.” Paul Robson replied: “Well its no prob mate -1 can set it that high, it will be quite

funny to see the reaction!” Takayuki Yagami wrote back: “I felt that it was a little funny so…if

you can put a little higher 6mth up to the lvl you feel comfortable, lbp or a couple of bp would be

fine for him mate.” Paul Robson wrote back: “No worres mate - I’ll set it at 1.10[.]” That day,

as requested, Rabobank’s six-month Yen-LIBOR submission was 1.10, an increase of eight basis

points from its previous submission of 1.02, , whereas the other panel banks’ submissions

decreased by approximately a third of a basis point on average.

       419.    Robson then contacted Andy Doe from Lloyds to request a similar manipulation

of Lloyds’ Yen-LIBOR submission for that day: “[Yagami] needs a high 6m libor if u can help

skip - asked me to set 1.10!” Doe answered: “oops my 6s is 1.15!!!,” “he’ll love me,” and “send

him my regards the lovely fella....not heard from him in a while…..” Doe followed through on

his promise, submitting six-month Yen-LIBOR at 1.15 on March 19, 2008. Rabobank’s

submission went from being tied as the tenth highest submission on the Contributor Panel on the

previous day to being the second highest submission on the Contributor Panel.

       420.    Anthony Allen, who supervised the Yen-LIBOR submitters in addition to the U.S.

Dollar LIBOR submitters, was aware of the conduct on the desk he supervised and played an

active role in it. As an example, on March 14, 2007, Paul Thompson messaged Anthony Allen

and asked: “Is [Paul Butler] in mate?” Anthony Allen replied: “Not yet,” and asked: “can I help

?” Paul Thompson wrote back: “No worries mate, I think [Paul Robson] just wanted him to

nudge up a few of the LIBORs.. Will send him a mail.” Allen replied: “Ok cc [additional

individual] and [“Submitter-1” Anthony Conti] on it aswell mate, just in case.” Thompson

replied: “I got hold opf [Paul Butler] mate and he said all in hand, cheers.”



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         421.   In January 2009, new submitters took responsibility for setting LIBOR with

limited knowledge of the process and without training. As a result, Rabobank Yen trader

Takayuki Yagami began to exercise even more control over the LIBOR setting process. As an

example, on January 28, 2009, Takayuki Yagami emailed the new Yen-LIBOR submitter

(“Submitter-6” Jeroen Beaard): “Could you set todays libors,,,3mth at 0.65% 6mth at 0.83%

pls?” Later, Yagami emailed Jeroen Beaard again: “If you haven’t set 6m libor yet,,, could you

set it at 0.82% instead of 0.83% pls? 3mth is ok with 0.65%.” That day, as requested,

Rabobank’s three-month Yen-LIBOR was 0.65. Likewise, as requested, Rabobank’s six-month

Yen-LIBOR submission was 0.82, a decrease of eight basis points from its previous submission,

whereas the other panel banks’ submissions stayed approximately constant on average.

Rabobank’s submission went from being tied as the fourth highest submission on the Contributor

Panel on the previous day to being tied as the eleventh highest submission on the Contributor

Panel.

         422.   After January 2009, Takayuki Yagami frequently sent an entire slate of LIBOR

rates to the submitters for them to input. For instance, on February 25, 2009, Takayuki Yagami

wrote to Jeroen Beaard with the subject line “libors” and wrote: “Could you set libors for today

as below please?”: “1m 0.39;” “2m 0.60;” “3m 0.65;” “4m 0.71;” “5m 0.76;” “6m 0.80.” The

next day, he wrote again to Jeroen Beaard with the subject line “libors” and wrote: “Could you

put the below libors for today pls?”: “lm 0.55%;” “2m 0.60%;” “3m 0.65%;” “4m 0.71%;” “5m

0.76%;” “6m 0.80%.” On both days, Rabobank’s Yen-LIBOR submissions were made as

requested.

         423.   Submitters would often seek out Takayuki Yagami’s input in the setting process.

For instance, on January 30, 2009, Jeroen Beaard messaged Takayuki Yagami: “any preferences



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in fixings today?” Takayuki Yagami wrote back: “6m 0.82% pls,” to which Jeroen Beaard

responded: “will do.” That day, as requested, Rabobank’s six-month Yen-LIBOR submission

was 0.82, a decrease of three basis points from its previous submission, whereas the other panel

banks’ submissions decreased by approximately a basis point on average. Rabobank’s

submission went from being tied as the eighth-highest submission on the Contributor Panel on

the previous day to being the eleventh-highest submission on the Contributor Panel.

       424.    Takayuki Yagami monitored Rabobank’s Yen-LIBOR submissions and would

follow up with the submitters on the occasions when their submissions strayed from his requests.

‘For example, on January 30, 2009, Takayuki Yagami emailed Jeroen Beaard and wrote: “Why

did you moved up 3m libor by 10.5bp? It is ridiculous.” Jeroen Beaard wrote back: “had again

problems with publishing from my sheet,” “Wrong figure came across by putting in manual

adjustments,” “Gonna automatize it today.” Takayuki Yagami wrote back: “3m libor could have

been below 0.67 if we, Rabo, didn’t moved up by 10.5bp!” Jeroen Beaard responded: “They

didn’t call from reuters why we were 10.5 tics out which they should have done,” continuing:

“And they take the outliers out of their calculations, so the 76.5 price shouldn’t be included.”

Takayuki Yagami explained: “If we have stayed at 0.66% instead of 0.765, then the 3mth libor

should have been 0.668125% instead of 0.67063%. so it is below 0.67%.”

       425.    On October 18, 2010, Takayuki Yagami emailed Jeroen Beaard’s replacement as

the Yen-LIBOR submitter (“Submitter-8”) and wrote: “Why did you put all the Yen-LIBORs

higher for today without telling me? Where is the team play? You know my position is? I cant

believe you did this without telling me. If you had to put them higher for some reason but at

least you could have told me in before hand. Im really fukked.” At around the same time,

Takayuki Yagami messaged Submitter-8: “why did you put libors all higher?” Submitter-8 wrote



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back: “Hi made I just saw your email and replied.. I fukked up., you gave [the new back-up Yen-

LIBOR submitter (“Submitter-7”)] new libors last week., didn’t save the sheet and today I used

my own computer for libors.. I fukked up, my mistake., not on perpose mate,” “I am really

sorry,” “And I would never change libors without consulting you.” Takayuki Yagami messaged

back: “i got so surprised when i saw rabos number, you know my position then put libors

higher,” explaining: “some ppl react in this way so i worried as well if you were this kind of a

guy.”

        426.   At times, Takayuki Yagami made clear to the setters that the purpose of

manipulating Rabobank’s Yen-LIBOR submission was to affect the final Yen-LIBOR fix. For

example, on January 29, 2009, Jeroen Beaard messaged Takayuki Yagami and wrote: “saw the

6m vs 3m basis collapsing last night..” Takayuki Yagami wrote back: “because we lowered 6m

libor !” Jeroen Beaard responded: “heheh absolutely., it comes ur way i presume,” and later:

“preferences in the fixing today?” On October 20, 2010, Submitter-8 chatted with Takayuki

Yagami, writing: “so whats the reason that you dont put down Rabo Yen libor numbers? just one

tick to see what happens? Or is that sort of manipulation and not done? or am I saying

something stupid now?” Takayuki Yagami responded: “Rabo Yen-LIBOR numbers are already

one of the lowest four banks among 16 panel banks so even if we put them lower further, it

wouldnt give any change on yen libors,” to which Submitter-8 replied: “I see..” Takayuki

Yagami then wrote: “and i think just keep libors one of the lowest four banks is the good, idea

because it isnt obvious so that ppl wouldnt notice, if it is too obvious, ppl could start looking at

us manipulating libors.” (Emphasis added).

        427.   Takayuki Yagami had almost complete control over the Yen-LIBOR setting

process at Rabobank after Rabobank’s LIBOR submitters moved to Utrecht in January 2009.



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For instance, on August 4, 2009, Takayuki Yagami asked Submitter-7: “have you put todays

libors?” Submitter-7 wrote back: “nope you can set them if you like.” Takayuki Yagami wrote

back: “just sent it out now. thank you.” On June 12, 2009, Takayuki Yagami messaged

Submitter-7: “i sent a email about LIBORs... did you get it?” Submitter-7 wrote back: “i will

input them,” to which Takayuki Yagami responded: “thank you for your help!” In fact,

Takayuki Yagami’s control of the process was so significant that after Rabobank prohibited

swaps traders from communicating about LIBOR rate setting with submitters on November 30,

2010, Takayuki Yagami explained to a broker: “Till two weeks ago I was seting libors for rabo

but due to BBA investigation someone out side of europe shudnt have any influence of libors

then I cudnt be involved in libors after then.”150

         428.   Takayuki Yagami’s own supervisor, and the head of Rabobank’s Yen derivatives

desk in Tokyo, Tetsuya Motomura (“Trader-6”), was also aware of and intimately involved in

Takayuki Yagami’s conduct, directing requests to submitters through Takayuki Yagami to

benefit Tetsuya Motomura’s trading positions. For example, on October 8, 2008, Takayuki

Yagami emailed Paul Robson with the subject line “Todays libors...” writing: “If is it ok,„

[Trader-6] would like todays 6m libor at 1.10%. Thank you very much for help.” Paul Robson

wrote back: “Ok skip.” That day, as requested, Rabobank’s 6-month Yen-LIBOR submission

was 1.10, a decrease of ten basis points from its previous submission, whereas the other panel

banks’ submissions increased by approximately one and three-quarters basis points on average.

Rabobank’s submission went from being tied as the fifth highest submission on the Contributor




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   Even after Takayuki Yagami was instructed not to influence Rabobank’s Yen-LIBOR submissions, he continued
to manipulate Yen-LIBOR with other Contributor Panel Banks.

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Panel on the previous day to being tied as the twelfth highest submission on the Contributor

Panel.

         429.   Likewise, on July 24, 2008, Yagami wrote to Robson: “As for the today’s libors.

Could you set 6m at 0.97% please? [Tetsuya Motomura] has big fixings over the next couple of

weeks so that it would be nice if you could keep it as low as possible for some time.” Paul

Robson responded: “Will do mate.” That day, as requested, Rabobank’s six-month Yen-LIBOR

submission was 0.97, a decrease of three basis points. Rabobank’s submission went from being

tied as the sixth lowest submission on the Contributor Panel on the previous day to being tied as

the second lowest submission on the Contributor Panel.

         430.   In a call on July 25, 2008, Tetsuya Motomura told a third party at another

financial institution: “Sometimes if you want the LIBOR to be set, if you want today’s LIBOR at

a certain price, your desired number [would be achieved].” After the third party replied:

“Really?” Tetsuya Motomura explained: “Well we are the ones who set [the LIBOR].” Tetsuya

Motomura continued: “The recent 97 had been set at 97 due to my wishes,” explaining: “That is

obviously ... that’s a little bad ... Well, anyway, the person with the strongest wishes gets to

decide it [LIBOR]. Well, this is the way it is.”

         431.   On occasion, other traders on Tetsuya Motomura’s desk made requests when

Yagami was absent. On May 25, 2009, Jeroen Beaard forwarded Yagami’s out-of-office

message to the junior trader on Yagami’s desk (“Trader-8”). Trader-8 wrote back: “What can I

help you ??” Jeroen Beaard responded: “Normally [Yagami] sends us his preferences for the

JPY [Yen] libors. If you have any let me know.” Trader-8 wrote back: “We don’t have any

special requests for libors today.” The next day, Trader-8 replied again: “About libors.. Same as

last Friday pls. if no particular int from others.”



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       432.    On occasion, Tetsuya Motomura also made requests directly to Rabobank’s Yen-

LIBOR submitters. For example, on August 4, 2008, Tetsuya Motomura messaged Paul Robson:

“Please set today’s 6mth LIBOR at 0.96,” continuing: “I have chunky fixing.... Thanks for your

help,” to which Paul Robson replied: “No worries mate.” That day, as requested, Rabobank’s

six-month Yen-LIBOR submission was 0.96, a decrease of three basis points, whereas the other

panel banks’ submissions stayed approximately constant on average. Rabobank’s submission

went from being tied as the fourth-lowest submission on the Contributor Panel on the previous

day to being the second-lowest submission on the Contributor Panel. Two days later, on August

6, 2008, Tetsuya Motomura messaged Paul Robson again: “I have another side of fixing today

and tomorrow,” continuing: “can we make 6mth LIBOR at 0.98?” Paul Robson wrote back: “Ok

higher?...sure thing.” Tetsuya Motomura responded: “Yes, only today and tomorrow...thanks.”

That day, Rabobank’s six-month Yen-LIBOR submission was even higher than requested, 1.00,

an increase of four basis points, whereas the other panel banks’ submissions stayed

approximately constant on average. Rabobank’s submission went from being the second-lowest

submission on the Contributor Panel on the previous day to being tied as the fourth-highest

submission on the Contributor Panel. Rabobank’s submission the next day remained the same,

as did its submission’s place on the Contributor Panel.

       433.    On Friday, August 8, 2008, Tetsuya Motomura messaged Paul Robson again:

“Could you make it 6mth LIBOR at 0.97 today,” explaining: “I have big fixing coming two

weeks....” That day, as requested, Rabobank’s six-month Yen-LIBOR submission was 0.97, a

decrease of three basis points, whereas the other panel banks’ submissions stayed approximately

constant on average. Rabobank’s submission went from being tied as the fourth-highest

submission on the Contributor Panel on the previous day to being tied as the second-lowest



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submission on the Contributor Panel. Rabobank’s submission remained the same on Monday,

August 11, 2008, Tuesday, August 12, 2008, and Wednesday, August 13, 2008.

       434.    On August 14, 2008, Tetsuya Motomura messaged Paul Robson yet again and

wrote: “Today and 19th Aug are the biggest fixing for us. Could you set 6m LIBOR at 0.93

today.” That day, Rabobank’s six-month Yen-LIBOR submission was 0.94, a decrease of three

basis points, whereas the other panel banks’ submissions stayed approximately constant on

average. Rabobank’s submission went from being tied as the seventh-lowest submission on the

Contributor Panel on the previous day to being tied as the second-lowest submission on the

Contributor Panel. On August 19, 2008, Rabobank’s six-month Yen-LIBOR submission was

0.93, making it tied as the lowest submission on the Contributor Panel.

       435.    Other Rabobank traders continued to make requests as well. For instance, on

June 25, 2009, another Yen trader (“Trader-7”) emailed Submitter-7 and wrote: “could you set

input for the Yen 6M libor very low today (65 or so). We have a very large fixing today in the 6

month’s.” That day, as requested, Rabobank’s six-month Yen-LIBOR submission was 0.65, a

decrease of six basis points from its previous submission, whereas the other panel banks’

submissions decreased by approximately a basis point on average. Rabobank’s submission went

from being tied as the eighth-lowest submission on the Contributor Panel on the previous day to

being tied as the second lowest submission on the Contributor Panel.

       436.    Traders and submitters did not hide the fact that traders had influence over the

Yen-LIBOR submission process from their supervisors. The Head of Liquidity and Finance for

Europe, and later Anthony Allen’s replacement as Global Head of Liquidity and Finance

(“Trader-9”), was informed that Takayuki Yagami would sometimes email the Yen-LIBOR

submitter with requests. On December 9, 2008, Trader-9 emailed Anthony Allen and



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“Submitter-5,” Paul Butler, with the subject line: “LIBORS.” In the email, Trader-9 wrote:

“Good to hear that [Submitter-8] is up and running. Short question: only question mark for me is

him sending out the daily Rabo Libor fixings. He told me that he will just ‘copy, paste’ the

previous days Libors. Don’t blame [Submitter-8] of course, but he has got no clue on this yet.

What you think, is this going ok? Want to prevent that we get questions from BBA on this?”

Paul Butler replied: “Yes [Submitter-8] is doing fine, regarding the libors,” explaining that with:

“the yen libors sometimes [Takayuki Yagami] will email from Tokyo to ask for any special

requests.”

       437.    In March 2009, when Rabobank conducted an operational audit of the Money

Markets desks, the auditor, after meeting with Jeroen Beaard, wrote in her work papers that:

“Jeroen Beaard also inputs the Yen-Libor rates on behalf of the Tokyo team to the BBA as they

have no access to do this. They provide this via email.” Within her work papers, the auditor

included an email from Takayuki Yagami to Jeroen Beaard in which Takayuki Yagami sent

LIBOR rates to Jeroen Beaard for submission.

       438.    During the Allen/Conti Trial, Rabobank’s Yen-LIBOR submitter Paul Robson

testified that it was “common sense” that making false Yen-LIBOR submissions to benefit

Rabobank’s Yen-LIBOR-based derivatives positions was wrong:

               Government [Sipperly]: What did you do?

               Rabobank [Robson]: I sought rates from brokers in the market and also biased
               those numbers at the request of traders.

               Government [Sipperly]: When you say biased, do you mean after you figured out
               the rate from the brokers you would then favor it to help traders benefit on interest
               rate swaps?

               Rabobank [Robson]: Yes, I would.




                                                151
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                     Government [Sipperly]: When you were doing this, did you think you were
                     permitted to do this?

                     Rabobank [Robson]: No, I didn’t think we were permitted to do it no.

                     Government [Sipperly]: So did you know if it was right or wrong?

                     Rabobank [Robson]: I thought it was wrong, yeah.

                     Government [Sipperly]: Why is it at that time that you understood it was wrong?

                     Rabobank [Robson]: It’s pretty much common sense, really. We had privileged
                     access to a number, a reference number, and we were using it to our own
                     benefit.151

            439.     Robson continuously made false Yen-LIBOR submissions to benefit Rabobank’s

Yen-LIBOR-based derivatives positions even though he knew it was wrong. Over time, it

became “standard practice” for Robson to make false Yen-LIBOR submissions upon Rabobank

Senior Yen trader Takayuki Yagami’s request. Robson testified that as time went on, Yagami

just sent Robson submissions that would financially benefit his Yen-LIBOR-based derivatives

positions and Robson directly submitted those numbers without consideration of Rabobank’s

actual cost of borrowing Yen:

                     Government [Slipperly]: And how would he ask you? If you could just give an
                     example like in an e-mail or a call, the sort of thing he would say to you earlier in
                     your relationship.
                     Rabobank [Robson]: In the early stages of the relationship, it probably would
                     have been along the lines of, can you please or I would like or I need. So it would
                     be kind of a statement about -- kind of a semi explanation of why he needed it as
                     well.
                     Government [Slipperly]: Does there come a time when the relationship gets more
                     comfortable?
                     Rabobank [Robson]: Yeah. It becomes, as I say, standard practice, so the
                     conversations become condensed into just like a list of numbers.
                              ***


151
      United States v. Allen, No. 14-cr-272, Transcript of Trial at 322 (Oct. 19, 2015).

                                                            152
      Case 1:15-cv-05844-GBD-SLC Document 489 Filed 08/24/20 Page 169 of 429




                       Government [Slipperly]: Is that the way it happened in 2008 on?

                       Rabobank [Robson]: Yeah. I would have put those numbers straight in as a given
                       that they would have been submitted.152

                             d. Barclays.

            440.       From at least as early as August 2006 through approximately January 2007, then

on another occasion in approximately June 2009, Barclays’ Yen swaps traders made requests for

favorable Yen-LIBOR submissions to Barclays’ Yen-LIBOR submitters in order to benefit

Barclays and the Barclays’ derivatives traders’ Yen-LIBOR-based derivatives positions.

Barclays’ Yen-LIBOR submitters accommodated the requests on some occasions. Specifically,

between August 2006 and June 2009, the FCA (formerly FSA) determined that Barclays’

derivatives traders made at least 26 requests to manipulate Barclays’ Yen-LIBOR submissions.

                             e. Lloyds.

            441.       Over a period of three years, from 2006 to 2009, Lloyds’ Yen-LIBOR submitter,

Andy Doe, “routinely” made Yen-LIBOR submissions designed to benefit the positions of

traders at Lloyds and other Contributor Bank Defendants. Lloyds’ manipulation of LIBOR,

including Yen-LIBOR, was known among its traders, and involved at least twelve individuals,

including four managers. Multiple Yen-LIBOR submissions were manipulated, including at

least one occasion in which a Lloyds trader not on the Money Market Desk made a request for a

“low 3s” Yen-LIBOR submission, which Andy Doe factored in when making the bank’s Yen-

LIBOR submission to Thomson Reuters.




152
      Id. at 355-56.

                                                      153
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                             f. Deutsche Bank.

            442.       From 2005 through 2011, approximately twenty-nine Deutsche Bank employees,

including senior management, derivative traders, and submitters manipulated Yen-LIBOR

various offices, including New York, London, Frankfurt, and Tokyo.153 DB Group Services

employed all of Deutsche Bank’s Yen-LIBOR-based money market derivatives (“MMD”)

traders and pool traders that were located in London. Because Deutsche Bank’s MMD and pool

traders sat at the same GFFX desk, the traders were able to orally communicate favorable

requests, as well as execute written requests, which were regularly taken into account by

Deutsche Bank’s submitters.154 Deutsche Bank’s submitters also openly solicited requests from

traders to confirm that their false submissions would not be harmful to the traders’ respective

Yen-LIBOR-based derivatives positions.155 This practice was well-known, with “Trader-11,”

Guillaume Adolph, telling another trader: “ON JPY WE TRY TO HAVE OUT LIBORS WITH

OUR POSITIONS NOT AGAINS[T].”

            443.       Deutsche Bank was successful in manipulating Yen-LIBOR. For

example, over the course of two successive days, unidentified Derivatives Trader B and

Submitter A manipulated one-month Yen-LIBOR higher and then lowered it the very

next day:

                       April 4, 2006:

                       Deutsche Bank Derivatives
                       Trader B: . . . could u set 1m at 8bps [0.08] pls? thanks

                       Deutsche Bank Submitter A: done mate

                       April 5, 2006:

153
      Ex. I-5 at 4.
154
      Ex. I-2 at 23.
155
      Id.

                                                        154
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                       Deutsche Bank Derivatives
                       Trader B: Thanks mate… the 1m back to 7bps [0.07] today pls

                       Deutsche Bank Submitter A: affirmative156

            444.       On each of these days, Deutsche Bank’s one-month Yen-LIBOR

submissions exactly matched Derivatives Trader B’s request. 157

            445.       In another example, when Submitter-3’s Yen-LIBOR-based derivatives positions

were to reset or mature, he requested that Submitter-8 make a false Yen-LIBOR submission to

benefit his trading book:

                       May 22, 2006:

                       Deutsche Bank Submitter-3: I’ve got a 3m jpy libor pay set today, could
                       you go in low if it suits? thx

                       Deutsche Bank Submitter-8: YES SURE158

                             g. Société Générale.

            446.       From at least July 2006, “Trader-1,” a derivatives trader in Société Générale’s

Tokyo office made requests for favorable Yen-LIBOR submissions to “Submitter-5,” a Yen-

LIBOR submitter on Société Générale’s London Treasury Desk, to benefit Société Générale’s

and his own Yen-LIBOR-based derivatives positions. Submitter-5 frequently accommodated

Trader-1’s requests to manipulate Yen-LIBOR, often under the direction of his supervisor,

Manager-4, part of Société Générale’s Europe and Asia Treasury Department in London.

            447.       On a July 13, 2006 telephone call, Trader-1 informed Submitter-5 that he had

large Yen-LIBOR-based derivatives positions. Trader-1 asked Submitter-5 to manipulate Yen-



156
      Ex. I-3 at 13.
157
      Id.
158
      Ex. I-1 at 48.

                                                       155
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LIBOR based on his Yen-LIBOR-based derivatives positions and discussed how the two could

coordinate future Yen-LIBOR submissions on days when he had a large Yen-LIBOR-based

derivatives position. Submitter-5 agreed that Trader-1 would reach out to him for favorable Yen-

LIBOR submissions on days when he had a large Yen-LIBOR-based derivatives position.159

            448.     One week later, on July 20, 2006, Trader-1 emailed Submitter-5 to request a

higher six-month Yen-LIBOR fixing to benefit his Yen-LIBOR-based derivatives position.

Submitter-5 complied with the request and raised Société Générale’s six-month Yen-LIBOR

submission by two basis points over the previous day’s submission.160 This change in Société

Générale’s six-month Yen-LIBOR submission caused its position in the panel to increase from

tied for 10th to tied for 3rd.

            449.     On July 26, 2006, Trader-1 thanked Submitter-5 for accommodating his request

from the day before and made additional requests for Submitter-5 to manipulate Société

Générale’s Yen-LIBOR submissions.

                     July 26, 2006:

                     Société Générale Trader-1: THANK YOU FOR YDAY. CAN U TRY TO
                     MAKE 1M LIBOR A TAD LOWER AND 6 M A TAD HIGHER ????
                     THANK YOU ....

            450.     Submitter-5 again complied with both of Trader-1’s requests for manipulated

Yen-LIBOR submissions to benefit his Yen-LIBOR-based derivative positions. Submitter-5

made a one-month Yen-LIBOR submission that was one and a half basis points lower than the

previous day’s submission and a six-month Yen-LIBOR submission that was one basis point

lower than the previous day’s submission.161 Société Générale’s manipulation of one-month


159
      Ex. J-2 at A-56.
160
      Id. at A-57.
161
      Id.

                                                    156
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Yen-LIBOR caused its position in the panel to decrease from tied for 2nd highest on July 25,

2006 to the 11th lowest on July 26, 2006.

            451.   Approximately one month later, Trader-1 again asked Submitter-5 to manipulate

multiple tenors of Yen-LIBOR due to large Yen-LIBOR-based derivatives positions.

                   August 28, 2006:

                   Société Générale Trader-1: HELLO CAN U MAKE 6M LIBOR LOWER
                   & 3M LIBOR HIGHER PLEASE. WERE HAVING BIG FIX SO TRY
                   TO MOVE THEM AS MUCH AS YOU CAN, TKS. 162

            452.   Submitter-5 complied with Trader-1’s request for a lower six-month Yen-LIBOR

submission. Submitter-5 made a six-month Yen-LIBOR submission that was three basis points

lower than the previous day’s submission. Due to the manipulation of its six-month Yen-LIBOR

submission, Société Générale’s position in the panel fell from tied for the third highest six-month

submission to tied for the 11th lowest submission.

            453.   Société Générale continued to manipulate Yen-LIBOR to benefit its Yen-LIBOR-

based derivative positions throughout September 2006. On September 5, 2006, Submitter-5 let

Trader-1 know his views on the requested submissions.

                   September 5, 2006:

                   Société Générale Submitter-5: just had a look. 6m should be ok. 3m looks
                   difficult.

                   Société Générale Trader-1: ok. I KNOW YOU CONTRIBUTED 0.46
                   yday. ANYTHING LOWER IS APPRECIATED.163

            454.   Accounting for Trader-1’s request, Submitter-5 lowered Société Générale’s six-

month Yen-LIBOR submission by a basis point from 0.46 to 0.45 on September 5, 2006.



162
      Id.
163
      Id.

                                                  157
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            455.     On September 7, 2006, Trader-1 emailed Submitter-5 and requested that

Submitter-5 make Société Générale’s three-month and six-month Yen-LIBOR submissions

based on Trader-1’s Yen-LIBOR-based derivative positions.

                     September 7, 2006:

                     Société Générale Trader-1: HELLO WE HAVE A BIG FIXING TODAY.
                     WE WOULD LIKE YOU TO MAKE 3M HIGHER (I KNOW U WERE
                     ALREADY HIGH YDAY @ 43) AND MOSTLY 6M LOWER (YOU
                     WERE RATHER HIGH YDAY @ 48, HSBC WAS @ 45 AND MANY
                     OTHERS 46, IT WOULD REALLY BE VERY HELPFUL TO PUT IT
                     45-46 TODAY). THANK YOU VERY MUCH.164

            456.     Submitter-5 complied with Trader-5’s key request for a lower six-month Yen-

LIBOR submission by lowering Société Générale’s submission by two basis points, from 0.48 to

0.46. Due to the decrease of its submission, Société Générale’s position in the panel fell from the

third highest six-month Yen-LIBOR submission to tied for the 11th lowest submission.

            457.     On September 8, 2006, Trader-5 thanked Submitter-5 for his help the previous

day and said that he would still like a high three-month Yen-LIBOR submission and a low six-

month Yen-LIBOR submission. Submitter-5 replied, “ok.”165

            458.     On September 8, 2006, Société Générale’s three-month and six-month Yen-

LIBOR submissions were unchanged at 0.43 and 0.46, respectively. However, Société

Générale’s three-month submission was tied for the second highest submission of any Yen-

LIBOR panel bank and Société Générale’s six-month submission was tied for the lowest

submission of any Yen-LIBOR panel bank.

            459.     On September 11, 2006, Trader-5 thanked Submitter-5 for his help on the

previous trading day, September 8. He informed Submitter-5 that his Yen-LIBOR-based


164
      Id. at A-58.
165
      Id.

                                                   158
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positions are the same, so he would still like a high three-month Yen-LIBOR submission and a

low six-month Yen-LIBOR submission. Submitter-5 again took note of Trader-5’s requests and

responded, “OK.”166

            460.   Later in the month, based on his Yen-LIBOR-based derivatives positions, Trader-

1 made alternating requests on consecutive days to Submitter-5 for a higher, then lower, six-

month Yen-LIBOR submission.

                   September 28, 2006:

                   Société Générale Trader-1: hello. Can u make libor 6m higher today ??
                   thank you.167

                   September 29, 2006:

                   Société Générale Trader-1: HELLO COULD U TRY TO MAKE 6M
                   LIBOR LOWER TODAY ?T? TKS.168

            461.   Submitter-5 accommodated both of these requests. On September 28, 2006,

Société Générale increased its six-month Yen-LIBOR submission by a basis point, from 0.50 to

0.51. The following day, again in line with Trader-1’s request, Société Générale lowered its six-

month Yen-LIBOR submission from 0.51 to 0.48. Following Société Générale’s decrease of its

six-month Yen-LIBOR submission on September 29, 2006, it went from having the highest six-

month Yen-LIBOR submission of any panel bank to tied for the 10th lowest submission of any

panel bank.




166
      Id.
167
      Id.
168
      Id.

                                                 159
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              2. Defendants Exploited the LIBOR Fixing to Maximize the Impact of their False
                 Yen-LIBOR Submissions


       462.     Defendants exploited the fact that a certain number of quotes were discarded

before the published rates were calculated to skew the average calculation in their favor. For

example, by intentionally making false Yen-LIBOR submissions that were so high or low that

they were excluded from the middle 50% of the Yen-LIBOR submissions used in the fixing

calculation, Defendants manipulated Yen-LIBOR by knocking another contributor’s submissions

into the middle 50%. As UBS’ senior Yen trader, Tom Hayes, explained in his SFO interviews:

                 So, the way you would influence the actual published LIBOR rate
                was by dropping in and out of the pack. So you’d either want to be
                in the top quartile or the bottom quartile…All you’d want to do is
                drop out, so someone who is, you know in somewhere else within
                the region would come in and the rate would move very, very
                slightly.

       463.     The impact of dropping in and out of the fixing was quantifiable. Below Hayes

explained to his stepbrother, Peter O’Leary, a trader at co-conspirator HSBC, how a single false

Yen-LIBOR submission in the “bottom four,” i.e., the four lowest quotes excluded from the

calculation, would manipulate the fix by an eighth of a basis point:

                April 20, 2007:

                Hayes: You know how LIBOR’s set yeah? Panel of sixteen…

                O’Leary: Yeah

                Hayes: Cut the top four off. So if he [HSBC] sets it in the bottom four, it move it
                by an eighth of a basis point, which on the size of the fix I’ve got is worth
                like a hundred and twenty five thousand bucks.

       464.     Traders at other banks, including Rabobank, also knew that a single Yen-LIBOR

submission in the top or bottom 25% of the Yen-LIBOR could move the entire fixing. For




                                                160
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example, at the Allen/Conti Trial, former Rabobank trader Lee Bruce Stewart testified that a low

LIBOR submission that was excluded from the fix still manipulated the LIBOR fix lower:

                       October 19, 2015:

                       Government [Young]: Does a single LIBOR submission have the potential to
                       impact the overall fix, even if it gets averaged out of the eight?

                       Rabobank [Stewart]: Yeah. If you were low balled – if you were low balling
                       LIBOR, the average was automatically come down because the fifth lowest
                       would be taken into consideration.169

            465.       Rabobank’s Yen-LIBOR submitter Paul Robson corroborated this testimony at

the Allen/Conti Trial. Robson testified that one false submission would impact the entire Yen-

LIBOR fix even if it was outside of the middle 50%:

                       Government [Slipperly]: Let say the LIBOR was trending lower but they wanted
                       high, was there a way to accommodate [the traders] under those circumstances?

                       Rabobank [Robson]: Yes. Even if the rates were going down, if you could – if
                       rates were still going down, you could just not set as level one as everybody else
                       was setting; or if you could, leave your rate unchanged. When the band of rates
                       was moving down, even if the bank of rates was moving down, you could still set
                       your rate towards the top of that band to kind of limit the damage of the rates
                       going down.

                       Government [Slipperly]: And just in the general context, would one bank’s
                       submission be able to affect the rate so that if you were to set a favored rate,
                       would one bank’s submission be able to move the LIBOR rate ultimately?

                       Rabobank [Robson]: It could be, yes.170

            466.       Traders at RBS also utilized this manipulative technique. For example, on March

27, 2008, RBS traders discussed how they needed to be the “highest among all” to manipulate

the three-month and six-month Yen-LIBOR fixings higher. In accordance with this request,

RBS increased both its three-month and six-month Yen-LIBOR submissions on March 28, 2008,


169
      United States v. Allen, No. 14-cr-272, Transcript of Trial at 258 (Oct. 19, 2015).
170
      Id. at 343-44.

                                                            161
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moving from the lowest quote included in the average calculation for both tenors, to being

excluded from both fixings for being too high:

                       March 27, 2008:

                       RBS [Tan]: tomorrow we need to bump it [six-month Yen-LIBOR] way up
                       high…highest among all if possible

                       RBS [Danziger]: we need to bump all the way in 3mth libor tomorrow as well

                       RBS [Danziger]: we will put it in tomorrow morning and no one will touch it
                       i promise you171

           467.        Defendants used this technique when they needed to manipulate Yen-LIBOR in a

specific direction very quickly, for example, during “Operation 6M,” when Defendants planned

to keep six-month Yen-LIBOR artificially higher until August 2009 and then rapidly cause the

rate to decrease. See Part IV.7.B, infra.

           C. The Contributor Bank Defendants and Co-Conspirators Colluded With the Broker
              Defendants to Successfully Manipulate Yen-LIBOR and the Prices of Yen-LIBOR-
              based derivatives. 172

           468.        Inter-dealer brokers, sometimes known as voice brokers, act as intermediaries

between buyers and sellers in the money markets and derivatives markets. The brokers match

buyers and sellers in return for commissions, and also can be an important source of market

information for banks. Typically, commissions are based on a percentage of the notional value

of consummated transactions, which means that brokers get paid more by brokering larger

trades. Within a brokerage firm, there are brokers for different currencies who intermediate

derivatives transactions (“Derivatives Brokers”) and brokers who intermediate cash transactions

(“Cash Brokers”). In order to find matching counterparties, brokers provide bid or offer prices



171
      Ex. B-1 at 13.
172
      See also Exs. C-1, C-2, E-1 (pp. 10-14) and E-2, passim.

                                                          162
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for a financial transaction. Those prices are conveyed in multiple ways. For example, brokers

can use a “squawk box,” i.e., a speakerphone-like device that can speak simultaneously to

multiple banks’ trading desks, to broadly disseminate bid and offer prices. Brokers also

frequently use Bloomberg instant message chats and other messaging platforms, email, and

dedicated telephone lines to contact their clients.

           469.     Below is an example of a chat conversation between Rabobank trader Takayuki

Yagami and R.P. Martin Broker Paul Robson, who previously worked as a Rabobank trader and

submitter, demonstrating how inter-dealer brokers normally handle transactions in the over-the-

counter market. After Robson makes some opening price quotes, Yagami bids for a “T/N” or

“Tomorrow-Next” Yen-denominated deposit (“PAY 0.01 in T/N”).173 Following the initial

offer, Robson proceeded to offer prices, working with his other clients, until he found a

counterparty willing to accept Yagami’s bid:

                    May 7, 2008:

                    R.P. Martin [Robson]: hi chaps good afternoon to you! 1-6m tonars at mo only 10
                    3/4 offers trying for better . . .

                    Rabobank [Yagami]: PAY 0.01 In T/N

                    R.P. Martin [Robson]: try skip cheers!

                    R.P. Martin [Robson]: at mo depo offered at 05 poss 04 - trying for u at 01

                    R.P. Martin [Robson]: tn depo 04 02 - bid by bid german

                    R.P. Martin [Robson]: 03 offer tn depo

                    R.P. Martin [Robson]: got offer at 02 in tn - not sure of size

                    R.P. Martin [Robson]: still got german bid there fyg [for your guide]



173
      “Tomorrow-Next” is the duration of the deposit and indicates it will begin tomorrow and reverse the next day.

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               R.P. Martin [Robson]: can i just ask if u are still ok paying .01 tn deep

               R.P. Martin [Robson]: checking you in 20 yds [20 billion] if ok?

               Rabobank [Yagami]: sure!

               R.P. Martin [Robson]: ok got 20 yds for you so far in tn jpy depo at 0.01

               Rabobank [Yagami]: thank you. agreed

               R.P. Martin [Robson]: cheers mate, great!

       470.    Inter-dealer brokers, including the Broker Defendants, also provided clients with

their views and advice on market pricing and trends. Because brokers spoke to multiple clients

at different financial institutions and share internally the information learned from clients, they

have particular market insight about cash market prices and trends in otherwise opaque markets,

offering an important price discovery function. For example:

               May 15, 2009:

               Rabobank [Yagami]: Do you have any offers in 1m 3m and 6m
               today FMG [for my guide]?

               R.P. Martin [Robson]: let me see what I can get for you skipper!

               R.P. Margin [Robson]: 05 give t/n + s/n combined…best 1m 17,,,,3m poss 35
               offr…6m only 60

               Rabobank [Yagami]: cheers mate

       471.    In providing this market information, inter-dealer brokers implicitly represented

that such market information reflected their third-party unbiased assessment of borrowing costs

and market pricing based on objective, observable data, some of which they uniquely possessed.

It was important that the information remain unbiased because, as one trader/submitter, Laurence

Porter from Citibank, testified during the Hayes Trial, LIBOR submitters often relied on

information provided by inter-dealer brokers in violation of BBA Guidelines when making their



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Yen-LIBOR submissions because, in theory, the brokers had the best understanding of market

prices. The Contributor Bank Defendants and their co-conspirators capitalized on this,

conspiring with the Broker Defendants to disseminate false pricing information to manipulate

Yen-LIBOR and the prices of Yen-LIBOR-based derivatives for their financial benefit. See ¶¶

476-484, infra.

                  1. UBS Colluded With the Broker Defendants to Manipulate Yen-LIBOR and the
                     Prices of Yen-LIBOR-based derivatives174


           472.     Hayes coordinated on almost a daily basis with several inter-dealer brokers

employed by at least five different brokerage firms to manipulate Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives. The charts below display Hayes’ relationship with the Broker

Defendants as described in his SFO interviews. These charts were displayed at Hayes’ Trial and

include his primary contacts at each broker and the Contributor Bank Defendants for which U.K.

regulators found documented evidence of manipulative conduct. These charts represent the “tip

of the iceberg” regarding the scope of the Broker Defendants’ conspiracy with the Contributor

Bank Defendants and Co-conspirators:




174
      See also Exs. A-1, pp. 17-25, ¶¶ 40-61; A-2, pp. 20-36; C-1, C-2, E-1, and E-2, passim.

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                                    Tom Hayes
                                      (UBS)



                                   R.P. Martin
                            Terry Farr (primary contact)
                          James Gilmour (primary contact)
                                    Tim Martin
                                    Lee Aaron
                                    Mark Kelly



              HSBC                                          Rabobank   Soc Gen
  Deutsche
   Bank
               Luke         JP Morgan           RBS           Paul     Richard
              Madden                                         Robson      Nye
                                       Tom
                                      Hayes
                                      (UBS)


                                       ICAP
                           Darrel Read (primary contact)
                                 Daniel Wilkinson
                                  Barry Wilkinson
                                  Colin Goodman
                                  Trevor Falligan
                                David James Smith
                                   Ryan Sheiner


                    Lloyds
                                        UBS           West LB
                   Andy Doe


                                       Tom
                                      Hayes
                                      (UBS)



                                 Tullett Prebon
                           Noel Cryan (primary contact)
                                   Mark Jones




                       Bank of
                                    Rabobank          RBS
                       America



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       473.    These brokers were specifically chosen for their ability to provide information on

the “cash market,” i.e., the rates at which banks were offering to borrow and lend the very Yen-

denominated deposits that were supposed to underlie their Yen-LIBOR submissions, as well as

their relationship with (and thus their ability to influence) traders and submitters at specific

Contributor Panel Banks.

       474.    Working with multiple Broker Defendants allowed Hayes and his co-conspirators

to gain maximum influence over the market by reaching as many banks as possible. For

example, Hayes worked with Terry Farr at R.P. Martin because he had good relationships with

HSBC and Lloyds, in addition to contacts at at least Deutsche Bank, Bank of Tokyo-Mitsubishi,

Merrill Lynch, Norinchukin, BNP Paribas, Royal Bank of Canada, Rabobank, RBS, and Société

Générale. ICAP provided access to other banks, including contacts at JPMorgan, West LB, and

other smaller banks, while Tullett Prebon had access to Bank of America’s Yen-LIBOR

submitter, among others.

       January 7, 2007:

       From: Tom Hayes
       To: Yvonne Murayama (UBS)
       Cc: Michael Pieri

       Can we have a chat about the ICAP bro deal when its convenient?. . .From my
       perspective ICAP offers me a lot of value in helping with London Libor resets,
       traders with London CP’s (eg Chase) and with smaller European names. Hence I
       am keen to keep a line with them.

       475.    As alleged further below, in exchange for their critical assistance, Hayes

compensated the Broker Defendants in various ways, including by directing commission-

generating business to the brokers, such as wash trades, and even by having UBS structure fees

to carve out cash bonuses to reward brokers for manipulative conduct. Hayes also kept them in

line by sometimes threatening to move his considerable volume of business to another broker.


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During this period of late 2006 to late 2009, Hayes made approximately 1,200 manipulative

requests to brokers.

                               a. “Suggested LIBORs”

           476.     The Broker Defendants circulated via email or by telephone each morning daily

run thrus containing, in addition to other pricing information, where they expected Yen-LIBOR

to be fixed that day. The Broker Defendants, also at times, shared with Contributor Bank

Defendants and Co-Conspirators the intended LIBOR submissions of other panel banks. This

tactic was effective because the Contributor Bank Defendants and Co-conspirators took this

information into account in violation of BBA rules when making Yen-LIBOR submissions.

           477.     During the Class Period, Defendant ICAP routinely disseminated run thrus with

market pricing information every morning at approximately 7:00 A.M. London time, well before

the BBA’s 11:00 A.M. Yen-LIBOR submission deadline. The run thrus contained the following:

(1) a column stating where rates (prices) in basis points for Yen cash trades, for all tenors, were

observed the previous trading day, broken down by Japanese and non-Japanese financial

institutions; (2) a column stating the spread of rates for Yen cash trades for all tenors that were

observed as of the market opening in London and late afternoon Tokyo, broken down by

Japanese and non-Japanese financial institutions; and (3) a column titled “Suggested LIBORs,”

which contained “Cash Broker 1” Colin Goodman’s suggestions as to the level of Yen-LIBOR

for each tenor between one month and one year.175 Below is an example of a Yen run thru taken

from ICAP’s CFTC settlement that was sent on January 2, 2007:




175
      See Ex. C-1, pp. 6-15.

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       478.    In the fall of 2006, shortly after Hayes joined UBS, he became a client of ICAP

“Derivatives Broker 1” Darrell Read. Hayes quickly became known as a high volume,

aggressive, and dominant Yen-LIBOR-based derivatives trader who injected significant liquidity

into the market. Because he commanded a large trading volume, Hayes was a highly desirable

and sought-after client for inter-dealer brokers, including the Broker Defendants

       479.    Darrell Read, who was based in London at that time, agreed to work overnight

(Tokyo is eight hours ahead of London) to better serve Hayes during Tokyo business hours and

became Hayes’ primary contact at ICAP. As a result, Read gave up his other London-based

clients, and by early 2007, relied almost exclusively on Hayes and UBS for their business and

resulting commissions.
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       480.    Darrell Read routinely and aggressively assisted Hayes’ efforts to manipulate

Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. When Read was out of the office,

other Yen derivatives brokers on ICAP’s Yen Desk, primarily Trevor Halligan (“Derivatives

Broker 2”) or Danny Wilkinson (“Yen Desk Head”) coordinated with Hayes on his requests to

manipulate Yen LIBOR; at times other brokers on the Yen desk helped him as well.

       481.    To accomplish Hayes’ manipulative goals, Read needed and obtained the critical

assistance of Colin Goodman. Goodman, one of ICAP’s cash brokers, had long-standing

relationships and daily contact with many of the Yen panel bank submitters. He often discussed

with submitters what their intended Yen-LIBOR submissions would be and what other panel

banks might submit. Goodman also issued the daily Suggested LIBORs as part of his run thrus

which Yen-LIBOR submitters improperly relied upon in whole or in part at times to make their

Yen-LIBOR submissions in violation of BBA rules.

       482.    As early as October 2006, Darrell Read, acting on Hayes’ behalf, began asking

Goodman to skew the Suggested LIBORs that he provided in his run thru emails or in calls to

traders or submitters to reflect the rates or levels that Hayes desired. For example, during his

interview with the SFO, Hayes stated that Colin originally reached out to him and said that he

would contact Wilkinson to get him to try and influence the rates by sending run thrus that were

a bit lower or “whatever.”

       483.    Goodman knew from the outset that such requests were for Hayes. At times,

Hayes reached out to Goodman directly, such as on March 23, 2007: “hi [Colin] know [Darrell]

is away and this may seem strange given my recent requests but really need a high/unchanged

1m libor today, low for everything else. thanks as always [Hayes].”




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            484.     ICAP’s run thrus were widely circulated among and valued by Yen market

participants at the panel banks and elsewhere. More than 100 cash and derivatives traders

received Goodman’s run thru emails, including traders from nearly all of the Yen-LIBOR panel

banks and, at different times, submitters from at least eleven of the sixteen Yen-LIBOR panel

banks. Many, if not all of the recipients of the run thrus, asked to receive the emails.

                   2. The Broker Defendants Were Active Co-Conspirators with the Contributor Bank
                      Defendants.


            485.     The Broker Defendants actively conspired with the Contributor Bank Defendants

to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives through multiple

means. As an example of how Defendants coordinated their manipulative conduct, the

conversations below track the manipulation of three-month Yen-LIBOR on February 25, 2009.

The electronic communications used to carry out this manipulation were “transmitted through,

among other locations and facilities, a UBS server located in Stamford, Connecticut” and served

as the basis for UBS Securities Japan’s guilty plea to wire fraud in the District of Connecticut.176

            486.




176
      Ex. A-5, Factual Basis for Pleas at ¶ 11.

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                                177



         487.




                                                             178



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                                       179



            489.




179
      Id. at 1-2.

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         490.




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         491.




         492.




                                                                       181


         493.




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         494.




         495.




                                                                  183




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       496.      This successful concerted effort is just one examples of how Defendants

systematically organized using the Broker Defendants to manipulate Yen-LIBOR and the prices

of Yen-LIBOR-based derivatives. Other example of coordinated misconduct involving the

Broker Defendants and co-conspirators, including at least three known long-term manipulation

campaigns, are included below. See ¶¶ 711-752, infra. Plaintiffs reasonably expect that

additional examples of this type of coordinated manipulation will be uncovered in discovery.

               3. The Contributor Bank Defendants Knew the Broker Defendants and Co-
                  Conspirators Were Actively Conspiring to Manipulate Yen-LIBOR.


       497.      Hayes’ use of brokers to manipulate Yen-LIBOR was widely known among the

traders on the UBS Yen trading desk from 2007 through 2009. In fact, the desk held daily

morning meetings before Yen-LIBOR was set, in which Hayes commonly announced the

direction he intended to manipulate Yen-LIBOR that day.

       498.      After Hayes left UBS in September 2009, the more junior trader who replaced

him had discussions with the manager of the Yen trading desk. Based on those discussions, the

junior trader felt pressured to continue using brokers to manipulate Yen-LIBOR through at least

January 2010.

       499.      UBS’ Yen-LIBOR submitters, derivatives traders, and their managers knew this

conduct was wrong and attempted to avoid creating evidence of the manipulation. For example,

the manager of the Yen derivatives desk cautioned that they should avoid creating written

records and should instead use cell phones when contacting brokers. Moreover, to avoid

detection of their manipulation, UBS derivatives traders and brokers used coded language in

communications to discuss manipulating Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives.



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           D. The Broker Defendants Reaped Commissions, Bonuses and Accepted Bribes in the
              Form of Wash Trades from the Contributor Bank Defendants for Their Critical
              Assistance in the Manipulation of Yen-LIBOR and the Prices of Yen-LIBOR-based
              derivatives184

           500.     Hayes sought to ensure the Broker Defendants’ cooperation by offering drinks

and bottles of champagne, commission-generating business, and large cash bonuses for a Broker

at Defendant ICAP. The Broker Defendants were compensated for their assistance in several

ways: (1) providing them with substantial amounts of business, thus generating fees or

commissions; (2) by engaging in circular transactions (two equal and opposite transactions that

canceled each other out) solely for the purpose of generating commissions for the brokers; and/or

(3) by engineering a special compensation deal between UBS and Broker Defendant ICAP.

Former UBS Senior Yen Trader Hayes also used his financial leverage with at least one broker

for whom UBS generated significant commissions by threatening to cut off UBS’ business with

the brokerage if the firm did not comply with his requests.

                  1. Extra Trades to Generate Unearned Commissions


           501.     Hayes routinely offered brokers at ICAP, Tullett Prebon, and R.P. Martin extra

transactions or other business, and thus UBS paid commissions to ensure that the Broker

Defendants and co-conspirators would provide needed assistance. For example, Hayes told

inter-dealer brokers employed by the Broker Defendants and co-conspirators:

                   “I still owe you some deals;”

                   “we’ll do some big tix soon i promise;”

                   “do the bisness and i’ll sort you out MASSIVE;”

                   “if you get 3m down you’ll get a decent deal from me tomorrow;”


184
      See also Exs. B-4 at 21-24; C-1, C-2, E-1 at 15-18 and E-2, passim.

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                      “if you manage that for the next 2 weeks you will see the benefits;”

                      “make sure they know that it pays for them to help out;” and

                      “i need to pay .. to give u a trade.”

                  2. Gifts and Other Bribes


           502.        The Broker Defendants and co-conspirators were also rewarded for manipulating

Yen-LIBOR and the prices of Yen-LIBOR-based derivatives with gifts, free meals, and other

bribes paid for by the Contributor Bank Defendants and Co-conspirators. For example, in the

conversation below, Hayes agreed to buy lunch for the ICAP Yen desk if they participated in the

manipulation of six-month Yen-LIBOR over the next two days:

                       October 24, 2006:

                       ICAP [Read]: let me know a little later what you need…i know you want 6’s high
                       tomorrow
                       UBS [Hayes]: well today and tomorrow then i can breath a little! 2morrow fix is
                       huge 400b [400 billion yen]
                       ICAP [Read]: i know you told me…ok as long as futs don’t get outdone by any
                       libor moves south?
                       UBS [Hayes]: …libors going up saved me on day look like i was going to lose
                       50m jpy [50 million Yen] on futs vs libs
                       ICAP [Read]: ouch!
                       UBS [Hayes]: but then 6m went up a bp and i was saved well almost
                       ICAP [Read]: a50 curry was cheap then :-D
                       UBS [Hayes]: seriously mate whatever it takes bill me!185
           503.        Relaying the message to Goodman, Read emphasized the importance of the

request and instructed the ICAP cash broker to get his “curry order ready”:



185
      Ex. C-1 at 12.

                                                         179
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                   October 24, 2006:

                   ICAP [Read]: Realise it might be getting harder but need 6m kept as high as
                   possible…tomorrow I have a massive fix, today just large!! Ta mate Get your
                   curry order ready will send [Ryan Sherer] round tomorrow.

                   ICAP [Goodman]: How high…above 552?

                   ICAP [Read]: If you can get them up there and keep them there tomorrow
                   reckon the trader from ubs Tokyo will come over and buy you a curry
                   himself!186

            504.   UBS also sent ICAP brokers bottles of champagne to reward them for

manipulative conduct:

                   December 7, 2007:

                   ICAP [Read]: Hi [Colin Goodman], Thanks again for all your efforts…Can you
                   do your best to drive these libors higher, especially 3 mos if you can and it is still
                   well bid…UBS had to stagger their move up but will definitely be in the count
                   today… p.s. Bubbly on its way with [Hayes].187

            505.   Hayes even promised to buy ICAP cash broker Colin Goodman a Ferrari if he

could keep three-month and six-month Yen-LIBOR at the desired level:

                   February 29, 2008:

                   ICAP [Read]: If u can pls move 3m up more than 6m wud be much appreciated
                   :-P

                   ICAP [Goodman]: What happens if they go down. 3m looked higher yester pm
                   and 6m no change

                   ICAP [Read]: Make 6m go lower! They r going up. [Hayes] will buy you a
                   ferrari next year if you move 3m up and no change 6m

                   ICAP [Goodman]: Not bad isuppose 9625 against 01625.188




186
      Id. at 13.
187
      Id.
188
      Id.

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              3. “Wash” Trades to Generate Illegitimate Commissions


       506.     In his SFO interviews, Hayes described using two types of sham transactions to

compensate R.P. Martin and Tullett Prebon for their assistance in manipulating Yen-LIBOR: (1)

“wash trades” also known as a “flat switch” where Hayes and another counterparty exchanged

financial instruments with the same notional value, at the same price; and (2) “switch trades”

where the notional amounts would be identical but the prices would be slightly different, such

that the party facilitating the trade (i.e. opposite Hayes) would be paid a little bit more in

exchange for agreeing to assist with the sham transaction to compensate one of the Broker

Defendants. During the Class Period, wash trades and switch trades accounted for a substantial

part of R.P. Martin’s and Tullett Prebon’s Yen-desk revenue, reaching 38% and 35% of the total

commissions UBS paid to these brokers in 2009, respectively.

       507.     While these trades resulted in a financial nullity for the counterparties, they

generated significant illegitimate commissions for the Broker Defendants, in particular Broker

co-conspirator R.P. Martin, who brokered both sides of the wash trades. At R.P. Martin, the

entire Yen Desk shared commissions, giving other R.P. Martin Yen brokers incentives to assist

in Hayes’ manipulative schemes. For example, due to the large number of commissions

generated from wash trades, UBS was R.P. Martin’s Yen Desk’s second-largest client during

2008 and 2009, accounting for nearly 9% of the R.P. Martin Yen desk’s revenue.

       508.     According to Hayes’ SFO interviews, wash trades and switch trades started out

closely linked to a Broker Defendant’s assistance in manipulating Yen-LIBOR. For example,

Hayes said that he would be more inclined to make sure he paid the Broker Defendants to reflect

the additional value that he perceived UBS or its Yen-LIBOR-based derivatives trading desk was

getting from a Broker Defendant’s ability to help manipulate Yen-LIBOR. For example, below

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is the first known manipulative conversation between Hayes and Noel Cryan at Broker

Defendant Tullett Prebon in which Hayes explained the use of wash trades and switch trades as

compensation:

                       February 9, 2009:

                       UBS [Hayes]: Do you know your cash desk, i.e. the guy who covers yen on your
                       cash desk?

                       Tullett Prebon [Cryan]: Yes, mate I do.

                       UBS [Hayes]: Right. From now on I need you to ask him a favour on the fixes. I
                       will make sure it comes back to you. I already do it with ICAP. Basically can
                       you ask him to broker 3M cash, i.e. LIBOR lower for me today? I will look after
                       you off the back of it. I do that for RP Martins too. So emphasize the importance
                       to you. Just suggest it look a little softer to his accounts.

                       Tullett Prebon [Cryan]: OK, mate, I understand. I will go and speak to him.

                       UBS [Hayes]: Stuff like that, thanks, mate, is very important to me today.

                       Tullett Prebon [Cryan]: Just spoke to them, they’re on the case189

                       Hayes: Ok much appreciated. If we do this going forwards it will come back to
                       you in spades. Did you emphasise the importance?

                       Tullett Prebon [Noel Cryan]: I did

                       Hayes: ta. Like I said what normally do is if I get help on the LIBORS over the
                       month I normally do at the end of the month I normally do a couple of like in and
                       outs

                       Tullett Prebon [Noel Cryan]: That’s good because Neil [Danziger at RBS] wants
                       to pay for his trip to Vegas already, so he’s been asking us about them already.
                       Yeah so I’ll be in touch over the month

            509.       Hayes further explained in his SFO interview that he used wash trades and switch

trades as a monthly payment to the Broker Defendants. The recurring nature of these payments

was in part to foster loyalty between Hayes and the Broker Defendants but also to keep the


189
      Id. at 29, 40.

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brokers motivated. Hayes recognized that he needed to incentivize and reward the Broker

Defendants for their continued participation in the conspiracy.

       510.    R.P. Martin broker Terry Farr handled at least nine wash trades between

September 2008 and August 2009 on Hayes’ behalf. These trades alone generated more than

$412,000 in illegitimate commission revenue for the R.P. Martin Yen desk. Accordingly, Farr

solicited the assistance of multiple members of the Yen desk, who found counterparties for the

wash trades and telephoned additional Yen-LIBOR submitters to ensure their Yen-LIBOR

submissions were consistent with Hayes’ manipulative requests.

       511.    For example, on September 18, 2008, Hayes offered Terry Farr $50,000 or

$100,000 or more in illicit commissions for R.P. Martin’s assistance in the manipulation of six-

month Yen-LIBOR:

               if you keep 6s unchanged today I will do fucking one humongous deal with you ...
               Like a 50,000 buck deal whatever. I need you to keep it as low as possible ... I’ll
               pay you, you know, 50,000 dollars, 100,000 dollars ... whatever you want. .. I’m a
               man of my word.

       512.    The next day, on September 19, 2008, Hayes used Farr to engage in a series of

“wash” trades with several derivatives traders at other panel banks to generate the promised

$50,000 in commissions and fees for R.P. Martin. See e.g., ¶¶ 527, 549, 573-575, infra.

       513.    Once the switch and wash trades became a regular practice, Broker Defendants

would proactively line up these sham transactions with other co-conspirators. For example,

according to Hayes, Noel Cryan asked him to enter into switch trades, and Hayes agreed and

executed them. This was especially true near the end of the quarter, when extra commission

would help a Broker Defendant hit their budget, resulting in larger bonuses for the individual

brokers. As Hayes described his relationship with R.P. Martin, “[t]he whole desk, I mean like

when it came to end of the quarter and they were short of hitting their budget you know, the

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whole desk knew the score. The whole desk, you know, like wanted Terr [Farr] to go in and try

and do some big trades with me so that they, like hit budget and got their bonuses or whatever

you know.”

       514.    Counterparties for wash trades and switch trades were easy to find. Much like the

Broker Defendants, who were willing to help Hayes and his co-conspirators manipulate Yen-

LIBOR in exchange for extra commission payments, traders at other Contributor Banks

Defendants, including RBS, were always willing to engage in sham transactions so long as they

too were compensated. Compensation usually took two forms: (1) entertainment, e.g., a trip to

Las Vegas; and (2) “gift trades,” i.e., the best deal coming through the broker’s desk, which

would be given only to the broker’s best customers.

       515.    One Yen-LIBOR-based derivatives trader in particular, Neil Danziger

(“Danziger”) at Defendant RBS, was always happy to engage in wash trades or switch trades in

exchange for free entertainment. As Hayes explained, brokers typically spent about 5% of their

brokerage revenue entertaining clients. Danziger, who preferred to put his wash trades through

Tullett Prebon, knew that the more commission he generated for Tullett Prebon, the more they

would be willing to spend entertaining him. Because RBS’ money was used to pay the excess

commissions, it was a win-win for Danziger and Hayes, who benefited not only from the positive

impact their manipulative conduct had on their respective trading books, but also from whatever

kickbacks the Broker Defendants threw their way for paying excess commission.

       516.    Hayes’ superiors were aware of and expressly approved his use of wash trades

and switch trades to compensate the Broker Defendants for their assistance in manipulating Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives. Hayes explained in his SFO interview

that after his first switch trade with R.P. Martin, he went to his direct boss, Michael Pieri, to



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discuss what had happened. Pieri was fine with this conduct. In a follow-up conversation,

Hayes explained “[i]t was clear to me and to Mike that we were doing this for, like, for, well,

what I would have almost said was legitimate reasons to try and make the bank more money…So

if the bank was paying out brokerage it was getting it back in other ways.”

              4. UBS Paid a Special “Bonus” To Broker Defendant ICAP


       517.     UBS, and in particular, Hayes, were significant clients of the Broker Defendants.

Hayes steered a considerable amount of business toward the Broker Defendants, resulting in

substantial bonuses based on the amount of commissions his business generated for the Broker

Defendants. For example, beginning in June 2007, UBS paid Broker Defendant ICAP a monthly

fixed fee that averaged between 70,000 GBP and 85,000 GBP per month (US $126,000 and US

$153,000) for brokerage services performed on behalf of Hayes. As a result, between April 2007

and March 2009, Hayes singlehandedly accounted for, on average, approximately fourteen

percent of ICAP’s Yen desk’s business (although at times, he accounted for as much as twenty

percent of ICAP’s Yen desk’s business), making him ICAP’s Yen desk’s biggest individual

client. UBS was ICAP’s Yen desk’s overall largest client from October 2006 through January

2011, accounting for, on average, approximately twenty-three percent of ICAP’s Yen desk’s

revenue between April 2007 and March 2009 (although at times, it accounted for as much as

thirty percent of the Desk’s revenue).

       518.     In addition, Hayes acted as the counterparty to many transactions certain ICAP

brokers facilitated, thus further increasing ICAP’s Yen desk’s commissions. The Yen desk

earned a fixed fee from UBS, but also received commissions based on the notional value of the

transactions from the counterparties to Hayes’ trades. Because he brought significant business to




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the Yen desk, losing Hayes’ business would have been, as stated by one ICAP Yen broker, “a

significant loss.”

        E. Rabobank Colluded with Broker Defendant ICAP and Co-Conspirator R.P. Martin to
           Manipulate Yen-LIBOR to Benefit Rabobank’s Yen-LIBOR-based Derivatives
           Positions.

        519.    Despite awareness of an investigation related to LIBOR, Rabobank continued to

manipulate Yen-LIBOR to benefit its Yen-LIBOR-based derivatives positions. Rabobank now

began to use the Broker Defendants and co-conspirators to facilitate the manipulation.

        520.    On November 30, 2010, in the midst of the CFTC’s investigation of Rabobank’s

U.S. Dollar LIBOR submission practices, Rabobank Senior Manager 2 instructed the Yen-

LIBOR submitters at that time, Yen Trader-Submitter 3 and Yen Trader-Submitter 4, that it was

improper to consider rate requests from traders when making Rabobank’s LIBOR submissions

and that the practice should stop. That same day, when Takayuki Yagami sent the daily Yen-

LIBOR rates to be submitted, the Yen-LIBOR submitters refused to assist him. Reacting to the

loss of his ability to influence the Yen-LIBOR fixings directly, the very next day Takayuki

Yagami contacted Broker Defendant ICAP (“ICAP Cash Broker”) and requested his assistance

in manipulating Yen-LIBOR to benefit the Takayuki Yagami’s Yen-LIBOR-based derivatives

positions. Takayuki Yagami admitted to ICAP cash broker, Colin Goodman, that he previously

acted as Rabobank’s Yen-LIBOR submitter and “influence[d]” the LIBOR submissions until

November 30, 2010.

        521.    Takayuki Yagami continued to request Colin Goodman’s assistance in his

manipulative efforts throughout the end of 2010 and into early 2011. For example, on December

1, 2010, Takayuki Yagami wanted three-month and six-month Yen-LIBOR “down” on

December 2. Colin Goodman readily acquiesced and promised to “work some magic” to lower

three-month and six-month Yen-LIBOR.
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       522.    On at least two occasions, Rabobank also communicated with another broker at

Broker co-conspirator R.P. Martin and sought R.P. Martin’s assistance in manipulating Yen-

LIBOR. For example, on one of these occasions, on January 19, 2011, Rabobank requested R.P.

Martin’s assistance in pushing the six-month Yen-LIBOR fixing in a favorable direction to

benefit Rabobank’s Yen-LIBOR-based derivatives positions.


       523.    Rabobank also colluded with R.P. Martin. The Rabobank “Senior Yen Trader-

Submitter,” Paul Robson, communicated with Broker Co-Conspirator R.P. Martin to discuss the

Yen market generally and Yen-LIBOR fixings in particular. From at least May 2008 through at

least September 2008, R.P. Martin asked Paul Robson at times to make particular Yen-LIBOR

submissions, and on at least one occasion stated that the request was intended to benefit Hayes’

Yen-LIBOR-based derivatives positions. During the same period, Paul Robson also informed

R.P. Martin that he received requests for particular Yen-LIBOR submissions for certain tenors

from Takayuki Yagami. On at least one occasion, Paul Robson indicated he would

accommodate R.P. Martin’s Yen-LIBOR request on Hayes’ behalf, along with Takayuki

Yagami’s rate preference when making Rabobank’s Yen-LIBOR submissions on that particular

day.

       524.    The below example reveals “back scratching,” i.e., explicit agreements by co-

conspirators to submit artificial Yen-LIBOR rates to financially benefit other co-conspirators’

Yen-LIBOR-based derivatives positions in return for the other co-conspirators’ agreement to

return the favor sometime in the future. On July 18, 2008, R.P. Martin reached out to Rabobank

to ask where Rabobank planned on setting its one-month Yen-LIBOR that particular day. Paul

Robson had not yet been told where to set Rabobank’s one-month Yen-LIBOR and R.P. Martin

requested Rabobank set one-month Yen-LIBOR at “65” or “as low as possible basically” at the

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behest of a “geezer at UBS [Tom Hayes].” Paul Robson agreed and went further by saying that

Rabobank would set its one-month Yen-LIBOR at .63 so long as R.P. Martin let UBS know in

order for UBS to “scratch [Rabobank’s] back” in the future. R.P. Martin promised to

“definitely” let UBS know in order to “play by the rules.” Consistent with his agreement to do

so, Rabobank’s one-month Yen-LIBOR submission on July 18, 2008 was .63.

       F. RBS Manipulated Yen-LIBOR through Brokers and Engaged in Wash Trades to
          Compensate the Broker Defendants for Their Assistance.

       525.    By January 2007, “RBS Yen Trader 1,” Neil Danziger, came to suspect that UBS

was using inter-dealer brokers to manipulate Yen-LIBOR. At that time, Danziger commented to

another RBS trader, stating: “do you think brokers go and tell small banks where it should be? [

... ] on behalf of the bigger banks i could imagine UBS telling the brokers to go and get all the

small banks to mark libor up.” Several months later, in August 2007, Danziger commented

again to Senior Yen Trader, Jimmy Tan, about information he learned from “R.P. Martin Broker

B,” Lee Aaron: “i was out with [Lee] yesterday every day [UBS Yen Trader Tom Hayes] comes

down and asks the jpy desk to tell all the banks to set [Yen] libor low.”

       526.    Beginning a year later, from September 2008 to August 2009, as requested by at

least Broker Defendants Tullett Prebon and Broker co-conspirator R.P. Martin, Neil Danziger

agreed to execute wash trades with UBS to generate additional illicit commission in recognition

for their assistance in helping manipulate Yen-LIBOR. See ¶¶ 506-516, 544-548, 587-594.

       527.    RBS paid brokerage commissions on some of these wash trades to maintain good

relationships with the inter-dealer brokers. For example, on September 19, 2008, Lee Aaron

asked Danziger for a “favour” to enter into a “switch” or wash trade with UBS because UBS

wanted to pay R.P. Martin some illicit commission. In exchange for entering such a large wash




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trade with UBS, R.P. Martin promised to send around lunch to the RBS desk because the trade

was so large. The exchange between Aaron and Danziger shown below:

              September 19, 2008:

              R.P. Martin [Aaron]: can you do me a favour ... you’re not going to get
              paid any bro for this and we’ll send you lunch around for the whole desk. Can
              you flat ... can you switch two years semi at 5 3/4, 100 yards [meaning 100
              billion] ... between UBS. Just get ... take it from UBS, give it back to UBS. He
              wants to pay some bro. We won’t bro you ...

              RBS [Danziger]: Yeah, yeah.[ ... ]

              R.P. Martin [Aaron]:Yeah. Yeah. 100 yards ... actually can you make it
              150 and I’ll send lunch around for everybody?

              RBS [Danziger]: Yeah.

              R.P. Martin [Aaron]: Thanks very much. Cheers. Cheers, mate and you choose
              lunch.

       528.   That same day, R.P. Martin also asked Danziger to enter an additional ¥100

billion in wash trades with UBS so that Hayes could pay approximately $31,000 in brokerage

fees to R.P. Martin as compensation for R.P. Martin’s assistance with the manipulation of Yen-

LIBOR. By agreeing to do so, Danziger knowingly assisted Hayes’ manipulation because he

helped ensure that the inter-dealer broker was compensated.

       529.   Danziger also eventually asked R.P. Martin, on at least one occasion, to influence

other panel banks’ Yen-LIBOR submissions to benefit his Yen-LIBOR-based derivatives

positions. For example, on June 26, 2009, Danziger asked R.P. Martin to assist in lowering six-

month Yen-LIBOR. Aaron readily agreed saying “alright….we’ll work on it”:

              June 26, 2009:

              RBS [Danziger]: Has Tom [Hayes] been asking to get LIBORs up today?

              R.P. Martin [Aaron]: Sorry start again. Say that again?



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          RBS [Danziger]: Has Tom been asking you to put LIBORs up today?

          R.P. Martin [Aaron]: [Talking in background to Terry Farr] Er Tel, what’s Tom
          want LIBORs today? Has he said anything about LIBOR, what way he want
          them? Did you hear that?

          RBS [Danziger]: No

          R.P. Martin [Aaron]: Well he wants ones and threes a bit lower and sixes
          probably about the same, where they are now. He wants them to stay the same.

          RBS [Danziger]: I want them lower

          R.P. Martin [Aaron]: You want them lower? Sixes?

          RBS [Danziger]: Yeah

          R.P. Martin [Aaron]: Alright well. Alright well we’ll work on it.

   530.




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         531.




         G. Deutsche Bank Used Inter-dealer Brokers to Manipulate Yen-LIBOR and the Prices
            of Yen-LIBOR-based derivatives

         532.   Deutsche Bank colluded with multiple Broker Defendants to manipulate Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives. For example, on July 10, 2009,

Submitter-7 messaged inter-dealer Broker A-1, requesting that Broker A-1 get his Yen-LIBOR

Contributor Bank clients to lower three-month Yen-LIBOR. Submitter-7 stated, “3 mth libor

today ? . . . any chance to get it lower or some resistance . . . .” Broker A-1 replied, “ill try prob

Monday can get it lower.”

         533.   Deutsche Bank also colluded with inter-dealer Broker B, R.P. Martin. For

example, on September 26, 2008, Deutsche Bank and R.P. Martin manipulated Yen-LIBOR

artificially higher: Guillaume Adolph messaged Terry Farr (“Broker B-1”) in an electronic chat,

“Morning libor to the roof today please,” to which Broker B-1 replied, “yeah looks that way

dude.”




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       H. The Hayes Trial, Broker Trial, and Settlement Cooperation Produced to Plaintiffs by
          R.P. Martin Provided New Information Regarding the Scope and Inner-Workings of
          the Contributor Bank Defendants’ and Broker Defendants’ Conspiracy

       534.    The Hayes Trial, R. v. Hayes, began in the Southwark Crown Court on May 26,

2015, and concluded on August 3, 2015. Hayes was found guilty of all eight charges of

conspiracy to defraud. The trial focused on Hayes’ manipulation of Yen-LIBOR. The eleven-

week trial included hundreds of trial exhibits and testimony from nine witnesses. A key feature

of the trial was Hayes’ testimony from 82 hours of recorded interviews that he gave to the SFO.

This testimony was not available to Plaintiffs (or the public) prior to Hayes’ trial. In addition,

hundreds of new communications beyond those released in connection with the Defendants’

government settlements were first made available to Plaintiffs at the Hayes Trial.

       535.    Additional evidence was also revealed in the U.K. criminal trial of six inter-dealer

brokers, R. v. Read & Ors. (“Broker Trial”). The Broker Trial focuses on the manipulative

conduct of six brokers employed by the Broker Defendants and co-conspirators, Darrell Read

(ICAP), Colin Goodman (ICAP); Danny Wilkinson (ICAP), Terry Farr (R.P. Martin), James

Gilmour (R.P. Martin), and Noel Cryan (Tullett Prebon) and their conspiratorial manipulation of

Yen-LIBOR with the Contributor Bank Defendants during the Class Period.191

       536.    These trials, in addition to the documents produced to Plaintiffs by R.P. Martin as

settlement cooperation, have confirmed the factual findings of multiple government regulators

and expanded on the extent and nature of Defendants’ conspiracy, including, the Broker

Defendants’ role in conspiring with multiple Contributor Bank Defendants to manipulate Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives.




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                    a. R.P. Martin

         537.




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         538.




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         539.



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         540.   Hayes knew that Farr had relationships with Yen-LIBOR-based derivatives

traders and Yen-LIBOR submitters at multiple banks. During his SFO interview, Hayes

explained that Farr was valuable to him because he “knew people in the cash market”, i.e., the

market for yen deposits underlying Yen-LIBOR:

                Terry was someone who would try and get me the best deals . . . as
                they came across the desk, which was useful for me. And he was
                also somebody, who was able to give me information because Terry
                had moved from the Forward desk, from the Cash desk to the
                Forward desk. So obviously what was happening in the Cash Market
                was of vital importance to me, so having someone who understood


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                the cash market knew people in the cash market [was valuable]

         541.




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         542.   As explained below, multiple Contributor Panel Banks used R.P. Martin brokers

as a conduit to conspire with each other and manipulate Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives throughout the Class Period.




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                                       i.   HSBC

       543.   HSBC frequently conspired with UBS through R.P. Martin’s Terry Farr to

manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives during the Class Period.

HSBC’s Yen-LIBOR submitter, Luke Madden, conspired to make false Yen-LIBOR

submissions with multiple Contributor Bank Defendants through his good friend and R.P. Martin

broker Terry Farr. Through Farr, HSBC participated in multiple manipulative campaigns with

UBS and other Contributor Bank Defendants, coordinating false Yen-LIBOR submissions

among a large group of panel banks. Many of these campaigns were successful at manipulating

Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. See ¶¶ 668-696, infra.

                                      ii.   RBS

       544.   RBS conspired with UBS through R.P. Martin brokers Lee Aaron and Terry Farr

during the Class Period to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives. RBS Yen-LIBOR-based derivatives trader Neil Danziger coordinated false Yen-

LIBOR submissions with Hayes and traders at multiple Contributor Panel Defendants. See ¶

530, supra. Danziger also executed wash trades in furtherance of Defendants’ conspiracy to pay

the brokers illicit commission as a reward for manipulating Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives.

       545.




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         547.




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         548.




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                                 iii.   JPMorgan

         549.




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         551.



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   Tullett Prebon broker Noel Cryan explained to the SFO that it was common to stagger when wash trades were
entered to make it look as though there was a legitimate reason for entering and exiting the position, providing the
traders involved with a story they could use when questioned about the sham transactions. R. v. Read & Ors
Transcript of Trial at 25:14-25 (Nov. 12, 2015).

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         553.




                                 iv.   Norinchukin

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         555.




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         559.



                                 v.   Rabobank

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         561.




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         562.




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                                 vi.   Société Générale

         563.




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         564.




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         565.




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                                vii.   Mizuho Bank

         566.




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         567.




                                viii.   Deutsche Bank

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         569.




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                                                           221




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         570.




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                                 ix.   Lloyds

         571.




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         572.




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                                 x.   Merrill Lynch

         573.




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         574.




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                                 xi.   Bank of Tokyo-Mitsubishi

         576.




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         577.




                      b. ICAP

         578.   ICAP also served as a conduit between multiple Contributor Bank Defendants to

manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives during the Class Period



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using many means, including (1) disseminating false “run thrus”; and (2) coordinating false Yen-

LIBOR submissions among Contributor Panel Banks. For example, in the message below, Read

notified UBS trader Tom Hayes that he had been in contact with West LB (“Bank A”) and

received confirmation that they would make an artificially lower Yen-LIBOR submissions on

December 6, 2006:

                       December 6, 2006:

                       ICAP [Read]: i have spoken to [Bank A] about libors, he will be the lowest230

           579.        To maximize their impact on Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives, ICAP brokers worked as a team to leverage all their contacts when making requests

for false Yen-LIBOR submissions. For example, in the conversation below, Hayes asked Read

to contact Lloyds’ and Rabobank’s Yen-LIBOR submitters to request higher six-month Yen-

LIBOR submissions:

                       October 31, 2006:

                       UBS [Hayes]: hi do you speak to rabo or lollyds? have their 6m libors very very
                       low thx for getting it up y/day

                       ICAP [Read]: cash boys talk to lloyds but their guy has been away, will chase
                       them today no contact with rabo cash

                       UBS [Hayes]: ok they have probably just left the libors alone whilst he is away!

                       ICAP [Read]: they will be wiped off the bottom anyway

                       UBS [Hayes]: yes evry little helps

                       ICAP [Read]: :-)231




230
      Ex. C-1 at 16.
231
      Ex. C-1 at 15.

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           580.        Following the discussion with Hayes above, Read passed the request for an

artificially high six-month Yen-LIBOR submission to ICAP “Cash Broker 1,” Colin Goodman,

whom he knew was in contact with Lloyds’ Yen-LIBOR submitter:

                       October 31, 2006:

                       ICAP [Read]: Morning [Colin], Still need these libors kept as high as possible
                       please mate. … anything you can do to get them high will be much appreciated.

           581.        ICAP brokers often conspired with and coordinated false Yen-LIBOR

submissions among multiple Contributor Bank Defendants. For example, in the conversation

below, Read asked “ICAP Derivatives Broker 3” David James Smith to contact RBS’ back up

Yen-LIBOR submitter, Neil Danziger,232 to coordinate a high six-month Yen-LIBOR submission

among at least two Contributor Bank Defendants – UBS and RBS:

                       August 23, 2007:

                       ICAP [Read]: [David] does [Neil Danziger] have any influence over their libor
                       sets…if he does ask him to do us a favor and edge 6m up please…think
                       [JPMorgan trader Paul Glands] was chasing [Colin] for a high fix as well, so
                       should do us all a favour…thanks

                       ICAP [Smith]: [Neil Danziger] is doing them this wek , he wants 6’s up so will be
                       marking them up anyway

                       ICAP [Read]: brooliant!! They are making fortunes with these high fixings!!!
                       :-) that’s UBS, RBS, and [JPMorgan] + M’Lord should be ok!!233

           582.        ICAP cash broker Colin Goodman also communicated directly with traders and

submitters he knew at panel banks to request false Yen-LIBOR submissions. For example,

Goodman contacted Deutsche Bank’s Yen-LIBOR submitter on multiple occasions, including

after receiving instructions from Darrell Read to request a false Yen-LIBOR submission on Tom



232
      Ex. B-4 at 7 (Neil Danziger was the backup Yen-LIBOR submitter).
233
      Ex. C-1 at 16.

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Hayes’ behalf. For example, in the conversation below, Darrell Read asked ICAP “Junior

Broker 1,” Ryan Sherer, to ensure that Goodman would manipulate Yen-LIBOR lower during

the next week:

                   October 19, 2007:

                   ICAP [Read]: want 1m and 6m libors to keep pushing down…3m to hold as best
                   we can (6m down the most important thing) …same goes for next week, if you
                   could just remind [Colin] each morning

                   ICAP [Sherer]: will do thks234

            583.   Following this request, Goodman contacted Deutsche Bank’s Yen-LIBOR

submitter the next week to request an artificially lower Yen-LIBOR submission.

            584.   ICAP also was aware that Hayes was conspiring with R.P. Martin and other

brokers to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. For

example, in the conversation below, which was revealed during the Hayes Trial, Read and Hayes

discussed the series of wash trades UBS entered with RBS and JPMorgan on September 19,

2008:

                   September 19, 2008:

                   ICAP [Read]: Did Stuart switch for you?
                   UBS [Hayes]: Yeah 50b 2y and Neil [Danziger] at RBS 150b…Sorry 200b…I
                   owe him 150b more…Total 400b…thx advice
                   ICAP [Read]: Nice of them, 400bn on no cap is a lot of bro
                   UBS [Hayes]: will the only deal this month tho
                   ICAP [Read]: cheap deal for you if he can move libor by a quarter of a basis point
                   on a big fix…works both bays :-)
                   UBS [Hayes]: He [Terry Farr] has a nice little niche there




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      Id.

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                     c. Tullett Prebon

       585.    Tullett Prebon brokers were another means through which multiple Contributor

Bank Defendants conspired to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives, including by coordinating false Yen-LIBOR submissions in furtherance of the

conspiracy.

                                        i.   Tullett Prebon Management Directed Brokers to
                                             Engage in More Wash Trades

       586.    Tullett Prebon broker Noel Cryan described in his SFO interview how

management directed Tullett Prebon brokers to solicit wash trades from their clients in order to

boost profitability. Around September 2008, there were rumors circulating that R.P. Martin was

generating approximately £100,000 per month in commission brokering trades for Yen off

balance sheet products. After hearing of R.P. Martin’s success, Tullett Prebon manager Angus

Wink instructed brokers to start engaging in more wash trades to generate additional revenue.

Brokers were more than willing to comply with Wink’s directions. During the Class Period,

Tullett Prebon brokers were paid roughly 33% of the commission they earned as a bonus each

quarter. As a result, the more wash trades they could organize between clients, the more

commission they earned and the larger their quarterly bonus.

       587.    Tullett Prebon brokers executed multiple wash trades in furtherance of the

Defendants’ conspiracy, including with RBS Yen-LIBOR-based derivatives trader Neil

Danziger. Danziger was a client of Mark Jones, a broker on the Yen off balance sheet desk, who

worked closely with Cryan. Jones knew that Danziger had a certain “lifestyle” and was eager to

pay brokerage so he could earn free entertainment with RBS’ money. Capitalizing on this, Jones

routinely set up wash trades with Danziger to generate extra illicit commission. Hayes was

frequently the counterparty on the other side of these wash trades as well. To organize a wash


                                               222
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trade, Jones typically relayed the request to Cryan who then asked Hayes to execute the trade.

For example:

                      September 26, 2008:

                      Tullett Prebon [Cryan]: Neil Danziger has asked if you would flat switch 150 yard
                      of 2Y for him. Not sure why?

                      UBS [Hayes]: Yeah I would

                      Tullett Prebon [Cryan]: OK, thanks, any preference on the coupon? 1.105 if that’s
                      ok?235

            588.      However, when Cryan was out of the office, Jones would set up a wash trade with

Danziger and then approach Hayes directly, as shown in the conversation below:

                      December 10, 2008:

                      Tullett Prebon [Jones]: Tom Hayes last day before hols today…Any chance of
                      200 yards 2y mine yours, if can get them to do it?

                      RBS [Danziger]: If you want.

                      ***

                      In a separate Bloomberg Chat…

                      Tullett Prebon [Jones]: Any chance of a 200yd 2yr switch RBS/RBS?

                      UBS [Hayes]: Yeah/nett bro

                      Tullett Prebon [Jones]: Of course, thank you.

                      UBS [Hayes]: Ie i wont pay bro. Okay then that’s fine.236

            589.      Once wash trades with RBS and Tullett Prebon became an established practice,

Hayes started using them as a means to pay Cryan illicit brokerage in exchange for his assistance

in coordinating false Yen-LIBOR submissions among Contributor Bank Defendants.


235
      R. v. Read & Ors., Transcript of Trial at 3 (Nov. 12, 2015).
236
      Id at 20, 24.

                                                            223
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                                               ii.   Tullett Brokers Coordinated False Yen-LIBOR
                                                     Submissions Among Multiple Contributor Bank
                                                     Defendants

            590.       Tullett Prebon became more involved in the conspiracy to manipulate Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives following Darrell Read’s departure from

ICAP in 2009. With Read gone, UBS trader Hayes contacted Noel Cryan more frequently to

coordinate Yen-LIBOR submissions among the Contributor Bank Defendants. For example, in

the conversation below, Hayes offered to “look after” Cryan with wash trades, as he already did

with ICAP and R.P. Martin, if Cryan would help manipulate Yen-LIBOR:

                       February 9, 2009:

                       UBS [Hayes]: Do you know your cash desk, i.e. the guy who covers yen on your
                       cash desk?

                       Tullett Prebon [Cryan]: Yes, mate I do.

                       UBS [Hayes]: Right. From now on I need you to ask him a favour on the fixes. I
                       will make sure it comes back to you. I already do it with ICAP. Basically can
                       you ask him to broker 3M cash, i.e. LIBOR lower for me today? I will look after
                       you off the back of it. I do that for RP Martins too. So emphasize the importance
                       to you. Just suggest it look a little softer to his accounts.

                       Tullett Prebon [Cryan]: OK, mate, I understand. I will go and speak to him.

                       UBS [Hayes]: Stuff like that, thanks, mate, is very important to me today.

                       Tullett Prebon [Cryan]: Just spoke to them, they’re on the case.237

            591.       Hayes asked Cryan to manipulate Yen-LIBOR again the next day, instructing him

to “let them know you’ll do better as a result,” i.e., to emphasize the wash trades when

approaching Yen-LIBOR submitters at other Contributor Bank Defendants to coordinate false

Yen-LIBOR submissions:




237
      Id. at 29, 40.

                                                       224
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                      February 10, 2009:

                      Tullett Prebon [Cryan]: Morning mate, how are you?

                      UBS [Hayes]: OK mate. Thanks for help on LIBORs. Today I need low 1M and
                      3M but high 6M if you can ask your boys.

                      Tullett Prebon [Cryan]: OK, will do.

                      UBS [Hayes]: Is important. I’ll make sure it evens out.

                      Tullett Prebon [Cryan]: Just been over there.

                      UBS [Hayes]: Thanks, mate. Let them know you’ll do better as a result.

                      Tullett Prebon [Cryan]: Got it, mate.238

            592.      The next week, Cryan proactively asked Hayes which tenors of Yen-LIBOR to

manipulate so he could coordinate false submissions among the Contributor Bank Defendants:

                      February 16, 2009:

                      Tullett Prebon [Cryan]: Morning mate, what are you looking for on LIBORs
                      today?

                      UBS [Hayes]: Low 1M and 3M, 6M higher unchanged.239

            593.      Later in the same chat, Hayes reaffirmed his promise to enter into a wash trade

with RBS trader Neil Danziger to pay illicit brokerage as a reward for Tullett Prebon’s

participation in the conspiracy to manipulate Yen-LIBOR:

                      February 16, 2009:

                      UBS [Hayes]: We’re getting toward month-end so will cross some stuff up for
                      you then. Normally do 100 to 150 billion to years, brokerage both sides.

                      Tullett Prebon [Cryan]: Thanks, mate. I know Neil’s back today and he’s keen to
                      do something as well.



238
      Id. at 58-59.
239
      Id. at 60-61.

                                                      225
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                     UBS [Hayes]: OK. No problem. Neil is a lush.240

            594.     As promised in the communication above, Hayes executed a wash trade with Neil

Danziger for ¥ 200 billion on February 16, 2009. As a result of the trade Cryan received ¥ 2.5

million in illicit commission, more than $27,000, for assisting with the Defendants’ conspiracy to

manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives.241

            595.     The requests for Tullett Prebon’s brokers to coordinate false Yen-LIBOR

submissions among Contributor Bank Defendants continued following the February 16, 2009

wash trade. For example, in the conversation below, Hayes asked Cryan to help manipulate

Yen-LIBOR in exchange for another wash trade that would pay illicit commission:

                     February 25, 2009:

                     UBS [Hayes]: Low everything, please, mate. 1M, 3M, 6M.

                     Tullett Prebon [Cryan]: Gotcha

                     UBS [Hayes]: Big effort on getting these LIBORs power today, please, if you can.
                     Really important. If you get 3M down you’ll get a decent deal from me tomorrow.

                     Tullett Prebon [Cryan]: Hear you, mate. I’ll go and speak to them again.242

            596.     Tullett Prebon brokers contacted traders and/or submitters at multiple Contributor

Bank Defendants to coordinate false Yen-LIBOR submissions. For example, below Hayes sent a

message to Cryan listing several banks to target on March 5, 2009, including HSBC, Lloyds,

Bank of Tokyo-Mitsubishi, Norinchukin, and Société Générale:

                     March 5, 2009:

                     UBS [Hayes]: Hi mate, really, really need low 3m and high 6m. In 3M Bank of
                     Tokyo Mitsubishi is 64, Lloyds is as well. Best not to ask him though. HSBC is


240
      Id. at 70.
241
      Id. at 71 (“The switch went through as 200 billion”).
242
      Id. at 85.

                                                              226
      Case 1:15-cv-05844-GBD-SLC Document 489 Filed 08/24/20 Page 243 of 429




                       63. Can he go down to 61? Norinchukin is 65 and Société Générale is 64.243

            597.       As another example, the communication below demonstrates how Tullett Prebon

conspired with and coordinated false Yen-LIBOR submissions among a group of nine

Contributor Bank Defendants and Co-conspirators to manipulate one-month Yen-LIBOR lower

on March 31, 2009. This same communication was originally included in UBS’ CFTC

settlement (Ex. A-2 at 25-26). However, during the Hayes’ Trial the names of the conspiring

Contributor Bank Defendants, previously designated “Yen Banks A” through “G” were

unmasked:

                       March 31, 2009:

                       UBS [Hayes]: mate we have to get 1m and 3m down 1m barely fell yesterday real
                       important

                       Tullett Prebon [Cryan]: yeah ok

                       UBS [Hayes]: banks to have a go with in 1m are
                                    [Bank of Tokyo-Mitsubishi]
                                    [Lloyds]
                                    [Mizuho Bank]
                                    [Citibank]
                                    [Norinchukin]
                                    [JPMorgan]
                                    [RBS]
                                    [Sumitomo Mitsui]
                                    and [West LB]

                       Tullett Prebon [Cryan]: got it mate244

            598.       Defendants successfully manipulated Yen-LIBOR artificially lower on March 31,

2009. That day, five of the nine Yen-LIBOR Contributor Panel Banks named in the

conversation above lowered their one-month Yen-LIBOR submissions relative to the previous



243
      Id. at 89.
244
      Ex. A-2 at 25.

                                                       227
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day, including Contributor Bank Defendants and co-conspirators: (i) Sumitomo Mitsui; (ii)

Mizuho Corporate Bank; (iii) RBS; (iv) Norinchukin; and (v) Rabobank. Another Contributor

Bank Defendant, Barclays, also lowered its one-month Yen-LIBOR submission on March 31,

2009. As a result, the published one-month Yen-LIBOR fix dropped by a full basis point from

the day before.

           599.      Other Tullett Prebon brokers, including Mark Jones, were also involved in the

conspiracy and coordinated false Yen-LIBOR submissions among Contributor Bank Defendants.

For example, in the conversation below, Hayes asked Jones to reach out to the submitters at

Bank of America and Rabobank to request that they raise their six-month Yen-LIBOR

submissions after an unsuspected drop of 5 basis points and 6 basis points, respectively, the day

before:245

                     June 26, 2009:

                     Tullett Prebon [Jones]: Here I am

                     UBS [Hayes]: Hi

                     UBS [Hayes]: Please tell your cash boys I need a high 6M it’s very, very
                     important.

                     Tullett Prebon [Jones]: What [level] should I suggest? Yesterday’s drop was a bit
                     of a shocker in 6M LIBOR. Any idea why that happened?

                     UBS [Hayes]: 2 people moved it 11 basis points between them…

                     Tullett Prebon [Jones]: Who was it?

                     UBS [Hayes]: Rabobank and Bank of America if you can have a word.

                     Tullett Prebon [Jones]: Will do mate246


245
  During this time, Hayes was conspiring with multiple Contributor Bank Defendants to manipulate six-month
Yen-LIBOR higher as part of Operation 6M. See ¶¶ 741-752, infra.
246
      R. v. Read & Ors., No. 14-cr-272, Transcript of Trial at 87-88 (Oct. 12, 2015).

                                                           228
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           600.     Jones was successful and, consistent with the conversation above, Bank of

America raised its six-month Yen-LIBOR submission by five basis points from 0.70 on June 25

to 0.75, on June 26, 2009. With this increase Bank of America skipped over eight panel banks to

move from the seventh-lowest submission on June 25, 2009, to the second-highest submission on

June 26, 2009. This jump, from the middle of the back to the top of the range, exactly followed

Hayes’ plan to move the fixing higher by intentionally submitting quotes that were excluded

from the average calculation. See ¶¶ 462-467, supra.

           I. The Contributor Bank Defendants Colluded Directly with One Another To
              Manipulate Yen-LIBOR and the Prices of Yen-LIBOR-based Derivatives

                  1. UBS’ Admitted Collusion with Other Panel Banks247


           601.     Hayes augmented his internal efforts to manipulate Yen-LIBOR for multiple

tenors and the prices of Yen-LIBOR-based derivatives by coordinating with derivatives traders at

other panel banks. Hayes wanted to better exploit the averaging methodology used to calculate

fixings, maximizing the impact of each corrupted submission on the official daily fixing of Yen-

LIBOR.

           602.     By at least January 2007, Hayes began coordinating regularly with derivatives

traders at other panel banks. Hayes communicated with traders employed by at least one

Contributor Bank Defendant, RBS, and three co-conspirators, JPMorgan, Deutsche Bank, and

HSBC, that he knew personally or worked with previously. Most of the examples below are

communications from the Hayes Trial. Some of these communications were previously released,

in part, in various Defendants’ government settlements, however, the traders’ identities and the

banks that they worked for were obscured.


247
      See also Ex. A-2, pp. 17-20.

                                                   229
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         603.   For their own manipulative purposes of benefiting their Yen-LIBOR-based

derivatives trading positions, certain of the derivatives traders at the other banks sought

reciprocating assistance from Hayes to make requests on their behalf to UBS’ submitters. Hayes

readily agreed to help them and often encouraged them to ask for help as a way to curry favor

and ensure his requests were accommodated.

         604.   Numerous communications between Hayes and derivatives traders at the other

panel banks reveal:

            o descriptions of Hayes’ strategy and his success in keeping Yen-LIBOR
              “artificially high”;

            o how, as with the internal requests, Hayes pressed traders at the other banks for
              assistance particularly on key fixing dates around the IMM dates or the turn of the
              calendar year;

            o how traders believed that Yen-LIBOR was vulnerable to manipulation and
              routinely submitted requests for artificial Yen-LIBOR submissions to benefit their
              derivatives positions;

            o that communications requesting false Yen-LIBOR submissions frequently
              covered a range of days, such that a single request could result in multiple days of
              artificial Yen-LIBOR submissions impacting the published Yen-LIBOR during
              the same period;

            o the pressure Hayes felt to keep making money for UBS; and

            o that the traders believed they succeeded at times.

         605.   On February 2, 2007, Hayes described this method of manipulating Yen-LIBOR

in an electronic chat with his counterpart Yen derivatives trader (“Trader-A1”), Will Hall, at

RBS (“Bank-A”):

                February 2, 2007:

                RBS [Hall]: jimmy tan248 telling me the spread will widen over golden week??

248
   Jimmy Tan, an RBS Japan Yen trader in Singapore, was identified as Senior Yen Trader in RBS’ CFTC
settlement.

                                                    230
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                       UBS [Hayes]: no way

                       RBS [Hall]: that’s what I thought
                       he pays 15.5 too for that spread if you wanna do any more

                       UBS [Hayes]: he is an idiot

                       ***

                       UBS [Hayes]: 3m libor is too high cause I have kept it artificially high

                       RBS [Hall]: how

                       UBS [Hayes]: being mates with the cash desks, [JPMorgan] Chase and I always
                       help each other out

           606.        Later in the same chat, Hayes shared proprietary and commercially-sensitive

information with Hall, letting him know that he was “long libor,” i.e., his Yen-LIBOR-based

derivatives positions would financially benefit from an increase in the rate. As a result, Hayes

planned to manipulate Yen-LIBOR higher, before causing a “2bp swing in the fix,” by

manipulating it artificially lower:

                       February 2, 2007:

                       RBS [Hall]:    Ok that’s useful to know. So I assume 1s4s it will be soft

                       UBS [Hayes]: well I am long libor in 1v4m so will try to keep high them but
                       basicly 1bp is too high right now and come may I’ll get it 1bp too low net net a
                       2bp swing in the fix

                       RBS [Hall]: Good man249

           607.        Soon after telling Hall that he was manipulating the Yen market, Hayes asked

Hall to make false Yen-LIBOR submissions. For example, in the conversation below, Hayes




249
      Ex. A-2 at 19.

                                                       231
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asked Hall to keep RBS’ one-month Yen-LIBOR submissions artificially lower over the next

several days:

                      February 8, 2007:

                      UBS [Hayes]: can you do me a huge favour, can you ask your cash guys
                      to set lm libor low for the next few days . . . i’ll return the favour as when you
                      need it ... as long as it doesn’t go against your fixes . . . have 30m jpy of fixes over
                      the next few days

                      RBS [Hall]: yeah i will try250

            608.      Hall successfully kept RBS’ one-month Yen-LIBOR submission artificially lower

and the next day Hayes thanked him for his manipulation:

                      February 9, 2007:

                      UBS [Hayes]: thx help lm y/day appreciated

                      RBS [Hall]: no worries251

            609.      The two traders then discussed whether their trading positions, and thus their

preferred Yen-LIBOR levels, were aligned, and Hayes requested a low fixing:

                      February 9, 2007:

                      UBS [Hayes]: can you ask for a low lm [Yen-LIBOR] again today pls if ok? . . .
                      todays fix is 12m . . . you need anything on 3m or 6m?

                      RBS [Hall]: no my book is still tiny i will go for low [Yen] libor again
                      ... it suits me too as i am short the spreads

                      UBS [Hayes]: ok thanks…wait till you get clumped in 300b of 6m fra!... then you
                      care…that’s a 15m fix….typically I have about 10m-15m fixing every day in one
                      bucket or another252




250
      Ex B-1 at 23.
251
      Id. at 24.
252
      Id.

                                                        232
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            610.      Later in the same chat, Hall and Hayes discussed their mutual interest in a low

one-month and three-month Yen-LIBOR. Hayes told Hall that he would contact JPMorgan to

request false Yen-LIBOR submissions as well:

                      February 9, 2007:

                      RBS [Hall]: i told my cash guy i want low lm and 3m fixes and high 6 m that suits
                      uu right

                      UBS [Hayes]: yes absolutely, is that ok with you? we will be exactly the same . . .
                      am going to talk to [JPMorgan] as well

                      RBS [Hall]: perfect

                      UBS [Hayes]: cool . . . you in monday?

                      RBS [Hall]: yeah a bit

                      UBS [Hayes]: ok get them to set the same fixes monday as well if ok

                      RBS [Hall]: sure253

            611.      Hayes messaged Hall on February 13, 2007 to request RBS keep its one-month

Yen-LIBOR submissions low until February 15, 2007. In an electronic chat on February 15,

2007, Hayes directed Hall to get RBS’ Yen-LIBOR submitter to submit artificially low one-

month and high six-month Yen-LIBOR submissions. Hall agreed to do so:

                      February 15, 2007:

                      UBS [Hayes]: can you ask for a low lm fix again ...wd really help

                      ***
                      RBS [Hall]: sure it suite me to get low 1s and s . . . 3s

                      UBS [Hayes]: thanks need high 6’s tho if ok with you?

                      ***




253
      Id. at 25-26.

                                                       233
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                   RBS [Hall]: i have got nothing in 6s until the 19 fix date when i need a high one
                   too

                   UBS [Hayes]: ok thx [Will]

                   RBS [Hall]: so yeah thats fine with me my cash guy is rubbish at guessing where
                   [Yen] libors are going to be but he listens to what i say

                   UBS [Hayes]: thats a releif254

            612.   Later that same day, Hall asked Hayes, “how many people can you get to put this

lm [Yen] libor low.” Hayes responded, “well us [JPMorgan] and a few others i think.”

Within minutes of this exchange, Hayes asked Roger Darin to contribute a low one-month and

six-month Yen-LIBOR submission. Hayes then asked Roger Darin if he knew anyone at another

Contributor Panel bank that he “could have a word with . . . as a favour.” Roger Darin replied

that he lacked that “edge” but suggested that Hayes “have a word with [JPMorgan].” In

response, Hayes told Roger Darin submitter that he had “already done that . . . and rbs.”255

            613.   On a few occasions, Hall reported back to Hayes that he expected RBS’ Yen-

LIBOR submitters to accommodate Hayes’ request. For example, in an April 20, 2007

electronic chat, Hayes stated to Will Hall: “I know I only talk to you when I need something but

if you could ask your guys to keep 3m [Yen-LIBOR] low wd be massive help as long as it

doesn’t interfere with your stuff . . . tx in advance.”

            614.   Approximately 30 minutes later, Hayes and Hall had the following chat:

                   April 20, 2007:

                   UBS [Hayes]: I know I only talk to you when I need something but if you could
                   ask your guys to keep 3m low wd be massive help as long as it doesn’t interfere
                   with your stuff tx in advance . . . mate did you manage to spk to your cash boys?

                   RBS [Hall]:    yes u owe me they are going 65 and 71

254
      Id.
255
      Id. at 26.

                                                    234
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                       UBS Hayes:    thx mate yes I do . . . in fact I owe you big time

           615.        Approximately 45 minutes later, after checking to see if RBS lowered its three-

month Yen-LIBOR submission to 65, Hayes sent the following message to Will Hall: “Mate they

set 64! . . . that’s beyond the call of duty!” 256

           616.        Hayes rewarded Hall and RBS for their participation in the conspiracy with

proprietary, market-sensitive information, and by having UBS’ submitters make false Yen-

LIBOR submissions for RBS’ benefit. For example, Hayes often told Hall where UBS was

putting its Yen-LIBOR submissions so that Hall could use that information to his advantage in

trading Yen-LIBOR-based derivatives.

                       February 26, 2007:

                       UBS [Hayes]: can you try to get your guys to leave their 3m and lm [Yen] libors
                       unchanged?

                       RBS [Hall]: yeah i want low ones so that suits me

                       UBS [Hayes]: gd thx mate ... we are going low too

           617.        Hayes also asked UBS’ submitters to make false Yen-LIBOR submissions for

Hall (RBS) in return for RBS’ false Yen-LIBOR submissions which benefitted Hayes’ (UBS’)

Yen-LIBOR-based derivatives positions. For example:

                       March 2, 2007:

                       RBS [Hall]: please please low 6m [Yen-LIBOR] fix on monday . . . i have got a
                       [b]ig fix

                       UBS [Hayes]: sure no worries

                       ***

                       UBS [Hayes]: how big is the fix mate?

256
      Ex. A-2 at 19.

                                                      235
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                       RBS [Hall]: 100 us big for me

                       UBS [Hayes]: 10m jpy? . . . yes thats quite lrge 200b 6m257

            618.       Hall’s requests for false Yen-LIBOR submissions, and Hayes’ agreement to get

UBS’ submitters to accommodate those false requests, continued in March 2007 and beyond, as

evidenced in the following chats:

                       March 6, 2007:

                       RBS [Hall]: yeah can u go fr low everything plse . . . i am

                       UBS [Hayes]: will do cld do with high threes but won’t get it we are the
                       lowest258

            619.       Later that day, Hayes relayed Hall’s request to UBS’ Yen-LIBOR submitter:

                       March 6, 2007:

                       UBS [Hayes]: hi pls don’t forget low lm and 6m! :) . . . have lots fixing

                       UBS [Joachim Ruh]: mate i won’t259

            620.       Others at RBS knew that Hall was conspiring with Hayes, for example:

                       March 27, 2008:

                       RBS [Tan]: we change the [Yen] libor lower?

                       RBS [Danziger]: [Will Hall] asked [a junior backup submitter] to put it low

                       ***
                       RBS [Danziger]: does he need it or Tom Hayes ask him to do it? . . . cos UBS
                       wanted low260

            621.       During 2008, Hayes started to send requests for false Yen-LIBOR submissions to

RBS trader Brent Davies, “Trader-6” in RBS’ DOJ settlement. For example, in the email


257
      Ex. B-1 at 27.
258
      Id. at 27-28.
259
      Id. at 28.
260
      Id. at 30.

                                                       236
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conversation below, Hayes asked Davies to secure low six-month Yen-LIBOR submissions from

RBS over the next few days:

                      May 7, 2008:

                      UBS [Hayes]: Hi [Brent] . . . can you please ask for a low 6m in jpy for the next
                      few days. Hope you are ok, was good seeing you last week

                      RBS [Davies]: Hi mate, I mentioned it to our guy on Friday and he seemed to
                      have no problem with it, so fingers crossed.261

            622.      These requests continued at least throughout 2008, while Davies was still

employed by RBS, as evidenced in the following instant message between Hayes and Davies in

November 2008.

                      November 3, 2008:

                      UBS [Hayes]: can you do me a favour and ask your guys for a low JPY 3m fix
                      today if they can? . . . wld be massiive help

                      RBS [Davies]: will ask

                      UBS [Hayes]: have monster fix . . . thanks [Brent]262

            623.      Davies left RBS in (or around) July 2009 to become a cash broker for Broker

Defendant ICAP. While at ICAP, Davies maintained his relationship with RBS’ Yen-LIBOR

“Submitter 1,” Paul White, and continued to conspire with Hayes to manipulate RBS’ Yen-

LIBOR submissions. For example, on March 3, 2010, Hayes (who by that time had left UBS

and joined Citibank) messaged Davies to request a false Yen-LIBOR submission from RBS:

                      March 3, 2010:

                      Citibank [Hayes]: i really need a low 3m Yen-LIBOR into the imm . . . any
                      favours you can get with the due at RBS would be much appreciated . . . even if
                      he on;ly move 3m down lbp . . . from 25 to 24


261
      Id. at 30-31.
262
      Id. at 31.

                                                      237
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                       ICAP [Davies]: I’ll give him a nudge later, see what he can do

                       Citibank [Hayes]: thanks mate . . . really really would appreciate that

                       ICAP [Davies]: haven’t seen him since i left so I might buy him a steak to catch
                       up

                       Citibank [Hayes]: yeah263

            624.       Davies reached out to White, offering a steak in exchange for a false Yen-LIBOR

submission and letting him know it was for their “mutual friend” Tom Hayes:

                       March 3, 2010:

                       ICAP [Davies]: can i pick ur brain?

                       RBS [White]: yeah

                       ICAP [Davies]: u see 3m Yen-LIBOR going anywhere btween now and imm?

                       RBS [White]: looks fairly static to be honest, poss more pressure on the upside ,
                       but not alot

                       ICAP [Davies]: oh. we hve a mutual friend who’d love to see it go down, no
                       chance at all?

                       RBS [White]: haha TH [Tom Hayes] by chance

                       ICAP [Davies]: shhh

                       RBS [White]: hehehe , mine should remain flat , always suits me if anything to go
                       lower as i rcve funds

                       ICAP [Davies]: gotcha, thanks, and, if u cud see ur way to a small drop there
                       might be a steak in it for ya, haha

                       RBS [White]: noted ;-)264




263
      Ex. C-1 at 35.
264
      Id. at 32-33.

                                                       238
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            625.       The next day, March 4, 2010, RBS’ three-month Yen-LIBOR submission moved

down by one basis point, from 25 to 24, consistent with Hayes’ request. In response to this

beneficial submission, White messaged Davies:

                       March 4, 2010:

                       RBS [White]: Libor lower ;-)

                       ICAP [Davies]: good work!!!!265

            626.       White continued to lower RBS’ Yen-LIBOR submissions through March 9, 2010

by one basis point, and then lowered RBS’ submission an additional basis point by March 11,

2010, tying Rabobank, another known Hayes co-conspirator, for the lowest Yen-LIBOR

submission that day. RBS’ Yen-LIBOR submission remained tied with Rabobank’s submission

through March 17, 2010, the March 2010 IMM fixing date that Hayes originally referenced. On

March 17, 2010, RBS’ Yen-LIBOR submission was 2.375 basis points below the BBA Yen-

LIBOR fix.

            627.       RBS’ traders and submitters knew that by working with Hayes they were

participating in a far-reaching and broad conspiracy to rig Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives. For example, in the conversation below, RBS Yen Manager Jezri

Mohideen acknowledged that one of the means that Hayes used to manipulated Yen-LIBOR was

“partnering up with a number of cash guys,” i.e., Yen-LIBOR submitters at multiple banks:

                       August 20, 2007:

                       RBS [Mohideen]: it seems to be [UBS] is pushing for these [Yen] libors
                       partnering up with number of cash guys as well

                       RBS [Hall]: yeah [Hayes] all over it266


265
      Id. at 33.
266
      Ex. B-4 at 14.

                                                       239
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            628.       RBS Senior Yen-Trader Jimmy Tan acknowledged in mid-2007 that Yen-LIBOR

had become a “cartel now” among UBS, RBS, and the other contributor panel banks:

                       August 20, 2007:

                       RBS [Tan]: this libor setting is getting nutss

                       Bank A Trader: im puzzled as to why 3m libor fixing not coming off after
                       the FED action

                       Bank B Trader: [UBS] is lending dolls through my currencies in 3 month
                       do usee him doing the same in urs

                       RBS [Tan]: yes[,] he always led usd in my mkt[,] the Yen-LIBOR is a
                       cartel now

                       RBS [Tan]: its just amazing how libor fixing can make you that much
                       money

                       RBS [Tan]: its a cartel now in london[.] they smack all the 1yr irs .. and
                       fix it very high or low [.] they smack all the 1yr irs .. and fix it very high
                       or low267

            629.       Later in 2007, RBS traders and Jezri Mohideen described how there is “pure

manipulation going on” with the Yen-LIBOR fixing:

                       December 5, 2007:

                       RBS [Hall]: FYI [Yen] libors higher again today [ ... ]

                       Yen Trader 4: ‘ucksake. keep ours low if poss. don’t understand why
                       needs to go up in yen

                       RBS [Hall]: no reason dude[,] [Bank C] and [Bank D] went high yest

                       Yen Trader 4: send the boys round [ ... ]

                       RBS [Mohideen]: pure manipulation going on268




267
      Id.
268
      Ex. B-4 at 15.

                                                         240
      Case 1:15-cv-05844-GBD-SLC Document 489 Filed 08/24/20 Page 257 of 429




            630.     Taking full advantage of this “pure manipulation,” RBS continued to

systematically conspire with Hayes to manipulate Yen-LIBOR and the prices of Yen-LIBOR-

based derivatives for their financial benefit at the expense of Plaintiffs and the Class during the

remainder of the Class Period.

            631.     Hayes also contacted Yen derivatives “Trader-B,” Guillaume Adolph, at Bank-B,

Deutsche Bank, to request Yen-LIBOR submissions that would benefit UBS’ Yen trading

positions. For example, in the conversation below, Adolph and Hayes shared commercially-

sensitive information regarding their proprietary Yen-LIBOR-based derivatives positions, and

agreed to work together in making false submissions:

                     August 28, 2008:

                     UBS [Hayes]: That is thru my mid of 7/5…am axed but not that axed…city went
                     nuts and distorted the mkr…how about we split it…67.875…then I can go home

                     Deutsche Bank [Adolph]: ok I give you 50 b in each

                     UBS [Hayes]: look i appreciate the business and the calls
                     we should try to share info where possible
                     also let me know if you need fixes one way or the other

                     Deutsche Bank [Adolph]: sure sorry mate have to go too busy on many
                     things

                     UBS [Hayes]: and i’ll do the same if you have any joy with you setters

                     Deutsche Bank [Adolph]: no prob269

            632.     In the following conversation, Adolph agreed to manipulate Yen-LIBOR to help

Hayes who stood to make ¥ 75 million, approximately $750,000, for each basis point six-month

Yen-LIBOR decreased:

                     September 18, 2008:


269
      Ex. I-1 at 50-51.

                                                    241
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                   UBS [Hayes]: you got any ax [interest] on 6m fix tonight?

                   Deutsche Bank [Adolph]: absolutely none but I can help

                   UBS [Hayes]: Can you set low as a favour for me?

                   Deutsche Bank [Adolph]: done

                   UBS [Hayes]: i’ll return favour when i can just ask…have 75m m jpy a bp tonight

                   Deutsche Bank [Adolph]: np

                   UBS [Hayes]: thanks so much

                   Deutsche Bank [Adolph]: 73/90/99 am putting libors

                   UBS [Hayes]: great thanks mate270

            633.   The next day, Hayes offered Adolph a deal at a favorable price, “in fact cause you

help me on 6m yday,” rewarding Adolph’s successful manipulation of six-month Yen-LIBOR.271

            634.   Adolph continued to manipulate Yen-LIBOR for Hayes through at least 2009. In

the conversation below, Hayes asked Adolph (and Adolph agreed) to manipulate six-month Yen-

LIBOR to financially benefit a massive Yen-LIBOR-based derivatives position that Hayes held:

                   May 21, 2009:

                   UBS [Hayes]: cld you do me a favour would you mind moving your 6m libor up a
                   bit today I have a gigantic fix…i am limit short cant…sell anymore just watch
                   Deutsche Bank [Adolph]: i can do that
                   UBS [Hayes]: thx272

            635.   Consistent with Hayes’ request, on May 21, 2009, six-month Yen-LIBOR

increased by six-tenths of a basis point.



270
      Id. at 51.
271
      Id. at 52.
272
      Id. at 54.

                                                  242
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            636.   Deutsche Bank conspired with UBS so frequently that Adolph at times asked

Hayes, “where should i put my libors” and listed various options for Hayes to choose.273

Deutsche Bank also participated in several of the known long-term manipulation campaigns with

UBS, including “Operation 6M” and “The Turn Campaign” during which UBS, HSBC,

Deutsche Bank worked together to stagger drops in their six month Yen-LIBOR submissions

during the summer of 2009. See Part IV.7.B., infra.

            637.   In another example of a long-term manipulation, Hayes started planning in

March 2010, roughly ten months prior to the December 2010 IMM date, to manipulate three-

month Yen-LIBOR higher to benefit his “massive” Yen-LIBOR-based derivatives position.

Adolph again agreed to participate in the manipulation as Hayes promised to return the favor:

                   March 26, 2010:

                   UBS [Hayes]: you got much in 3m libor in dec?

                   Deutsche Bank [Adolph]: nothing

                   UBS [Hayes]: ok i really gonna need 3m lib up a bit in dec have massive
                   imm fix vs [Nomura]

                   Deutsche Bank [Adolph]: hum np

                   UBS [Hayes]: thanks

                   Deutsche Bank [Adolph]: we have time by then

                   UBS [Hayes]: anything i can help with let me know274

            638.   Hayes also asked his counterpart Yen derivatives trader (“Trader-C”), Stuart

Wiley, at JPMorgan (“Bank-C”) to have JPMorgan contribute Yen-LIBOR submissions to

benefit UBS’ Yen derivatives trading positions. For example, in a January 29, 2007 electronic


273
      Id. at 57.
274
      Id. at 58.

                                                  243
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chat with Hayes, Stuart Wiley asked: “[A]nything you need on [Yen] libors today? High 6m

[Yen-LIBOR] would help me.” Hayes responded, “high 3m I’ll sort our 6m rate for you thanks.”

As promised, Hayes made a request to the UBS Yen-LIBOR submitter for a high six-month

contribution.

           639.     In this January 19, 2007 conversation between Hayes and Wiley, Hayes asked

Wiley to keep JPMorgan’s three-month Yen-LIBOR submissions artificially high. Hayes

wanted to financially benefit several of his Yen-LIBOR-based derivatives positions which were

set to price settle over the next couple of days, referred to by Hayes as “massive 3m

fixes.” Hayes told Wiley he would return the favor by artificially driving up six-month Yen-

LIBOR to benefit JPMorgan’s Yen-LIBOR-based derivatives positions. Wiley agreed to the

manipulation.

                    January 19, 2007:

                    UBS [Hayes]: Hi Stuart, bit cheeky but if you know who sets your libors and you
                    aren’t the other way…I have some absolutely massive 3m fixes the next few days
                    and would really appreciate a high 3m fix. Chase were one of the lowest y/day at
                    .51. Anytimes I can return the favour let me know as the guys here are pretty
                    accommodating to me.

                    Cheers Tom

                    JPMorgan [Wiley]: I will try my best, but really fed up with my guys, wanted a
                    high 6m yesterday, but came in really low (our guys one of the main cultirpts) –
                    got quite badly hit on that

                    UBS [Hayes]: Your and me both, you need 6m high? If so will get my guys to set
                    high for you today, yesterday they set 3m up at 57 for me!

                    JPMorgan [Wiley]: Got nothing significant for next 7 days – so will try to get
                    high for you – just really gutted about yesterday cost me alot275




275
      Ex. A-2 at 18-19.

                                                    244
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         640.   Wiley was successful at keeping JPMorgan’s three-month Yen-LIBOR

submissions and the three-month Yen-LIBOR fix artificially higher as indicated by Hayes’ email

below:

                January 22, 2007:

                UBS [Hayes]: Hi Stuart, thanks for the 3m fix the other day. If you could try to
                keep 3m up again wd be much appreciated. If you have 6m axe let me know…

                Thanks

                Tom

         641.   Hayes also conspired with JPMorgan trader Paul Glands during the Class Period.

For instance, in this January 25, 2007 communication, Glands agreed to keep JPMorgan’s three-

month Yen-LIBOR submission artificially high.

                January 25, 2007:

                UBS [Hayes]: could you do me a favour and ask your cash guys to try and keep
                3m libor up today…thanks

                JPMorgan [Glands]: WILL DO

         642.   Other communications evidence Hayes’ willingness to return the favor by making

false Yen-LIBOR submissions to benefit JPMorgan’s Yen-LIBOR-based derivatives positions.

For example, in the conversation below, Hayes asked Wiley to set JPMorgan’s one-month Yen-

LIBOR submission artificially low over the next few days. Hayes’ request coincided with the

same low one-month Yen-LIBOR request Hayes made to RBS. See ¶ 607, supra. In return,

Hayes offered to assist JPMorgan with the six-month Yen-LIBOR fix (referred to as “6m” by

Hayes) or anything else. Even after receiving the news that JPMorgan might not be able to help

with the one-month fixing, Hayes offered (and JPMorgan agreed) to have UBS make false six-

month Yen-LIBOR submissions “all week” for JPMorgan’s benefit.



                                               245
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               February 8, 2007:

               UBS [Hayes]: Hi Stuart, if you could ask your guys to set 1m low for the next few
               days would really appreciate it as have 30m jpy fixes, if you need anything done
               with 6m pls let me know.

               Cheers Tom.

               JPMorgan [Wiley]: Unfortunately they’ve gone all “we need to be independent”
               on us so unfortunately nothing much I can do for a while

               UBS [Hayes]: no worries my guys are reasonable so just let me know when you
               need something

               JPMorgan [Wiley]: thanks appreciate it need low 6m for all of next week

               UBS [Hayes]: you got it

       643.    As evidenced in this July 2, 2008 instant message, Hayes also repaid JPMorgan

for its false Yen-LIBOR submissions and participation in the conspiracy by helping JPMorgan

“trade out” of positions that were not financially going JPMorgan’s way.

               July 2, 2008:

               UBS [Hayes]: Mate if you need to trade out of them let me know. Think 6m is
               approaching a level it won’t go up from much further. Just give me what mid you
               are using and I’ll see if it suits…

       644.    Hayes also conspired with HSBC through his stepbrother Peter O’Leary, a trader

at the bank, to influence HSBC’s Yen-LIBOR submissions for the benefit of UBS’ Yen-LIBOR-

based derivatives positions. For example, on June 28, 2007, Hayes messaged O’Leary: “pls ask

ur mate for high 6m [Yen-LIBOR] mate . . . wd be really really grateful.” O’Leary responded:

“will do, for the record he’s def not my ‘mate’! . . . but I’ll [send him an electronic chat].” As

requested, approximately 15 minutes later, O’Leary sent an electronic chat to the HSBC Yen-

LIBOR submitter stating, “high 6m yen libor would be gd according to my brother!” The Yen-

LIBOR submitter responded, “WILL DO MY BEST.”



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           645.     Hayes knew that coordinating with other Contributor Panel Banks to manipulate

Yen-LIBOR and Yen-LIBOR-based derivatives prices was wrong. In a July 22, 2009, electronic

chat with ICAP broker, Darrell Read, Hayes described his plan to coordinate Yen-LIBOR

submissions with other Contributor Panel Banks over the next few weeks while staggering drops

in submissions so as to avoid detection:

                    July 22, 2009:

                    UBS [Hayes]: 11th aug is the big date . . . i still have lots of 6m [Yen-
                    LIBOR] fixings till the 10th

                    ***

                    ICAP [Read]: if you drop your 6m [Yen-LIBOR] dramatically on the
                    11th mate, it will look v fishy, especially if [HSBC] and [Deutsche Bank] go with
                    you. I’d be v careful how you play it, there might be cause for a drop as you cross
                    into a new month but a couple of weeks in might get people questioning you.

                    UBS [Hayes]: don’t worry will stagger the drops . . . ie 5bp then 5bp

                    ICAP [Read]: ok mate, don’t want you getting into sh it

                    UBS [Hayes]: us then [Deutsche Bank] then [HSBC] then us then [Deutsche
                    Bank] then [HSBC]

                    ICAP [Read]: great the plan is hatched and sounds sensible

                  2. As Part of Its DOJ Deferred Prosecution Agreement, RBS Admitted To
                     Colluding with UBS to Manipulate Yen-LIBOR and the Prices of Yen-LIBOR-
                     based Derivatives.276

           646.     From at least as early as February 2007, an RBS derivatives trader, Will Hall, and

Hayes agreed to request that their respective Yen-LIBOR submitters contribute Yen-LIBOR

submissions to benefit their Yen-LIBOR-based derivatives positions. In 2008, Hayes and

another RBS trader, Brent Davies, agreed to make requests to benefit Hayes’ trading positions.




276
      See also Ex. B-4 at 19-21.

                                                     247
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In 2010, after Davies left RBS and moved to Broker Defendant ICAP, Hayes enlisted Davies to

convey requests for false Yen-LIBOR submissions to RBS’ Yen-LIBOR submitters. Examples

of manipulative communications between Hayes, and RBS traders Will Hall and Brent Davies

are included above at ¶¶ 605-625, supra.

            647.       As early as February 2, 2007, RBS trader Hall also knew that Hayes

communicated with another Contributor Bank co-conspirator, JPMorgan, as part of Hayes’ effort

to manipulate Yen-LIBOR. In an electronic chat with Hall that day, Hayes stated that he had

kept three month Yen-LIBOR artificially high by “being mates with the cash desks, [JPMorgan]

and I always help each other out.”277

            648.       On numerous occasions in 2007, Hayes requested that Hall ask the RBS Yen-

LIBOR submitter to move RBS’ Yen-LIBOR submission in a particular direction or to

contribute a particular Yen-LIBOR submission in order to benefit Hayes’ trading positions. Hall

often agreed to make the request. On a few occasions, Hall similarly requested that Hayes ask

UBS’ Yen-LIBOR submitter to make false submissions that would benefit his trading positions,

and Hayes agreed to make the request.

            649.       For example, over a period of approximately ten days in February 2007, Hayes

and Hall discussed lowering one-month Yen-LIBOR to benefit their trading positions in addition

to coordinating requests in other tenors.278 See ¶ 607, supra. Later in the same chat, Hayes

noted that he “lost lots today…hence really need a hand on 1m lib…pls don’t forget.” Hall

responded, “ok i will try my best.” Hayes and Hall then discussed other topics, and at the end of




277
      Ex. B-1 at 22.
278
      Id. at 22-23.

                                                     248
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the conversation, Hayes reminded Hall of his request for a low one-month Yen-LIBOR

submission:

                      February 8, 2007:

                      UBS [Hayes]: oh well i am off home dreaming of a low 1m libor!

                      RBS [Hall]: good luck what sort fo level do you want

                      UBS [Hayes]: if you can get a .42 six that wd be great…fix…not six

                      RBS [Hall]: 0.42

                      UBS [Hayes]: thats the one!

                      RBS [Hall]: ok will speak to me guy in a sec279

            650.      Over the next several days, Hayes and Hall continued to discuss their mutual

interest in manipulating Yen-LIBOR artificially lower during February 2007.280 See ¶¶ 608-612,

supra.

            651.      Hayes’ requests to Hall for false Yen-LIBOR submissions continued throughout

2007. For example, in an electronic chat the two traders had the following exchange:

                      November 1, 2007:

                      UBS [Hayes]: hello mate, real big favour to ask…could you try for low 6m fix
                      today pls wld be most appreciated…thx mate

                      RBS [Hall]: will try my best dude how u??

                      UBS [Hall[: ok, trading like an idiot today, to be honest just want to take some
                      risk off my book before i come back in dec, have had ok year but management
                      still pushing me for more, have huge 6m fix so if you could help out today would
                      really really really appreciate it! how are you?281




279
      Id. at 23-24.
280
      Id. at 24-27.
281
      Id. at 29.

                                                     249
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            652.     During 2008, just as Hayes had done with Will Hall, Hayes asked RBS trader

Brent Davies to request that RBS’ Yen-LIBOR submitter contribute RBS’ Yen-LIBOR

submissions at levels that benefited Hayes’ trading positions. See ¶ 621, supra. In or around

July 2009, Davies left RBS and began working as a cash broker for Broker Defendant ICAP.282

While at ICAP, Davies maintained his relationship with RBS Yen-LIBOR submitter Paul White

and continued to assist Hayes with influencing RBS’ Yen-LIBOR submissions. See ¶¶ 623-625,

supra.

                   3. As Part of Their DOJ Deferred Prosecution Agreements, Rabobank and Lloyds
                      Each Admitted That They Had a Standing Agreement to Collude283

            653.     From as early as May 2006 and continuing at least through October 2008,

“Submitter-4,” Paul Robson, and a Lloyds Yen trader (“Trader-B”), Andy Doe, had an

agreement that they would, upon request, contribute Yen-LIBOR submissions to benefit each

other’s Yen-LIBOR-based derivatives positions, or the Yen-LIBOR-based derivatives positions

of other traders, whenever doing so did not adversely affect their own Yen-LIBOR-based

derivatives positions. As Doe explained in an email forwarding a Yen-LIBOR submission

request from Robson to the Yen-LIBOR submitters at Lloyds: “We usually try and help each

other out...but only if it suits.”

            654.     On June 27, 2006, for example, Rabobank’s Robson communicated with Lloyds’

Doe: “i need a high lmth today - so i will be setting an obseenly high lmth.” Doe responded:

“sure mate no worries...give us an idea where and i’ll try n oblige...;),” to which Robson replied:

“ok great - well at mo thinking of setting mine around 17.” Doe accommodated Robson’s

manipulation request, as Lloyds’ one-month submission for that day was 0.17.


282
      Id. at 31.
283
      Ex. D-2 at 22-24; Ex. H-2 at 2, 11-13.

                                                   250
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       655.    On July 6, 2006, Robson communicated with Doe: “for info i need a high lmth set

today - i will be setting something ridiclous like 28 or 29 for info.” That day, Rabobank’s one-

month Yen-LIBOR submission was 0.29, an increase of two basis points, making Rabobank’s

submission the highest submission on the Contributor Panel. Likewise, Lloyds’ one-month Yen-

LIBOR submission also increased by two basis points.

       656.    On occasions when Robson or Doe were unable to, or failed to, accommodate the

other’s Yen-LIBOR-based derivatives positions, an effort was sometimes made to explain the

attendant circumstances and to preserve their agreement. For example, on March 28, 2008,

Robson preemptively contacted Doe to explain that their submissions would be at odds that day:

“morning skip - [Takayuki Yagami] has asked me to set high libors today - gave me levels of lm

82, 3m 94....6m 1.02.” Doe replied: “sry mate cant oblige today...i need em lower!!!” Robson

then explained: “yes was told by [a third party]...just thought i’d let you know why mine will be

higher...and you don’t get cross with me.”

       657.    Similarly, on January 5, 2007, Doe explained how he had mistakenly failed to

accommodate a request for a false Yen-LIBOR submission from Robson: “just b4 you beat me

up....I was in meeting so didn’t do me libors today...thk they put .52 for 1s . . . .” Robson

answered: “hahah no thats fine - thats what i set too cheers skip.”

       658.    Robson and Doe’s agreement was also used to manipulate Yen-LIBOR to benefit

other traders at both Rabobank and Lloyds. For example, on May 10, 2006, Robson made a

manipulation request of Doe on behalf of Rabobank’s Yen trader, Paul Thompson, for a low six-

month submission: “re our conversation yesterday about libors...for info i’ve been asked by my

Singapore man to help him out with a silly low 6m fixing today.. ...just for your info.” Doe

responded: “Tell him I’ll do same if he gets me a job!!!!”



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           659.      When Robson testified during the Allen/Conti criminal trial, he explained how his

submission on May 10, 2006 impacted the six-month Yen-LIBOR fix. Robson testified that by

lowering his Yen-LIBOR submission for Paul Thompson, Rabobank dropped out of the Yen-

LIBOR fix for that date and affected the Yen-LIBOR averaging process by pushing another low

Yen-LIBOR submission into the calculation:

                     Government [Slipperly]: Because you favored lower you said you
                     had to go to 26 for [Paul Thompson] Thommo. Can you explain
                     what actually happened on that day?

                     Rabobank [Robson]: So on the left-hand side it shows what I should
                     have sent, which is .3. Right-hand side shows what I actually set,
                     which is .26, at the request of Paul Thompson. By setting .26 I have
                     dropped into the dropout zone at the bottom. However, if I had
                     actually set .30, like I was supposed to have, I would not have been
                     in the dropout zone. My number would have been taken into
                     consideration in the LIBOR calculation. However, as I have posted
                     .26 and into the dropout zone, I have then nudged another bank that
                     should have been discarded into the calculation itself; therefore,
                     affecting the actual averaging process.284

           660.      On July 27, 2006, Robson contacted Doe on behalf of Takayuki Yagami to

request a high one-month submission consistent with Rabobank’s submission: “[Takayuki

Yagami] wants a high lm fix from me today....am going to set .37.” Doe agreed: “that suits

mate,” “so happy to ablige.” Lloyds’ submission jumped from 0.35 to 0.37 between July 26,

2006, and July 27, 2006, a move that took Lloyds’ submission from being tied as the lowest Yen-

LIBOR submission to being tied for the second highest.

           661.      The following day, July 28, 2006, Robson and Yagami conferred internally

regarding their mutual desires for another high fixing. Robson stated to Yagami: “setting a high

lm again today - I need it!” to which Yagami responded: “yes pls mate...I need a higher lm libor



284
      United States v. Allen, No. 14-cr-272, Testimony of Trial at 349 (Oct. 19, 2015).

                                                           252
   Case 1:15-cv-05844-GBD-SLC Document 489 Filed 08/24/20 Page 269 of 429




too.” Within approximately 20 minutes, Robson contacted Doe at Lloyds and stated: “morning

skipper will be setting an obscenely high lm again today...poss 38 just fyi.” Doe responded,

“(K)...oh dear..my poor customers....hehehe!! manual input libors again today then!!!!” Both

banks’ submissions on July 28, 2006, moved up one basis point, from 0.37 to 0.38, a move

which again placed their submissions as the second-highest submissions on the Contributor Panel

that day.

       662.    As discussed supra at ¶ 419, on March 19, 2008, Robson and Doe agreed to

manipulate Rabobank’s and Lloyds’ six-month Yen-LIBOR submissions higher. On that date,

Doe submitted a six-month Yen-LIBOR of 1.15, while Rabobank’s submission went from being

tied as the tenth-highest submission on the Contributor Panel on the previous day to being the

second highest submission on the Contributor Panel.

       663.    Likewise, Doe had a July 19, 2007 telephone conversation with another trader at

Lloyds (“Trader-C”), in which Trader-C made a manipulation request of Doe for three-month

Yen-LIBOR and Doe offered to extend Trader-C’s manipulation request to Robson:

               Lloyds [Trader-C]: I need a little favor today for what it’s worth. I don’t know
               what you’ve been doing in 3 months, but we’ve got like a fixing of 83 billion on
               Monday, [unintelligible] Low threes, [unintelligible]

               Lloyds [Doe]: What you want to do, what you want me to put low libor in, is that
               what you are saying?

               Lloyds [Trader-C]: Yeah, low libor in the threes.

               Lloyds [Doe]: Yeah, ‘course I can, mate. No worries at all.

               Lloyds [Trader-C]: That would be nice.

               Lloyds [Doe]: I’ll have a word with [Robson] as well, he’ll drop it down for you
               as well I’m sure, [unintelligible] It needs more than one, mate, trust me.
               [unintelligible] Where do you want it? And I’ll just pitch it wherever you want,
               [unintelligible]



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                    Lloyds [Trader-C]: Um...roughly where it was yesterday, that’s fine. That makes
                    us ten under...well, just under ten under [unintelligible] we’ve been funding lately.

                    Lloyds [Doe]: [unintelligible] Yeah, sure.

           664.     A short time later, Doe followed through and contacted Robson with Trader-C’s

manipulation request: “mrng beautiful if u can would love a low fixing in 3s libor today....” Paul

Robson then asked: “ok skip - what u need?” to which Doe answered: “.77 if poss but just no

higher than yest!!” Robson agreed, stating: “no prob.” On that day, both Rabobank and Lloyds

submitted 0.77 for the three-month Yen-LIBOR, placing both banks’ submissions in a tie for the

second-lowest submission on the Contributor Panel.

           665.     Both Robson’s criminal guilty plea allocution and his testimony at the

Allen/Conti Trial confirm this standing relationship between Robson and Doe. When Robson

pled guilty in this District to conspiracy to commit wire fraud and bank fraud, he admitted that

when he received requests from Paul Thompson, Tetsuya Motomura, and Takayuki Yagami, he

“conveyed some of these requests [for favorable submissions] to a submitter at another bank and

requested that he match the way in which I made my submissions and I in turn reciprocated these

actions with him.”285 The “submitter at another bank” that Robson referred to is Lloyds’ Andy

Doe.

           666.     Further, during the Allen/Conti Trial, Robson discussed how he made an

arrangement with Doe to align their Yen-LIBOR submissions to benefit Lloyds’ and Rabobank’s

Yen-LIBOR-based derivatives positions:

                    Government [Slipperly]: What was one of the reasons you would interact with
                    [Andy Doe] in connection to LIBOR?

                    Rabobank [Robson]: We came to an arrangement where we would discuss our
                    LIBOR settings, trying to align with each other, alert each other if we were going

285
      United States v. Robson, No. 14-cr-272, ECF 21, 12 16:19 (Aug. 18, 2014).

                                                         254
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                      to be setting anything extreme, and a few occasions we made requests of each
                      other as well.286
                   4. Deutsche Bank Regularly Colluded with Contributor Bank Defendants


            667.      As shown above, from at least mid-2008 through mid-2010, Deutsche Bank

“Trader-11,” Guillaume Adolph, regularly conspired with UBS Senior Yen Trader Tom Hayes to

manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. See 567-574, supra.

Adolph and Hayes aligned their Yen-LIBOR-based derivatives poisons, sharing commercially-

sensitive proprietary information about Deutsche Bank’s and UBS’ trading books, so that both

banks would mutually benefit from their manipulative conduct. Adolph was Deutsche Bank’s

Yen-LIBOR submitter during 2008 and 2009 and directly manipulated Deutsche Bank’s Yen-

LIBOR submissions to accommodate requests for false submissions from Hayes and other

Contributor Bank Defendants. For example, Deutsche Bank admitted that it colluded with

several other Contributor Bank Defendants besides UBS.287 Direct evidence of Deutsche Bank’s

collusion with Citibank is shown below. See ¶¶ 700-702, infra. Plaintiffs reasonably believe

that evidence of Deutsche Banks’ collusive misconduct with the other Contributor Bank

Defendants will be revealed given an opportunity for discovery.

                   5. HSBC Joined the Conspiracy.

            668.      During the Class Period, UBS and HSBC routinely conspired to manipulate Yen-

LIBOR. See, e.g., Part IV.7.B, infra (alternating lower Yen-LIBOR submissions with UBS

during Operation 6M).




286
      Id. at 350 (Oct. 19, 2015).
287
      Ex. I-5 at 8.

                                                     255
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            669.       The Hayes Trial and Broker Trial, as well as R.P. Martin’s settlement

cooperation, provide numerous examples of HSBC conspiring with UBS to manipulate Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives. UBS and HSBC conspired to

manipulate through direct communication and through other co-conspirators, such as R.P. Martin

broker Terry Farr. Plaintiffs’ independent economic analysis, based on discovery produced to

date, including money market data reflecting “Yen” interbank offered rates, identifies hundreds

of instances consistent with false reporting manipulation by HSBC during the Class Period.

            670.       For example, on June 28, 2007, Hayes conspired with his stepbrother Peter

O’Leary, a trader at HSBC, to set “6m” Yen-LIBOR “high”:

                       June 28, 2007:

                       UBS [Hayes]: pls ask ur mate for high 6m mate…wd be really really grateful

                       HSBC [O’Leary]: will do, for the record he’s deff not my ‘mate’!...but I’ll bbg
                       [Bloomberg] him

                       UBS [Hayes]: Cheers288

            671.       O’Leary sent a Bloomberg message to HSBC’s Yen-LIBOR submitter, Chris

Porter, seeking a “high 6m yen libor” informing HSBC’s Yen-LIBOR request was coming

directly from O’Leary’s “brother”:

                       June 28, 2007:

                       HSBC [O’Leary]: high 6m yen libor would be gd according to my brother!

                       HSBC [Porter]: WILL DO MY BEST289

            672.       O’Leary confirmed to Hayes that his manipulative request for a high six-month

Yen-LIBOR had been sent successfully to HSBC’s Yen-LIBOR submitter:


288
      Ex. A-1 at 27.
289
      Id. at 28.

                                                      256
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               June 28, 2007:

               HSBC [O’Leary]: Sent darcy a mail so we’ll see!

               UBS [Hayes]: thx mate

       673.    UBS also conspired with HSBC through R.P. Martin’s Farr. Farr was good

friends with HSBC’s Yen-LIBOR submitter Luke Madden. Many of these manipulative requests

were made through unrecorded means, including personal cell phones and in-person meetings.

This allowed their knowingly unlawful manipulative conduct to be concealed. Examples of

manipulative requests between UBS and HSBC’s Madden through R.P. Martin appear below in

¶¶ 674-692.

       674.    On May 12, 2008, UBS’ Hayes and HSBC’s Madden conspired through R.P.

Martin’s Farr in getting “yen LIBORs lower.” HSBC lowered its one-month, three-month, and

six-month Yen-LIBOR submissions by two basis points or more on May 12, 2008.

       675.    In September 2008, UBS’ Hayes and HSBC’s Madden conspired through R.P.

Martin’s Farr, to lower their three-month Yen-LIBOR submissions to manipulate Yen-LIBOR-

based derivatives prices:

               September 9, 2008
               UBS [Hayes]: DUDE, great libors, keep it up, I owe you. hsbc, lloyds
               both 90 in 3m … maybe we can broke em down to 89? And mizuho

               R.P. Martin [Farr]: yeah think will be mate there aint any bids really now
               1, 3s so this will help the cause....

       676.    In furtherance of the conspiracy, HSBC lowered its one-month and three-month

Yen-LIBOR submissions on September 10, 2008. HSBC lowered its one-month Yen-LIBOR

from .65 to .63 and HSBC lowered its three-month Yen-LIBOR submission by two basis points,




                                               257
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from .90 to .88 on September 10, 2008. The one-month and three-month Yen-LIBOR fix

decreased.

         677.




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         679.




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         681.




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         682.




         683.




         684.




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         685.




         686.




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   687.




   688.




   689.




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         690.




         691.




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         693.



         694.




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         695.




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                6. Citibank Joined the Conspiracy to Manipulate Yen-LIBOR and the Prices of
                   Yen-LIBOR-based derivatives


         697.     During the Class Period, Citibank acted in furtherance of the conspiracy to

manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. In December 2009,

Citibank hired UBS trader Tom Hayes, offering him a $3.5 million “special cash award” to come

trade Yen-LIBOR-based derivatives for Citibank. Hayes was fired by Citibank ten months later

following an internal investigation by the bank. That investigation was triggered by a complaint

from a Citibank Yen-LIBOR submitter who had received a request from Hayes for a false Yen-

LIBOR submission.

         698.     During the time of his employment at Citibank, Hayes made attempts to influence

both Citibank’s Yen-LIBOR submissions, and the submissions of other Contributor Bank

Defendants.

         699.     Such interbank or external requests for false reports by Hayes took place with

many of the same traders, submitters, and brokers that Hayes colluded with during the time of his

employment at UBS.

         700.




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         701.




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         702.




                                       301



         703.




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         704.




                              302



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         706.




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         707.




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         708.




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         709.




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       710.




              7. Currently Known Long-Term Campaigns to Manipulate Yen-LIBOR and the
                 Prices of Yen-LIBOR-based Derivatives

       711.     Defendants also planned and agreed to manipulate Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives for extended periods of time by coordinating their manipulative

conduct for months if not longer. Based on information revealed in Defendants’ government

settlements, at the Hayes Trial, the Broker Trial, and documents produced by R.P. Martin,

Plaintiffs have identified at least three long-term manipulation campaigns: (1) coordinated

manipulation of three-month Yen LIBOR from January to May 2007; (2) the “Turn Campaign,”

the coordinated manipulation of six-month Yen-LIBOR artificially higher through the end of

June 2009; and (3) “Operation 6M,” the coordinated manipulation of six-month Yen-LIBOR

from July to September 2009. During each of these campaigns, Defendants conspired with each

other and used multiple means of manipulation to rig Yen-LIBOR and the prices of Yen-LIBOR-

based derivatives.

                      a. The January to May 2007 Campaign: Defendants Coordinated the
                         Manipulation of Three-Month Yen-LIBOR

       712.     Throughout 2007, Hayes made more than 450 documented requests to manipulate

Yen-LIBOR. However, Hayes had particularly large trading positions tied to three month Yen-

LIBOR that matured in January and February 2007 and in April and May 2007. As a result he

embarked on a coordinated campaign to manipulate three-month Yen-LIBOR for the benefit of

his Yen-LIBOR-based derivatives positions. For this purpose, Hayes made manipulative

requests to UBS’s Yen-LIBOR submitters, brokers and other Yen-LIBOR Contributor Banks.



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Hayes reciprocated the requests to other Yen-LIBOR Contributor Banks by offering to adjust

UBS’s Yen-LIBOR submissions to suit their Yen-LIBOR-based derivatives positions.

                                               i.   Phase One

            713.      Between January 17 and February 5, 2007, in the first phase of his campaign,

Hayes made at least 18 manipulative requests for false three-month Yen-LIBOR submissions to

UBS’ Yen-LIBOR submitters. He also made at least six requests for false one-month Yen-

LIBOR submissions and at least 10 requests for false six-month Yen-LIBOR submissions.

            714.      For example on January 24, 2007, Hayes contacted UBS manager Roger Darin,

who supervised and provided input to the UBS Trader-Submitter making UBS’ Yen-LIBOR

submissions and issued a “standing order” to keep three-month and six-month Yen-LIBOR

higher:

                      January 24, 2007:

                      UBS [Hayes]: try to keep 6m and 3m libors up.

                      UBS [Darin]: standing order, sir.

                      UBS [Hayes]: thx roger307

            715.      The same day, Trader-Submitter A, complained to Darin that Hayes and Trader B

wanted conflicting submissions. Trader-Submitter A complained:

                      January 24, 2007:

                      UBS [Trader-Submitter A]: As I said to you, I got to say this is majorly frustrating
                      that those guys can give us shit as much as they like...One guy [Hayes] wants us
                      to do one thing and [UBS Trader B] wants us to do another....

            716.      On February 5, 2007, Hayes contacted Roger Darin and Trader-Submitter A

together in an electronic chat:


307
      Ex. A-3 at 2.

                                                      272
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                       February 5, 2007

                       UBS [Hayes]: last 3m fix if you cld keep high (6m wd prefer high but not urgent)
                       and if we cld keep 1m low wd be appreciated, if doesn’t suit let me know and
                       maybe we can offset our fixes thx any help much appreciated.

           717.        Hayes’ offer to “offset our fixes” was an express recognition that his requests may

conflict with the trading positions of Darin. In order to safeguard against his requests from being

rejected, Hayes offered trades to Darin to align their interests and “offset” any losses that Darin

may incur by carrying out Hayes’ request.

           718.        Throughout this period, UBS’s submissions were consistently in the top quartile

of Contributor Panel Banks for three-month Yen-LIBOR except on one occasion when it fell into

the middle of the pack for one day on January 24, 2007.

           719.        As part of the same campaign, on at least four occasions in January 2007, Hayes

made requests to JPMorgan traders to persuade them to cause their bank’s submitters to increase

their three-month Yen-LIBOR submissions. In return, Hayes offered to ask UBS’s Trader-

Submitters to make Yen-LIBOR submissions to suit the positions of the JPMorgan traders:

                       January 19, 2007:

                       UBS [Hayes]:

                       To: Stewart Wiley [JPMorgan]

                       Hi stuart, bit cheeky but if you know who sets your libors and you aren’t the other
                       way I have some absolutely massive 3m fixes the next few days and would really
                       appreciate a high 3m fix, chase were one of the lowest y/day at .51. Anytimes I
                       can return the favour let me know as the guys here are pretty accommodating to
                       me.

                       Cheers tom308




308
      Ex. A-2 at 18.

                                                       273
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            720.   Phase one was successful as Hayes explained to RBS trader Will Hall in an

electronic chat that UBS and JPMorgan had manipulated three-month Yen-LIBOR artificially

higher by February 2007:

                   February 2, 2007:

                   UBS [Hayes]: 3m libor is too high cause I have kept it artificially high.

                   RBS [Hall]: how?

                   UBS [Hayes]: being mates with the cash desks, [Chase] and i always help each
                   other out too

                   RBS [Hall]: ok that’s useful to know so I assume come 1s4s it will be soft

                   UBS [Hayes]: well I am long libor in 1v4m so will try to keep high them but
                   basically is 1bp too high right now and come may I’ll get it 1bp too low net net a
                   2bp swing in the fix309

                                           ii.   Phase Two: lower three-month Yen-LIBOR
                                                 during April 2007 and May 2007

            721.   Between the end of March 2007 and the middle of May 2007, as part of the

second phase of the 2007 campaign, Hayes made at least twenty-seven requests for low three-

month Yen-LIBOR submissions. In all but one instance (when the request went unanswered),

UBS’ Trader-Submitters agreed to the requests. Over this period, Hayes also made at least

twenty-three manipulative requests for false six-month Yen-LIBOR submissions. In addition,

UBS manager Roger Darin solicited requests from Hayes on at least one occasion.

            722.   For example, on March 29, 2007, Hayes made a request for an artificially lower

three-month Yen-LIBOR submission to UBS manager Roger Darin:

                   March 29, 2007
                   UBS [Hayes]: …What are we going to set?



309
      Id. at 19.

                                                   274
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                       UBS [Darin]: too early to say yet ... prob[ably] .69 would be our unbiased
                       contribution.

                       UBS [Hayes]: ok wd really help if we could keep 3m low pls

                       UBS [Darin]: as i said before - i dun mind helping on your fixings, but i’m not
                       setting libor 7bp away from the truth i’ll get ubs banned if i do that, no interest in
                       that.

                       UBS [Hayes]: Ok obviously no int in that happening either, not asking for it to be
                       7bp from reality…anyway, any help appreciated.310

           723.        Darin complied with Hayes’ request on March 29, 2007, making an artificially

lower three-month Yen-LIBOR submission of 0.67.

           724.        In recognition that his request might conflict with Darin’s own trading positions,

on April 17, 2007, Hayes offered to trade a “fra” i.e., forward rate agreement, in order to

eliminate any conflict between their respective positions:

                       April 17, 2007:

                       UBS [Hayes]: ... really need low libors today in everything, but esp 6m, let me
                       know if that suits or if not can we do a fra? Thx.

                       UBS [Darin]: I’ve got nothing today, will keep ‘em low.311

           725.        On April 17, 2007, UBS’ one month submission fell 1.5 basis points to 0.625. The

three-month Yen-LIBOR submission remained unchanged from the previous day at 0.65. UBS’

six-month Yen-LIBOR submission fell two basis points to 0.68.

           726.        Darin and UBS’ Yen-LIBOR submitters followed almost every request Hayes

made during the Contributor Bank Defendants’ campaign to manipulate three-month Yen-

LIBOR artificially lower between March 2007 and May 2007. For example, of the twenty-seven

requests for false three-month Yen-LIBOR submissions Hayes made, twenty-six were


310
      Ex. A-1 at 11.
311
      Ex. A-3 at 16.

                                                        275
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affirmatively agreed to by UBS Trader-Submitters. As a result, thirty-four of the thirty-six three-

month Yen-LIBOR submissions UBS made during this period were lower than the published

rate, consistent with Hayes’ requests.

            727.   In the second phase of the 2007 campaign, Hayes made at least six requests to

traders and submitters at other banks, including on April 20, 2007, to RBS trader Will Hall:

                   April 20, 2007:

                   UBS [Hayes]: mate did you manage to spk to your cash boys?

                   RBS [Hall]: yes u owe me they are going 65 and 71

                   RBS [Hall]: thx mate yes I do . . . in fact I owe you big time!

                   UBS [Hayes]: Mate they set 64! . . . that’s beyond the call of duty!312

            728.   Hayes also requested false Yen-LIBOR submissions from HSBC, contacting his

stepbrother Peter O’Leary to request a low three-month Yen-LIBOR submission the same day:

                   April 20, 2007:

                   UBS [Hayes]: if you can go have a word with the guy…

                   HSBC [O’Leary]: Yeah I need to go down and see those guys and say hello so I
                   will do

                   UBS [Hayes]: Well when you do just say to them “oh do you fancy setting a low
                   Yen three month LIBOR?” Well no, just say “if you can set a low Yen three
                   month LIBOR you really help my brother out

            729.




312
      Id.

                                                   276
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                                                                              313



         730.




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                      b. Summer 2009: The “Turn Campaign” and “Operation 6M”

         731.   Throughout his tenure at UBS, Hayes routinely employed each of his means of

manipulation—internal requests, collusion with other panel banks, and coordination with

brokers. At times, he used all three means simultaneously for a longer period to achieve his

objective. This is illustrated by two long-term efforts from June 2009 through August 2009,

which were dubbed the “turn campaign” and “operation 6m.”

         732.   By June 2009, Hayes had amassed significant positions in Yen interest rate swaps

that were priced, benchmarked, and/or settled based on one-month, three-month, and six-month

Yen-LIBOR. Hayes’ positions became so large at various points that he was close to exceeding

internal risk limits imposed by UBS. The largest positions were tied to six-month Yen-LIBOR.

Rather than entering into legitimate hedging positions that would offset his risk, however, Hayes

made two coordinated and sustained pushes, to manipulate six-month Yen-LIBOR in ways that

would benefit his massive positions.




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                                       i.     The Turn Campaign

       733.   The Turn Campaign commenced in early June 2009. Hayes’ derivatives positions

tied to six-month Yen-LIBOR were due to reset or mature on June 29, 2009, and would benefit

from a high six-month Yen-LIBOR. A single basis point move in Yen-LIBOR was worth

approximately $2 million to UBS.

       734.   Hayes coordinated with the UBS Yen-LIBOR submitter Rolf Keiser, Deutsche

Bank Yen-LIBOR submitter Guillaume Adolph, and brokers at ICAP, R.P. Martin, and Tullett

Prebon to try to keep six-month Yen-LIBOR artificially high. For example, Hayes explained to

Tullett Prebon’s Noel Cryan how they should accomplish his objective in late May 2009:

              May 28, 2009:

              UBS [Hayes]: At the end of June, the six-month fix will be in July and it will go
              over the year-end turn

              Tullett Prebon [Cryan]: Yeah that’s right

              UBS [Hayes]: Now it’s vital for me that that goes up a lot when that happens

              Tullett Prebon [Cryan]: Right, gotcha

              UBS [Hayes]: Last year it went up about three basis points and I need the same to
              happen again this year

              Tullett Prebon [Cryan]: So basically talk the turn up

              UBS [Hayes]: Yeah, so basically start talking – from the middle of – like when
              you start getting towards the end of June, start talking it up, put it in people’s
              minds, make sure they’re aware that sixes is going over the turn so on the day it
              happens, they actually move it. Because if they don’t move it then, it aint going to
              move

              Tullett Prebon [Cryan]: No, gotcha absolutely gotcha

              UBS [Hayes]: make some efforts on the LIBORs particularly when it goes up the
              turn, right.

              Tullett Prebon [Cryan]: Yeah.


                                               278
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                UBS [Hayes]: If you get that up, when it crosses the turn, if you get that up, I will
                fucking reward you

                Tullett Prebon [Cryan]: Right, no worries, I’ll go and speak to him again

                UBS [Hayes]: Between you and me I’ve got two and a half million bucks pointing
                at it, so if it goes up, I’m marking it at one a half points then, if it goes up three
                points then obviously I make an extra $4 million or something so

                Tullett Prebon [Cryan]: You’re going to hear nothing about the six-month libor
                going up over the turn then for the next-

                UBS [Hayes]: Yeah yeah

                Tullett Prebon [Cryan]: weeks

                UBS [Hayes]: Yeah, it’s not really so much from now, but the next month it has
                to be one of those things

                Tullett Prebon [Cryan]: Yeah

                UBS [Hayes]: Any favours they can call in whatever, you know, take basically
                you take the guys out for like a strip club or whatever the night before

                Tullett Prebon [Cryan]: Yeah, done. I’ll go and make sure we’re sorted

         735.   Hayes quantified and emphasized the potential impact on UBS’ derivatives

trading positions for his co-conspirators. He encouraged the brokers to push submitters at other

panel banks for high six-month Yen-LIBOR submissions. At times, some of the brokers agreed

to enforce the plan by confronting other banks that acted against his interests.

         736.




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                       June 12, 2009:

                       UBS [Hayes]: i have such big positions on monday i have 1.5m usd a bp 6m fix
                       will ask [Guillaume Adolph] for a one day favour we will move up for one day
                       too

                       ICAP [Read]: i know mate, i’m trying to keep on top of it, if it moves out of line
                       for 10 sees you know i’ll see it and pull it back.316

                       June 16, 2009:

                       ICAP [Read]: Good morning mate…the “turn campaign” beings today. Will
                       put an email together at lunch time to [Colin Goodman]

                       UBS [Hayes]: thx317




                                                             318




316
      Ex. A-2 at 30.
317
      Id.
318



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                    June 24, 2009:

                    UBS [Hayes]: 6m is huge for me on monday …

                    ICAP [Read]: i have been putting arbi pressure on [Colin Goodman] and [Danny
                    Wilkinson] ... would help your cause to also speak to [Danny] on friday
                    regarding the turn squeeze and its importance ... i will remind you.

                    UBS [Hayes]: …thanks i will get [Terry Farr] on the case too remind me to get in
                    touch with [Guillaume at Deutsche Bank].

                    ICAP [Read]: yeah need to pull out the big guns for this one, don’t let [Adolph]
                    forget either. :-)es319

                    June 25, 2009:

                    UBS [Hayes]: can you put 6m up on monday when we go through the turn just for
                    a week or so? ... you did say you’d try to help me out!”

                    Deutsche Bank [Adolph]: yes have eno fixing untill 06/07 so i can

                    UBS [Hayes]: thanks mate320

                    June 26, 2009:

                    UBS [Hayes]: i need you to move 6m up for 2 weeks mate ... but please move 6m
                    up on monday.

                    Deutsche Bank [Adolph]: understood

                    UBS [Hayes]: thx i need you in the panel on Monday

                    Deutsche Bank [Adolph]: ok enough321

            737.    On the day of the fixing, June 29, 2009, Hayes made one final push to manipulate

higher the six-month Yen-LIBOR fixing. He confirmed his expectations of a high submission

with Deutsche Bank’s Yen-LIBOR submitter Guillaume Adolph and UBS’ trader-submitter Rolf



319
      Ex. A-2 at 30-31.
320
      Id. at 31.
321
      Id.

                                                   282
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Keiser, emphasizing that UBS stood to make “2m usda bp fix,” i.e., $2 million per basis point

that six-month Yen-LIBOR was manipulated:

                      June 29, 2009:

                      UBS [Hayes]: hi .... 6m cash crosses the year end today we have huge fixings

                      UBS [Keiser]: indeed

                      UBS [Hayes]: can we set 6m libor high pls? ...

                      UBS [Keiser]: we dont have any fix at mom

                      UBS [Hayes]: can we go 74 or 75? we have 2m usda bp fix for the next week i
                      think a lot of people are going to move it up today well i hope

                      UBS [Keiser]: yes sure will. i go with 0. 75 for you.322

                      June 29, 2009:

                      UBS [Hayes]: pls remember 6m today ...

                      Deutsche Bank [Adolph]: yah no worries ... 6m libor today good contrib?

                      UBS [Hayes]: high pls as high as you can manage we are going 75 anyway
                      whatever you can do thx.

                      Deutsche Bank [Adolph]: sure np323

            738.




322
      Id. at 31-32.
323
      Id. at 32.

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                                                                  324




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                                             325



         739.   The Turn Campaign was successful. On June 29, 2009, UBS increased its six-

month Yen-LIBOR submission three basis points from 0.72 to 0.75 and Deutsche Bank

increased its submission by six basis points, from 0.65 to 0.71. In addition, five other

Contributor Bank Defendants and co-conspirators, all of which Hayes and Terry Farr discussed

in the conversation above also increased their six month Yen-LIBOR submissions:




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                        Comparison of Six-Month Yen-LIBOR Submissions




       740.   As a result of Defendants’ and co-conspirators’ concerted manipulation, six-

month Yen-LIBOR increased by three quarters of a basis point on June 29, 2009. By Hayes’

own calculation, UBS made $1.75 million in profit as a result of Defendants’ and co-

conspirators’ manipulative conduct on this day.

                                      ii.   Operation 6M

       741.    During the Turn Campaign, Hayes began his second effort to push six month

Yen-LIBOR high after June 2009, in an effort he dubbed, “Operation 6M.” Operation 6M was

Hayes’ campaign to manipulate the six-month Yen-LIBOR fixing upward over several weeks

through July, and then to cause the six-month Yen-LIBOR fixing to drop dramatically in mid-

August.

       742.   The motivation for this effort was clear. If Hayes was successful in causing an

increase to the six-month Yen-LIBOR between the end of July and then a drop in the fixing in

mid-August, the UBS Yen Desk stood to gain hundreds of millions of dollars.

       743.   As with the Turn Campaign, Hayes’ key contacts at certain brokerages and his

friend, Deutsche Bank Yen-LIBOR submitter Guillaume Adolph, were critical to his plan.

Hayes emphasized that he was trying to benefit his Yen-LIBOR-based derivatives positions

while simultaneously managing the massive amount of risk created by his positions, something

UBS was very concerned about.




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           744.        The following are examples of the communications surrounding the beginning of

Operation 6m in late June and July.

                       June 24, 2009: (Emphasis added.)

                       ICAP [Read]: Morning [Tom], Rbs must have had some fixings, not helping

                       UBS [Hayes]: he on drugs for once i just want them static and they are falling! ...
                       pls try to keep ly low on screen mate yeah i just need thgis 6m gap for 2weeks

                       ICAP [Read]: will do my best mate

                       UBS [Hayes]: then they can all go down hopefully tibor will stay high
                       operation 6m.

                       ICAP [Read]: ;-)326

                       June 26, 2009:

                       UBS [Hayes]: basically I will help you in 2 weeks time…I am the same way

                       Deutsche Bank [Adolph]: Perfect

                       UBS [Hayes]: But for the next 2weeks i really really need you to put 6m higher

                       Deutsche Bank [Adolph]: what is the date just that i know?

                       UBS [Hayes]: july 14

                       Deutsche Bank [Adolph]: Ok having a look

                       UBS [Hayes]: after that i need 6m to crash off like you.

                       Deutsche Bank [Adolph]: that is no problem for me, i do nothing with the cash
                       guys until then

                       UBS [Hayes]: I need you to move 6m up for 2 weeks mate

                       Deutsche Bank [Adolph]: But after urs please

                       ***

                       UBS [Hayes]: i will then get our 6m way down after july 18th it is



326
      Ex. C-1 at 31.

                                                       287
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                       Deutsche Bank [Adolph]: ok

                       UBS [Hayes]: and will try to get everyone else down too

                       Deutsche Bank [Adolph]: when is the lest fixing date? ... the last july fixing
                       date??”

                       UBS [Hayes]: 18th ... then i a need low low low ... sry 17th ... i happy for all
                       libors off after that date ... only reason ion bid is i have huge huge position that
                       way so am happy for to come lower after the 17th”

                       Deutsche Bank [Adolph]: ok enough enough 327

                       July 1, 2009:

                       UBS [Hayes]: hi . . . . are we planning on moving libors or just going unch?

                       UBS [Keiser]: i would have gone slightly lower in 6s but if you wish i can leave it
                       unchanged

                       UBS [Hayes]: thx really need it unch for next 2wk then low as you want

                       UBS [Keiser]: ok 0.71 unc

                       UBS [Hayes]: ta.328




327
      Ex. I-2 at 28.
328
      Ex. A-2 at 34.

                                                        288
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                                                                                                   329


                       July 15, 2009:

                       Tullett Prebon [Cryan]: ha ha ok mate i can see you as captain chaos cash still
                       looking a touch easier but nothing much going on arbi are starting to produce bids
                       so hopefully the offers may go back

                       UBS [Hayes]: ok i only need 6m high this month then you MUST get it lower a
                       lot lower pls keep 3m and 1m unch.”

                       Tullett Prebon [Cryan]: ok330

           745.        Avoiding Conflict with Guillaume Adolph’s Interests. During Operation 6m

(and at other times), Hayes offered to enter into trades with Deutsche Bank’s Yen-LIBOR

submitter Guillaume Adolph to ensure that their respective interests aligned and Adolph would

not have a conflict that prevented him from helping Hayes with manipulating Yen-LIBOR.

Hayes offered similar offsetting trades to UBS Trader-Submitters when their positions stood to

be negatively impacted by a manipulation that favored Hayes. See ¶¶ 716-717, supra. For

example, in the chat below, Hayes urged Adolph: “tell me what you need to see. i have a vested

interest in making sure our fixings match.”

                       June 26, 2009:

                       Deutsche Bank [Adolph]: on my fra switch it is your best?

                       UBS [Hayes]: tell me what you need to see i have a vested interest in
                       making sure our fixings match just don’t rip me off too much i had those
                       round mid i got to go soon

                       Deutsche Bank [Adolph]: ok -1.5 and -1 ami asking too much?




329

330
      Ex. A-2 at 34.

                                                       289
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                       UBS [Hayes]: thats fine331

            746.       As he was so concerned that Deutsche Bank not make a competing submission,

Hayes offered such trades even at prices that were not beneficial to him to entice Adolph, and the

latter often accepted. For example on July 21, 2009, Hayes outlined his plan, the size of his

positions, the need to reduce his risk and how Adolph could benefit from an attractive trade:

                       July 21, 2009

                       UBS [Hayes]: i been asked to reduce risk a bit

                       Deutsche Bank [Adolph]: ok

                       UBS [Hayes]: i still going for lower 6m next month but position is huge if you
                       want to do some 1y 1/t 1 wid help me on risk limits obviously i am still very
                       much paid and need a low 6m from next week

                       Deutsche Bank [Adolph]: me paying 1 in 1 y?

                       UBS [Hayes]: y i don’t want to do it but risk are going nuts position is v v big i
                       told them already 6m will be lower next month problem is all my 6m fixes this
                       month rolled and i am left too 1 way completely up to you if not i’ll give some 3m
                       1/t.

                       Deutsche Bank [Adolph]: does not suit me taht much today need high 6m libor
                       today

                       UBS [Hayes]: same how about we do Ov6 spot as well? so no fix today i just
                       need to keep the risk guys at bay 200b ly will bring me in limit i will pay you
                       .665 for Ov6 today in same amount to knock the fix out if you need I think it
                       does nothing today the fix that is wid be a massive favour ... if you do 200b 1y
                       then what net fix are you left with? i will hedge the balance so you are neutral

                       Deutsche Bank [Adolph]: can i do 200 and lower my 6m quote? oor we cross
                       fra up to you mate”

                       UBS [Hayes]: rahter just cross the fra pls

                       Deutsche Bank [Adolph]: that is fair ok we done



331
      Ex. I-2 at 28.

                                                       290
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                       UBS [Hayes]: thanks332

            747.       The Last Phase of Operation 6M. As Operation 6M moved from the end of

July 2009, Hayes shifted his efforts from increasing the six-month Yen-LIBOR higher, to

ensuring that the fixing would be lower, financially benefiting his Yen-LIBOR-based derivatives

positions that were due to reset in mid-August 2009. Hayes coordinated artificially lower six-

month Yen-LIBOR submissions at least two weeks in advance with UBS, Deutsche Bank, and

HSBC, as indicated in the message to Deutsche Bank Yen-LIBOR submitter Guillaume Adolph

below:

                       July 14, 2009:

                       UBS [Hayes]: just fyg [for your guide] after eom [end of month] will get 6m
                       down a lot. we will move from top to bottom and so will [HSBC]333

            748.       ICAP’s Darrell Read advised Hayes to be careful with his efforts and to avoid

changes in the rate that were too obvious. Hayes assured Read not to worry, and explained that

he would stagger false submissions with HSBC and Deutsche Bank to avoid detection:

                       July 22, 2009

                       UBS [Hayes]: 11th aug is the big date i still have lots of 6m fixings till the l0th

                       ICAP [Read]: christ keeps getting extended started off as 14th of this month :-)

                       UBS [Hayes]: i know

                       ICAP [Read]: if you drop your 6m dramatically on the 11th mate, it will look
                       v fishy, especially if HSBC and Deutsche Bank go with you I’d be v careful how
                       you play it, there might be cause for a drop as you cross into a new month but a
                       couple of weeks in might get people questioning you

                       UBS [Hayes]: don’t worry will stagger the drops ie 5bp then 5bp



332
      Ex. A-2 at 35.
333
      Id. at 34.

                                                        291
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                       ICAP [Read]: ok mate, don’t want you getting into sh it

                       UBS [Hayes]: us then [Deutsche Bank] then [HSBC] then us then [Deutsche
                       Bank] then [HSBC]

                       ICAP [Read]: great the plan is hatched and sounds sensible334

            749.       Hayes discussed the same plan to stagger drops in six-month Yen-LIBOR

submissions with with Tullett Prebon broker Noel Cryan:

                       July 27, 2009

                       UBS [Hayes] speaking to Tullett Prebon [Cryan]: just trying on their August 11th.
                       All right, I really need a big push. I don’t want threes and ones to move. I just
                       want sixes. On the, August 11th I need to start going down. What will help is we’ll
                       move, HSBC will move, West LB will move a big push

            750.       In July 2009, the Yen-LIBOR submissions of UBS and Deutsche Bank both

moved higher consistent with Operation 6M. When Hayes and Adolph were not in the office,

they communicated with their BlackBerry mobile phones to coordinate Operation 6M. In the

following electronic chat, Hayes and Adolph ensured that Operation 6M would continue when

Hayes was out of UBS’s Tokyo office for the month of August:

                       July 23, 2009:

                       UBS [Hayes]: ok we need to coordinate the 6m drop when do you need it falling?

                       Deutsche Bank [Adolph]: whenever

                       UBS [Hayes]: ok we need aug 11th you are back by then? if you need earlier let
                       me know i am going to be away the whole of august almost if you need anything i
                       am in london and zurich offices oon blackberry _____@ubs.com will be pushinh
                       lower 6m from aug 11th

                       Deutsche Bank [Adolph]: back on the 10th in ldn335

                       UBS [Hayes]: ok well lets sort 6m out from 11th will make a massive push


334
      Id. at 36.
335
      Ex. I-2 at 29.

                                                       292
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         751.     Adolph followed through on his promise to Hayes, lowering Deutsche Bank’s six-

month Yen-LIBOR submissions drastically. He also informed other co-conspirators, telling

Trader K-2 from Firm K that “between u and me 6m libor is going to go very low in sep” and

“[Hayes] will drop and teh others when back from holiday.”

         752.     In August 2009, the submissions of all three banks, UBS, Deutsche Bank, and

HSBC all moved lower consistent with the plan. By August 11, 2009, the day of Hayes’ desired

drop in the fixing, the submissions of all three banks dropped, such that HSBC and Deutsche

Bank were in the bottom quartile of the submitting banks while UBS was included in the fix

calculation. Specifically, from late July 2009 through mid-August 2009, UBS’ submission fell l2

basis points, HSBC’s and Deutsche Bank’s submissions fell by 14 and 15 basis points,

respectively. In contrast, the largest change in any other submitting bank’s submission during

this time was a drop of eight basis points and the average change among the other thirteen banks

was a decrease of about four basis points.

                8. Société Générale

         753.



         754.




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         755.




                                     337



         756.




                    338




                9. Bank of America

         757.




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       758.




       J.   The Contributor Bank and Broker Defendants Knew That Other Contributor Bank
            Defendants Were Manipulating Yen-LIBOR and the Prices of Yen-LIBOR-based
            Derivatives.

       759.    As early as February 2, 2007, RBS “Trader-3,” Will Hall, knew that Tom Hayes

communicated with another Contributor Panel “Bank-A,” JPMorgan, as part of Hayes’ efforts to

manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. As a result of UBS’

collusion with unidentified JPMorgan, RBS also knew that UBS had kept three-month Yen-

LIBOR “artificially high.” This provided RBS “useful” insight into the artificial direction of the

manipulation and thus a key informational advantage, i.e., knowing the “artificial[]” trend in the

three-month Yen-LIBOR, over other Yen-LIBOR-based derivatives market participants.

       760.    RBS Yen traders also knew that they were engaging in wrongful conduct and that

Yen-LIBOR was being manipulated to benefit Yen-LIBOR-based derivative positions

throughout the market. As the Senior Yen Trader Jimmy Tan, Yen Manager, and other Yen

traders coordinated their requests for beneficial Yen-LIBOR submissions with the Primary

Submitter Paul White, they discussed at times how the Yen-LIBOR panel was a “cartel” in

which rates were being “manipulated.” RBS traders, including Tan, also discussed how Hayes

was manipulating Yen-LIBOR, including by coordinating with the “cash guys” at other

Contributor Bank Defendants. Examples of such communications include the following:




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               August 20, 2007:

               Yen Manager: it seems to be [UBS] is pushing for these [Yen] libors
               partnering up with number of cash guys as well [ ... ]

               Yen Trader 2: yeah [UBS Yen Trader] all over it

               August 20, 2007:

               RBS [Tan]: this libor setting is getting nutss [ ... ]

               Bank A Trader: im puzzled as to why 3m libor fixing not coming off after
               the FED action [ ... ]

               Bank B Trader: [UBS] is lending dolls through my currencies in 3 month
               do usee him doing the same in urs [ ... ]

               RBS [Tan]: yes[,] he always led usd in my mkt[,] the Yen-LIBOR is a
               cartel now [ ... ]

               RBS [Tan]: its just amazing how libor fixing can make you that much
               money [ ... ]

               RBS [Tan]: [ ... ] its a cartel now in london[.] they smack all the 1yr irs ..
               and fix it very high or low [.] they smack all the 1yr irs .. and fix it very
               high or low

       761.    Former Rabobank traders and submitters also recognized that Yen-LIBOR was

“definite[ly] manipulate[ed]” throughout the market. For example, on July 7, 2009, Rabobank

“Trader-5,” Takayuki Yagami, shared his impressions with “Submitter-4,” Paul Robson, that

“some ppl are talking with each other” to artificially lower the three-month Yen-LIBOR. Not

surprised by Yagami’s impressions, Robson commented that Yen-LIBOR was manipulated, and

in fact “always” is manipulated. Robson continued to explain that he too “always used to ask if

anyone needed a favour and vise versa,” recognizing that although this was “unethical” it

“always helpd to have fireind [friend] in [the] mrkt.”

       762.




                                                 296
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                       39


         K. As Sophisticated Market Participants, the Contributor Bank and Broker Defendants
            Knew Their Manipulation of Yen-LIBOR and the Prices of Yen-LIBOR-based
            Derivatives Would Have (And Did Have) Adverse Financial Consequences on Other
            Yen-LIBOR-based derivatives Market Participants

         763.   Defendants were far from naïve in Yen-LIBOR-based derivatives trading and

were well aware of the basic features of Yen-LIBOR-based derivatives, including Yen-LIBOR

based interest rate swaps and foreign exchange forwards. See e.g., ¶ 267, supra (CFTC finding

that RBS and Rabobank traders knew interest rate swaps and foreign exchange forwards were

priced based on Yen-LIBOR and traded those Yen-LIBOR-based derivatives for profit).


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Accordingly, Defendants understood that to the extent they increased their profits or decreased

their losses in certain transactions from their manipulation of Yen-LIBOR, other market

participants would suffer corresponding losses.

           764.     For example, from as early as May 2006 and continuing at least through October

2008, Rabobank Yen-LIBOR submitter Paul Robson and Lloyds trader Andy Doe had an

agreement that they would, upon request, contribute Yen-LIBOR submissions to benefit each

other’s Yen-LIBOR-based derivatives positions, or the Yen-LIBOR-based derivatives positions

of other traders. See ¶¶ 653-666, supra. Communications between Doe and Robson demonstrate

that they knew their manipulative conduct, which financially benefited Rabobank and Lloyds

Yen-LIBOR-based derivatives positions, was harming their “poor customers” who suffered a

corresponding monetary loss. See ¶ 661, supra.

           765.     Robson and Rabobank trader Takayuki Yagami further admitted that they

understood that American financial institutions would be negatively impacted by their Yen-

LIBOR manipulation.340 For example, during his plea allocution, where he admitted to

conspiracy to commit wire fraud and bank fraud charges, Robson explained:

                    I tailored the yen LIBOR submissions I made on behalf of
                    Rabobank in order to profit the bank’s position . . . I understood
                    the parties taking opposite trading positions could be negatively
                    affected and I knew that some of these parties that could be
                    affected were American financial institution…When I made these
                    submissions designed to favor the bank’s trading positions, I knew
                    that it was wrong to do so.341

           766.     Similarly, at Deutsche Bank, despite knowing what they were doing was illegal,

its employees continued to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based


340
  United States v. Robson, No. 14-cr-272, ECF No. 21 (Sept. 2, 2014); United States v. Yagami, No. 14-cr-272,
ECF No. 16 (Jul. 1, 2014).
341
      United States v. Robson, No. 14-cr-272, ECF No. 21 at 12-13 (Sept. 2, 2014).

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derivatives. In a 2008 phone call, Adolph told an unknown caller (“UC”) that Hayes and UBS

were manipulating Yen-LIBOR lower, along with the help of at least eight other banks. Because

Hayes was coming up on a large reset date for his Yen-LIBOR-based derivatives positions, he

told Adolph that each decrease in a basis point would be worth approximately 75 million Yen

(roughly $750,000) for his trading book. Upon telling the UC this information, Adolph

confirmed that these actions were illegal, stating:

                 Deutsche Bank [Adolph]: Um…it was not…not that big movement in the
                 cash and [UBS] is manipulating it at the moment to get it very low.

                 UC: You are telling me that the [UBS] is manipulating right?

                 Deutsche Bank [Adolph]: Yeah. I mean yesterday [Hayes] came to me, ok,
                 and said “hello mate,” “hello,” “I’ve got a big reset, that was yesterday,
                 and about 750, uh…75 million yen dv01,342 can you put it low?”

                 ***
                 Deutsche Bank [Adolph]: And [Hayes] said, ‘can you put it low?’ I said,
                 ‘yeah, ok.’ At the end…at the end of the day, [laughter] it went down
                 [unintelligible] bps when I think cash is better bid.

                 UC: Fucking hell.

                 Deutsche Bank [Adolph]: And he’s doing that with the 16 banks
                 [laughter].

                 UC: That means [UBS] is asking 16 banks to…to…to ask you guys to put
                 it high.

                 Deutsche Bank [Adolph]: Maybe not…not 16 banks, but you know, if he
                 knows eight banks, that’s enough.

                 ***

                 Deutsche Bank [Adolph]: Yeah this is why the LIBOR came off
                 yesterday. For no other reason.




342
  This refers to Hayes’ “delta,” or the impact on Hayes’ portfolio resulting from a one basis point change in Yen-
LIBOR.

                                                       299
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                ***

                Deutsche Bank [Adolph]: Yeah, yeah, I know, but…because it was
                manipulated by Hayes

                UC: Fucking hell, manipulating, Wow!

                ***

                UC: Is that...is that legal or illegal?

                Deutsche Bank [Adolph]: No, that’s illegal. No, that’s illegal….

       767.     Again, in a September 30, 2008 electronic chat, Adolph acknowledged that

manipulating Yen-LIBOR was wrong. Adolph told Deutsche Bank Submitter-8 that ten days

prior Hayes, “call[ed] [Adolph] directly to beg [him] to put a low 6m libor.” Submitter-8

replied, “you’re kidding me??????” and stated “that’s not very kosher . . . .” Adolph replied,

“no, not really.” Despite knowing that manipulating Yen-LIBOR was illegal, Adolph continued

to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives products through at

least 2010.

       L. Defendants Concocted False Stories They Could Give in the Event Someone
          Questioned Their Manipulation of Yen-LIBOR and the Prices of Yen-LIBOR-based
          derivatives.

              1. RBS

       768.     The Senior RBS Yen Trader Jimmy Tan and other RBS Yen traders knew that

they could impact the fixing of the daily Yen-LIBOR and were aware that RBS’ Yen-LIBOR

submissions could be questioned by the BBA. In the following example, Tan boasted about how

RBS succeeded in moving six-month Yen-LIBOR and then discussed what false story they could

tell to the BBA to justify the low submission if necessary:

                April 2, 2008:
                RBS [Tan]: nice [Yen] libor[.] our 6m fixing move the entire fixing[.] hahahah


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                       RBS [Danziger]: the BBA called to ask me about that today
                       RBS [Tan]: really?
                       RBS [Danziger]: yes –
                       RBS [Tan]: they complain?
                       RBS [Danziger]: asked to speak to me about the low 6m rate
                       RBS [Danziger]: no[,] just to make sure i was happy with it [ ... ]
                       RBS [Tan]: i think some banks must have complain
                       RBS [Danziger]: he called b4 any of the other banks saw our data[,] at about
                       11.15[,] to check it was ok
                       RBS [Tan]: oh then its fine
                       RBS [Danziger]: before publishing
                       RBS [Tan]: i am sure some HF [hedge fund] will complain tomorrow .. tough
                       RBS [Danziger]: tough
                       RBS [Tan]: we will say we lower every tenor .. 1m 3m 6m .. we feel rbs name has
                       very good credit .. no problem getting money in
                       RBS [Tan]: good way to boost share price!
                       RBS [Tan]: our 3m libor is at top end ... 6m at bottom end ... just the ideal level!
                   2. Deutsche Bank


            769.       To conceal its wrongdoing, Deutsche Bank repeatedly lied to the FCA during its

probe into Deutsche Bank’s LIBOR-related misconduct. The FCA’s Final Notice against

Deutsche Bank details how the bank attempted to hide the Federal Financial Supervisory

Authority for Germany’s (“BaFin”) findings from their LIBOR probe. In 2012, BaFin reviewed

Deutsche Bank’s LIBOR misconduct, producing a report (“The Report”) to the bank in August

of 2013.343 Deutsche Bank was unhappy with The Report, which heavily criticized the bank.344


343
      Ex. I-3 at 26.
344
      Id at 27.

                                                        301
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            770.      In the course of its investigation, the FCA requested that Deutsche Bank provide

it a copy of The Report.345 Deutsche Bank’s Senior Management, concerned about disclosing

both The Report and BaFin’s findings, sought the advice of counsel.346 Deutsche Bank’s lawyers

informed them that a failure to disclose The Report would constitute a breach of FCA Principle

11, which broadly covers providing false, misleading or inaccurate information to the FCA,

including during an investigation.347

            771.      Disregarding this advice, Deutsche Bank went on a campaign to suppress The

Report. In September 2013, Deutsche Bank’s Senior Manager F met with BaFin and expressed

concern regarding disclosure of The Report. The BaFin took no position, meaning Deutsche

Bank was free to provide the report to FCA.

            772.      After the BaFin meeting, on September 6, 2013, Senior Manager F talked to

Senior Manager G via telephone. Together, Senior Managers F and G scripted a fabricated

response, which they agreed to follow if the FCA asked Deutsche Bank to produce The Report in

the future. The script read as follows:

                      . . . the BaFin has explicitly stated to DB that it would not approve
                      of DB sharing either copies or details of the contents of the
                      aforementioned documents [including the report] with foreign
                      regulators at this stage.348

            773.      To provide further cover for Deutsche Bank’s actions and support the scripted

response above, Senior Manager F met with Legal Manager A later that same day to draft an

“attendance note” about the BaFin meeting. The note was intentionally ambiguous and written

so that it could be interpreted to state that the BaFin expressly prohibited Deutsche Bank from


345
      Id.
346
      Id. at 26.
347
      Id. at 27.
348
      Id. (alteration in original).

                                                      302
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disclosing The Report to the FCA. Conveniently, this ambiguous document was the only record

of the September BaFin meeting.

            774.      All the while, Deutsche Bank’s management knew that disclosing The Report was

not prohibited by BaFin. For example, in a September 10 email, a Deutsche Bank Legal Team

member wrote that “subject to the [Management] Board agreeing, we would likely inform the

other regulators about receipt of the [Report and the other materials] but only be prepared to

share the [Report].”349 This statement was also reflected in papers sent to the management board

during a meeting which stated that disclosure of The Report “may be acceptable for the BaFin.”

            775.      Despite being told by its legal department to disclose The Report to the FCA,

Deutsche Bank’s management deliberately chose to conceal BaFin’s criticisms against the bank.

On September 13, 2013, Deutsche Bank conveyed the previously-scripted statement to the

FCA’s Enforcement and Financial Crime Division. On September 16, Senior Manager E told the

FCA’s Supervision Department the same message during a phone call. Deutsche Bank also

followed-up via email on September 16, stating to the FCA:

                      DB received several documents from the BaFin in August 2013
                      including [the Report]… The BaFin has indicated to DB that it
                      would not approve of DB sharing either copies or details of the
                      contents of the documents referred to above with foreign
                      regulators at this stage. In these circumstances, the Bank feels that
                      it has no option but to defer to the BaFin’s wishes. As discussed, if
                      you would like further information, we would therefore ask that you
                      speak directly with your contacts at the BaFin.350

            776.      Collectively, the information Deutsche Bank told the FCA was inaccurate,

misleading, and intentionally crafted to keep the FCA from discovering the criticisms of the

bank, including The Report, that senior management considered unflattering.


349
      Id. at 28 (alterations in original).
350
      Id. (emphasis added).

                                                      303
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            777.       On January 30, 2014, the FCA began to investigate Deutsche Bank for its failure

to disclose The Report. Deutsche Bank continued to make misrepresentations to the FCA to

cover-up its LIBOR-related misconduct. Deutsche Bank Senior Manager H represented to the

FCA that the attendance note of the September meeting with BaFin substantiated the bank’s

position that their non-disclosure was reliable and appropriate. Senior Manager H later

determined that the attendance note was misleading, but did not contact the FCA to correct his

misleading statement. The FCA determined that the attendance note was drafted by Legal

Manager A two days after the September meeting, at which he was not present.351

            778.       To further conceal its LIBOR-related misconduct, members of Deutsche Bank’s

compliance department repeatedly refused to conduct internal audits of its LIBOR submission

process. For example, on October 25, 2010, a Deutsche Bank Compliance Supervisor asked

Compliance Officer A to look into the bank’s LIBOR-related systems and control to formally

review the banks’ practices in multiple currencies.352 Upon information and belief, “Compliance

Officer A” is Andrew Sowter, Deutsche Bank’s Head of Compliance Asia Pacific and the Global

Head of Global Banking Compliance.353 Compliance Officer A ignored this request and did not

conduct the review because it would negatively impact Deutsche Bank’s highly profitable

LIBOR-based derivatives business, explaining to another Deutsche Bank employee that he

thought the Compliance Supervisor’s idea of reviewing the LIBOR submission process was




351
      Id. at 29.
352
      Ex. I-3 at 23.
353
   Plaintiff believes this to be true from comparing Ex. I-3 at 30 and the Ex. I-6 at 14. According to Ex. I-3,
“Compliance Officer A” prepared an attestation for the FCA pertaining to Deutsche Bank’s systems and controls in
place for its LIBOR submissions process after a request from the FCA on February 4, 2011. Similarly, Ex. I-6 states
that on February 4, 2011, the FCA requested a confirmation of Deutsche Bank’s LIBOR systems and controls, to
which Mr. Andrew Sowter issued an incorrect written confirmation.

                                                       304
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“crazy” and that “the business is going to go completely mental” if any kind of audit ever takes

place.354

            779.       Later that same year, Compliance Officer A struck again, this time in response to

a December 2010 request from the BBA that Deutsche Bank conduct an internal audit of its

LIBOR submission process. Rather than simply conduct the review, Compliance Officer A

signed and submitted a confirmation to the BBA on January 12, 2011, stating that Deutsche

Bank’s LIBOR submissions had already been audited. This was a lie. Deutsche Bank’s

compliance did not audit the systems and controls in place for LIBOR. Compliance Officer A

further dismissed the BBA’s request and his fraudulent statement in an email, stating that the

signed confirmation form was nothing more than “an arse-covering exercise [by the BBA].”

            780.       Following the BBA’s request, on February 4, 2011, the FCA requested that

Deutsche Bank attest to the systems and controls in place to ensure the integrity of Deutsche

Bank’s LIBOR submission process. Once again, the task of completing this review fell on

Compliance Officer A, who conducted only a minimal investigation into Deutsche Bank’s

LIBOR submission process. Compliance Officer A found that there were no LIBOR-specific

systems and controls in place to ensure the integrity of the benchmark. He also found that

Deutsche Bank’s communication monitoring system would not detect any LIBOR-related “buzz

words” indicative of manipulative conduct and/or inter-bank coordination.355

            781.       Despite these findings, on March 18, 2011, Compliance Officer A provided an

attestation to Senior Manager I, who signed and returned the following statement to the FCA:

                       DB monitors all email and instant messaging communications of all
                       front office staff. The focus of this surveillance is DB’s market
                       conduct, such that key words and phrases within the monitoring tool

354
      Ex. I-3 at 23.
355
      Id. at 30.

                                                      305
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                      are designed to flag potential market conduct issues. Any potential
                      issues can be escalated and investigated as necessary. In light of the
                      above, I consider, together with the senior management [names of
                      Senior Manager B and Senior Manager C provided] . . . that DB
                      currently has adequate systems and controls in place for the
                      determination and submission of DB’s LIBOR fixings.356

            782.      This statement was blatantly false in three respects, as Compliance Officer A

knew that Deutsche Bank: (1) did not have any specific procedure in place governing LIBOR

submissions; (2) did not conduct spot checks; and (3) did not monitor communications for

LIBOR-specific terms. The FCA found that Deutsche Bank’s senior management failed to

oversee Compliance Officer A or verify any information contained within the attestation.357

            783.      In yet another failure to comply with a government regulator’s request, Deutsche

Bank destroyed possibly-relevant evidence after receiving a formal request from the FCA to

preserve it. In May 2011, the FCA ordered that Deutsche Bank retain all LIBOR-related data

and information, including telephone recordings, dated back through 2006. Hermann-Josef

Lamberti, a member of Deutsche Bank’s management board and Chief Operating Officer

responsible for overseeing IT, did not properly warn his subordinates of the FCA order. As a

result, in July 2012, Deutsche Bank destroyed audio recording of telephone calls relevant to the

LIBOR investigation dating from 2008 to 2009.

                   3. Rabobank

            784.      To cover up its failure to implement internal LIBOR-related systems and controls,

Rabobank filed a false attestation with the FCA. On February 2, 2011, the FCA asked Rabobank

to “provide an attestation as to the adequacy of the systems and controls arrangements currently




356
      Id. at 30-31.
357
      Id. at 31.

                                                       306
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in place for the determination and agreement of . . . LIBOR submissions.”358 At that time,

Rabobank had drafted a LIBOR policy, but did not implement it.

            785.       Despite not having any LIBOR-related systems and controls in place, Rabobank

signed and returned an attestation to the FCA on March 18, 2011, stating: “As per your letter of

2nd February 2011, we can confirm that the arrangements in place for Rabobank International’s

LIBOR submissions are adequate and fit for purpose.” This statement was false in three aspects,

as Rabobank: (i) did not implement, disseminate, or even train its employees on any LIBOR-

related systems and controls; (ii) continued to allow submitters to trade derivatives that were

based on the very rate they were responsible for submitting; and (iii) failed to implement a

system to maintain records of who was making LIBOR submissions and on what those

submissions were based.359

            786.       After lying to the FCA, Rabobank put its flawed LIBOR policy in place on March

30, 2011, but given the policy’s shortfalls, Rabobank’s traders and submitters continued to

manipulate LIBOR. It was not until over a year later, in August 2012, that Rabobank finally

addressed the problem by putting systems and controls in place that prohibited LIBOR

submitters from trading LIBOR-based derivatives products.360

            787.       Rabobank’s failure to implement internal controls to address benchmark interest

rate submissions, allowance of inappropriate communications between traders and Rabobank’s

submitters, and financial incentive to manipulate the rates amplified the pattern of misconduct,

which continued for a number of years.




358
      Ex. D-3 at 16.
359
      Id.
360
      Id.

                                                      307
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            788.       During the Allen/Conti Trial, it was revealed for the first time that Rabobank’s

employees also lied when interviewed by the FCA about their manipulation of Yen-LIBOR and

the prices of Yen-LIBOR-based derivatives. Paul Robson testified that when the FCA

interviewed him, he feared the possible criminal ramifications of his actions, so he lied to the

authority to protect his interests:

                       Government [Slipperly]: Mr. Robson, you were asked quite a bit
                       about your state of mind during cross-examination. Can you tell
                       the jury about your state of mind when you were giving -- when
                       you were interviewed by the FCA?

                       Rabobank [Robson]: I didn’t really treat it with the gravity it
                       deserved. I thought that if I could create enough bluster and
                       ambiguity around it, the whole affair then it would go away, so
                       that’s what I did.”361

            789.       Robson also testified that his objective in lying to the FCA was “trying to create

some doubt and confusion about what [they] were doing.”362 Because Defendants told self-

serving lies to government regulators to keep them from discovering the extent of their

wrongdoing, Plaintiffs and the Class continue to learn new information about the means of

Defendants’ manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives, and

the details of their conspiracy.

            M. Defendants Used Code Words to Conceal Their Manipulation of Yen-LIBOR and the
               Prices of Yen-LIBOR-based derivatives

                   1. ICAP Yen Brokers Used Code Words and Personal Cell Phones To Try and
                      Conceal Their Yen-LIBOR Services

            790.       In late 2007 and early 2008, ICAP’s Yen Desk Head Danny Wilkinson,

Derivatives Broker 1 Darrell Read and Cash Broker 1 Colin Goodman became concerned that



361
      United States v. Allen, No. 14-cr-272, Testimony of Trial at 614 (Oct. 22, 2015).
362
      Id. at 626-27.

                                                           308
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ICAP compliance might discover that they were aiding Hayes’ manipulation of Yen-LIBOR and

the prices of Yen-LIBOR-based derivatives. To conceal their unlawful activities, Read began

communicating by personal mobile telephones and text messages with Goodman. Read also

alerted Hayes about the need to be careful in their communications when explaining their

“views”:

              November 1, 2007:
              ICAP [READ]: HI MATE, JUST HAD [Danny Wilkinson] BACK ON RE-
              LIBORS, HAD A LOT OF COMPLIANCE PRESSURE RECENTLY DUE TO
              CREDIT PROBLEMS, WE BOTH NEED TO BE A LITTLE MORE SUBTLE
              IN OUR “VIEWS”…IE’ I THINK THE FWDS ARE SUGGESTING THIS
              6MOS LIBOR SHOULD BE LOWER…ETC. MY E-MAILS ETC. NEED TO
              BE WORDED MORE CAREFULLY
       791.   In an effort to ensure that Hayes’ requests escaped detection from review by

ICAP’s compliance staff, Read and Hayes started using code words to mask their discussions

about manipulating LIBOR. Read and Hayes used the words “political correctness,” “arbitrage,”

“arb” or “arbi” to denote requests and efforts to push Yen-LIBOR in a particular direction on

Hayes’ behalf. For example:

              November 13, 2007:
              ICAP [Read]: [to Colin Goodman] in these days of “political correctness” is it
              true that there is a fair bit of pressure holding 6 mos libor down today? I think
              this will probably suit.
              January 28, 2008:
              ICAP [Read]: [Colin] libors..sees 1m and 3m coming in unchanged ... 6m down
              1/4bp....arbi has made him sent them out a bit higher,but not confident he’ll get
              them up
              February 21, 2008:
              UBS [Hayes]: cu know what ineed arbitrage wise? you
              ICAP [Read]: high 3m low 6m [Colin] reckons 1m could come off 1/2bp today
              (looks 1bp too high to him at the mom)....3m -1/8th.....6m -1/8th
              UBS [Hayes]: ok lets hope the arby works!

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                ICAP [Read]: well he has sent the same as yesterday,but just warning us . .. when
                does your big 1m roll out?
              2. R.P. Martin Brokers and Hayes Attempted to Conceal Their Improper Conduct
                 Surrounding the Wash Trades


       792.     Hayes and R.P. Martin broker Terry Farr were well aware of the improper nature

of their conduct. First, they made an effort to avoid any written communications confirming the

wash trades, choosing primarily to communicate via telephone. For example, Hayes warned Farr

not to put anything on chat:

                December 3, 2008:

                UBS [Hayes]: What I’m doing mate, don’t fucking put it on chat.
                R.P. Martin [Farr]: All right. Okay.
                UBS [Hayes]: All right. Okay. 90 and three-eighths
                R.P. Martin [Farr]: Oh, thank you very much, mate. I love you.
                UBS [Hayes]: I just want it but don’t put it on fucking chat, all right.
       793.




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       N. After the Contributor Bank Defendants Were Placed on Notice of Government
          Investigations into the Manipulation of U.S. Dollar LIBOR, Defendants Continued to
          Manipulate Yen-LIBOR and the Prices of Yen-LIBOR-based Derivatives

       794.     Defendants continued their unlawful conduct long after authorities had launched

investigations into false reporting and manipulation of U.S. Dollar LIBOR. By way of example,

RBS traders and submitters acknowledged internally by at least September 2010 that regulators

were investigating false reporting of U.S. Dollar LIBOR, but nonetheless agreed that they were

going to continue to manipulate Yen-LIBOR. RBS traders and submitters, however, recognized

that they should be more careful to cover their tracks to avoid detection, including avoiding

openly discussing in writing their manipulation of Yen-LIBOR while regulators were snooping

around in U.S. Dollar LIBOR.

       795.     For example, in one exchange on September 24, 2010, Jimmy Tan contacted Neil

Danziger and told him to ask Paul White “to push 6m [Yen] Libor up 2 bps to 44.” Danziger

responded: “ha . . . i will mention it ... no emails anymore . . . .” In another exchange, on

November 22, 2010, Danziger and Jimmy Tan acknowledged that “at the moment the FED are

all over us about USD libors,” but because they didn’t “think anyone cares [about] JPY libor,” at

least “not yet,” they acknowledged they had the green light to continue with their Yen-LIBOR

manipulation.

       796.     In another exchange on November 24, 2010, Paul White, RBS’ primary submitter,

warned Jimmy Tan to no longer put in writing his manipulative requests. The warning first

appeared in writing when the submitter diverted an instant message request from Jimmy Tan for

an artificial Yen-LIBOR rate by responding spontaneously with the off-topic-question of: “how

you doing with all the volatilities these days?” i.e., code to change the subject. Tan responded,


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“ok no prob….wouldn’t want to cause any problem….thanks mate.” Shortly after the instant

message exchange, in a follow-up telephone conversation, Paul White was more blunt in his

warning, saying “we’re just not . . . allowed to have those conversations on [instant messages] . .

. because of the BBA thing.” After they had a good laugh about it, White confirmed he was still

on board with the manipulation, i.e., submitting false Yen-LIBOR rates that financially

benefitted Tan’s Yen-LIBOR-based derivatives positions, saying: “So yeah, leave it with me,

and uh, it won’t be a problem.” Jimmy Tan responded, “Ok, great.”

        797.   The collusive manipulation in the Yen-LIBOR-based derivatives market had

become so widespread that in Jimmy Tan’s words, the banks setting Yen-LIBOR had become a

“cartel.”

        798.   UBS continued to engage in all of the manipulative conduct long after it was on

notice that the CFTC was investigating UBS in connection with its U.S. Dollar LIBOR practices.

UBS received a demand for documents and information from the CFTC’s Division of

Enforcement in October 2008, yet the conduct of the traders and submitters in relation to Yen

(and other currencies), including collusive conduct, occurred well into 2010. The rampant

misconduct across Yen-LIBOR and other rates at UBS only came to light as a result of the

CFTC’s subsequent request in April 2010 that UBS conduct an internal investigation relating to

its U.S. Dollar LIBOR practices. See Ex. A-2, p. 13.

        O. Defendants Obstructed Government Investigations and Lied to Their Attorneys
           during Their Own Internal Investigations of LIBOR Manipulation.

        799.   Defendants also sought to obstruct investigations into the manipulation of

LIBOR. For example, in December 2010, a UBS derivatives desk manager instructed a UBS

LIBOR Submitter to lie when interviewed by UBS attorneys during the investigation into




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LIBOR manipulation. Among other things, the UBS derivatives desk manager instructed the

UBS Submitter to:

           •    falsely claim that the UBS Yen trading desks did not have any derivative
                positions with exposure to Yen-LIBOR;

           •    avoid mentioning Hayes;

           •    falsely indicate that the Yen-LIBOR submission process did not take into account
                trading positions;

           •    falsely claim that they never moved the Yen-LIBOR submissions to benefit the
                Yen trading desks;

           •    falsely claim that when contributing Yen-LIBOR submissions, UBS tried to be
                “as close to the market as possible.”

       P. Legal Findings and Implications of Defendants’ Manipulative and Collusive Conduct

              1. The CFTC Determined Yen-LIBOR is a Commodity in Interstate Commerce.

       800.     On a daily basis, Defendants, through the transmission of an electronic

spreadsheet to Thomson Reuters, which calculates their official fixings, knowingly delivered or

caused to be delivered its Yen-LIBOR submissions through the mails or interstate commerce.

Defendants’ submissions were also caused to be delivered through the mails or interstate

commerce through the daily dissemination and publication globally, including into the United

States, of the panel banks’ submissions as well as the daily official benchmark interest rates by at

least Thomson Reuters on behalf of the BBA, and other third party vendors. The panel banks’

submissions are, and were used during the Class Period, used to determine the official published

rates for Yen-LIBOR, which are calculated based on a trimmed average of the submissions.

Defendants’ daily Yen-LIBOR submissions contained market information concerning the costs

of borrowing unsecured funds in particular currencies and tenors, the liquidity conditions and

stress in the money markets, and Defendants’ ability to borrow Yen. Such market information



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affects or tends to affect the prices of commodities in interstate commerce, including the daily

rates at which Yen-LIBOR is fixed.

       801.    The Broker Defendants also knowingly caused to be delivered through the mails

or interstate commerce false or misleading or knowingly inaccurate reports concerning Yen bank

borrowing rates, through the form of Suggested LIBORs, which is market information that

affects or tends to affect the fixing or pricing of Yen-LIBOR, a commodity in interstate

commerce. Each business day, Yen-LIBOR panel banks, through the transmission of electronic

spreadsheets to Thomson Reuters, made Yen-LIBOR submissions in contribution to the daily

fixing of Yen-LIBOR for various tenors through the mails or interstate commerce. Yen-LIBOR

panel banks’ submissions were delivered through the mails or interstate commerce by the daily

dissemination and publication globally, including into the United States, of the panel banks’

submissions as well as the daily official Yen-LIBOR fixing by Thomson Reuters on behalf of the

BBA and by other third-party vendors. The panel banks’ submissions are used to determine the

official published rates for Yen-LIBOR, which are calculated based on a trimmed average of the

submissions. The Yen-LIBOR panel banks’ submissions contain market information concerning

the costs of borrowing unsecured funds in Yen in particular tenors, the liquidity conditions and

stress in the money markets, and the panel banks’ ability to borrow Yen in the London interbank

market. Such market information affects or tends to affect the prices of commodities in interstate

commerce, including the daily rates at which Yen-LIBOR is fixed.

       802.    ICAP brokers provided oral or written Yen-LIBOR predictions, i.e., the

“Suggested LIBORs.” However, to benefit certain ICAP clients, in particular the UBS Senior

Yen Trader Tom Hayes, and to assist their efforts to manipulate the fixing of Yen-LIBOR on

their behalf, ICAP Yen brokers often knowingly disseminated false, misleading and knowingly



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inaccurate market information to the Yen Panel banks through two primary means: (1) Cash

Broker 1 and/or others brokers provided skewed Suggested LIBORs, through the daily Yen-

LIBOR run thru emails or oral communications with submitters or traders at the Yen-LIBOR

panel banks; and (2) ICAP brokers directly pressured Yen-LIBOR submitters and traders at

panel banks to submit certain rates, that were skewed to reflect rates beneficial to the Senior Yen

Trader and at times other traders. At times, certain Yen panel banks used ICAP’s skewed

Suggested LIBORs in determining and making their Yen-LIBOR submissions to the BBA, in

violation of BBA rules. As a result, those Yen-LIBOR submissions were false, misleading or

knowingly inaccurate because the panel banks’ submissions purported to reflect the panel banks’

perceived costs of borrowing Yen in the inter-bank market, but in reality, reflected in whole or in

part the rates that benefited the trading positions of ICAP’s clients.

       803.    Similarly, to benefit certain R.P. Martin clients, specifically the UBS Senior Yen

Trader and the RBS Yen Trader, and to assist their efforts to attempt to manipulate the fixing of

Yen-LIBOR on their behalf, R.P. Martin Yen brokers often knowingly disseminated false,

misleading and knowingly inaccurate market information to the Yen Panel banks through three

primary means: (1) Terry Farr or others provided skewed Suggested LIBORs through oral

communications with submitters or traders at the Yen-LIBOR panel banks; and (2) RP Martin

brokers directly pressured Yen-LIBOR submitters and traders at panel banks to submit certain

rates that were skewed to reflect rates beneficial to the Senior Yen Trader and at times other

traders. At times, certain Yen-LIBOR Contributor Banks used R.P. Martin’s skewed Suggested

LIBORs in determining and making their Yen-LIBOR submissions to the BBA in violation of

BBA rules. As a result, those Yen-LIBOR submissions were false, misleading or knowingly

inaccurate because the panel banks’ submissions purported to reflect the panel banks’ perceived



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costs of borrowing Yen in the interbank market but in reality, reflected in whole or in part the

rates that benefited the Yen-LIBOR-based derivative positions of R.P. Martin’s clients.

       804.     Accordingly, the Broker Defendants’ actions, designed and intended to benefit

clients and themselves, knowingly caused the panel banks to deliver through the mails or

interstate commerce false or misleading or knowingly inaccurate market information that affects

or tends to affect a commodity in interstate commerce, including Yen-LIBOR and violated

Section 9(a)(2) of the Act, 7 U.S.C. § 13(a)(2) (2006).

              2. As Part of its Non-Prosecution Agreement with the DOJ, UBS Admits That False
                 and Misleading Yen-LIBOR Contributions Affected Financial Instruments
                 Traded in the United States.


       805.     As part of its Non-Prosecution Agreement with the DOJ, UBS admitted that when

the requests of derivatives traders for favorable Yen-LIBOR submissions were taken into

account by the UBS rate submitters, UBS’ rate submissions were false and misleading.

              3. Defendants and their Co-conspirators Admit They Successfully Manipulated
                 Yen-LIBOR

       806.      For example, as part of its Non-Prosecution Agreement with the DOJ, UBS

admitted that when UBS derivatives traders influenced the submissions of other Contributor

Panel Banks by: (1) seeking and receiving accommodations from their counterparts at such

banks, or (2) influencing the submissions from other banks with assistance from cash brokers

who disseminated misinformation in the marketplace. The manipulation of those submissions

affected Yen-LIBOR on various occasions. Similarly, as part of their Deferred Prosecution

Agreements with the DOJ, Defendants RBS and Rabobank admitted that when its Yen-LIBOR

derivatives traders made requests of RBS’ Yen-LIBOR rate submitters in order to influence

RBS’ Yen-LIBOR submissions, and when the submitters accommodated those requests, the

manipulation of the submissions affected the resulting Yen-LIBOR fix on various occasions. In

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addition, when traders, former traders, and/or submitters, including some at RBS, agreed to

coordinate requests for favorable Yen-LIBOR submissions, and when Yen-LIBOR submitters

accommodated those requests, the manipulation of submissions affected the Yen-LIBOR fixing

on various occasions.

              4. The CFTC Has Determined That Contributor Bank Defendants and Co-
                 conspirators UBS, RBS, Rabobank, Deutsche Bank, Barclays, Lloyds, and
                 Société Générale Successfully Manipulated Yen-LIBOR.


       807.     The CFTC has determined that, inter alia, Contributor Bank Defendants and Co-

conspirators UBS, RBS, Rabobank, Lloyds, Deutsche Bank, Barclays, and Société Générale’s

submissions for Yen-LIBOR were false, misleading, or knowingly inaccurate because they were

based in whole or in part on impermissible and illegitimate factors, including the Yen-LIBOR-

based derivatives positions of their traders. By using these impermissible and illegitimate factors

in making its Yen-LIBOR submissions, Defendants conveyed false, misleading, and/or

knowingly inaccurate information while representing that the rates they submitted were truthful

and reliable quotes based solely on the cost of borrowing unsecured funds in the relevant

markets. Certain of Defendants’ managers, traders and submitters at the very least knew that

certain of their Yen-LIBOR submissions contained false, misleading, and knowingly inaccurate

information concerning the submitted rates.

              5. The CFTC Has Determined that Broker Defendant ICAP and Co-Conspirator
                 R.P. Martin Successfully Manipulated Yen-LIBOR and the Prices of Yen-
                 LIBOR-based Derivatives.


       808.     The CFTC has determined that, inter alia, Broker Defendant ICAP and co-

conspirator R.P. Martin communicated on a daily basis with banks that participated on the Yen-

LIBOR panel and made submissions that purported to reflect their assessments of their

respective banks’ costs of borrowing unsecured funds in the London interbank market for Yen

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across tenors. The official LIBOR fixings are calculated using a trimmed average methodology

applied to the rates submitted by the panel banks. By virtue of this methodology, panel banks

had the ability to influence or affect the rate that would become the official Yen-LIBOR fixing

for any tenor. Accordingly, if the Broker Defendants could influence the rates submitted by the

panel banks, then the Broker Defendants had the ability to influence or affect the rate at which

Yen-LIBOR would be fixed. As alleged herein, Yen-LIBOR panel banks (in violation of BBA

rules) relied upon the market information about Yen borrowing rates and Suggested LIBORs

provided by the Broker Defendants, and, at times, at least certain panel banks used the rates

suggested by the Broker Defendants in determining and making their submissions. As a result,

at times, certain Yen-LIBOR panel banks made false or misleading Yen-LIBOR submissions.

              6. The CFTC Has Determined that Contributor Bank Defendants and Co-
                 Conspirators UBS, RBS, Rabobank, Deutsche Bank and Lloyds Aided and
                 Abetted the Manipulation of Yen-LIBOR.


       809.     The CFTC has determined that, inter alia, Contributor Bank Defendants and co-

conspirators UBS, RBS, Rabobank, Deutsche Bank, and Lloyds also aided and abetted traders at

other banks to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. As

evidenced by the extensive communications, Defendants’ traders and submitters and traders at

other panel banks coordinated about Yen-LIBOR rates that would benefit their banks’ or their

co-conspirators’ respective derivatives trading positions. Also, the traders at the other panel

banks or brokers on behalf of traders at other banks asked Defendants’ traders to submit a certain

rate, or submit a rate in a direction higher or lower, that would benefit the cash and derivatives

trading positions of the traders at the other panel banks. Defendants’ derivatives traders agreed

and made the requests of their Yen-LIBOR submitters, who in turn made their Yen-LIBOR

submissions based on the derivatives traders’ or brokers’ requests. In addition, at least one RBS


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Yen trader knowingly assisted the UBS Yen Trader to manipulate Yen-LIBOR by agreeing to act

as counterparty to wash trades opposite UBS to provide extra brokerage commissions to the

inter-dealer brokers as payment for their assistance in manipulating Yen-LIBOR.

              7. The CFTC Has Determined that Broker Defendant ICAP and Co-Conspirator
                 R.P. Martin Aided and Abetted the Manipulation of Yen-LIBOR.


       810.     The CFTC has determined that, inter alia, Broker Defendant ICAP and Co-

Conspirator R.P. Martin aided and abetted and often coordinated with and assisted Yen-LIBOR-

based derivatives traders at Yen-LIBOR panel banks, primarily the UBS Senior Yen Trader, to

manipulate the official Yen-LIBOR fixings for certain tenors by at times causing panel banks to

make Yen-LIBOR submissions at rates or levels that that would benefit the derivatives traders’

trading positions. The Broker Defendants knew that the UBS Senior Yen Trader and other

traders were trying to manipulate Yen-LIBOR to benefit their derivatives trading positions.

              8. The CFTC Has Determined Contributor Bank Defendants and Co-Conspirators
                 UBS, RBS, Rabobank, Lloyds, ICAP, R.P. Martin, Deutsche Bank, Barclays, and
                 Société Générale Are Vicariously Liable for the Acts of their Employees in the
                 Manipulation of Yen-LIBOR.


       811.     The CFTC has determined that Contributor Bank Defendants and co-conspirators

UBS, UBS Japan, RBS, RBS Japan, Rabobank, Lloyds, Deutsche Bank, Barclays, and Société

Générale, as well as Broker Defendant ICAP and co-conspirator R.P. Martin are liable for the

acts, omissions, and failures of the managers, traders, submitters, and/or brokers who acted as

their employees and/or agents and in violation of Sections 6(c), 6(d) and 9(a)(2) of the CEA, 7

U.S.C. §§ 9, 13b and 13(a)(2).




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              9. Contributor Bank Defendants and Co-Contributors UBS, RBS, Rabobank,
                 Lloyds, Deutsche Bank, Barclays, and Société Générale Acknowledge Same in
                 their Non-Prosecution and Deferred Prosecution Agreements with the DOJ.


       812.     As part of their Deferred and Non-Prosecution Agreements with the DOJ,

Defendants and co-conspirators UBS, RBS, Rabobank, Lloyds, Deutsche Bank, and Barclays

each acknowledged that the wrongful acts described in the DOJ Statement of Facts taken by the

participating employees in furtherance of the misconduct were within the scope of their

employment at their respective financial institution. UBS, RBS, Rabobank, Barclays, and

Société Générale also each acknowledged that the participating employees intended, at least in

part, to benefit UBS, RBS, Rabobank, Lloyds, and Barclays through the actions described in the

DOJ SOF.

              10. Contributor Bank Defendants and Co-Conspirators UBS, RBS, Rabobank,
                  Deutsche Bank, Barclays, and Société Générale Admit They Engaged in a
                  Deceptive Course of Conduct When They Submitted or Caused to Be Submitted
                  False and Misleading Yen-LIBOR Submissions Designed to Derive Illicit Profits
                  at the Expense of Their Counterparties and other Yen-LIBOR-based Derivatives
                  Participants.


       813.     As part of its Non-Prosecution Agreement with the DOJ, UBS admitted that its

derivatives traders and submitters were engaged in a deceptive course of conduct in an effort to

gain an advantage over their counterparties. As part of that effort: (1) derivatives traders and

submitters submitted and caused the submission of materially false and misleading Yen-LIBOR

contributions; and (2) derivatives traders, after initiating and continuing their effort to manipulate

Yen-LIBOR, negotiated and entered into derivative transactions with counterparties that did not

know UBS employees were often attempting to manipulate the reference interest rate.

       814.     As part of their Deferred Prosecution Agreements with the DOJ, Defendants RBS,

and Rabobank, and co-conspirator Deutsche Bank admitted that when the requests of derivatives


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traders for favorable Yen-LIBOR submissions influenced the RBS, Rabobank, and Deutsche

Bank rate submitters’ contributions, RBS’, Rabobank’s, and Deutsche Bank’s Yen-LIBOR rate

submissions were false and misleading. In making and in accommodating these requests, the

derivatives traders and submitters (and RBS, Rabobank, and Deutsche Bank) were engaged in a

deceptive course of conduct in an effort to gain an advantage over their counterparties. As part

of that effort: (1) RBS, Rabobank, and Deutsche Bank derivatives traders and submitters

submitted, and caused the submission of, materially false and misleading Yen-LIBOR

contributions; and (2) RBS, Rabobank, and Deutsche Bank derivatives traders, after initiating

and while continuing their effort to manipulate Yen-LIBOR contributions, negotiated and

entered into derivatives transactions with counterparties knowing that that those counterparties

were unaware of the efforts by RBS’, Rabobank’s, and Deutsche Bank’s employees to

manipulate the relevant Yen-LIBOR rate.

       815.    As part of its Deferred Prosecution Agreements with the DOJ, Defendant Lloyds

admitted that when its submitters made Yen-LIBOR submissions that took trading positions into

account, Lloyds’ Yen-LIBOR submissions were false and misleading. In making and

accommodating the requests, the traders and submitters involved in the making of these false and

misleading submissions (including those at Rabobank) were engaged in a deceptive course of

conduct in an effort to gain an advantage over their counterparties. As part of that effort: (1)

traders and submitters submitted and caused the submission of materially false and misleading

Yen-LIBOR contributions; and (2) traders and submitters, both before and after initiating and

continuing their effort to manipulate Yen-LIBOR contributions, negotiated and entered into

transactions with counterparties that did not know that Lloyds employees were manipulating

Yen-LIBOR.



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        816.     When the request of Barclays’ swaps traders for favorable LIBOR submissions

were taken into account by the rate submitters, Barclays’ rate submissions were false and

misleading. In making and in accommodating the requests, the swaps traders and submitters

were engaged in a deceptive course of conduct in an effort to gain an advantage over their

counterparties. As part of that effort: (1) swaps traders and submitters submitted and caused the

submission of materially false and misleading LIBOR contributions; and (2) swaps traders, after

initiating and continuing their effort to manipulate LIBOR, negotiated and entered into

derivatives transactions with counterparties that did not know that Barclays employees were

intending to manipulate LIBOR.

        817.     As part of its Deferred Prosecution Agreement with the DOJ, Defendant Société

Générale admitted that when its submitters made Yen-LIBOR submissions that took trading

positions into account, Société Générale’s Yen-LIBOR submissions were false and misleading.

               11. Defendants Admit They Were Competitors.


        818.     For example, as part of its Deferred Prosecution Agreement with the DOJ, RBS

admitted that traders, former traders, and/or submitters at competing financial institutions,

including RBS, agreed to coordinate and in fact coordinated with regard to Yen-LIBOR

submissions, causing the manipulation of Yen-LIBOR on certain occasions. Because Yen-

LIBOR was a pricing component of Yen-LIBOR-based derivatives contracts held by their

respective financial institutions, the traders benefited from this agreement by affecting the

profitability of these transactions.




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       Q. Defendants Plead Guilty or Agree to Waive Indictment to Criminal Charges of Wire
          Fraud in Connection with Their Manipulation of the Prices of Yen-LIBOR-based
          Derivatives.

       819.     In connection with their unlawful manipulation of Yen-LIBOR and the prices of

Yen-LIBOR-based derivatives, Defendants UBS Japan and RBS Japan agreed to waive

indictment and plead guilty to a one-count criminal information filed in the District of

Connecticut by the Criminal Division, Fraud Section, and the Antitrust Division of the DOJ

charging each with wire fraud, in violation of 18 U.S.C. § 1343. As part of its Deferred

Prosecution Agreement with the DOJ, RBS Japan’s corporate parent Natwest Markets plc f/k/a/

The Royal Bank of Scotland plc (“RBS”) was also charged with wire fraud and price-fixing in

violation of Section 1 of the Sherman Act. Defendant Rabobank also waived indictment to wire

fraud as part of its own Deferred Prosecution Agreement with the DOJ. See Exs. A-4, B-3 and

D-4.

              1. UBS Japan.

       820.     Between approximately 2006 and at least 2009, in the District of Connecticut and

elsewhere, UBS Japan, the defendant, unlawfully, willfully, and knowingly, having devised and

intending to devise a scheme and artifice to defraud and for obtaining money and property by

means of false and fraudulent pretenses, representations, and promises, did transmit and cause to

be transmitted by means of wire, radio, and television communication in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such

scheme and artifice, to wit, the defendant devised and engaged in a scheme to defraud

counterparties to interest rate derivatives trades executed on its behalf by secretly manipulating

benchmark interest rates to which the profitability of those trades was tied, and in furtherance of

that scheme, on or about February 25, 2009, the defendant transmitted or caused the transmission

of electronic communications, specifically: (1) an electronic chat between a derivatives trader

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employed by the defendant and a broker employed at an inter-dealer brokerage firm, (2) a

subsequent Yen LIBOR submission from a bank to Thomson Reuters, and (3) a subsequent

publication of a Yen LIBOR rate through international and interstate wires, at least one of which

passed through, among other locations and facilities, servers located in Stamford, Connecticut.

              2. RBS Japan.

       821.     Between approximately 2006 and at least 2010, in the District of Connecticut and

elsewhere, RBS Japan, the defendant, through its employees, unlawfully, willfully, and

knowingly, having devised and intending to devise a scheme and artifice to defraud and for

obtaining money and property by means of false and fraudulent pretenses, representations, and

promises, did transmit and cause to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings, signs, signals, pictures, and sounds

for the purpose of executing such scheme and artifice, to wit, the defendant, through its

employees, engaged in a scheme to defraud counterparties to interest rate derivatives trades

executed on its behalf by secretly manipulating benchmark interest rates to which the

profitability of those trades was tied, and in furtherance of that scheme, on or about October 5,

2009, the defendant transmitted or caused the transmission of electronic communications,

specifically: (1) an electronic chat between a derivatives trader employed by the defendant and a

derivatives trader employed by the defendant’s parent company, (2) a subsequent Yen-LIBOR

submission from a bank to Thomson Reuters, and (3) a subsequent publication of a Yen-LIBOR

rate—through international and interstate wires, at least one of which passed through, among

other locations and facilities, servers located in Stamford, Connecticut.

              3. Rabobank.

       822.     Between approximately 2005 and at least 2010, Coöperatieve Centrale Raiffeisen-

Boerenleenbank B.A., the defendant, through its employees, unlawfully, willfully, and

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knowingly, having devised and intending to devise a scheme and artifice to defraud and for

obtaining money and property by means of false and fraudulent pretenses, representations, and

promises, did transmit and cause to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings, signs, signals, pictures, and sounds

for the purpose of executing such scheme and artifice, to wit, the defendant, through its

employees, engaged in a scheme to defraud counterparties to interest rate derivatives trades

executed on its behalf by secretly manipulating benchmark interest rates to which the

profitability of those trades was tied, and in furtherance of that scheme, on or about April 17,

2008, the defendant transmitted or caused the transmission of electronic communications,

specifically: (1) an electronic chat between a derivatives trader and a money market trader, (2) a

subsequent Yen-LIBOR submission from the defendant to Thomson Reuters, and (3) a

subsequent publication of a Yen-LIBOR rate through international and interstate wires.

              4. Deutsche Bank

       823.     From at least as early as 2008 through at least 2010, the defendant, Deutsche

Bank AG, through its employees, and its co-conspirators, engaged in a combination and

conspiracy in unreasonable restraint of interstate and foreign commerce. The aforesaid

combination and conspiracy consisted of an agreement, understanding and concert of action

among the defendant and its co-conspirators, the substantial terms of which were to fix the price

of Yen LIBOR-based derivative products by fixing Yen-LIBOR, a key component of the price

hereof, on certain occasions.

              5. UBS Waived Indictment and Pled Guilty After the DOJ Revoked a Non-
                 Prosecution Agreement Based on UBS’ Continued Market Manipulation and
                 Serial Criminal Conduct

       824.     On December 18, 2012, the DOJ Criminal Division, Fraud Section, and UBS

entered into a Non-Prosecution Agreement (“NPA”) relating to UBS’ submissions of LIBOR

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(including Yen-LIBOR), Euribor and Euroyen TIBOR (“IBOR Benchmarks”) and manipulation

of IBOR Benchmarks prior to 2011.

       825.    In the NPA, UBS agreed to “commit no United States crime” whatsoever for a

period of two years from the execution date of the NPA and represented that it had, among other

things, “strengthened its compliance and internal control standards and procedures” and “sought

to effectively remediate any problems it [had] discovered.”

       826.    Under the NPA, UBS paid a penalty of $500 million and committed to real

reformation of its operating practices in exchange for the Criminal Division’s agreement not to

prosecute UBS “for any crimes related to UBS’s submissions of benchmark interest rates . . . .”

       827.    Rather than adhering to the terms of the NPA, UBS continued to manipulate

commodity markets, this time in foreign exchange spot and precious metals markets. After the

execution of the NPA, certain UBS employees engaged in “(i) fraudulent and deceptive currency

trading and sales practices in conducting certain foreign exchange (“FX”) market transactions

with customers via telephone, email, and/or electronic chat to the detriment of UBS’ customers

and (ii) collusion with other participants in certain FX markets.”

       828.    UBS, pursuant to the terms of the NPA, reported its continued manipulation to the

DOJ, Criminal Division. The Criminal Division determined that UBS’ conduct breached the

NPA. In making its determination, the Criminal Division cited that UBS was a serial offender,

having entered into multiple civil and regulatory settlements for violations.

       829.    Further, UBS’ FX manipulation was the fourth U.S. criminal matter to come

before the DOJ in the past six years. In addition to the IBOR Benchmark and the FX

manipulation, in February 2009, UBS entered into a Deferred Prosecution Agreement with the

DOJ Tax Division for conspiring to defraud the United States of tax revenue through secret bank



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accounts for U.S. taxpayers. In May 2011, UBS entered into a separate Non-Prosecution

Agreement with the Antitrust Division relating to its involvement in bid-rigging in the municipal

bond derivatives market.

       830.     Subsequent to the Criminal Division’s declaration of a breach of the NPA, UBS

entered into a plea agreement on May 20, 2015 (“May 2015 Agreement”). In the May 2015

Agreement, UBS waived indictment and agreed to plead guilty to one count of a wire fraud in

furtherance of a scheme to defraud counterparties to interest rate derivatives transactions by

manipulating Yen-LIBOR. UBS admitted that the factual allegations of the charging

information were true and reflected UBS’ conduct in connection with IBOR Benchmarks,

including Yen-LIBOR.

       831.     In addition to an obligation to cooperate with the Criminal Division and other

undertakings, UBS also agreed to pay an additional criminal fine of $203 million, and was to

enter into a separate Cooperation and Non-Prosecution Agreement with the DOJ Antitrust

Division relating to foreign exchange antitrust offenses.

              6. Société Générale Pled Guilty and Settled with the CFTF for Manipulating Yen-
                 LIBOR and the prices of Yen-LIBOR-based derivatives.

       832.     As described by the CFTC Order dated June 4, 2018 (the “CFTC SG Order”),

Société Générale pled guilty and paid $475 million to settle claims brought by the CFTC, which

alleged that from at least July 2006 through at least August 2007, Société Générale made false

Yen-LIBOR submissions to manipulate Yen-LIBOR to benefit its Yen-LIBOR-based derivatives

positions.

       833.     The CFTC SG Order established that Société Générale’s false and misleading

Yen-LIBOR submissions were made through transmission of the submissions to the BBA’s

service provider, Thompson Reuters, and through daily dissemination and global publication of


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the submissions, which indicated that Société Générale delivered or caused to be delivered its

Yen-LIBOR submissions through the mails or interstate commerce.

       834.     In furtherance of its scheme to manipulate Yen-LIBOR to benefit its Yen-LIBOR-

based derivative positions, on or about June 8, 2007, Société Générale transmitted or caused the

transmission of electronic communications, specifically: (1) an electronic chat between a Yen

derivatives trader and a Yen-LIBOR submitter, (2) a subsequent Yen-LIBOR submission from

Société Générale to Thomson Reuters, and (3) a subsequent publication of a Yen-LIBOR rate

through international and interstate wires.

       R. Defendants Former Traders and Brokers Have Been Criminally Charged with an
          Antitrust Violation, Wire Fraud and Conspiracy to Defraud Charges in the U.S. and
          U.K.

              1. Former UBS and Citibank Yen Trader Thomas Hayes and Former UBS Yen
                 Trader Roger Darin

       835.     Hayes and another former UBS Trader, Roger Darin, have been charged by the

DOJ with conspiracy to commit wire fraud, wire fraud and antitrust violations in connection with

the manipulation of Yen-LIBOR. See Ex. A-6, Complaint filed in U.S. v. Hayes et al., 12 MAG

3229 (S.D.N.Y. Dec. 12, 2012) (the “Hayes/Darin Criminal Complaint”).

       836.     The Hayes/Darin Criminal Complaint includes numerous communications

evidencing blatant market manipulation and illicit conspiratorial conduct between UBS and RBS,

among others, while Hayes was employed at Defendant UBS. The Hayes/Darin Criminal

Complaint also includes communications evidencing manipulative and conspiratorial conduct by

Thomas Hayes after he left Defendant UBS to join co-conspirator Citigroup.

       837.     On October 2, 2014, Darin moved to dismiss the Hayes/Darin Criminal

Complaint. ECF No. 6. On March 20, 2015, Judge James C. Francis IV denied Darin’s motion to




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dismiss, finding that the exercise of jurisdiction over Darin did not constitute a violation of due

process. ECF No. 28, at 31.

       838.    In June 2013, the U.K. SFO also charged former UBS and Citibank trader Hayes

with eight counts of conspiracy to defraud, directly implicating Defendants and co-conspirators

(i) UBS AG; (ii) Citigroup Global Markets Japan Limited, (iii) Deutsche Bank AG, (iv) UBS

Japan, (v) JP Morgan Chase & Co., (vi) The Royal Bank of Scotland plc, (vii) HSBC and (viii)

Rabobank, as well as Broker Defendants and co-conspirators (i) ICAP plc, (ii) R.P. Martin

Holdings Limited and (iii) Tullett Prebon plc. Specifically the U.K. SFO alleges:

       a.      Between December 1, 2009, and September 7, 2010, at within the jurisdiction of

Central Criminal Court conspired together with other employees of Citigroup Global Markets

Japan Limited and associated entities to defraud in dishonestly seeking to manipulate Yen

London Interbank Offered Rates and other interbank offered rates, by procuring or making the

submission of rates by Citigroup as a contributing Panel Bank to Thomson Reuters, with the

intention that the economic interests of others would be prejudiced and/or to make personal gain

for themselves or another.

       b.      Between December 1, 2009, and September 7, 2010, at within the jurisdiction of

Central Criminal Court conspired together with employees of UBS AG, Deutsche Bank AG and

others to defraud in dishonestly seeking to manipulate Yen London Interbank Offered Rates and

other interbank offered rates, by procuring or making the submission of rates by contributing

Panel Banks to Thomson Reuters, with the intention that the economic interests of others would

be prejudiced and/or to make personal gain for themselves or another.

       c.      Between December 1, 2009, and September 7, 2010, at within the jurisdiction of

Central Criminal Court conspired together with employees of ICAP plc and others to defraud in



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dishonestly seeking to manipulate Yen London Interbank Offered Rates and other interbank

offered rates, by procuring or making the submission of rates by contributing Panel Banks to

Thomson Reuters, with the intention that the economic interests of others would be prejudiced

and/or to make personal gain for themselves or another.

       d.     Between December 1, 2009, and September 7, 2010, at within the jurisdiction of

Central Criminal Court conspired together with employees of ICAP plc and others to defraud in

dishonestly seeking to manipulate Yen London Interbank Offered Rates and other interbank

offered rates, by procuring or making the submission of rates by contributing Panel Banks to

Thomson Reuters, with the intention that the economic interests of others would be prejudiced

and/or to make personal gain for themselves or another.

       e.     Between August 8, 2006, and December 3, 2009, at within the jurisdiction of

Central Criminal Court conspired together with other employees of UBS Japan and associated

entities (together “UBS”) to defraud in dishonestly seeking to manipulate Yen London Interbank

Offered Rates and other interbank offered rates, by procuring or making the submission of rates

by UBS as a contributing Panel Bank to Thomson Reuters, with the intention that the economic

interests of others would be prejudiced and/or to make personal gain for themselves or another.

       f.     Between August 8, 2006 and December 3, 2009 at within the jurisdiction of

Central Criminal Court conspired together with employees of JP Morgan Chase & Co, The

Royal Bank of Scotland Group plc, Deutsche Bank AG and others to defraud in dishonestly

seeking to manipulate Yen London Interbank Offered Rates and other interbank offered rates, by

procuring or making the submission of rates by contributing Panel Banks to Thomson Reuters,

with the intention that the economic interests of others would be prejudiced and/or to make

personal gain for themselves or another.



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       g.       Between August 8, 2006, and December 3, 2009, at within the jurisdiction of

Central Criminal Court conspired together with employees of UBS AG, ICAP plc and others to

defraud in dishonestly seeking to manipulate Yen London Interbank Offered Rates and other

interbank offered rates, by procuring or making the submission of rates by contributing Panel

Banks to Thomson Reuters, with the intention that the economic interests of others would be

prejudiced and/or to make personal gain for themselves or another.

       h.       Between August 8, 2006, and December 3, 2009, at within the jurisdiction of

Central Criminal Court conspired together with employees of UBS AG, R.P. Martin Holdings

Limited, Tullett Prebon plc, Rabobank, HSBC and others to defraud in dishonestly seeking to

manipulate Yen London Interbank Offered Rates and other interbank offered rates, by procuring

or making the submission of rates by contributing Panel Banks to Thomson Reuters, with the

intention that the economic interests of others would be prejudiced and/or to make personal gain

for themselves or another.

       839.     On August 3, 2015, Hayes was convicted of all eight counts of conspiracy to

defraud listed above and sentenced to fourteen years in U.K. prison.

       840.     Following his sentencing, Hayes filed an appeal. Although the appeal led to a

reduction to a total sentence of 11 years in U.K. prison, Hayes’ appeal against conviction was

dismissed.

              2. Former ICAP Brokers.

       841.     Three former ICAP brokers, Darrell Read, Daniel Wilkinson, and Colin

Goodman, have been charged by the DOJ with conspiracy to commit wire fraud and wire fraud

in connection with the manipulation of Yen-LIBOR. See Ex. C-3. The DOJ alleges the three

former ICAP brokers conspired with former UBS trader Hayes from July 2006 through

September 2009. The same ICAP brokers were also charged by the U.K. SFO with conspiracy
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 to defraud charges for their manipulation of Yen-LIBOR from August 8, 2006 through

 September 7, 2010.

               3. Former R.P. Martin Brokers Terry John Farr and James Andrew Gilmour.

        842.     In July 2013, the U.K. SFO also charged former R.P. Martin broker Terry Farr

 and James Gilmour with conspiracy to defraud charges. Between August 8, 2006, and December

 3, 2009, both Farr and Gilmour are alleged to have conspired to manipulate Yen-LIBOR and

 other interbank offered rates with, among others, former UBS trader Tom Hayes and fellow R.P.

 Martin broker James Gilmour, as well as other yet-to-be named traders and brokers at

 Defendants UBS, Tullett Prebon, Rabobank, and co-conspirator HSBC. Farr is also alleged to

 have conspired with Hayes to manipulate Yen-LIBOR between January 12, 2009, and July 9,

 2010, when Hayes was employed by Citi Group Global Markets.

               4. Former Rabobank Traders.

        843.     Seven former Rabobank traders, Paul Robson, Paul Thompson, Tetsuya

 Motomura, Takayuki Yagami, Lee Stewart, Anthony Allen, and Anthony Conti were charged by

 the DOJ with allegations including conspiracy to commit wire fraud, conspiracy to commit bank

 fraud, and wire fraud in connection with the manipulation of Yen-LIBOR from May 2006

 through early 2011. See Ex. D-5. Robson, Thompson, Yagami, and Stewart each pleaded guilty

 to conspiracy to commit wire and conspiracy to commit bank fraud for their role in the

 conspiracy to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives.

V.   Defendants’ and their Co-conspirators’ Unlawful Conduct Has Also Led to
     Investigations, Issuance Of Findings of Misconduct and Administrative Sanctions With
     Governmental Authorities in the U.S. and Abroad

        844.     Defendants’ unlawful conduct has led to numerous government investigations,

 both domestically and abroad, including by the DOJ, CFTC, SEC, FSA, the Japanese Securities

 and Exchange Surveillance Commission, the Canadian Competition Bureau, the Swiss

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Competition Commission, Swiss financial market supervisory authority FINMA, the Monetary

Authority for Singapore, BaFin, and the NYSDFS.

       A. JFSA Investigation

       845.   On April 12, 2013, the JFSA, based upon April 5, 2013 Recommendations for

Administrative Actions by the JSESC, took administrative action against Defendant RBS Japan

for a violation of the Financial Instruments and Exchange Act relating to RBS’ submission of

false Yen-LIBOR rates during the period from around middle 2006 to early 2010.

       846.   The JFSA Administrative Actions against RBS Japan provides as follows:

          1. Descriptions of the Recommendation

          (1) Inappropriate conduct[] related to Yen LIBOR

               From around middle of 2006 to early 2010, one trader at the Department of Short
          Term Market (at the time; hereinafter referred to as “Trader A”) and his colleagues at
          RBS Securities continuously approached Yen LIBOR submitters of Royal Bank of
          Scotland plc (hereinafter referred to as “RBS plc”) including through RBS plc’s
          traders and made requests to change Yen LIBOR submissions in order to affect Yen
          LIBOR in favor of the derivative transactions by Trader A and his colleagues.

               The above conducts of Trader A and his colleagues could undermine the market
          integrity, considering that Yen LIBOR is a significantly important financial index that
          serves as a benchmark interest rate for various financial transactions. Therefore, the
          conducts are acknowledged to be seriously unjust and malicious and have a serious
          problem from the viewpoints of the public interest and protection of investors.

              Furthermore, in light of the fact that RBS Securities has failed to identify these
          misconducts for a long period of time and has not taken any appropriate measures, it is
          acknowledged that its internal control system has serious deficiencies.

                                                       ****
             The conducts mentioned above in (1) are acknowledged to be unjust and malicious
          and have a serious problem from the viewpoints of the public interest and the investor
          protection, since (i) these conducts are recognized to be made in the course of RBS
          Securities’ business operation and (ii) such conducts could undermine the market
          integrity. Furthermore, it is acknowledged that its internal control system has
          significant deficiencies. Therefore, it is acknowledged that the situation of RBS
          Securities’ business operation is a case where administrative action is “necessary and
          appropriate for the public interest or protection of investors, with regard to a Financial


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          Instruments Business Operator’s business operation” as stipulated under Article 51 of
          the “FIEA”.

       B. Swiss Competition Commission Investigation

       847.   On February 3, 2012, the Wall Street Journal reported that UBS AG, Credit

Suisse Group AG, Bank of Tokyo-Mitsubishi UFJ, Ltd., Citigroup Inc., Deutsche Bank AG,

HSBC Holdings Plc, J.P. Morgan Chase & Co., Mizuho Financial Group Inc., Rabobank

International, Royal Bank of Scotland Group Plc, Société Générale S.A., and Sumitomo Mitsui

Banking Corp., among others, were under investigation by COMCO, the Swiss competition

regulatory body, for colluding with one another to manipulate Yen-LIBOR rates and the prices

of derivatives benchmarked to these rates.

       848.   COMCO’s investigation, like other government investigations, was prompted by

information and documents provided by a leniency applicant, believed to be UBS, pursuant to

COMCO’s antitrust leniency program.

       849.   According to a February 3, 2012 press release, COMCO reported that:

       COMCO has received information regarding potential unlawful agreements among
       banks. Specifically, collusion between derivative traders might have influenced the
       reference rates LIBOR and TIBOR. Furthermore, market conditions regarding
       derivative products based upon these reference rates might have been manipulated
       too. Hence, COMCO has opened an investigation against UBS and Credit Suisse, as
       well as against more than ten foreign financial institutions and other companies.

       The Secretariat of COMCO (“Secretariat”) received an application for its leniency
       program, which indicated that derivatives traders of various banks might have
       influenced the reference rates LIBOR and fixed with respect to certain currencies.
       The London Interbank Offered Rate (LIBOR) and the Tokyo Interbank Offered Rate
       (TIBOR) are reference rates which are aimed at reflecting the interest level in the
       interbank deposit market. The British Bankers’ Association (for LIBOR) and the
       Japanese Bankers’ Association (for TIBOR) calculate these rates on a daily basis, for
       a range of currencies, based on submissions by respective panel banks. Derivative
       traders working for a number of financial institutions might have manipulated these
       submissions by coordinating their behaviour, thereby influencing these reference rates
       in their favour. Moreover, derivative traders might have colluded to manipulate the
       difference between the ask price and the bid price (spread) of derivatives based on
       these reference rates to the detriment of their clients.
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       Beside the two major Swiss Banks, UBS and Credit Suisse, ten foreign banks (Bank
       of Tokyo Mitsubishi UFJ, Citigroup Inc., Deutsche Bank AG, HSBC Holdings plc, JP
       Morgan Chase & Co., Mizuho Financial Group Inc., Coöperative Centrale Raiffeisen-
       Boerenleenbank B.A., Royal Bank of Scotland Group plc, Société Générale S.A.,
       Sumitomo Mitsui Banking Corporation) and other financial intermediaries are subject
       to this investigation led by the Secretariat.

       850.     On December 5, 2016, COMCO reached settlements with four banks totaling

CHF 14.4 million. COMCO settled claims relating to its Yen-LIBOR investigation with

Deutsche Bank (CHF 5.027 million), RBS (CHF 3.926 million) Citigroup (CHF 3.779 million),

and JPMorgan (CHF 1.703 million).

       851.     COMCO’s Yen-LIBOR investigations regarding HSBC, Lloyds, Rabobank and

UBS, and against the Interdealer/Cash Brokers ICAP, RP Martin and Tullett Prebon, are

ongoing.

       C. Dozens of Defendants’ and their Co-conspirators’ Employees Are Under
          Investigation and/or Have Resigned, or Been Suspended, or Fired or Arrested

       852.     According to public reports, dozens of traders employed by the Contributor Bank

and Broker Defendants have been fired or suspended or put under investigation by worldwide

regulators for their alleged involvement in the manipulation of benchmark rates. Such firings,

terminations, and/or announced investigations of individuals employed or affiliated with the

Defendants include, but are not limited, to the following:

              1. RBS

       853.     According to public reports, Defendant RBS fired at least four employees in

connection with their manipulation of Yen-LIBOR: Paul White, Andrew Hamilton, Neil

Danziger, and Tan Chi Min.

       854.     Paul White was RBS’ principal rate-setter for Yen-LIBOR. According to

Reuters, Mr. White was fired by RBS in late 2011 in connection with his involvement in RBS’


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alleged manipulation of Yen-LIBOR. On December 4, 2016, the Financial Conduct Authority

banned Mr. White from performing any function in relation to any regulated financial activity

and publicly censured him due to his involvement in RBS’s alleged manipulation of Yen-

LIBOR. The Financial Conduct Authority noted that were it not for Mr. White’s serious financial

hardship, he would have been fined £250,000.

       855.    Andrew Hamilton was an investment advisor for RBS in its London office.

According to Bloomberg, Mr. Hamilton was fired by RBS on October 21, 2011.

       856.    Neil Danziger was a foreign-exchange trader for RBS in its London office.

According to Bloomberg, Mr. Danziger was fired by RBS on October 21, 2011. On August 1,

2018, the Financial Conduct Authority fined Mr. Danizger £250,000 and prohibited him from

performing any function in relation to any regulated financial activity due to his involvement in

RBS’ alleged manipulation of Yen-LIBOR.

       857.    Tan Chi Min (“Jimmy Tan”) was the head of short-term interest rate trading for

Yen at RBS and the head of Delta One trading in Singapore. Tan was fired in November 2011.

       858.    In addition, other RBS traders have been implicated in the manipulation of Yen-

LIBOR. According to CCB Officer Brian Elliott’s May 18, 2011 affidavit, Brent Davies, an

RBS trader, was one of the traders believed to be involved in the manipulation of Yen-LIBOR.

According to the affidavit, Trader A explained to Mr. Davies who his collusive contacts were

and how he had and was going to manipulate Yen-LIBOR. Trader A also communicated his

trading positions, his desire for certain movement in Yen-LIBOR and gave instructions for Mr.

Davies to get RBS to make Yen-LIBOR submissions consistent with Trader A’s wishes. Mr.

Davies acknowledged these communications and confirmed that he would follow through.




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Trader A and Mr. Davies also entered into transactions that aligned their trading interest in

regards to Yen-LIBOR.

       859.     In addition, Will Hall, a derivatives trader at RBS in London, was named in

Elliott’s May 18, 2011 affidavit as one of the traders believed to be involved in the manipulation

of Yen-LIBOR. According to the affidavit, Trader A communicated to Mr. Hall his trading

positions, his desire for a certain movement in Yen-LIBOR and instructions to get RBS to make

Yen-LIBOR submissions consistent with his wishes, and Mr. Hall agreed to do this.

       860.     Todd Morakis was RBS’ Singapore-based head of trading for emerging markets.

According to documents filed in the Singapore litigation, Mr. Morakis “orally confirmed to

[Tan] around October [2011] that ‘the practice of requesting to change the rate Libor is common

in every rate setting environment in the banking industry.’”

       861.     Further, Jezri Mohideen, RBS head of rates trading and yen products, was

suspended as a result of his involvement in the manipulation of Yen-LIBOR.

              2. Citibank/Citigroup

       862.     The Financial Times reported that Hayes “allegedly worked with …other traders

to push submissions up or down for a benchmark interest rate called yen Libor.” Hayes was

fired by Citibank in 2010.

       863.     Brian McAppin was Citigroup’s brokerage head in Japan. The Japanese

investigation found that McAppin “overlooked” attempts by two traders to influence interest

rates despite “recognizing these actions.”

       864.     Citigroup Inc.’s head of Japan banking, Darren Buckley, resigned as chief

executive officer of Citibank Japan Ltd., and Citigroup was forced to write off $50 million

dollars in losses when it unwound positions it held in Yen-LIBOR-based derivatives and

reported the rate setting misconduct to regulators.
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       865.     Tom Hayes was fired by Citigroup less than a year after the bank hired him after

an internal investigation revealed that Hayes had manipulated Yen-LIBOR.

              3. UBS


       866.     Two former UBS traders, Tom Hayes and Roger Darin, have been criminally

indicted by the DOJ.

       867.     On August 8, 2012, the Wall Street Journal reported that UBS had fired or

suspended approximately 20 traders and managers following UBS’ involvement in the

manipulation of Yen-LIBOR. The Financial Times also reported that Yvan Ducrot, co-head of

UBS’ rates business, and Holger Seger, the global head of short-term interest rates trading at

UBS, were both suspended by UBS.

       868.     On January 9, 2013, Bloomberg reported that UBS had “dismissed, penalized or

reprimanded” over 40 people. About 18 people had lost their jobs and UBS had “taken action”

against 40 people.

       869.     Two former UBS traders in Singapore, Mukesh Kumar Chhaganlal (UBS’ former

co-head of macro-trading for emerging markets in Asia) and Prashant Mirpuri (a former UBS

executive director) each claimed in separate lawsuits against UBS that they were fired by UBS in

an effort to cover up its role in the manipulation of Yen-LIBOR.

              4. JPMorgan Chase

       870.     Paul Glands was a derivatives trader with JPMorgan Chase in London. He was

named in CCB Officer Elliott’s May 18, 2011 affidavit as one of the traders believed to be

involved in the manipulation of Yen-LIBOR. According to the affidavit, Trader A

communicated to Mr. Glands his trading positions, his desire for a certain movement in Yen-




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LIBOR, and instructions to get JPMorgan Chase to make Yen-LIBOR submissions consistent

with his wishes, and Mr. Glands agreed to do so.

       871.     Stewart Wiley was a derivatives trader with JPMorgan Chase in London. He was

named in CCB Officer Elliott’s May 18, 2011 affidavit as one of the traders believed to be

involved in the manipulation of Yen-LIBOR. According to the affidavit, Trader A

communicated to Mr. Wiley his trading positions, his desire for a certain movement in Yen-

LIBOR, and instructions to get JPMorgan Chase to make Yen-LIBOR submissions consistent

with his wishes, and Mr. Wiley agreed to do so. According to CCB Officer Brian Elliott’s May

18, 2011 affidavit, the Cooperating Party’s Trader A also asked if Paul Glands or Stewart Wiley

required certain Yen-LIBOR submissions to aid their trading positions.

              5. Deutsche Bank

       872.     Guillaume Adolph was a Deutsche Bank derivatives trader who was named in

CCB Officer Elliott’s May 18, 2011 affidavit as one of the traders believed to be involved in the

manipulation of Yen-LIBOR. According to the affidavit, Trader A communicated to Adolph his

trading positions, his desire for a certain movement in Yen-LIBOR and instructions to get

Deutsche to make Yen-LIBOR submissions consistent with his wishes, and Adolph agreed to do

so. Further, according to the affidavit, Adolph shared his trading positions with Trader A.

Trader A also aligned his trading positions with Adolph to align their interests in respect of Yen-

LIBOR. Adolph was fired by Deutsche in December 2011 for conspiring with former UBS

Trader Tom Hayes to manipulate Yen-LIBOR.

       873.     In January 2013, Deutsche Bank announced that it fired at least two traders in

connection with LIBOR-rigging.

       874.     On November 28, 2012, The Wall Street Journal reported that Deutsche had

admitted to the German Parliament that it failed to uphold interest rate reporting standards.
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              6. HSBC

       875.     Peter O’Leary was an HSBC derivatives trader who was named in CCB Officer

Elliott’s May 18, 2011 affidavit as one of the traders believed to be involved in the manipulation

of Yen-LIBOR. According to the affidavit, O’Leary was instructed by Trader A at UBS “to get

HSBC to make Yen-LIBOR submissions consistent with his wishes.”

              7. Barclays

       876.     Following the announcement of the Barclays Settlement, Chairman Marcus

Agius, Chief Executive Officer Robert Diamond, and Chief Operating Officer Jerry Del Missier

resigned. On November 28, 2012, The Wall Street Journal reported that Defendant Barclays had

disciplined 13 members of its staff for their involvement in LIBOR rate-fixing.

              8. Bank of Tokyo-Mitsubishi UFJ/Mitsubishi UFJ Financial Group

       877.     Christian Schluep was suspended by co-conspirator Bank of Tokyo-Mitsubishi

UFJ. Schluep joined Bank of Tokyo-Mitsubishi UFJ after serving as a derivatives trader at

Rabobank from December 2003 until October 2008.

       878.     Paul Robson was suspended by co-conspirator Bank of Tokyo-Mitsubishi UFJ for

his alleged involvement in the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives. Robson was a former derivatives trader at Defendant Rabobank for eight years

(from approximately 2001 through August 2009). As alleged above, Robson was criminally

charged with conspiracy to commit wire fraud and bank fraud, as well as wire fraud, by the DOJ

in connection with the manipulation of Yen-LIBOR from May 2006 through early 2011.

       879.     In August 2012, co-conspirator Mitsubishi UFJ Financial Group Inc. suspended a

third London-based banker who was in charge of submitting co-conspirator Mitsubishi UFJ

Financial Group Inc.’s LIBOR rates.



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              9. Rabobank

       880.     On July 27, 2012, Reuters reported that Defendant Rabobank fired four of its

LIBOR submitters between 2008 and 2011 for their involvement in rate manipulation. Seven

former Rabobank traders, Paul Robson, Paul Thompson, Tetsuya Motomura, Takayuki Yagami,

Lee Stewart, Anthony Allen, and Anthony Conti were charged by the DOJ with allegations

including conspiracy to commit wire fraud, conspiracy to commit bank fraud, and wire fraud in

connection with the manipulation of Yen-LIBOR from May 2006 through early 2011. See Ex.

D-5. Robson, Thompson, Yagami, and Stewart each plead guilty to conspiracy to commit wire

fraud and conspiracy to commit bank fraud for their role in the conspiracy to manipulate Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives. Allen and Conti were found guilty of

conspiracy to commit wire fraud, conspiracy to commit bank fraud, and wire fraud in connection

with the manipulation of Yen-LIBOR.

              10. R.P. Martin

       881.       Terry Farr and James Gilmour, two former employees of inter-dealer broker R.P.

Martin Holdings Ltd., have been arrested by the U.K. Serious Fraud Office and City of London

police “in connection with the investigation into the manipulation of LIBOR.”

              11. ICAP

       882.     As alleged above, three former ICAP brokers, Darrell Read, Daniel Wilkinson

and Colin Goodman have been criminally charged by the DOJ with conspiracy to commit wire

fraud and wire fraud in connection with the manipulation of Yen-LIBOR.

              12. Tullett Prebon

       883.      Noel Cryan was dismissed in September 2013 following Tullett Prebon’s internal

disciplinary hearings for gross misconduct and the manipulation of Yen-LIBOR. Cryan admitted



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“he had arranged [the trades]” with UBS. According to Cryan, managers at Tullett Prebon were

aware of and encouraged the manipulation.

       884.      Cryan said that Tullett senior managers encouraged him to enter wash trades to

generate illicit revenue for Tullett after Tullett saw commissions at a rival broker reach

£100,000. One allegedly told him to “get involved.”

       885.      Cryan also said that some of the wash trades were conducted after conversations

by another Tullett Prebon broker with an RBS trader.

       D. The BBA’s Re-Evaluation of Rate-Setting Process

       886.      The rate-setting manipulation has prompted the BBA to re-evaluate the Yen-

LIBOR rate-setting process.

       887.      Remarking on an August 2012 review of allegations of LIBOR-rigging by the

FSA, the managing director of the FSA, Martin Wheatley, said that maintaining the current

system for setting LIBOR “was not a viable option.”

       888.      On September 24, 2012, CFTC Chairman Gary Gensler told a hearing of the

European Parliament’s Economic and Monetary Affairs Committee that the current rate setting

process, in which there was no supervision or overview by regulators, left LIBOR “open to

manipulation.”

       889.      On September 25, 2012, it was announced that the BBA’s governing council

voted on September 13 to give up its role in setting LIBOR, reportedly opening the door for

government involvement in the rate-setting process.

       890.      On February 25, 2013, the BBA formally voted to relinquish its role in the setting

of LIBOR.




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         891.     On February 1, 2014, the administration of LIBOR was transferred from the BBA

  to the Intercontinental Exchange Group (“ICE”) to address the need for a new administrator of

  LIBOR highlighted by the Wheatley review.

VI.   Independent Analyses Demonstrate that Yen-LIBOR Was Artificial During the Class
      Period

         892.     Plaintiffs’ analyses demonstrate that Yen-LIBOR was artificial throughout the

  Class Period.

         A. Yen-LIBOR Diverged Dramatically From its Historical Relationship with the
            Euroyen Deposit Rate

         893.     Throughout the Class Period, Yen-LIBOR diverged dramatically from its

  historical relationship with the Euroyen Deposit Rate (the “EYDR”).

         894.     The EYDR is comprised of quotes for bids and asks of financial institutions

  seeking to transact in the three-month Euroyen market. The EYDR is calculated on a daily basis

  by Bloomberg. Bloomberg collects actual transactions in three-month Euroyen by a group of

  financial institutions, including banks and brokerages. Throughout the Class Period, Bloomberg

  published on a daily basis the lowest composite EYDR ask rate offered by active, contributing

  banks as well as a composite EYDR bid rate which is the highest bid rate offered by active,

  contributing banks. Bloomberg also published the mid-point between the composite ask and

  composite bid rates.

         895.     The EYDR is similar to Yen-LIBOR except that the set of participating financial

  institutions is larger than the number of banks participating on the Yen-LIBOR panel. Important

  market and financial fundamentals, such as day-to-day changes in monetary policy, market risk

  and interest rates, as well as risk factors facing the contributing banks should (absent

  manipulation) be reflected similarly in Yen-LIBOR and the EYDR, and therefore not cause the

  historical relationship between these rates to diverge. Significant de-linkages in the historical

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relationship between Yen-LIBOR and the EYDR (as demonstrated in Figures 1 and 2 below)

during the Class Period strongly indicate that Yen-LIBOR was artificial.

         896.    The historical spread relationship between Yen-LIBOR and the EYDR broke

down during the Class Period. Figures 1 and 2 below show the relationship, including spread

relationship, between Yen-LIBOR and the EYDR for the period of January 2003 through June

2012.363

         897.    As demonstrated therein, from January 2003 through December 2005, Yen-

LIBOR and the EYDR moved closely together with Yen-LIBOR remaining consistently and

slightly higher than the EYDR, causing the Yen-LIBOR/EYDR spread to be slightly positive.

The average spread of Yen-LIBOR with respect to the EYDR ask rate for the 36 months prior to

the Class Period (January 3, 2003 to December 31, 2005) was a positive 0.0480. During this pre-

Class Period, there were 698 days of Yen-LIBOR submissions with EYDR ask quotes available.

On only 22 days out of 698 days (or 3.2%) did a slightly negative spread between Yen-LIBOR

and EYDR exist.

         898.    As demonstrated in Figures 1 and 2 below, by the start of the Class Period, the

historical relationship between Yen-LIBOR and the EYDR began to change. Further into the

Class Period, the relationship became further materially de-linked, providing strong evidence of

artificiality. For example, on December 11, 2007 the Yen-LIBOR/EYDR spread was -0.081; on

October 2, 2008 it was -0.968; on July 14, 2009 it was -0.216, and on June 1, 2010 it was -0.108,

or more than 100 basis points negative (and far from the historical slightly positive Yen-




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  In Figure 2, the spread is calculated as follows: the spread equals the 3 Month Yen-LIBOR minus the 3 Month
EYDR.

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LIBOR/EYDR average spread of 0.0480 that existed during the 36 months preceding the Class

Period).



                                        FIGURE 1




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                                           FIGURE 2




       B. Analyses of the Defendant Banks’ and Co-conspirators Yen-LIBOR Quotes
          Submitted During the Class Period, as Compared to the then Prevailing EYDR,
          Further Demonstrate Artificiality.

       899.    Figure 3 below presents examples of quotes submitted by Contibutor Bank

Defendants and Co-conspirators that were significantly lower than the prevailing EYDR, often

by 75 basis points, and on certain instances more than 100 basis points (or a full percentage

point) below the the-then prevailing EYDR, further supporting Yen-LIBOR artificiality during

the Class Period.

       900.    For example, as illustrated in Figure 3 below, on October 8, 2008, co-conspirators

Bank of Tokyo-Mitsubishi, Sumitomo Mitsui Banking Corp. and Norinchukin Bank submitted

Yen-LIBOR quotes of 0.98, 0.99, and 0.97, which were respectively lower than the prevailing

EYDR of 2.00 by -1.02, -1.01, and -1.03. On November 17, 2008, co-conspirators JPMorgan

Chase and Deutsche Bank, and Defendant UBS all submitted a Yen-LIBOR quote of 0.85, lower

than the prevailing EYDR of 1.80 by -0.95. Deutsche Bank has since admitted to colluding with

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UBS trader Hayes to manipulate Yen-LIBOR. Each of the foregoing rate submissions resulted

in negative spreads which diverged materially from the historical, pre-Class Period average

positive spread of 0.0480 between Yen-LIBOR and the EYDR.




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                                                                                 FIGURE 3

                           3 Month Yen LIBOR Quotes, EuroYen Deposit Rate (ask) and Associated Spread for Each Bank on Selected Days


                                                                          10/8/2008                     10/9/2008                     10/10/2008                    10/14/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Bank of America                 Bank of America                        0.98     2.00     -1.02       0.98     2.00     -1.02       1.00     1.90     -0.90      1.03      1.80     -0.77

                                                                          10/8/2008                     10/10/2008                    10/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Bank of Tokyo-Mitsubishi        Bank of Tokyo-Mitsubishi               0.98     2.00     -1.02       1.02     1.90     -0.88       1.02     1.80     -0.78       0.88     1.80     -0.92

                                                                          10/10/2008                    10/14/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Barclays                        Barclays                               1.25     1.90     -0.65       1.35     1.80     -0.45       1.14     1.80     -0.66       1.16     1.80     -0.64

                                                                          10/10/2008                    11/11/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Citibank                        Citibank                               1.15     1.90     -0.75       0.88     1.80     -0.92       0.89     1.80     -0.91      0.90      1.80     -0.90

                                                                          10/10/2008                    10/14/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Deutsche Bank                   Deutsche Bank                          1.03     1.90     -0.87       1.00     1.80     -0.80       0.85     1.80     -0.95       0.85     1.80     -0.95

                                                                          10/10/2008                    10/14/2008                    10/15/2008                    10/16/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
HSBC                            HSBC                                   1.14     1.90     -0.76       1.13     1.80     -0.67       1.12     1.80     -0.68      1.10      1.70     -0.60

                                                                          11/12/2008                    11/13/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
JP Morgan Chase                 JP Morgan Chase                        0.86     1.80     -0.94       0.86     1.70     -0.84       0.85     1.80     -0.95       0.85     1.80     -0.95

                                                                          11/12/2008                    11/13/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Lloyds                          Lloyds Banking Group                   0.90     1.80     -0.90       0.90     1.70     -0.80       0.91     1.80     -0.89      0.90      1.80     -0.90

                                                                          10/10/2008                    10/14/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Mizuho Corporate Bank           Mizuho Corporate Bank                  1.07     1.90     -0.83       1.07     1.80     -0.73       0.88     1.80     -0.92      0.88      1.80     -0.92

                                                                          10/8/2008                     10/10/2008                    10/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Norinchukin Bank                Norinchukin Bank                       0.97     2.00     -1.03       0.99     1.90     -0.91       0.99     1.80     -0.81      0.87      1.80     -0.93

                                                                          10/10/2008                    10/14/2008                    10/16/2008                    10/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Rabobank                        Rabobank                               0.80     1.90     -1.10       0.80     1.80     -1.00       0.80     1.70     -0.90      0.80      1.70     -0.90

                                                                          10/10/2008                    10/14/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Royal Bank of Scotland          Royal Bank of Scotland                 1.08     1.90     -0.82       1.06     1.80     -0.74       0.86     1.80     -0.94      0.86      1.80     -0.94

                                                                          10/8/2008                     10/9/2008                     10/14/2008                    10/15/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Societe Generale                Societe Generale                       1.25     2.00     -0.75       1.25     2.00     -0.75       1.20     1.80     -0.60      1.20      1.80     -0.60

                                                                           10/8/2008                     10/9/2008                     10/10/2008                    10/14/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
Mitsui Sumitomo Banking Corp Sumitomo Mitsui Banking Corp             0.99    2.00   -1.01          0.99    2.00   -1.01          1.02    1.90    -0.88         1.02    1.80    -0.78

                                                                          10/10/2008                    10/14/2008                    11/14/2008                    11/17/2008
                                                                     LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread          LIBOR EY(Ask) Spread
UBS AG                          UBS AG                                 1.03     1.90     -0.87       1.03     1.80     -0.77       0.85     1.80     -0.95       0.85     1.80     -0.95

Data Source: Bloomberg.
Note: "LIBOR" denotes the bank's 3 month Yen LIBOR quote for that day, and "EY(ask)" denotes the 3 month Yen EuroYen Deposit Rate ask. The spread is calculated as 3 Month Yen LIBOR quote
minus ask price of the 3 Month EuroYen Deposit Rate. The ask price of the EuroYen Deposit Rate is provided by Bloomberg. All figures are in percentage points.




              901.           Figures 4 through 19 below measure the spread between the EYDR and each

Yen-LIBOR panel bank’s submitted Yen-LIBOR quote to the BBA during the period from

January 2003 through June 2012.

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                               FIGURE 4


Average Spreads of Banks' Yen LIBOR Quotes to the
        EuroYen Deposit Rate (Ask Quote)
                                1/3/2003 --   1/1/2006 --   5/1/2009 --
                                12/31/2005    4/30/2009     6/30/2011
Bank of America                   0.0403       -0.0288       -0.0009
Bank of Tokyo-Mitsubishi          0.0556       -0.0502       -0.0047
Barclays                          0.0427       -0.0014       -0.0124
Citibank                          0.0487       -0.0345       -0.0092
Deutsche Bank                     0.0482       -0.0526       -0.0366
HSBC                              0.0546       -0.0254       -0.0117
JP Morgan Chase                   0.0370       -0.0428       -0.0152
Lloyds Banking Group              0.0158       -0.0284       -0.0083
Mizuho Corporate Bank             0.0655       -0.0349       -0.0036
Norinchukin Bank                  0.0732       -0.0422       -0.0058
Rabobank                          0.0365       -0.0378       -0.0311
Royal Bank of Scotland            -0.0046      -0.0504       -0.0182
Societe Generale                  0.0384       -0.0053       -0.0156
Sumitomo Mitsui Banking Corp      0.0642       -0.0416       -0.0036
UBS AG                            0.0429       -0.0514       -0.0196




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                              FIGURE 5




                              FIGURE 6




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                              FIGURE 7




                              FIGURE 8




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                              FIGURE 9




                              FIGURE 10




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                              FIGURE 11




                              FIGURE 12




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                              FIGURE 13




                              FIGURE 14




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                              FIGURE 15




                              FIGURE 16




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                              FIGURE 17




                              FIGURE 18




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                                           FIGURE 19




       C. The Difference Between Defendants’ Reported Yen-LIBOR Quotes and their CDS
          Spreads Strongly Supports Yen-LIBOR Artificiality

       902.    Another economic indicator that Yen-LIBOR was artificial during the Class

Period is the difference between the Yen-LIBOR Defendant panel banks’ reported daily Yen-

LIBOR quotes and the contemporaneous cost of buying default insurance, known as the

“spread,” on credit-default swaps (“CDS”) that Yen-LIBOR Defendant panel banks issued

during the Class Period.

       903.    A CDS is a contract which transfers credit risk from a credit protection buyer to a

credit protection seller. This agreement occurs when one party, the protection buyer, seeks

financial protection in event of a default on an underlying credit instrument, such as a bond or a

loan. Generally, a CDS buyer makes a series of payments (known as the CDS “fee” or “spread”)

to the CDS seller in exchange for a payment if the underlying credit instrument experiences an

adverse credit event.

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       904.    The spread serves as a measure of the perceived risk of default by the entity

issuing the underlying bond or receiving the loan. Typically, the greater the risk of default the

underlying bond or loan bears, the higher the CDS spread. In the case of a CDS for which the

underlying instrument consists of an interbank loan where a Yen-LIBOR panel bank is the

borrower, the greater the perceived risk the panel bank will default on the loan, the higher the

applicable CDS spread, as this higher spread represents the cost of insuring against the increased

risk of a default on the underlying loan.

       905.    It is expected that an individual Yen-LIBOR bank’s daily quote and its CDS

spreads should move in relative lockstep, meaning that when an individual bank has a CDS

spread that is one of the lowest when compared to all other banks in the group, it should also

have one of the lowest LIBOR quotes in the group. Plaintiffs’ economic analyses indicate that

this was not the case during the Class Period, and in particular from September 12, 2008 through

January 19, 2009, when banks with the highest CDS spreads in the Yen-LIBOR panel very often

(nearly 100% of the time) submitted the lowest Yen-LIBOR quotes.

       906.    Plaintiffs analyzed available CDS spread data for select Yen-LIBOR panel banks.

       907.    In Figures 20 and 21, below, Plaintiffs conducted an intraday rank ordering

whereby on each given day, Yen-LIBOR quotes submitted by Yen-LIBOR panel bank

Defendants were ranked (ordered) from highest to lowest. The quotes were then classified into

two groups: above or equal, and below the median Yen-LIBOR quote for that day, among the

same group of banks. Similar rank ordering was performed for CDS spreads for the same group

of banks, and the CDS spreads were classified into two groups:, above or equal, and below the

median CDS spread on that day, within the same group of banks. For each bank, results were

organized into the three following groups: (i) Yen-LIBOR Quote Below Median & CDS Above



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or Equal Median (Black); (ii) Yen-LIBOR Quote Above or Equal Median & CDS Above or

Equal Median together with Yen-LIBOR Quote Below Median & CDS Below Median (Dotted);

and (iii) Yen-LIBOR Quote Above or Equal Median & CDS Below Median (Gray).

       908.   Among other findings, Figure 20 shows that from September 12, 2008 through

January 19, 2009, Defendant UBS’ Yen-LIBOR quotes were below its CDS spread almost 100%

of the time, and that the Yen-LIBOR quotes submitted by co-conspirators Deutsche Bank and

Mizuho Corporate Bank, and Defendant Rabobank were below their respective CDS spreads

50% (or nearly 50%) of the time.

                                        FIGURE 20




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           909.        Figure 21 below illustrates additional examples of when Yen-LIBOR Defendant

and co-conspirator banks submitted Yen-LIBOR quotes well below their then-prevailing CDS

spreads. For example, on October 15, 2008, Deutsche Bank submitted the lowest Yen-LIBOR

quote, yet its CDS spread was the 9th lowest amongst 12 CDS spreads for that day. This means

that Deutsche Bank had one of the highest CDS spreads among the Yen-LIBOR panel banks on

that day, while having the lowest Yen-LIBOR quote. UBS is one of the banks with the largest

difference between its CDS spreads and Yen-LIBOR quotes. For example, on September 16, 25,

26 and 29 of 2008, UBS submitted the lowest Yen-LIBOR quote yet it had the highest CDS

spread among 12 CDS spreads for that day.

                                                                         FIGURE 21

                       Intraday Rank Ordering of LIBOR Quotes and Credit Default Swaps

                                  10/15/2008                      10/22/2008                      10/23/2008                      10/24/2008
                              LIBOR Rank CDS Rank             LIBOR Rank CDS Rank             LIBOR Rank CDS Rank             LIBOR Rank CDS Rank
Deutsche Bank                     1          9                    2         11                    2         11                    2         11

                           10/8/2008                              10/15/2008                      10/28/2008                       11/4/2008
                      LIBOR Rank CDS Rank                     LIBOR Rank CDS Rank             LIBOR Rank CDS Rank             LIBOR Rank CDS Rank
Mizuho Corporate Bank     3          10                           5         11                    1          8                    4          10

                                  10/10/2008                      10/13/2008                      10/14/2008                      12/16/2008
                              LIBOR Rank CDS Rank             LIBOR Rank CDS Rank             LIBOR Rank CDS Rank             LIBOR Rank CDS Rank
Rabobank                          1          8                    1          9                    1          9                    2         10

                                   9/16/2008                       9/25/2008                       9/26/2008                       9/29/2008
                              LIBOR Rank CDS Rank             LIBOR Rank CDS Rank             LIBOR Rank CDS Rank             LIBOR Rank CDS Rank
UBS AG                            1          12                   1          12                   1          12                   1          12


Data Source: Bloomberg; CDS data from CMA.
Note: The rank is from lowest to highest, i.e., a rank of 1 for LIBOR means that the bank had the lowest quote submitted that day. Similarly, a rank of 9
for CDS means that the bank had the ninth lowest CDS subnitted that day. On each given day there were an average of 12 to 13 banks contributing to
the LIBOR panel for which CDS data were available.




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VII.      During the Class Period, Plaintiffs Transacted in Yen-LIBOR-based derivatives at
          Artificial Prices Proximately Resulting From Defendants’ Manipulation and False
          Reporting of Yen-LIBOR

               A. FLH as Assignee and Successor to Sonterra

               910.      Prior to entereing into the APA with Plaintiff FLH, Sonterra entered into U.S.-

   based transactions for Yen-LIBOR-based derivatives during the Class Period, including Yen

   foreign exchange forwards, at artificial prices proximately caused by Defendants’ manipulative

   conduct and suffered legal injury. For example, on May 20, 2010, Sonterra entered into a Yen

   foreign exchange forward, agreeing to buy $2,111,434.86 for ¥190,000,000.00 on May 28, 2010.

               911.      Communications released as part of RBS’ settlement with the CFTC demonstrates

   that Defendants were involved in manipulating six-month Yen-LIBOR on May 20, 2010:

                         May 20, 2010:

                         RBS [Tan]: [Danziger/Yen Trader 6] can ask [Paul White] to bump up 6m JPY
                         libor by 1bp

                         RBS [Danziger]: sure

                         RBS [Tan]: tx

                         [RBS] Yen Trader 6: yes364

               912.      As explained in ¶ 267, supra, the CFTC has found in its settlements with both

   RBS365 and Rabobank366 that Yen foreign exchange forwards are one of several Yen-LIBOR-

   based derivatives priced based on Yen-LIBOR and therefore were affected by Defendants’

   manipulation of Yen-LIBOR during the Class Period.




   364
         Ex. B-4 at 9.
   365
         Id. at 6 (explaining Yen foreign exchange forwards are “priced based on” Yen-LIBOR).
   366
         Ex. D-2 at 6 (explaining Yen foreign exchange forwards are “priced off of” Yen-LIBOR).

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       913.     Defendants’ upward manipulation of Yen-LIBOR on May 20, 2010, artificially

increased the cost for Sonterra to purchase Yen foreign exchange forwards on that date. As a

result, Sonterra was injured when it entered into a Yen foreign exchange forward at an artificially

higher price on May 20, 2010.

       B. The Hayman Plaintiffs

                         1. Plaintiff JMOF


       914.     Plaintiff JMOF entered into dozens of U.S.-based transactions for Yen-LIBOR-

based derivatives, including Yen-LIBOR-based interest rate swaps and swaptions and foreign

exchange options, directly with Defendant Merrill Lynch and co-conspirators JPMorgan Chase

Bank, N.A. and Deutsche Bank AG during the Class Period between July 11, 2010 and June 23,

2011. Each of these transactions directly incorporated Yen-LIBOR as a price component.

       915.     JMOF was injured as a direct result of Defendants’ conspiracy to manipulate Yen-

LIBOR. As alleged herein, Defendants Barclays, RBS, UBS, Rabobank, Lloyds, and Societe

Generale have each admitted to manipulating Yen-LIBOR to benefit their derivatives positions

during this period when Plaintiff JMOF transacted Yen-LIBOR-based interest rate swaps,

swaptions and foreign exchange options with Defendants. The CFTC, FCA, and NYDFS have

also found that Defendants ICAP and R.P. Martin manipulated Yen-LIBOR during the same

period. Defendants’ and their co-conspirators’ coordinated manipulation of Yen-LIBOR during

this period caused JMOF to suffer monetary losses including, for example, in the following

transactions:

                          a. On September 29, 2010 JMOF purchased a Yen-LIBOR-based
                             swaption from JPMorgan Chase Bank, N.A. This swaption gave
                             JMOF the right, but not the obligation, to enter into an interest rate
                             swap with JPMorgan Chase Bank, N.A. on October 2, 2013 in
                             which JMOF would pay 2.5% per year on ¥4,123,860,000 in

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                             exchange for receiving floating rate payments tied to Yen-LIBOR.
                             JMOF was overcharged when it paid a $225,000.00 premium for
                             this swaption, which is more than it otherwise would have paid
                             absent Defendants’ unlawful conduct.

                         b. On June 17, 2011, JMOF sold a foreign exchange option to Merrill
                            Lynch, giving JMOF the right to sell Yen against USD with a
                            strike price of 102.25. JMOF was underpaid when it received a
                            $316,540.00 premium from Merrill Lynch for this option, which is
                            less than it otherwise would have absent Defendants’ unlawful
                            conduct.
                       2. Plaintiff HCMF

       916.   Plaintiff HCMF entered into dozens of Yen-LIBOR-based derivatives transactions

from within the United States during the Class Period, including Yen-LIBOR-based interest rate

swaps and swaptions and foreign exchange options, with Defendants Barclays Bank PLC and

Merrill Lynch International and co-conspirators JPMorgan Chase Bank, N.A. and Deutsche Bank

AG between July 15, 2009 and June 15, 2011. Each of these transactions directly incorporated

Yen-LIBOR as a price component.

       917.   HCMF was injured as a direct result of Defendants’ conspiracy to manipulate

Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. As alleged herein, Defendants and

co-conspirators Barclays, RBS, UBS, Rabobank, Lloyds, SocGen, and Deutsche Bank have each

admitted to manipulating Yen-LIBOR during the Class Period, when Plaintiff HCMF transacted

Yen-LIBOR-based swaptions and foreign exchange options with Defendants. The CFTC, FCA,

and NYDFS have also found that Defendants ICAP and R.P. Martin participated in the

conspiracy to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives during

the same period. Defendants’ manipulation of Yen-LIBOR during this period caused HCMF to

suffer monetary losses by artificially increasing the amount HCMF paid to purchase these

swaptions and foreign exchange options from Defendants, and artificially reduced the amount

received when it sold these derivatives to Defendants. Likewise, Defendants’ manipulation of

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Yen-LIBOR increased the cost for HCMF to enter and exit Yen-LIBOR-based swap transactions

entered with the Defendants during the same period, causing HCMF to suffer monetary loss.

       918.    For example, on July 15, 2009, HCMF entered into a Yen-LIBOR-based interest

rate swap with Merrill Lynch International, agreeing to pay 1.515% interest per year on

¥2,500,000,000, in exchange for receiving floating rate payments based on Yen-LIBOR.

       919.    Communications released as part of Defendant UBS’ settlements with the CFTC

and FCA demonstrate that Defendants were engaged in manipulating six-month Yen-LIBOR at

the time of this transaction. For example:

               June 26, 2009:

               UBS [Hayes]: basically I will help you in 2 weeks time…I am the same way

               Deutsche Bank [Adolph]: Perfect

               UBS [Hayes]: But for the next 2weeks i really really need you to put 6m higher

               Deutsche Bank [Adolph]: what is the date just that i know?

               UBS [Hayes]: july 14

               Deutsche Bank [Adolph]: Ok having a look

               UBS [Hayes]: after that i need 6m to crash off like you.

               Deutsche Bank [Adolph]: that is no problem for me, i do nothing with the cash
               guys until then

               UBS [Hayes]: I need you to move 6m up for 2 weeks mate

               Deutsche Bank [Adolph]: But after urs please

               ***

               UBS [Hayes]: i will then get our 6m way down after july 18th it is

               Deutsche Bank [Adolph]: ok

               UBS [Hayes]: and will try to get everyone else down too



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                       Deutsche Bank [Adolph]: when is the lest fixing date? ... the last july fixing
                       date??”

                       UBS [Hayes]: 18th ... then i a need low low low ... sry 17th ... i happy for all
                       libors off after that date ... only reason ion bid is i have huge huge position that
                       way so am happy for to come lower after the 17th”

                       Deutsche Bank [Adolph]: ok enough enough 367

            920.       Defendants’ manipulation of six-month Yen LIBOR artificially higher leading up

to and during Operation 6M artificially increased the amount of interest HCMF was required to

pay Merrill Lynch in the interest rate swap it purchased on July 15, 2009. As a result, HCMF

was overcharged and suffered monetary losses because the interest rate swap it purchased from

Merrill Lynch provided a lower return and was worth less than it would have been absent

Defendants’ conspiracy.

            921.       In another example, on August 6, 2009, HCMF sold a foreign exchange option to

JPMorgan, giving JPMorgan the right to purchase $125,000,000.00 in exchange for Yen at a

strike price of 102.5 yen/dollar. JPMorgan paid HCMF $4,587,500.00 for this option.

            922.       Communications released as part of Defendant Deutsche Bank’s settlement with

the DOJ, Defendant UBS’ settlement with the CFTC, and Broker Defendant ICAP’s settlement

with the CFTC demonstrate that these transactions occurred while Defendants were engaged in a

concerted effort to manipulate three-month and six-month Yen-LIBOR lower during August and

September 2009 as part of Operation 6M. For example, in the chats below, UBS trader Tom

Hayes discusses lowering six-month Yen-LIBOR lower between July 15, 2009 and August 11,

2009.

                       July 14, 2009:



367
      Ex. I-2 at 28.

                                                        365
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                   UBS [Hayes]: just fyg [for your guide] after eom [end of month] will get 6m
                   down a lot. we will move from top to bottom and so will [HSBC]368

                   July 22, 2009

                   UBS [Hayes]: 11th aug is the big date i still have lots of 6m fixings till the l0th

                   ICAP [Read]: christ keeps getting extended started off as 14th of this month :-)

                   UBS [Hayes]: i know

                   ICAP [Read]: if you drop your 6m dramatically on the 11th mate, it will look
                   v fishy, especially if HSBC and Deutsche Bank go with you I’d be v careful how
                   you play it, there might be cause for a drop as you cross into a new month but a
                   couple of weeks in might get people questioning you

                   UBS [Hayes]: don’t worry will stagger the drops ie 5bp then 5bp

                   ICAP [Read]: ok mate, don’t want you getting into sh it

                   UBS [Hayes]: us then [Deutsche Bank] then [HSBC] then us then [Deutsche
                   Bank] then [HSBC]

                   ICAP [Read]: great the plan is hatched and sounds sensible369

                   July 27, 2009

                   UBS [Hayes] speaking to Tullett Prebon [Cryan]: just trying on their August 11th.
                   All right, I really need a big push. I don’t want threes and ones to move. I just
                   want sixes. On the, August 11th I need to start going down. What will help is we’ll
                   move, HSBC will move, West LB will move a big push

                   July 23, 2009:

                   UBS [Hayes]: ok we need to coordinate the 6m drop when do you need it falling?

                   Deutsche Bank [Adolph]: whenever

                   UBS [Hayes]: ok we need aug 11th you are back by then? if you need earlier let
                   me know i am going to be away the whole of august almost if you need anything i
                   am in london and zurich offices oon blackberry _____@ubs.com will be pushinh
                   lower 6m from aug 11th


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      Id. at 34.
369
      Id. at 36.

                                                    366
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                       Deutsche Bank [Adolph]: back on the 10th in ldn370

                       UBS [Hayes]: ok well lets sort 6m out from 11th will make a massive push
            923.       Consistent with these conversations, six-month Yen-LIBOR decreased

significantly during July and August 2009, from 0.66375 on July 17, 2009 to 0.6325 on August

11, 2009.

            924.       Defendants’ manipulation of six-month Yen LIBOR artificially lower between

July 18 and August 11, 2009 artificially reduced the amount of Yen HCMF would receive per

U.S. Dollar in the foreign exchange option it sold to JPMorgan on August 6, 2009. As a result,

HCMF was underpaid and suffered monetary losses because it received less than it would have

absent Defendants’ manipulation in exchange for the foreign exchange option it sold to

JPMorgan on August 6, 2009.

            925.       Similarly, on September 7, 2009, HCMF entered into two Yen-LIBOR-based

interest rate swaps: (1) with JPMorgan, in which HCMF agreed to pay 1.60875% on

¥4,400,000,000 in exchange for receiving floating rate payments based on Yen-LIBOR; and (2)

with Defendant Merrill Lynch International, in which HCMF agreed to pay 1.59875% on

¥4,400,000,000, in exchange for receiving floating rate payments based on Yen-LIBOR.

            926.       Communications show that Defendants’ and their co-conspirators’ downward

manipulation of six-month Yen-LIBOR as part of Operation 6M continued into September 2009.

For example:

                       August 11, 2009:

                       Deutsche Bank [Adolph]: between u and me 6m libor is going to go very low in
                       sep




370
      Ex. I-2 at 29.

                                                     367
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                       Deutsche Bank [Adolph]: [UBS trader Tom Hayes] will drop and teh others when
                       back from holiday371

                       September 10, 2009:
                       ICAP [Read]: Happy friday mate … libors still heading in the right direction.

                       UBS [Alykulov]: good mng Monday is the d-day

                       ICAP [Read]: big fix?

                       UBS [Alykulov]: Yeah both 3s and 6s

                       ICAP [Read]: low in both?

                       UBS [Alykulov]: ye

                       ICAP [Read]: ok will call [Cash Broker 1 [Colin Goodman]] on the train into
                       work [Mirhat Alykulov], you realise that you have the ability to influence the
                       3m fix, you are currently sitting at the upper end of the range. The 6m will have to
                       come down to others as you are already v low.

                       UBS Yen Trader 1: yep

                       ICAP [Read]: ill remind you to chase your cash boys as well:-)

                       UBS Yen Trader 1: cool:-) on Monday

                       ICAP [Read]: yes372

            927.       As described in the conversations above, six-month Yen-LIBOR artificially

decreased from 0.6325 on August 11, 2009 to 0.58125 on September 7, 2009.

            928.       Defendants’ continued manipulation of six-month Yen-LIBOR through

September 7, 2009 artificially decreased the rate of interest HCMF received in the interest rate

swaps it purchased from JPMorgan and Merrill Lynch International, respectively. As a result,

HCMF was overcharged and suffered monetary losses because the interest rate swaps it




371
      Ex. I-1 at 57.
372
      Ex. C-1 at 34.

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purchased from Merrill Lynch International and J.P. Morgan Chase Bank, N.A. provided a lower

return and were worth less than they would have been absent Defendants’ unlawful conduct.

       929.    On March 4, 2010, HCMF subsequently closed the Yen-LIBOR-based interest

rate swap it entered with Merrill Lynch International on September 7, 2009. In connection with

this transaction, HCMF paid Merrill Lynch International ¥ 505,643.00.

       930.    Communications released as part of Defendant RBS’ settlements with the DOJ,

CFTC, and FSA, in addition to Broker Defendant ICAP’s settlement with the CFTC demonstrate

that Defendants engaged in a concerted effort to, (and in fact successfully did) manipulate three-

month Yen-LIBOR artificially lower on March 4, 2010.

       931.    Beginning on March 3, 2010, former UBS trader Tom Hayes, who was now at

Citibank, messaged ICAP broker Brent Davies to request an artificially lower three-month Yen-

LIBOR:

               March 3, 2010:

               Citibank [Hayes]: I really need a low 3m jpy libor into the imm any favours you
               can get with the due at rbs would be much appreciated even if he on;ly move 3m
               down 1bp from 25 to 24

               ICAP [Davies]: I’ll give him a nudge later, see what he can do

               Citibank [Hayes]: thanks mate really really would appreciate that

               ICAP [Davies]: haven’t seen him since I left so might buy him a steak to catch up

               Citibank [Hayes]: yeah…I have a huge fix on the imm so if he moves 1bp now
               and leaves it that would be great

       932.    ICAP broker Brent Davies subsequently passed on this request to RBS Yen

Submitter Paul White hours later, after the Yen-LIBOR panel banks had already made their Yen-

LIBOR submissions on March 3, 2010 but before they did so March 4, 2010:

               March 3, 2010:

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              ICAP [Davies]: can I pick ur brain?

              RBS [White]: Yeah

              ICAP [Davies]: u see 3m jpy libor going anywhere btween now and imm?

              RBS [White]: looks fairly statis to be honest, poss more pressure on upside, but
              not a lot

              ICAP [Davies]: oh we have a mutual friend who’d ove to see it go down, no
              chance at all?
              RBS [White]: haha [Senior Yen Trader [Tom Hayes]] by chance

              ICAP [Davies]: shhh

              RBS [White]: hehehe, mne should remain flat , always suits me if anything to go
              lower as I rcve funds

              ICAP [Davies]: gotcha, thanks, and, if u cud see ur way to a small drop there
              might be a steak in it for ya, haha

              RBS [White]: noted ;-)

              ICAP [Davies]: 8-)

       933.   As requested in the communications above, RBS artificially lowered its three-

month Yen LIBOR submission from 0.25 on March 3, 2010 to 0.24 on March 4, 2010.

Defendants’ manipulation of Yen-LIBOR on March 4, 2010, caused three-month Yen-LIBOR to

artificially decrease to 0.25063 from 0.2525 on March 3, 2010.

       934.   Indeed, on March 4, 2010 RBS confirmed that it had helped manipulate three-

month Yen LIBOR artificially lower:

              March 4, 2010:

              RBS [White]: Libor lower ;-)

              ICAP [Davies]: good work!!!!

       935.   Defendants’ manipulation of three-month Yen LIBOR artificially lower on March

4, 2010 artificially reduced the amount of interest HCMF would receive under the Yen-LIBOR-

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based interest rate swap it purchased from Merrill Lynch on September 7, 2009, thereby

decreasing its value. As a result, HCMF was overcharged and suffered monetary losses because

Defendants’ manipulation of three-month Yen-LIBOR artificially lower on March 4, 2010

artificially increased HCMF’s cost to close that position.

       C. Plaintiff CalSTRS

       936.     Plaintiff CalSTRS engaged in U.S.-based transactions for Yen-LIBOR-based

derivatives during the Class Period at artificial prices proximately caused by Defendants’

unlawful manipulation and restraint of trade as alleged herein, and as a consequence thereof was

damaged and suffered legal injury when it was overcharged and/or underpaid in those

transactions.

       937.     CalSTRS purchased and sold tens of thousands of Yen-LIBOR-based derivatives

within the United States during the Class Period, including directly from/to the Contributor Bank

Defendants. For example, CalSTRS engaged in transactions for hundreds of Yen foreign

exchange forwards with Defendant UBS between March 27, 2006 and June 24, 2011; hundreds

of Yen foreign exchange forwards with co-conspirator Citibank between February 14, 2006 and

June 29, 2011; hundreds of Yen foreign exchange forwards with co-conspirator Deutsche Bank

between January 11, 2006 and June 30, 2011; hundreds of Yen foreign exchange forwards with

Defendant RBS between January 14, 2006 and May 20, 2011; hundreds of foreign exchange

forwards with Bank of America between January 13, 2006 and June 21, 2011; dozens of Yen

foreign exchange forwards with co-conspirator HSBC Bank between February 22, 2006 and June

23, 2011; hundreds of Yen foreign exchange forwards with co-conspirator JPMorgan between

January 20, 2006 and June 30, 2011; dozens of Yen foreign exchange forwards with Defendant




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Société Générale between March 2, 2006 and February 18, 2011; and dozens of Yen foreign

exchange forwards with Defendant Barclays between January 11, 2006 and June 27, 2011.

       938.    Yen foreign exchange forwards are Yen-LIBOR-based derivatives that are priced

based on Yen-LIBOR. See Part I.B., above. As a result, Defendants’ manipulation of Yen-

LIBOR, caused the prices of Yen foreign exchange forwards to be artificial during the Class

Period. CalSTRS was injured as a direct and proximate result of Defendants’ manipulative

conduct when it paid more for, or received less than it otherwise should have in its transactions

with the Contributor Bank Defendants.

       939.    For example, on December 2, 2010, CalSTRS entered into a Yen foreign

exchange forward with Defendant Barclays, agreeing to purchase ¥806,103,420.00 from

Barclays on December 14, 2010, for $9,649,888.31. CalSTRS also entered into two Yen foreign

exchange forwards with co-conspirator Deutsche on December 2, 2010, agreeing to purchase

¥4,324,477.00 from Deutsche on December 16, 2010, for $51,274.33 and ¥5,242,826.00 from

Deutsche on December 17, 2010, for $62,248.53.

       940.    Communications released as part of ICAP and Rabobank’s settlements with the

CFTC demonstrate that Defendants plotted to manipulate three-month Yen-LIBOR artificially

lower to 0.18 on December 2, 2010:

               December 1, 2010:

               Rabobank [Yagami]: hope this will push libors down

               ICAP [Goodman]: ok we need lower libors tomorrow yes?

               Rabobank [Yagami]: Yeah…

               ICAP [Goodman]: ok ill work some magic for tomorrow :-)

               Rabobank [Yagami]: I want 3. And 6m libor a lot lower…? How?



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                   ICAP [Goodman]: we wait and see, tomorrow lower Friday a bit more but ill do

                   my best

                   Rabobank [Yagami]: Yeah…I think yen libors shud be lower but ppl tend to keep

                   them higher whereas usd libors ppl look like manipulately put them higher

                   ICAP [Goodman]: ill work some magic tomorrow hopefully, 3m 19, 6m 35

                   Rabobank [Yagami]: Mate… 3mth is already below 19

                   ICAP [Goodman]: mistype 18

                   Rabobank [Yagami]: That will be nice

                   ICAP [Goodman]: ok i am on the case for u

                   Rabobank [Yagami]: Thank u mate373

            941.   As Rabobank discussed with ICAP broker Colin Goodman, Defendants

manipulated three-month Yen-LIBOR artificially lower to 0.18 on December 2, 2010. This

downward manipulation of Yen-LIBOR artificially increased the cost for CalSTRS to purchase

Yen foreign exchange forwards from Barclays on December 14, 2010, and Deutsche on

December 16 and 17, 2010. As a result, CalSTRS was injured when it was overcharged by

Barclays and Deutsche Bank for these Yen foreign exchange forwards.

            942.   On March 12, 2008, CalSTRS entered into two foreign exchange forwards with

co-conspirator JPMorgan agreeing to sell a total of ¥1,711,844,943.00 to JPMorgan on June 4,

2008, for $16,296,301.04. Two days later, on March 14, 2008, CalSTRS entered into an

additional Yen currency forward agreement with JPMorgan agreeing to sell ¥915,479,120.00 to

JPMorgan on June 4, 2008 for $8,715,113.71.




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      Id. at 37.

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           943.     Communications released as part of UBS’ non-prosecution agreement with the

DOJ reveal that between March 12, 2008 and March 17, 2008, Defendants were engaged in

manipulating three-month Yen-LIBOR artificially higher to benefit their Yen-LIBOR-based

derivatives positions in advance of the March 17, 2008, IMM date. See ¶ 375, supra.

           944.     Defendants’ upward manipulation of Yen-LIBOR between March 12 and March

17, 2008, artificially decreased the amount that CalSTRS received from JPMorgan when it sold

Yen foreign exchange forwards on March 12 and March 14, 2008. As a result, CalSTRS was

injured when it was underpaid by JPMorgan for these Yen foreign exchange forwards.

           945.     On May 12, 2010, CalSTRS entered into a Yen foreign exchange forward with

Defendant RBS agreeing to purchase ¥198,000,000.00 from RBS for $2,127,644.15 on June 9,

2010.

           946.     Communications released as part of the DOJ criminal complaint against ICAP

brokers Darrell Read, Daniel Wilkinson, and Colin Goodman show that on May 12, 2010, RBS

agreed to lower its three-month Yen-LIBOR quote to 0.23 to assist with Defendants’ downward

manipulation of Yen-LIBOR.

                    May 12, 2010

                    UBS [Hayes]: You know my mate [Brent Davies], he used to work on the
                    cash desk at RBS?

                    ICAP [Read]: Yeah, yeah, yeah.

                    UBS [Hayes]: Well, RBS is going to move its 3-month Yen LIBOR
                    down to 23 today

                    ICAP [Read]: Ah perfect. Perfect. . . . Okay, well Colin’s sending his out
                    as well so that might help. He might get one or two.
                    [Unintelligible] [H]andy man to know, this [Davies]374

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      Ex. C-3 at 26-27.

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       947.    On May 12, 2010, RBS did in fact lower its three-month Yen-LIBOR quote to

0.23, manipulating Yen-LIBOR artificially lower.

       948.    Defendants’ downward manipulation of Yen-LIBOR on May 12, 2010, artificially

increased the cost for CalSTRS to purchase Yen foreign exchange forwards from RBS on June 9,

2010. As a result, CalSTRS was injured by Defendants’ manipulative conduct when it was

overcharged by RBS for this Yen foreign exchange forward.

       949.    On March 3, 2010, CalSTRS entered into a Yen foreign exchange forward with

Defendant UBS agreeing to purchase ¥997,066,480.00 from UBS for $11,263,360.71 on March

19, 2010.

       950.    Communications released as part of RBS and ICAP’s settlements with the CFTC

show that beginning on at least March 3, 2010, co-conspirator Citibank (which by then employed

Tom Hayes), and Defendants RBS and ICAP engaged in a coordinated downward manipulation

of Yen-LIBOR to financially benefit their Yen-LIBOR-based derivatives positions heading into

the March 15, 2010, IMM date. See ¶¶ 624-625, supra.

       951.    Defendants’ suppression of Yen-LIBOR between March 3, 2010 and March 15,

2010, artificially increased the cost for CalSTRS to purchase Yen foreign exchange forwards

from UBS on March 15, 2010. As a result, CalSTRS was injured by Defendants’ manipulative

conduct when it was overcharged by UBS for this Yen foreign exchange forward.

       D. Plaintiffs CalSTRS, Hayman & Sonterra

       952.    In addition to transacting at artificial prices on the limited number of days for

which Defendants’ communications have been released to the public, Plaintiffs also were

damaged and suffered legal injury on their Yen-LIBOR-based derivatives positions because

Defendants’ manipulative conduct rendered Yen LIBOR and the prices of Yen LIBOR-based

derivatives artificial throughout the entire Class Period in a direction that favored the Defendants
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and their co-conspirators while causing corresponding injuries to Defendants’ customers,

including the Hayman Plaintiffs, CalSTRS, and the Class.

         953.    The persistent nature of Defendants’ manipulative conduct is well documented in

their settlements with government regulators. This is confirmed directly by Hayes, who

explained in his SFO interviews that he and his co-conspirators manipulated Yen-LIBOR to

artificial levels on a daily basis and to keep the rate artificial over long periods of time by staying

consistent in their efforts:

                 For a particular length of time that LIBORs would be, you know,
                 particularly skewed. And I think you know that it’s a semi sensible
                 way to do it. Because I think I had in the FSA report I had seven
                 campaigns . . . They weren’t random, they were very consistent. I
                 mean, in fact the plan was all about consistency.

                 You know it was all about doing the same thing on a daily basis…

         954.    Defendants’ relentless efforts to manipulate Yen-LIBOR and the prices of Yen-

LIBOR-based derivatives, rendered the prices of Yen-LIBOR-based derivatives artificial

throughout the entire Class Period. As a result, Plaintiffs were damaged and suffered legal injury

when they engaged in transactions for Yen-LIBOR-based derivatives at artificial prices

proximately caused by Defendants’ manipulative conduct.

                                   CLASS ACTION ALLEGATIONS

         955.    Plaintiffs brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on their own behalf and as representatives of the following Class:375

                 All persons or entities that engaged in a U.S. based transaction of a
                 financial instrument priced, benchmarked, settled to or otherwise
                 affected by Yen-LIBOR during the period of at least January 1, 2006
                 through at least June 30, 2011 (the “Class Period”). A U.S. based
                 transaction means a transaction by a U.S. Person, or by a Person

375
   Plaintiffs have defined the Class based on currently available information and hereby reserve the right to amend
the definition of the Class, including, without limitation, the Class Period.

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                from or through a location within the U.S. Excluded from the Class
                are the Defendants and any parent, subsidiary, affiliate, or agent of
                any Defendant.

        956.    The Class is so numerous that the individual joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiffs at this time,

Plaintiffs are informed and believe that at least thousands of geographically dispersed Class

members transacted in Yen-LIBOR-based derivatives worth billions of dollars within the United

States during the Class Period.

        957.    Plaintiffs’ claims are typical of the claims of the other members of the Class.

Plaintiffs and the members of the Class sustained damages arising out of Defendants’ common

course of conduct in violation of law as complained of herein. The injuries and damages of each

member of the Class were directly caused by Defendants’ wrongful conduct in violation of the

laws as alleged herein.

        958.    Plaintiffs will fairly and adequately protect the interests of the members of the

Class. Plaintiffs are adequate representatives of the Class and have no interests which are

adverse to the interests of absent Class members. Plaintiffs have retained counsel competent and

experienced in class action litigation, including commodity manipulation and antitrust class

action litigation.

        959.    Common questions of law and fact exist as to all members of the Class which

predominate over any questions affecting solely individual members of the Class. These

common questions of law and facts include, without limitation:

        (a)     Whether Defendants’ unlawful acts violate Section 1 of the Sherman Act;

        (b)     Whether Defendants’ unlawful acts violate RICO;

        (c)     Whether Defendants engaged in wire fraud;



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       (d)     Whether Defendants engaged in a pattern of racketeering activity;

       (e)     Whether Defendants’ unlawful conduct caused injury to the business or property
               of Plaintiffs and the Class;

       (f)     Whether Defendants were unjustly enriched at the expense of Plaintiffs and
               members of the Class;

       (g)     The operative time period and extent of Defendants’ foregoing violations; and

       (h)     Whether such injury or the fact or extent of such artificiality may be established
               by common, class-wide means, including, for example, by regression analysis,
               econometric formula, or other economic tests.

       960.    A class action is superior to other methods for the fair and efficient adjudication

of this controversy because joinder of all Class members is impracticable. Treatment as a class

action will permit a large number of similarly situated persons to adjudicate their common claims

in a single forum simultaneously, efficiently, and without the duplication of effort and expense

that numerous individual actions would engender. Class treatment will also permit the

adjudication of claims by many class members who could not afford individually to litigate

claims such as those asserted in this Complaint. The cost to the court system of adjudication of

such individualized litigation would be substantial. The prosecution of separate actions by

individual members of the Class would create a risk of inconsistent or varying adjudications,

establishing incompatible standards of conduct for Defendants.

       961.    Plaintiffs are unaware of any difficulties that are likely to be encountered in the

management of this action that would preclude its maintenance as a class action.

                    TOLLING AND FRAUDULENT CONCEALMENT

       962.    The statute of limitations relating to the claims for relief alleged herein (see ¶¶

1001-1061) were tolled because of fraudulent concealment, including: (1) Defendants’ active

acts of concealment that were independent of the acts that constituted the underlying conduct



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giving rise to their liability; and (2) the inherently self-concealing nature of Defendants’

misconduct. Plaintiffs and the Class had no knowledge of Defendants’ unlawful and self-

concealing manipulative acts and could not have discovered same by the exercise of due

diligence until July 26, 2011 as to Defendant UBS only and until February 2012 as to several

other Contributor Panel Banks and Broker Defendants.

       963.    Plaintiffs and the Class’ investigation of their claims required time and resources

to identify additional Defendant wrongdoers through, among other things, economic analysis of

public submission data and “reverse engineering” to identify unnamed co-conspirator

Contributor Panel Banks and brokers. At least one Defendant, Lloyds Bank, represented to

Plaintiffs and the Class’ counsel that its internal investigation revealed no instances of

wrongdoing, inducing them to voluntarily dismiss the action and enter into a tolling agreement.

It was not until later disclosures by other co-conspirators revealed to counsel, through additional

“reverse engineering” efforts, and Lloyds’s own LIBOR settlement, that the public information

revealed Lloyds’ culpability and Plaintiffs and the Class determined that Lloyds misrepresented

the facts. With each succeeding indictment and government investigation disclosure, more and

more information is revealed and additional Defendants and the scope of Defendants’

wrongdoing becomes clearer.

       964.    UBS’ July 26, 2011 disclosure is the earliest Plaintiffs could have suspected UBS’

role in the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives.

Plaintiffs could not have suspected, much less known, of the other Contributor Bank or Broker

Defendants involvement in the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives until much later. Plaintiffs thus assert the tolling of the applicable statute of




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limitations affecting the rights of the claims of relief asserted by Plaintiffs. Defendants are also

equitably estopped from asserting that any otherwise applicable limitations period has run.

       A. Dates of Initial Public Disclosures

       965.    On March 15, 2011, UBS disclosed in its 2010 annual report (at page 318 of 430)

that it had received subpoenas from the Commodity Futures Trading Commission, U.S.

Department of Justice, and other U.S. government agencies, as well as an information request

from the Japanese Financial Supervisory Agency, as follows:

               UBS has received subpoenas from the SEC, the US Commodity
               Futures Trading Commission and the US Department of Justice in
               connection with investigations regarding submissions to the British
               Bankers’ Association, which sets LIBOR rates. UBS understands
               that the investigations focus on whether there were improper
               attempts by UBS, either acting on its own or together with others, to
               manipulate LIBOR rates at certain times. In addition, UBS has
               received an order to provide information to the Japan Financial
               Supervisory Agency concerning similar matters. UBS is conducting
               an internal review and is cooperating with the investigations.

       966.    UBS failed to mention in its 2010 annual report whether the foregoing

investigations related to submissions for Yen-LIBOR (or other rates).

       967.    It was not until UBS filed a Form 6-K with the SEC on July 26, 2011 that UBS

disclosed for the first time that it had received conditional leniency from the Antitrust Division

of the U.S. Department of Justice in connection with potential antitrust or competition law

violations related to submissions of Yen-LIBOR. The July 26, 2011 Form 6-K was the first

public disclosure by UBS of allegations of false reporting by it with respect to Yen-LIBOR.

       968.    UBS’ July 26, 2011 disclosure is the earliest Plaintiffs could have suspected UBS’

role in the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives.

Plaintiffs could not have suspected, much less known, of the other Contributor Bank or Broker

Defendants involvement in the manipulation until much later.


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       969.    For example, on February 13, 2012, the Wall Street Journal reported that the

Canadian Competition Commission (“CCB”) joined U.S., European and Japanese regulators in

investigations into reference banks’ collusion and resulting manipulation and Yen-LIBOR and

the prices of Yen-LIBOR-based derivatives. Later, on February 17, 2012, The Wall Street

Journal reported that “lawyers acting for the cooperating bank had told [the CCB] that traders at

six banks on the yen Libor panel—Citigroup Inc., Deutsche Bank AG, HSBC Holdings plc, J.P.

Morgan Chase & Co., Royal Bank of Scotland Group PLC and UBS—’entered into agreements

to submit artificially high or artificially low’ quotes . . . .” The same report also confirmed that

the CCB was investigating whether the traders also “conspired” with individuals at individual

inter-dealer broker firms, including Broker Defendant ICAP and co-conspirator R.P. Martin, “to

use their influence with yen Libor submitters to affect what rates were submitted by other yen

Libor panel banks.” The foregoing reports in February 2012 are the first public disclosures of

Broker Defendant ICAP and co-conspirator R.P. Martin involvement in the manipulation of Yen-

LIBOR.

       970.    Additional public disclosures of other Contributor Bank and Broker Defendants’

involvement in the manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based derivatives

came even later than February 2012. For example, the first public disclosure of the involvement

of Broker Defendants ICAP Europe Limited and Martin Brokers (UK) Ltd. in the manipulation

of Yen-LIBOR did not occur until ICAP Europe Limited settled civil charges with the CFTC and

FCA on September 25, 2013 and Martin Brokers (UK) Ltd. settled same with the CFTC and

FCA on May 15, 2014. Similarly, the first public disclosure of Broker Defendant Tullett

Prebon’s involvement in the manipulation of Yen-LIBOR did not occur until February 2013

when news reports speculated that Tullett Prebon conspired with former UBS and Citibank



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Senior Yen Trader Tom Hayes. In response to the public reports, a Tullett Prebon spokesperson

commented that “Tullett Prebon has never been informed by the FSA [Financial Services

Authority] or any other regulatory authority that Tullett Prebon or any of its brokers are under

investigation in relation to LIBOR.” Thus, it was not until June 20, 2013 when the U.K. SFO

identified Tullett Prebon as an alleged co-conspirator of former UBS and Citibank Senior Yen

Trader Tom Hayes in the manipulation of Yen-LIBOR and other interbank offered rates that

Plaintiffs had knowledge of Tullett Prebon’s involvement in the alleged conspiracy and

manipulation.

       B. Plaintiffs’ Due Diligence Efforts

       971.     Plaintiffs actively monitor their investments to ensure that there is no evidence of

fraud or irregularities in their trading positions and did so in connection with their Yen-LIBOR-

based derivatives during the Class Period. This monitoring included having investment

professionals analyze market trends and economic data associated with their investments and

public information concerning the markets in which they were investing. Prior to the times

identified above when public disclosures were made, Plaintiffs, much like their similarly situated

class members, had no suspicion of, nor reason to know, that Defendants were engaged in

widespread collusion and manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based

derivatives. Hence, despite Plaintiffs’ due diligence, they were unable to discover the fraud

alleged herein until public disclosures raised their suspicions as to UBS and then they

investigated the culpability of others through their lawyers’ investigatory work.

       972.     The Structure of the Yen-LIBOR Submission Process Gave Plaintiffs No

Reason To Suspect Defendants Were Engaged in Wrongdoing.

       973.     In order to ensure that Yen-LIBOR constituted the average competitive market

interest rate, the Defendants, through their trade organization, the “BBA,” promulgated certain
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Instructions that were supposed to govern their participation in the Yen-LIBOR rate-setting

process. By promulgating these Instructions through their BBA trade organization and then

making daily Yen-LIBOR submissions purportedly pursuant to these Instructions, each

Defendant impliedly but repeatedly represented that its submissions complied with the

Instructions. By such conduct, each Contributor Panel Bank Defendant and Co-conspirator

represented that its submissions reflected that Defendant’s competitive market borrowing rate.

       974.   Specifically, each Defendant’s conduct was undertaken pursuant to and impliedly

represented that it complied with, among others, the following Instructions promulgated by the

BBA:

              A. An individual BBA LIBOR Contributor Panel Bank will contribute the rate

                  at which it could borrow funds, were it to do so by asking for and then

                  accepting inter-bank offers in reasonable market size just prior to 1100.

              B. Rates shall be contributed for currencies, maturities and fixing dates and

                  according to agreed quotation conventions.

              C. Contributor Banks shall input their rate without reference to rates

                  contributed by other Contributor Banks.

              D. Rates shall be for deposits:

                     made in the London market in reasonable market size;

                     that are simple and unsecured….

              G. …. The Designated Distributor will endeavor to identify and

                  arrange for the correction of manifest errors in rates input by

                  individual Contributor Banks prior to 1130.




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                    The Designated Distributor will publish the average rate

                    and individual Contributor Banks’ rates at or around

                    1130hrs London time.

                    Remaining manifest errors may be corrected over the next 30

                    minutes. The Designated Distributor then will make any

                    necessary adjustments to the average rate and publish it as the

                    BBA LIBOR Fixing at 1200hrs.”376

         975.   The foregoing Instructions ensured in at least three ways that Yen-LIBOR

submissions constituted a competitive market rate and that the Yen-LIBOR average was

publishing a competitive average market rate. First, each individual bank was to make its own

submission relating to the competitive market rate at which it could borrow funds. See

Instruction “A” above. This borrowing rate was expressly limited to that for loans of

“reasonable market size.” The “reasonable market size” requirement for each bank’s estimate of

borrowing costs, most closely captured the competitive market borrowing rate.

         976.   Second, each panel bank was prohibited from referring to, or coordinating with

other panel banks in the submissions that such panel bank made. See Instruction “C” above.

This prohibition of information sharing was reinforced and further ensured by the Instruction

“G” above. Specifically, Instruction “G” mandated that there would be only a simultaneous

release of all banks’ rates. Such simultaneous release prevented any coordination among the

banks after receipt from the BBA of another bank’s rate. This forced each bank individually to

submit its own competitive rate for borrowing.




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  https://web.archive.org/web/20080930203457/http:/www.bba.org.uk/bba/jsp/polopoly.jsp?d=225&a=1413&artpa
ge=all (last viewed July 23, 2015) (emphasis added).

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            977.     Third, the Yen-LIBOR rate was that applicable to deposits made in the “market”

and, even then, only those which were of “reasonable market size.” See Instruction “D” above.

These requirements further ensured that Yen-LIBOR reflected a competitive “market” rate.

Instruction “D” prohibited the use, for example, as the basis for each bank’s submission of any

non-market borrowing rates. It even prohibited market rates for irregular sizes. Once again,

these requirements most closely captured the competitive market rate.

            978.     Taken together, the foregoing Instructions, if followed, rendered Yen-LIBOR the

average competitive market borrowing rate. Such Instructions prohibited each bank’s Yen-

LIBOR submission from reflecting any collusion, coordination, advance notice among the

competing banks, or sharing (directly or through brokers) of their intended rate submissions.

            979.     Similarly, the Instructions, taken together, prohibited each individual bank from

using its self-interest in profits on its derivatives positions as a substitute for its competitive

borrowing rate in determining the rate submission the bank would make.

            980.     On the contrary, the sole basis for the submission by each bank was limited to

“the rate at which it could borrow funds…in reasonable market size just prior to 1100.” See

Instruction “A” above. Defendants, through the BBA, made this requirement even more explicit

during 2008 when they stated that the

                     basis for a … bank’s submissions …was to be the rate at which
                     members of the bank’s staff primarily responsible for management
                     of the bank’s cash, rather than the bank’s derivatives trading book,
                     believed that the bank could borrow unsecured inter-bank funds in
                     the London money market. Further, according to the BBA, a
                     Contributor Panel bank should not have contributed a rate based on
                     the pricing of any derivative financial instrument. In other words, a
                     Contributor Panel bank’s LIBOR submissions should not have been
                     influenced by its motive to maximize profit or minimize losses in
                     derivatives transactions tied to LIBOR.377

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      See Ex. I-1.

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       981.    By continuing to make their Yen LIBOR submissions, each Defendant impliedly

represented that it was submitting its competitive market borrowing rate and was not submitting

a non-competitive rate that served its interests in manipulating the markets. Defendants

continued to make these representations long after their re-affirmance in 2008 (quoted above)

that their submissions were to reflect their competitive market borrowing rate rather than their

self-interest in manipulating prices.

       982.    However, these representations were false and fraudulent. For example,

Defendant UBS continued to make false and manipulative submissions from 2005 through 2010.

Accordingly, UBS and other Defendants intentionally and carefully limited their

communications to secret communications that were either outside of business channels or in

private chatrooms, emails, and through traders’ personal cellphones. Thereby, Defendants

intentionally, affirmatively and fraudulently concealed the facts that they were conspiring among

themselves to make, on virtually a daily basis, manipulated submissions of non-competitive rates

that benefited their Yen-LIBOR-based derivatives positions.

       983.    The Manipulative and Collusive Conduct Was Inherently Self-Concealing.

The conduct that gives rise to the violations of law set forth herein are inherently self-concealing.

See, e.g., In re European Gov’t Bonds Antitrust Litig., No. 19 CIV. 2601 (VM), 2020 WL

4273811, at *10 (S.D.N.Y. July 23, 2020) (holding that defendants’ conspiracy to fix European

Government Bond prices was inherently self-concealing); In re Natural Gas Commodity Litig.,

337 F. Supp. 2d 498, 513 (S.D.N.Y. 2004) (“[a]mong the principal allegations against

Defendants are assertions that they reported false trade data to entities that collect that

information for public dissemination, and that they engaged in fraudulent wash trades…Such

activities are inherently self-concealing.”); Merced Irrigation Dist. v. Barclays Bank PLC, 165 F.

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Supp. 3d 122, 135 (S.D.N.Y. 2016) (recognizing that price-fixing conspiracies in violation of

antitrust law are inherently self-concealing) (citing In re Nine W. Shoes Antitrust Litig., 80 F.

Supp. 2d 181, 193 (S.D.N.Y. 2000)). Further, as certain of defendants’ traders recognized, the

manipulation of Yen-LIBOR required that it remain concealed from the BBA, regulators and the

public in order to ensure its success over an extended period of time.

       984.    Extraordinary Acts of Concealment Independent of the Conduct Underlying

their Violations of Law. In addition to and separate from the inherently self-concealing

manipulative and acts alleged herein as to Defendants’ Yen LIBOR manipulation and collusion,

many Defendants engaged in extraordinary measures to hide their wrongdoing from government

investigators and their victims, including Plaintiffs. These acts included:

               (1) avoiding discussing the manipulation of Yen-LIBOR in public forums (see,
               App. passim);
               (2) directing their Yen-LIBOR-based derivatives traders and Yen-LIBOR
               submitters to limit their internal written communications discussing the
               manipulation of Yen-LIBOR;
               (3) agreeing to stagger the submission of false reports over successive trading
               days and over extended periods of time (e.g., agree that an artificially low rate
               would be submitted by co-conspirator A today, by co-conspirator B tomorrow and
               co-conspirator C the next day, etc.) in order to exert a greater and longer-lasting
               manipulative impact on Yen-LIBOR-based derivative prices and to mask their
               false reporting from other market players;
               (4) concocting false stories they could give in the event someone (e.g., the BBA,
               regulators, or other market participants) questioned their false Yen-LIBOR
               submissions;
               (5) lying to their own attorneys during internal investigations of rate
               manipulation, including falsely claiming that their Yen trading desks did not have
               any derivative positions with exposure to Yen-LIBOR and the interest rate
               submission process did not take into account trading positions;
               (6) engaging in wash trades and other illicit sham transactions to surreptitiously
               pay the Broker Defendants for their assistance in manipulating Yen-LIBOR;
               (7) paying bribes and kickbacks to Broker Defendants for their LIBOR “fixing
               services” to maintain the Broker Defendants cooperation and continue the

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              successful manipulation of Yen-LIBOR and the prices of Yen-LIBOR-based
              derivatives;
              (8) spoliating evidence of their wrongdoing by destroying LIBOR-related phone
              recordings and other documents after being put on notice of government
              investigations;
              (9) lying to regulators and concealing the findings of LIBOR manipulation by one
              regulator from another regulator;
              (10) using electronic chat rooms open only to a select group of traders and brokers
              (see, App. passim);
              (11) using code words to avoid detection like “arbi” to signal a manipulative
              request or “curry” to indicate a bribe for advancing the manipulation was coming;
              (12) intentionally taking manipulative communications “offline” to continue the
              manipulative conversations in-person or on personal cellphones or through text
              messaging to avoid detection;
              (13) reorganizing trading desks to facilitate verbal communication, and eliminate
              written communication, between their Yen-LIBOR-based derivatives traders and
              Yen LIBOR submitters;
              (14) having compliance officers falsely attest to the BBA that they audited their
              LIBOR submission processes;
              (15) refusing to conduct internal audits of Yen-LIBOR submissions processes
              referring to the audits as nothing more than “an arse-covering exercise [by the
              BBA]”;
              (16) maintaining no LIBOR-specific systems and controls that could detect
              LIBOR-related “buzz words” indicative of manipulation; and
              (17) putting in place lax compliance standards they knew would not detect
              wrongdoing.
       985.   Additional Evidence of Extraordinary Efforts to Conceal Wrongdoing Have

Been Revealed to Plaintiffs Through Testimony Adduced at Former UBS and Citibank

Trader Thomas Hayes’ United Kingdom Criminal Trial. For example, Hayes explained to

ICAP broker Darrell Read in a March 2010 telephone conversation that Citi’s Yen-LIBOR

submitters were generally not receptive to manipulative requests unless the requests were made

“offline.” Hayes stated to Read in words or substance, “You know because they were like pretty



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reluctant to do anything on the libors but if you talk to them like you now on a non recorded line.

Blah blah blah….”

       C. Government Proceeding Antitrust Tolling

       986.    Plaintiffs’ claims are also tolled by operation of 15 U.S.C. §16(i).

       987.    Section 16(i) provides, in relevant part:

               Suspension of limitations. Whenever any civil or criminal proceeding is
               instituted by the United States to prevent, restrain, or punish violations of
               any of the antitrust laws,…, the running of the statute of limitations in
               respect of every private or State right of action arising under said laws and
               based in whole or in part on any matter complained of in said proceeding
               shall be suspended during the pendency thereof and for one year
               thereafter…

       988.    As alleged herein, the United States has filed criminal proceedings, including

criminal antitrust indictments against former traders and brokers of the Contributor Bank and

Broker Defendants. This private action seeks antitrust damages arising under the Sherman Act

and is based in large part on the matters complained of in the United States’ criminal

proceedings. As a result, under Section 16(i) of the Sherman Act, Plaintiffs’ claims are currently

tolled and have been tolled since the date these criminal proceedings were instituted.

       989.    For example, on December 19, 2012, the Criminal Division (Fraud Section) and

the Antitrust Division of the U.S. Department of Justice unsealed a criminal complaint

previously filed on December 12, 2012 in this District against former UBS and Citibank Trader

Tom Alexander William Hayes and former UBS trader and Yen-LIBOR submitter Roger Darin.

See Ex. A-6, Complaint filed in United States of America v. Tom Alexander William Hayes, and

Roger Darin, 12 MAG 3229 (S.D.N.Y. Dec. 12, 2012) (the “Hayes/Darin Criminal Complaint”).

The Hayes/Darin Criminal Complaint identifies at least four additional, unidentified Yen-LIBOR

panel banks as Banks A, B, C and D. The Hayes/Darin Criminal Complaint also identifies at

least two unidentified Brokerage Firms as Brokerage Firm A and Brokerage Firm B. Both Hayes
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and Darin were charged with conspiracy to commit wire fraud. Hayes was also charged with a

violation of Section 1 of the Sherman Act due to alleged anticompetitive conduct in relation to

Yen-LIBOR from at least September 2006 through September 2009.

            990.   On April 23, 2015, the Department of Justice charged Co-conspirator Deutsche

Bank AG with a criminal violation of Section 1 of the Sherman Act, by filing a Criminal

Information in the U.S. District Court for the District of Connecticut. (Docket No. 3:15-cr-61

(ENC)). The price-fixing count of Deutsche Bank’s Criminal Information provides:

                   From at least as early as 2008 through at least 2010, the defendant,
                   Deutsche Bank AG, through its employees, and its co-conspirators,
                   engaged in a combination and conspiracy in unreasonable restraint
                   of interstate and foreign commerce. The aforesaid combination and
                   conspiracy consisted of an agreement, understanding and concert of
                   action among the Defendants and its co-conspirators, the substantial
                   terms of which were to fix the price of Yen LIBOR-based derivative
                   products by fixing Yen-LIBOR, a key component of the price
                   thereof, on certain occasions.

                   In violation of Title 15, United States Code, Section 1.378

            991.   Plaintiffs’ claims are in large part based on the same facts and circumstances that

underlie the United States criminal complaint against former UBS traders Tom Alexander

William Hayes and Roger Darin as well as Deutsche Bank’s Criminal Information. Plaintiffs

expressly rely on the United States’ criminal complaint against former UBS traders Tom

Alexander William Hayes and Roger Darin and the Deutsche Bank criminal indictment in

pleading their claims. See e.g., Ex. A-6, Ex I-7. The United States’ actions against both former

UBS traders Tom Alexander William Hayes and Roger Darin remains pending and, as a result,

the statutes of limitations on Plaintiffs’ claims are currently suspended by operation of 15 U.S.C.

§16(i).


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      Ex. I-7.

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       D. Defendants Affirmatively Concealed their Unlawful Conduct.

       992.    In addition to the other methods that Defendants and their co-conspirators used to

prevent discovery of their misconduct, such as falsely claiming to follow BBA rules when

making Yen-LIBOR submissions and conspiring via nonpublic means, the Defendants

fraudulently concealed their misconduct by representing that they put in place effective

compliance measures, did not engage in collusion, and did not tolerate market manipulation by

their traders. As described in this Complaint, these statements were false.

       993.    Bank of America’s public Code of Ethics stated during the Class Period that its

employees and those of all of its subsidiaries are expected to “deal fairly with [its] customers,

competitors, vendors and teammates” and to not take “unfair advantage of anyone through

manipulation, concealment, abuse of privileged information, misrepresentation of facts or any

other unfair-dealing practice.” Further, Bank of America highlighted the importance of these

values, calling the code “more than just words on a page,” and “the basic guidelines of business

practice.”

       994.    Similarly, RBS’s Code of Conduct governing its own employees and those of its

subsidiaries stressed “honest and ethical conduct” and “compliance with applicable laws, rules

and regulations.” The Code of Conduct affirms that “personal conduct, business integrity, and

the Group’s security are crucial.”

       995.    UBS’s public Code of Conduct, which it held out to customers during the Class

Period, professes that its “most valuable” asset is “its established and unquestioned reputation for

integrity.” UBS reported that it required “continuing alertness” from its employees to “high

ethical standards,” and requires them to “comply with all applicable laws, rules and regulations.”

       996.    Barclays’ Statement on Corporate Conduct and Ethics, which it published during

the Class Period, represented that employees “conduct themselves according to consistently high
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professional and ethical standards” and that they “meet local laws and regulations.” Barclays

claimed to “compete vigorously to uphold the principle of a free market and abide by relevant

laws, regulations, industry standards and internationally accepted best practice. [We] avoid

unfair or unethical competitive practices.”

       997.    During the Class Period, Rabobank’s Code of Conduct stated that it holds its

employees to “set high standards for the way it deals with customers” by being “fair, honest,

conscientious and trustworthy.” Rabobank also claimed to put a “special focus on compliance.”

       998.    Lloyds’ Code of Business Conduct, which it published during the Class Period,

claimed that the bank “demand[s] honesty and integrity in everything we do,” and that “high

ethical standards are of crucial importance.” Further, Lloyds claimed to “commit itself to

obey[ing] the laws, rules and regulations, of every country in which [it] operate[s].”

       999.    Societe General reported that its “Risk management governance, control, and

organizational principles” included “strong managerial involvement, throughout the entire

organisation, from the Board of Directors down to operational teams” and “a tight framework of

internal procedures and guidelines.”

       1000. These public representations were designed to assure customers, including

Plaintiffs and the Class, that Defendants would not unlawfully take advantage of their customers,

let alone engage in the years-long, far-reaching, and criminal misconduct described in this

Complaint. As reflected in numerous guilty pleas and government findings, the Defendants failed

to implement effective compliance measures to detect and deter the misconduct described in this

Complaint. See Part IV.A., above. Accordingly, these false public statements by the Defendants

constitute affirmative acts of concealment.




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                                    CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF

             Conspiracy to Restrain Trade in Violation of § 1 of the Sherman Act

Conspiracy to Fix the Prices of Yen-LIBOR-based Derivatives Traded in the United States

                                     Against all Defendants

        1001. Plaintiffs hereby incorporate each preceding and succeeding paragraph as though

fully set forth herein.

        1002. Defendants and their unnamed co-conspirators entered into and engaged in a

combination and conspiracy in an unreasonable and unlawful restraint of trade in violation of § 1

of the Sherman Act, 15 U.S.C. § 1, et seq.

        1003. During the Class Period, Defendants entered into a series of agreements designed

to create profit or limit liabilities amongst themselves by coordinating the manipulation of Yen-

LIBOR and the prices of Yen-LIBOR-based derivatives, by conspiring to, inter alia, make false

submissions to the BBA designed to artificially suppress, inflate, maintain, or otherwise alter

Yen-LIBOR.

        1004. This conspiracy to manipulate and fix the prices of Yen-LIBOR caused injury to

both Plaintiffs and members of the Class because they were deprived of the benefit of a

legitimate and accurate Yen-LIBOR that reflected actual market conditions. Plaintiffs and

members of the Class also were deprived of the ability to accurately price Yen-LIBOR-based

derivatives entered into during the Class Period and to accurately determine the settlement value

of Yen-LIBOR interest rate swaps, Yen foreign exchange forwards and other Yen-LIBOR-based

derivatives by reference to an accurate Yen-LIBOR. Plaintiffs and members of the Class thus

received, during the term of their transactions and upon settlement, less in value than they would

have received absent Defendants’ conspiracy and overt acts taken in furtherance thereof.

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       1005. The conspiracy is a per se violation of § 1 of the Sherman Act. The goal of

Defendants’ and their co-conspirators’ unlawful conduct was to fix the prices of Yen-LIBOR-

based derivatives. Thus, by trading Yen-LIBOR-based derivatives in the United States while

fixing the prices of these products, the Defendants and their co-conspirators restrained the

domestic market for Yen-LIBOR-based derivatives. Alternatively, the conspiracy resulted in

substantial anticompetitive effects in the Yen-LIBOR-based derivatives market. There is no

legitimate business justification for, or pro-competitive benefits caused by, Defendants’

conspiracy and overt acts taken in furtherance thereof. Any ostensible pro-competitive benefits

are pretextual or could have been achieved by less restrictive means.

       1006. As a direct, material, and proximate result of Defendants’ violation of § 1 of the

Sherman Act, Plaintiffs and the Class have suffered injury to their business and property, within

the meaning of § 4 of the Clayton Act, throughout the Class Period.

       1007. Plaintiffs and members of the Class seek treble damages for Defendants’

violations of §1 of the Sherman Act under §4 of the Clayton Act.

       1008. Plaintiffs and members of the Class also seek an injunction against Defendants,

preventing and restraining the violations alleged above, under § 16 of the Clayton Act.

                                 SECOND CLAIM FOR RELIEF

    (For Violation of the Racketeer Influenced and Corrupt Organizations Act (RICO))
                                    18 U.S.C. §§ 1961 et seq.
                                     Against All Defendants
       1009. Plaintiffs incorporate by reference and re-allege the preceding allegations, as

though fully set forth herein.

                  Defendants Engaged In Conduct Actionable Under RICO




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        1010. 18 U.S.C. § 1962(c) makes it illegal for “any person employed by or associated

with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity or collection of unlawful debt.”

        1011. 18 U.S.C. § 1962(d), in turn, makes it “unlawful for any person to conspire to

violate any of the provisions of subsection (a), (b), or (c) of this section.”

        1012. Under 18 U.S.C. § 1961(1), and as applicable to Section 1962, “racketeering

activity” means (among other things) acts indictable under certain sections of Title 18, including

18 U.S.C. § 1343 (relating to wire fraud).

        1013. 18 U.S.C. § 1961(5) provides that, to constitute a “pattern of racketeering

activity,” conduct “requires at least two acts of racketeering activity, one of which occurred after

the effective date of this chapter and the last of which occurred within ten years (excluding any

period of imprisonment) after the commission of a prior act of racketeering activity.”

        1014. 18 U.S.C. § 1961(3) defines “person” as “any individual or entity capable of

holding a legal or beneficial interest in property,” and 18 U.S.C. § 1961(4) defines “enterprise”

as “any individual, partnership, corporation, association, or other legal entity, and any union or

group of individuals associated in fact although not a legal entity.”

        1015. 18 U.S.C. § 1343, the wire fraud statute listed in 18 U.S.C § 1961(1) as a RICO

predicate act, provides that “[w]hoever, having devised or intending to devise any scheme or

artifice to defraud, or for obtaining money or property by means of false or fraudulent pretenses,

representations, or promises, transmits or causes to be transmitted by means of wire, radio, or

television communication in interstate or foreign commerce, any writings, signs, signals,




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pictures, or sounds for the purpose of executing such scheme or artifice, shall be fined under this

title or imprisoned not more than 20 years, or both.”

       1016. At all relevant times, an association-in-fact consisting of Defendants, Defendants’

employees and agents, who conducted Defendants’ affairs through illegal acts including the

transmission of false Yen-LIBOR submissions or directing other employees and agents to

intentionally manipulate Yen-LIBOR rates by wire communications, and the BBA were an

“enterprise” within the meaning of 18 U.S.C. § 1961(4).

       1017. At all relevant times, Defendants were “person[s]” within the meaning of 18

U.S.C. § 1961(3).

                    Defendants Conducted the Affairs of A RICO Enterprise

       1018. Defendants’ association-in-fact, through their frequent and routine

communications with each other, their organization of a hub-and-spoke conspiracy through inter-

dealer brokers, association with the BBA, and participation together as members in the Yen-

LIBOR panel, constitutes a RICO enterprise. Defendants conducted the affairs of the enterprise

through a pattern of racketeering activity by transmitting or causing to be transmitted by use of

wires false and artificial Yen-LIBOR submissions throughout the Class Period. Within the

United States, Defendants would on a regular basis communicate through the mails or interstate

commerce by telegraph, telephone, wireless, or other means of communication false or

misleading or knowingly inaccurate reports concerning market information or conditions that

affect or tend to affect the price of any commodity in interstate commerce. Further, on a daily

basis, Defendants caused the enterprise to transmit an electronic spreadsheet to Thomson

Reuters. Through their collusive activities in reporting Yen-LIBOR submissions and the daily

transmission by use of wires of an electronic spreadsheet setting forth those submissions,



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Defendants conducted the affairs of the enterprise through a pattern of racketeering activity,

knowingly transmitting or causing to be transmitted false Yen-LIBOR submissions.

       1019. As part of its global settlement with regulators for its manipulation of financial

benchmarks, Defendant Rabobank agreed to waive indictment to a one-count criminal

information filed in the District of Connecticut by the Criminal Division (Fraud Section) and

Antitrust Division of the DOJ charging Rabobank with wire fraud, in violation of 18 U.S.C. §

1343, in connection with, inter alia, Rabobank’s false reporting of Yen-LIBOR. The one-count

criminal information provides that “[b]etween approximately 2005 and at least 2010,

Cooperatieve Centrale Raiffeisen-Boerenleenbank B.A., the defendant, through its employees,

unlawfully, willfully, and knowingly, having devised and intending to devise a scheme and

artifice to defraud and for obtaining money and property by means of false and fraudulent

pretenses, representations, and promises, did transmit and cause to be transmitted by means of

wire, radio, and television communication in interstate and foreign commerce, writings, signs,

signals, pictures, and sounds for the purpose of executing such scheme and artifice, to wit, the

defendant, through its employees, engaged in a scheme to defraud counterparties to interest rate

derivatives trades executed on its behalf by secretly manipulating benchmark interest rates to

which the profitability of those trades was tied, and in furtherance of that scheme, on or about

April 17, 2008, the defendant transmitted or caused the transmission of electronic

communications - specifically, (1) an electronic chat between a derivatives trader and a money

market trader, (2) a subsequent Yen LIBOR submission from the defendant to Thomson Reuters,

and (3) a subsequent publication of a Yen LIBOR rate through international and interstate

wires.” The Rabobank Criminal Information is attached as Ex. D-4.




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        1020. As part of its global settlement with regulators for its manipulation of financial

benchmarks, Defendant RBS Japan pled guilty and agreed to waive indictment to a one-count

criminal information filed in the District of Connecticut by the Criminal Division (Fraud

Section) and Antitrust Division of the DOJ charging RBS Japan with felony wire fraud, in

violation of 18 U.S.C. § 1343, in connection with, inter alia, RBS Japan’s false reporting of Yen-

LIBOR. The one-count criminal information provides that “[b]etween approximately 2006 and

at least 2010, in the District of Connecticut and elsewhere, RBS SECURITIES JAPAN

LIMITED, the defendant, through its employees, unlawfully, willfully, and knowingly, having

devised and intending to devise a scheme and artifice to defraud and for obtaining money and

property by means of false and fraudulent pretenses, representations, and promises, did transmit

and cause to be transmitted by means of wire, radio, and television communication in interstate

and foreign commerce, writings, signs, signals, pictures, and sounds for the purpose of executing

such scheme and artifice, to wit, the defendant, through its employees, engaged in a scheme to

defraud counterparties to interest rate derivatives trades executed on its behalf by secretly

manipulating benchmark interest rates to which the profitability of those trades was tied, and in

furtherance of that scheme, on or about October 5, 2009, the defendant transmitted or caused the

transmission of electronic communications -- specifically, (1) an electronic chat between a

derivatives trader employed by the defendant and a derivatives trader employed by the

defendant’s parent company, (2) a subsequent Yen LIBOR submission from a bank to Thomson

Reuters, and (3) a subsequent publication of a Yen-LIBOR rate—through international and

interstate wires, at least one of which passed through, among other locations and facilities,

servers located in Stamford, Connecticut.” The RBS Criminal Information is attached as Ex. B-

3.



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       1021. As part of its global settlement with regulators for its manipulation of financial

benchmarks, Defendant UBS Japan pled guilty and agreed to waive indictment to a one-count

criminal information filed in the District of Connecticut by the Criminal Division, Fraud Section

and Antitrust Division of the DOJ charging UBS with felony wire fraud, in violation of 18

U.S.C. §§ 1342-3, in connection with, inter alia, UBS’ false reporting of Yen-LIBOR. The one-

count criminal information provides that “[b]etween approximately 2006 and at least 2009, in the

District of Connecticut and elsewhere, UBS SECURITIES JAPAN CO., LTD., the defendant,

unlawfully, willfully, and knowingly, having devised and intending to devise a scheme and

artifice to defraud and for obtaining money and property by means of false and fraudulent

pretenses, representations, and promises, did transmit and cause to be transmitted by means of

wire, radio, and television communication in interstate and foreign commerce, writings, signs,

signals, pictures, and sounds for the purpose of executing such scheme and artifice, to wit, the

defendant devised and engaged in a scheme to defraud counterparties to interest rate derivatives

trades executed on its behalf by secretly manipulating benchmark interest rates to which the

profitability manipulating benchmark interest rates to which the profitability of those trades was

tied, and in furtherance of that scheme, on or about February 25, 2009, the defendant transmitted

or caused the transmission of electronic communications—specifically, (1) an electronic chat

between a derivatives trader employed by the defendant and a broker employed at an inter-dealer

brokerage firm, (2) a subsequent Yen LIBOR submission from a bank to Thomson Reuters, and

(3) a subsequent publication of a Yen LIBOR rate through international and interstate wires, at

least one of which passed through, among other locations and facilities, servers located in

Stamford, Connecticut.” See Ex. A-4.




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       1022. As part of its global settlement with regulators for its manipulation of financial

benchmarks, Defendant UBS AG pled guilty and agreed to waive indictment to a one-count

criminal information filed in the District of Connecticut by the Criminal Division, Fraud Section

and Antitrust Division of the DOJ charging UBS with felony wire fraud, in violation of 18

U.S.C. §§ 1343 & 2, in connection with, inter alia, UBS’ false reporting of Yen-LIBOR. The

one-count criminal information provides that “Between approximately 2001 and in or about

2010, in the District of Connecticut and elsewhere, the defendant, UBS AG, unlawfully,

willfully, and knowingly, having devised and intending to devise a scheme and artifice to

defraud and for obtaining money and property by means of false and fraudulent pretenses,

representations, and promises, did transmit and cause to be transmitted by means of wire

communications in interstate and foreign commerce, writings, signs, signals, pictures, and

sounds for the purpose of executing such scheme and artifice, which violation affected a

financial institution, to wit: the defendant, UBS AG, devised and engaged in a scheme to defraud

counterparties to interest rate derivatives transactions by secretly manipulating benchmark

interest rates to which the profitability of those transactions was tied, and in furtherance of that

scheme, on or about June 29, 2009, the defendant, UBS AG, transmitted or caused the

transmission of electronic communications in interstate and foreign commerce, specifically: (1)

an electronic chat between a senior derivatives trader employed by a subsidiary of the defendant,

UBS AG (“Trader-1”), and a London-based inter-dealer derivatives broker (“Broker-1”), in

which Trader-1 requested assistance from the broker in requesting that other banks sitting on the

London Interbank Offered Rate (“LIBOR”) Yen panel submit an increased Yen LIBOR rate

favorable to Trader-1’s trading positions; (2) a telephone call placed by Broker-1 at Trader-1’s

request to a Yen LIBOR submitter at another Yen panel bank, in which Broker-l requested that



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the submitter increase the panel bank’s Yen LIBOR submission that day; (3) an electronic chat

between Trader-l and a junior derivatives trader employed by the defendant, UBS AG, who also

served as a Yen LIBOR submitter for the defendant (“UBS Submitter”), in which Trader-l

requested that the UBS Submitter increase UBS AG’s Yen LIBOR submission to a rate favorable

to Trader-1’s trading positions; (4) a subsequent Yen LIBOR submission from the defendant,

UBS AG, to Thomson Reuters reflecting an accommodation of Trader-1’s request to the UBS

Submitter; and (5) a subsequent publication of a Yen LIBOR rate -through international and

interstate wires, at least one of which passed through, among other locations and facilities,

servers located in Stamford, Connecticut.”

       1023. Defendants conducted the affairs of the enterprise through a pattern of

racketeering activity, including by: (i) transmitting or causing to be transmitted false and

artificial Yen-LIBOR quotes in the U.S. or while crossing U.S. borders through electronic

servers located in the United States; (ii) transmitting or causing to be transmitted false and

artificial Yen-LIBOR quotes that were relied on by Thomson Reuters and the BBA in collecting,

calculating, publishing and/or disseminating the daily Yen-LIBOR submissions of each

Defendant and the daily Yen-LIBOR fix that were transmitted, published and disseminated in the

United States or while crossing U.S. borders through electronic servers located in the United

States; (iii) coordinating their daily Yen-LIBOR submissions and their Yen-LIBOR-based

derivatives trading positions in electronic chats routed through electronic servers located in the

United States; (iv) sending trade confirmations based on manipulated Yen-LIBOR rates to

counterparties in the United States; (v) executing sham transactions, including wash trades,

through inter-dealer brokers; and (iv) collecting ill-gotten proceeds from customer accounts

located in the United States as a result of Defendants’ unlawful conduct, including Plaintiffs



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HCMF, JMOF, and CalSTRS. In total, this conduct constituted thousands of predicate acts of

wire fraud.

       1024. It is clear that even though the BBA may be a foreign entity, the elements of the

wire fraud were completed in the United States. This is evidenced by many phone conversations,

electronic chats, electronic mail made from the Defendants in the United States and false wire

submissions to Thomson Reuters in New York. In addition to phone conversations, Defendants

would routinely communicate using Bloomberg chat terminals and in internal electronic

messaging systems to discuss and receive preferential Yen-LIBOR requests and their Yen-

LIBOR-based derivatives trading positions. Defendants also used electronic Bloomberg chats to

communicate information regarding their trading positions and to coordinate their false Yen-

LIBOR submissions during the Class Period.

       1025. For example, at least some of the electronic chats between Defendants’ traders

and brokers below were transmitted through servers located in the United States. As part of its

factual basis for its Plea Agreement with the DOJ, Defendant UBS Japan admitted as “true and

accurate” that “on or about February 25, 2009, a derivatives trader employed by UBSSJ [UBS

Japan] (referred to as ‘Trader-1’) engaged in an electronic chat with an employee of an inter-

dealer broker (referred to as ‘Broker-B’). During the chat, Trader-1 asked Broker-B to help

influence Yen-LIBOR submitters at other banks to contribute submissions that would benefit

Trader-1’s trading positions. In response, Broker-B indicated that he would do so. The chat was

transmitted through, among other locations and facilities, a UBS server located in Stamford,

Connecticut. Following the chat, Broker-B spoke by telephone with a Yen-LIBOR submitter at a

bank other than UBS (referred to as Submitter-F at Bank-F). During that call, Broker-B asked

Submitter-F to alter the submitter’s contribution for Yen-LIBOR for a particular maturity (or



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“tenor”) in a manner that was consistent with Trader-1’s request to Broker-B. Submitter-F

acceded to Broker-B’s request by changing the Yen-LIBOR contribution from Bank-F in that

tenor. Bank-F’s LIBOR submissions were then transmitted to Thomson Reuters, which

calculated and published the daily LIBOR rates and transmitted those rates electronically to

locations around the world. As a result of the change in Bank F’s submission that occurred

because of these events, a published Yen LIBOR was affected.”

          1026. The common purpose of the enterprise was simple: profiteering. By engaging in

the predicate acts alleged including, but not limited to, transmitting or causing false and artificial

Yen-LIBOR submissions to be transmitted to Thomson Reuters as agent for the BBA, and by

exchanging Yen-LIBOR-based derivatives positions and prices, Defendants affected the prices

of Yen-LIBOR-based derivatives, rendering them artificial. This directly resulted in Defendants

reaping hundreds of millions, if not billions, in illicit trading profits on their Yen-LIBOR-based

derivative positions that Defendants collected from customer accounts located in the United

States.

          1027. Defendants acknowledged the profitability of this scheme on multiple occasions.

For example, in an electronic chat on August 20, 2007, an RBS Senior Yen Trader commented

“its just amazing how libor fixing can make you that much money.” Moreover, while traders

benefited through increased commissions, Broker Defendants were paid handsomely in the form

of bribes and other illicit and illegitimate compensation by UBS traders which sometimes

included regular bonuses and bigger salary packages. In one exchange on September 18, 2008,

a UBS Trader wrote to a broker employed by Broker Co-conspirator R.P. Martin that “if you

keep 6s [six-month Yen-LIBOR] unchanged today. . . .I will f***ing do one humungous deal

with you….Like a 50,000 buck deal, whatever….I need you to keep it as low as



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possible….if you do that….I’ll pay you, you know, 50,000 dollars, 100,000

dollars….whatever you want. All right.”

      Defendants Have Conducted the Affairs of an Enterprise Through a Pattern of
                               Racketeering Activity

       1028. Defendants each committed far more than two predicate acts of wire fraud. As

alleged in detail herein, Defendants engaged in at least the following predicate acts of wire fraud:

            1. The transmission of false Yen-LIBOR Rates to Thomson Reuters in the United
               States, for further dissemination;

            2. Causing the transmission and dissemination in the United States of false Yen-
               LIBOR “Fix” by Thomson Reuters as agent for the BBA;

            3. Causing the transmission and dissemination in the United States of false Yen-
               LIBOR Individual Bank Quotes by Thomson Reuters;

            4. Electronic communications and instant messages that emanated from within the
               United States or were routed through United States electronic servers with
               manipulative requests, broker false run thrus and suggested LIBORs; and

            5. Sending trade confirmations (e-mail, message, telephonic, facsimile) based on
               manipulated and false Yen-LIBOR rates to counterparties in the United States;
               and

            6. Collecting overcharges from customers to Yen-LIBOR-based derivatives from
               accounts located in the United States as a direct result of Defendants’ unlawful
               conduct.

       1029. The conduct of every party involved in the scheme is not an isolated occurrence.

The pattern of racketeering activity herein alleged involved not isolated occurrences but

constituted related acts which amounted to a threat of continued criminal activity throughout the

Class Period. Each Defendant shared a common purpose in increasing their profits from trading

financial instruments priced, benchmarked, settled to or otherwise affected by Yen-LIBOR, and

also had a common method of conducting the affairs of the enterprise through a pattern of

racketeering activity through use of the wires in transmitting false Yen-LIBOR reports and



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placing trades in conformity therewith, and collecting proceeds from this misconduct from

customer accounts.

        1030. Defendants acted in a uniform way to conduct the affairs of the enterprise through

daily submission and electronic communication of their collusive and artificial Yen-LIBOR

submissions to the BBA and Thomson Reuters following uniform procedures used in virtually an

identical way every day. As alleged herein, the predicate acts had a closed-ended continuity

involving a closed period of repeated conduct in colluding to set Yen- LIBOR, reporting false

Yen-LIBOR, and trading to benefit therefrom, throughout the Class Period.

      The Pattern of Racketeering Activity Was Directed to, and Did Affect, Interstate
                                        Commerce

        1031. Through the racketeering scheme described above, Defendants conducted the

affairs of the enterprise through a pattern of activity to illegally increase their profits to the

detriment of investors in Yen-LIBOR-based derivatives residing throughout the United States,

and/or transacting in Yen-LIBOR-based derivatives within the United States.

        1032. Plaintiffs’ allegations herein arise out of, and are based on, Defendants’ use of the

Internet and/or the wires across state lines as well as agreements between entities in different

states to manipulate Yen-LIBOR and the price of Yen-LIBOR-based derivatives. Using those

interstate channels to coordinate the scheme and transmit fraudulent statements to Plaintiffs and

collect ill-gotten payments from Plaintiffs across state lines satisfies RICO’s requirement of an

effect on interstate commerce. Defendants’ racketeering acts had a direct effect on interstate

commerce.

        1033. The primary purpose of Defendants’ racketeering activity was to benefit the

Defendants’ derivatives trading positions, including the positions that the Defendants established

in the United States regularly throughout the Class Period.

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            1034. In addition, as part of its Plea Agreement, UBS Japan admitted as “true and

accurate” that it “entered into interest rate derivatives transactions tied to Yen LIBOR - such as

derivatives, forward rate agreements, and futures - with counterparties to those transactions.

Many of those counterparties were located in the United States. Those United States

counterparties included, among others, asset management corporations, mortgage and loan

corporations, and insurance companies. Those counterparties also included banks and other

financial institutions in the United States or located abroad with branches in the United States.”

            1035. During the Class Period, numerous instant message chats and emails between

UBS Senior Yen Trader Hayes and the Broker Defendants wherein Hayes requested the Broker

help influence Yen-LIBOR Submitters to benefit the Trader’s trading positions were transmitted

through servers located in Stamford, Connecticut or New York, New York.379

            1036. Therefore, Plaintiffs’ allegations satisfy RICO’s “interstate commerce” element

because the racketeering claims alleged herein arise out of, and are based on, Defendants’ use of

the internet or the wires across state lines as well as agreements between entities in different

states to manipulate Yen-LIBOR and the prices of Yen-LIBOR-based derivatives. Using those

interstate channels to coordinate the scheme and transmit fraudulent statements to Plaintiffs

across state lines satisfies RICO’s requirement of an effect on interstate commerce.

      Plaintiffs Suffered Injury Proximately Caused By the Pattern of Racketeering Activity

            1037. As alleged herein, Plaintiffs and members of the Class are direct victims of

Defendants’ wrongful and unlawful conduct. Plaintiffs and the Class’ injuries were direct,

proximate, foreseeable, and natural consequences of Defendants’ conspiracy; indeed depriving




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      See, e.g., Ex. A-4.

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Plaintiffs and the Class of their money relative to their Yen-LIBOR-based derivatives contracts

was the very purpose of the Defendants’ scheme.

       1038. Plaintiffs and members of the Class are entitled to recover treble damages of the

injuries they have sustained, according to proof, as well as restitution and costs of suit and

reasonable attorneys’ fees in accordance with 18 U.S.C. § 1964(c).

       1039. As a direct and proximate result of the subject racketeering activities, Plaintiffs

and members of the Class are entitled to an order, in accordance with 18 U.S.C. § 1964(a),

enjoining and prohibiting Defendants from further engaging in their unlawful conduct.

                                 THIRD CLAIM FOR RELIEF

    For Conspiracy to Violate the Racketeer Influenced and Corrupt Organizations Act
                                              (RICO)
                                     18 U.S.C. §§ 1961 et seq.
                                     Against All Defendants
       1040. Plaintiffs incorporate by reference and re-allege the preceding allegations as

though fully set forth herein.

       1041. In addition to conducting the affairs of the enterprise through a pattern of

racketeering activity, Defendants conspired to violate RICO in violation of 18 U.S.C. § 1962(d).

       1042. Defendants organized and implemented the scheme alleged herein, which

required their agreement to report their borrowing rates falsely and to benefit their trading

positions, and ensured that it continued uninterrupted, by concealing their violations and the

prices of Yen-LIBOR-based derivatives from Plaintiffs and the Class.

       1043. Defendants knew and intended that their racketeering acts would injure

participants in the Yen-LIBOR-based derivatives market, yet each Defendant remained a

participant despite the racketeering nature of their conduct. At any point while the scheme had

been in place, any of the participants could have ended the scheme by abandoning the conspiracy
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and notifying the public and law enforcement authorities of its existence. Rather than stopping

the scheme, however, the Defendants chose to continue it, to the direct detriment of participants

in the U.S. Yen-LIBOR-based derivatives market, such as Plaintiffs and members of the Class.

       1044. As alleged herein, Plaintiffs and members of the Class are direct victims of

Defendants’ wrongful and unlawful conduct. Plaintiffs’ and the Class’ injuries to their property

were direct, proximate, foreseeable, and natural consequences of Defendants’ conspiracy;

indeed, such effects were precisely the reason why the scheme was concocted.

       1045. Plaintiffs and members of the Class are entitled to recover treble the damages they

have sustained, according to proof, as well as restitution and costs of suit and reasonable

attorneys’ fees in accordance with 18 U.S.C. § 1964(c).

       1046. As a direct and proximate result of the racketeering activities alleged herein,

Plaintiffs and members of the Class are entitled to an Order, in accordance with 18 U.S.C. §

1964(a), enjoining and prohibiting Defendants from further engaging in their unlawful conduct.

                                 FOURTH CLAIM FOR RELIEF

                                     For Unjust Enrichment
                             Against Contributor Bank Defendants
       1047. Plaintiffs incorporate by reference and re-allege the preceding allegations, as

though fully set forth herein.

       1048. To the extent required, this claim is pled in the alternative to Plaintiffs’ Seventh

Claim for Relief under FED. R. CIV. P. 8(d).

       1049. The Contributor Bank Defendants, individually, and/or through their subsidiaries

or affiliates traded Yen-LIBOR-based derivatives at a time the Contributor Bank Defendants

were actively and systematically manipulating Yen-LIBOR and the prices of Yen-LIBOR-based




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derivatives to artificial and anticompetitive levels for their own illicit financial benefit to the

detriment of Plaintiffs and Class Members.

        1050. The Contributor Bank Defendants, and/or one or more their subsidiaries and/or

affiliates, financially benefited from the unlawful manipulation. As alleged herein, Contributor

Bank Defendants, among other things, intentionally and systematically manipulated Yen-LIBOR

to artificial levels for the express purpose of obtaining hundreds of millions (if not billions) in ill-

gotten trading profits on Yen-LIBOR-based derivative contracts held by them and other

colluding banks, the prices of which (and thus illicit profits) were benchmarked, traded, settled,

and priced to such Yen-LIBOR rates. In this regard, for example, Yen-LIBOR submitters at the

Contributor Bank Defendants, among other things, regularly and improperly coordinated and

changed their Yen-LIBOR submissions with one another at the request of Contributor Bank

Defendants’ interest rate derivatives traders employed by them or their subsidiaries or affiliates.

These unlawful acts caused Plaintiffs and other members of the Class to suffer injury, lose

money, and transact in Yen-LIBOR-based derivatives at artificial and manipulated prices.

        1051. Plaintiff HCMF transacted Yen-LIBOR-based derivatives during the Class Period

directly with Contributor Bank Defendants, including Defendants Barclays and Merrill Lynch.

See Part VII.B, supra.

        1052. Plaintiff CalSTRS transacted Yen-LIBOR-based derivatives with Defendants

UBS, RBS, Barclays, Bank of America, and Société Générale. See Part VII.C, supra.

        1053. It is unjust and inequitable for Contributor Bank Defendants (and/or their

subsidiaries or affiliates) to have enriched themselves in this manner at the expense of Plaintiffs

Hayman Capital, CalSTRS and similarly situated members of the Class, and the circumstances




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are such that equity and good conscience require the Contributor Bank Defendants to make

restitution.

        1054. Each Contributor Bank Defendant should pay restitution or its own unjust

enrichment to Plaintiffs HCMF, JMOF, CalSTRS, and similarly situated members of the Class.

                                  FIFTH CLAIM FOR RELIEF

               For Breach of The Implied Covenant of Good Faith and Fair Dealing

                                 Against Defendants Barclays,
                Bank of America, Merrill Lynch, UBS, RBS, and Société Générale

        1055. Plaintiffs incorporate by reference and re-allege the preceding allegations, as

though fully set forth herein.

        1056. To the extent required, this claim is pled in the alternative to Plaintiffs’ Sixth

Claim for Relief under FED. R. CIV. P. 8(d).

        1057. Plaintiffs JMOF and HCMF entered into binding and enforceable contracts with

Defendants Barclays and Merrill Lynch in connection with Yen-LIBOR-based derivatives, for

example, Yen-LIBOR-based interest rate swaps and options. See Part VII.B, supra.

        1058. Plaintiff CalSTRS entered into binding and enforceable contracts with Defendants

UBS, RBS, Barclays, Bank of America, and Société Générale, for example, Yen foreign

exchange forwards. See Part VII.C, supra.

        1059. Each of the contracts includes an implied covenant of good faith and fair dealing,

requiring each contracting party to act in good faith and deal fairly with the other, and not take

any action which will have the effect of destroying or injuring the right of the other party to

receive the fruits of the contract.

        1060. Defendants Barclays, Merrill Lynch, Bank of America, UBS, RBS, and Société

Générale breached this duty and, without reasonable basis and with improper motive, acted in


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bad faith by, among other things, (i) intentionally submitting false and artificial Yen-LIBOR

submissions to the BBA for the express purpose of obtaining ill-gotten profits from their Yen-

LIBOR-based derivatives positions; and/or (ii) colluding directly with employees at other

Contributor Panel Banks, either directly or through brokers, in order to manipulate Yen-LIBOR

and the prices of Yen-LIBOR-based derivatives.

       1061. As a direct and proximate cause of these breaches of the implied covenant of good

faith and fair dealing and of Defendants’ frustration of the purposes of these contracts, Plaintiffs

HCMF, JMOF, CalSTRS, and similarly situated members of the Class, have been damaged as

alleged herein in an amount to be proven at trial.

                                     PRAYER FOR RELIEF

       Accordingly, Plaintiffs demand relief as follows:

       A.      For an order certifying this lawsuit as a class action pursuant to Rules 23(a) and

(b)(3) of the Federal Rules of Civil Procedure, and designating Plaintiffs as the Class

representatives, and their counsel be appointed as Class counsel;

       B.      For the unlawful conduct alleged herein to be adjudged and decreed to be an

unlawful restraint of trade in violation of Section 1 of the Sherman Act;

       C.      For the unlawful conduct alleged herein to be adjudged and decreed to be an

unlawful enterprise in violation of RICO;

       D.      For Defendants, their subsidiaries, affiliates, successors, transferees, assignees

and the respective officers, directors, partners, agents, and employees and all other persons

acting or claiming to act on their behalf, to be permanently enjoined and restrained from

continuing and maintaining the conspiracy alleged in the Complaint;




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       E.      For a judgment awarding Plaintiffs and the Class damages against Defendants for

their violations of the federal antitrust laws and RICO, in an amount to be trebled in accordance

with such laws;

       F.      For a judgment awarding Plaintiffs and the Class restitution of any and all sums

received by the Contributor Bank Defendants’ unjust enrichment;

       G.      For an award to Plaintiffs and the Class of their costs of suit, including reasonable

attorneys’ and experts’ fees and expenses; and

       H.      For such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR A JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs respectfully

demand a trial by jury of all issues so triable.

Dated: August 24, 2020
White Plains, New York                                   LOWEY DANNENBERG, P.C.

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